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    23-1023    IN UNITED STATES COURT OF APPEALS
                     FOR THE SECOND CIRCUIT
                                ________________

                           DAVID J. NASTRI, ESQ.

                                                     Plaintiff-Appellant
                                         v.

                                KATIE DYKES,

                                                     Defendant-Appellee,
                                ________________

               On Appeal from the United States District Court for the
                      Connecticut, No. 3:23-cv-00056-JBA
                               ________________

           APPENDIX OF THE PLAINTIFFS-APPELLANTS
                       (App.1 – App.271)
                                ________________

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October 26, 2023
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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

DAVID J. NASTRI, ESQ.,                     :
                                           :             DKT No.: 3:23-cv-00056-JBA
       Plaintiff,                          :
                                           :
v.                                         :
                                           :
KATIE DYKES, in her official capacity      :
only,                                      :
                                           :
       Defendant.                          :             JANUARY 28, 2023

                           VERIFIED AMENDED COMPLAINT

       1.      This is an action for declaratory and injunctive relief that challenges the

constitutionality of Connecticut’s state regulation that bans the carrying of handguns in

Connecticut state parks for the purpose of self-defense. Connecticut’s ban on handguns

in state parks cannot pass constitutional muster under the historical standard that the

Supreme Court announced in New York State Rifle & Pistol Association, Inc. v. Bruen,

142 S.Ct. 2111 (Jun. 23, 2022), and the Second Amendment requires the Court to put a

stop to Connecticut depriving its citizens of the most popular means of self-defense where

it is undoubtedly the hardest for first responders to protect them.

                                         PARTIES

       2.      Plaintiff David J. Nastri, Esq. is a United States and Connecticut citizen who

maintains his permanent home in Cheshire, Connecticut.

       3.      The Defendant, Katie Dykes, is the Commissioner of the Connecticut

Department of Energy & Environmental Protection (DEEP), and she is sued in her official

capacity only. In her role as DEEP Commissioner, Dykes possesses rulemaking authority

to adopt, modify, or repeal regulations pursuant to the procedures established by




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Connecticut’s Uniform Administrative Procedure Act (UAPA) – codified at Conn. Gen.

Stat. § 4-166 et seq. See Conn. Gen. Stat. §§ 22a-5 and 23-4. She additionally possesses

the authority to enforce the regulations that she promulgates through “conservation

officers” – uniformed police officers who are employed by DEEP and empowered to

conduct warrantless arrests for violations of the statutes and regulations that the DEEP

enforces. Conn. Gen. Stat. §§ 22a-5, 23-4, 26-5, and 26-6.

                                     JURISDICTION

      4.     The Court has jurisdiction over this action under 28 U.S.C. §§ 1331, 1343,

2201, and § 1651 as well as 42 U.S.C. § 1983. Venue is appropriate under 28 U.S.C. §

1391 because all of the parties are domiciled in Connecticut and all of the factual events

giving rise to the cause of action occurred in Connecticut.

                               FACTUAL ALLEGATIONS

        Connecticut’s Prohibition On Handgun Possession In State Parks.

      5.     Connecticut has established an official policy

      to conserve, improve and protect [the state’s] natural resources and
      environment and to control air, land and water pollution in order to enhance
      the health, safety and welfare of the people of the state… and to manage
      the basic resources of air, land and water to the end that the state may fulfill
      its responsibility as trustee of the environment for the present and future
      generations.

Conn. Gen. Stat. § 22a-1.

      6.     In line with this policy goal, Connecticut maintains approximately 139 state

parks and state forests through the Connecticut DEEP. See Exhibit A.

      7.     Connecticut has taken the position before the Connecticut Supreme Court

that maintaining “state parks and forests are an important part of the state’s conservation

responsibilities.” State v. Ball, 260 Conn. 275, 284-85 (2002).




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         8.    The Connecticut Supreme Court also noted that “[f]rom] time immemorial,

the state’s uninhabited and undeveloped land traditionally has been used for hiking,

picnicking, camping, hunting, trapping and fishing.” Id. at 284. It found that “[a]s the state

has developed and become more populated, the state forests and some state parks have

been preserved in an undeveloped condition so as to continue to provide opportunities

for these traditional uses.” Id. at 284.

         9.    Critically, the Connecticut Supreme Court found that that “[t]he state has

conserved and managed its undeveloped land primarily for these traditional purposes,

subject to some public safety restrictions.” Id. at 284-85.

         10.   Nothing has changed since Ball. Connecticut’s state parks and forests

remain open for a wide variety of recreational activities, including hiking, camping,

hunting, fishing, and picnicking.

         11.   While Connecticut does impose licensing requirements for hunting, fishing,

and camping, it generally does not utilize a permit system to control entrance to state

parks and forests for recreational activities that comport with Connecticut’s state park

rules.

         12.   Instead, Connecticut’s state park rules specifically establish that [s]tate

parks and state forest recreation areas shall be open for public use daily between sunrise

and sunset.” Conn. Agencies Regs. § 23-4-1(a).1




1
  For the Court’s convenience, the undersigned has attached the regulation as Exhibit B
since it is somewhat difficult to locate using a traditional legal research tool.



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         13.    Connecticut prohibits the carrying of firearms, archery equipment, or other

weapons in state parks and forests unless the DEEP specifically authorizes their carrying.

Conn. Agencies Regs. § 23-4-1(c).

         14.    Violation of this prohibition is an infraction under Connecticut law and is

punishable by a $35 fine. See Conn. Agencies Regs. § 23-4-5. 2

         15.    The DEEP also possesses the authority to evict a person from a park for

twenty-four hours immediately upon their arrest or citation for the infraction. Id.

         16.    If a person is convicted of such an infraction under the procedures

established in Conn. Gen. Stat. § 51-164n, Defendant Dykes possesses the authority to

ban the person from entering a state park or forest for up to one year. Conn. Gen. Stat. §

23-4.

         17.    Connecticut permits the limited carrying of firearms, archery, and other

weaponry for the purpose of hunting in state parks and forests within certain specified

seasons. This includes permitting individuals to carry handguns up to .22 caliber rimfire

for the purpose of hunting small game on state-owned land. Exhibit D, p. 1.

         18.    Connecticut, however, does not permit non-hunting members of the public

who possess valid Connecticut pistol permits to carry handguns for the purposes of self-

defense in case of confrontation while using state parks or forests.

         19.    Defendant Dykes’ subordinates confirmed this reading of Connecticut law

when Nastri made inquiries in an effort to determine if he could carry a handgun for the

purpose of self-defense while using state parks and forests for lawful recreational

purposes. On November 18, 2022, he sent an email inquiry to Defendant Dykes asking



2
    This regulation is attached as Exhibit C.



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her to clarify whether Conn. Agencies Regs. § 23-4-1(c) was a specific provision to

regulate hunting and whether there were other rules permitting the carry of handguns by

Connecticut pistol permit holders in Connecticut state parks and forests. See Exhibit M,

p. 3.

        20.   On November 22, 2022, Deputy DEEP Commissioner Mason Trumble

responded to Nastri’s inquiry by email, directing him to a web link containing a 2020 report

prepared by the Connecticut Office of Legislative Research’s Chief Attorney – Janet

Kaminski Leduc – and entitled “Carrying Handguns in Connecticut State Parks or

Forests.” Id. at p. 2. The report is attached as Exhibit N.

        21.   Despite the specific disclaimer that Attorney Leduc placed at the very top of

the opinion and which clearly states that the report is not to be considered a legal opinion,

Defendant Dykes and Mr. Trumble converted it into the official legal opinion of the state

of Connecticut by providing it to Nastri in answer to his questions.

        22.   Attorney Leduc’s report confirms that a person may legally possess a

handgun in a state park or forest “only when carrying the handgun for hunting small

game… or participating in other authorized activities, such as at a firearms range or during

a hunter education class. Exhibit N, p. 1.

        23.   After receiving and reviewing this information from Mr. Trumble, Nastri

emailed him later on November 22, 2022 and brought the United States Supreme Court’s

decision in New York State Rifle and Pistol Association v. Bruen, 142 S.Ct. 2111 (Jun.

23, 2022) to his attention. Exhibit M, p. 1-2. He asked Mr. Trumble to convey his request

to Defendant Dykes to take immediate steps to amend Conn. Agencies Regs. § 23-4-1(c)




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to permit the carrying of handguns in state parks and forests for the purpose of self-

defense in compliance with Bruen. Id.

        24.     Neither Defendant Dykes nor Mr. Trumble responded to Nastri’s email.

Defendant Dykes has also made no effort to amend Conn. Agencies Regs. § 23-4-1(c) to

permit the carrying of handguns in state parks and forests for the purpose of self-defense.

                               Plaintiff David J. Nastri, Esq.

        25.     It is hard to find a more responsible and exemplary member of his

community than the Plaintiff, David J. Nastri. He is a combat veteran, a financial advisor,

an attorney, a kidney donor, and an active member of his community.

        26.     In 2001, Nastri donated one of his kidneys to a local school teacher to save

her life.

        27.     In 2009-2010, Nastri deployed to Afghanistan as a Staff Sergeant in the 1st

Battalion, 102nd Infantry Regiment, Connecticut Army National Guard in support of

Operation Enduring Freedom. During that deployment, Nastri saw combat. Nastri’s

awards during his military service included the Afghanistan Campaign Medal with a

Campaign Star, the Army Good Conduct Medal, and the Louisiana Emergency Service

Medal. He was honorably discharged in March 2012.

        28.     As part of his military service, Nastri received comprehensive training on

the safe and effective use of firearms, including handguns, and he was required to

demonstrate proficiency in their safe and effective use under combat conditions. Nastri

then answered his country’s call and proved the efficacy of his training in combat. In other

words, Nastri has received far more training on the safe and responsible use of firearms




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than the average person does, and he has proven his ability to adhere to that training

under high-pressure circumstances that the average person will likely never encounter.

       29.    Nastri currently holds four FINRA licenses as a financial advisor, including

a Series 7, a Series 63, a Series 66, and a Life & Health license. In addition to passing

the rigorous background checks required for these licenses, Nastri holds a clean

disciplinary record for all of his licenses.

       30.    Nastri earned his Master’s in Business Administration (M.B.A.) in 2001 and

his law degree in 2018 from Quinnipiac University. He became an attorney duly licensed

to practice law in Connecticut on November 2, 2018, and he remains in good standing

with no record of a disciplinary history.

       31.    Since his licensure and in what spare time he has left over from his full-time

employment as a financial advisor, Nastri has represented numerous veterans on a pro

bono basis in Veterans’ Administration matters.

       32.    Nastri received his pistol permit approximately 30 years ago, and he

completed all of the safety training associated with obtaining it. He subsequently has held

it in good standing since receiving it. Since his current permit does not reflect its initial

issue date, Nastri cannot say for certain when he first received it, but his best recollection

is that he has held it for more than 30 years.

       33.    Nastri uses Connecticut state parks and forests on a regular basis

throughout the year – most often during the summer. He enjoys hiking with his girlfriend

at Sleeping Giant State Park in Hamden, Connecticut and Naugatuck State Forest when

their schedules permit.




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          34.   Nastri intends to and will continue to make use of Connecticut state parks

and forests in the immediate and foreseeable future for the purpose of recreation such as

hiking.

          35.   Nastri’s prospective use of Connecticut state parks and forests is not

speculative. The original complaint in this action was filed on January 14, 2023. See Dkt.

1. Since it was filed, he has used state parks and forests twice:

                a. On January 14, 2023, he went to Sleeping Giant State Park for a hike

                   by himself.

                b. On January 15, 2023, he went to Sleeping Giant State Park with his

                   girlfriend for another hike.

          36.   Nastri actively carries his handgun almost every time he leaves his home

and almost every place that he goes, but he abides by the laws and rules that govern

where he may carry it. When he must go to a place where the law does not permit him to

carry a firearm such as a government building, Nastri secures his firearm in a locked safe

that he has bolted to the floor of his motor vehicle.

          37.   While making such regular use of Connecticut state parks and forests,

Nastri seeks to carry a handgun for the purpose of self-defense like he does every other

place where Connecticut may not prohibit his carrying of firearm in a manner consistent

with the Second Amendment.

          38.   Conn. Agencies Regs. § 23-4-1(c), however, is so strict that Nastri cannot

even store his handgun in a locked container in his motor vehicle at a state park or forest

parking lot because he is technically within the confines of a Connecticut state park or

forest and would be in violation of the law if he possessed a firearm in his motor vehicle.




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Thus, every time that Nastri intends to visit a state park or forest, he must leave his

handgun at home.

       39.    Nastri understands Connecticut’s laws pertaining to hunting. He has no

intention of using a handgun to hunt at all, let alone hunt outside of a legal hunting season.

       40.    Nastri   also    understands     Connecticut’s    other   laws    pertaining   to

conservation. He has no intention of using a handgun to violate those laws.

             The Nature Of Trails In Connecticut State Parks And Forests

       41.    Connecticut maintains trails in many of its state parks and forests. These

trails – often miles in length – facilitate a wide variety of recreational activities, including

hiking, wildlife observation, horseback riding, and bicycle riding. They also facilitate

access for hunting and fishing.

       42.    Since Connecticut’s objective in the parks and forests is to preserve natural

habitats and undeveloped land, Connecticut’s state parks and forests typically offer

limited access points for motor vehicles, and a trail may lead a person a mile or more

before they can access a roadway or another exit from a state park or forest. Sleeping

Giant State Park and Naugatuck State Forest are perfect examples of this.

       43.    Sleeping Giant State Park – located in Hamden, Connecticut – has been a

Connecticut state park since 1924. See Exhibit E. It primarily consists of an

approximately 32-mile “backcountry trail system” that features various scenic attractions.

Exhibit F, p. 2.3 It also offers wildlife spotting, picnicking, a cross country ski trail,

camping, fishing, and rock climbing. Exhibit H.



3
 This exhibit contains information from the Sleeping Giant Park Association, which
Connecticut itself recommends as a resource on Sleeping Giant State Park. See Exhibit
G.



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       44.      According to the official map provided by the Connecticut DEEP, there is no

motor vehicle access to the center of Sleeping Giant State Park. Exhibit I. Instead, motor

vehicle access to the park is limited to strategically placed trail head parking locations

around the park’s perimeter. Id.

       45.      The result of this orientation is that a person seeking help from first

responders, including law enforcement, could be forced to wait whatever time it takes for

first responders to navigate miles of rough and mountainous terrain to reach them. In

other words, response times from first responders to a call for help could easily exceed

half an hour or more.

       46.      Naugatuck State Forest covers an area of land that is part of the towns of

Cheshire, Hamden, Naugatuck, Oxford, and Beacon Falls. Exhibit J, p. 4. It offers

opportunities for hunting, target shooting, fishing, hiking, letterboxing, mountain biking,

and snowmobiling. Id.

       47.      Unlike Sleeping Giant State Park, Naugatuck State Forest is much more

accessible by motor vehicle due to its smaller size. It contains numerous parking areas

at the trail heads around the perimeter of the state forest according to the official map

provided by the Connecticut DEEP. Exhibit K. Despite its increased accessibility, there

are portions of the forest where first responders would have to cover a mile or more on

foot to reach someone calling for help, which would necessitate a longer response time.

       48.      Naugatuck State Forest is also home to the High Rock Cooperative

Shooting Range – one of the state’s four public shooting ranges. Exhibit L. Patrons can

access the range – within Naugatuck State Forest – to shoot pistols, revolvers, and other

firearms. Id.




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    COUNT ONE – CONNECTICUT’S PROHIBITIION ON THE POSSESSION OF
    HANGUNS IN STATE PARKS VIOLATES THE SECOND AND FOURTEENTH
                           AMENDMENTS

        49.   Paragraphs 1 through 48 are incorporated herein.

        50.   Nastri has a statutory cause of action to bring this claim under 42 U.S.C.

1983.

        51.   The U.S. Supreme Court’s decision in New York State Rifle & Pistol

Association, Inc. v. Bruen, 142 S.Ct. 2111 (Jun. 23, 2022) has completely reshaped

Second Amendment analysis in the United States.

        52.   Prior to Bruen, courts employed a combination of a malleable public-policy

interest-balancing test and means-end scrutiny (e.g., strict scrutiny) to analyze Second

Amendment claims. See, e.g., New York State Rifle and Pistol Ass’n, Inc. v. Cuomo, 804

F.3d 242 (2015).

        53.   Bruen abolishes the quasi-public policy and scrutiny analyses completely.

Its reshaping of the analysis starts and ends with two basic principles:

              a. “[W]hen the Second Amendment’s plain text covers an individual’s

                   conduct, the Constitution presumptively protects that conduct.” Bruen,

                   142 S.Ct. at 2126.

              b. “[T]he government must demonstrate that the regulation is consistent

                   with this Nation’s historical tradition of firearm regulation.” Id.

        54.   The Second Amendment’s plain text indisputably covers the conduct that

Nastri seeks to engage in: the carrying of a pistol or revolver for the purpose of self-

defense in case of confrontation.

        55.   Under Bruen, the burden of proof now falls on the Defendant to show a

historical analogue to Connecticut’s modern regulations that is both “well-established and



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representative.” Id. at 2133. There are no such historical analogues that can save Conn.

Agencies Regs. § 23-4-1(c).

          56.   The only Second Amendment exception remotely applicable to Conn.

Agencies Regs. § 23-4-1(c) is the “sensitive places” exception established in District of

Columbia v. Heller, 554 U.S. 570, 627 (2008) and reaffirmed in Bruen, 142 S.Ct. at 2133-

34. The Defendant cannot possibly justify Connecticut’s outright ban on the carrying of

handguns in state parks and forests from that exception though.

          57.   Heller itself only cited two historical examples of “sensitive places:” “schools

and government buildings.” 554 U.S. at 626.

          58.   Bruen built on the specificity of Heller’s examples, adding “legislative

assemblies, polling places, and courthouses.” 142 S.Ct. at 2133.

          59.   Neither these specific examples nor Heller’s and Bruen’s broader

categories are remotely analogous to Conn. Agencies Regs. § 23-4-1(c). Our nation’s

history is also completely devoid of any suitable analogue to Conn. Agencies Regs. § 23-

4-1(c).

          60.   Conn. Agencies Regs. § 23-4-1(c) go even further than the test proposed

by New York in Bruen, which the Supreme Court rejected as defining the category of

“sensitive places” “far too broadly.” Bruen, 142 S.Ct. at 2133-34. New York proposed to

define “sensitive places” as “where the government may lawfully disarm law-abiding

citizens include all ‘places where people typically congregate and where law-enforcement

and other public-safety professionals are presumptively available.’” Id. at 2133.

          61.   Bruen rejected this test on the basis that it “would eviscerate the general

right to publicly carry arms for self-defense….” Id. at 2134.




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       62.    Conn. Agencies Regs. § 23-4-1(c)’s prohibition fails even this test. Law-

enforcement and other public-safety professionals are rarely present or readily available

in state parks or forests. The undeveloped nature of state parks and forests means that

vehicular access is extremely limited. In cases readily imaginable, law enforcement would

need to traverse miles on foot to reach a person who calls for help, assuming that their

cellphones would have sufficient reception to request it. In other words, response times

could exceed half an hour or more.

       63.    There is simply no justification for Connecticut’s continued maintenance

and enforcement of the ban. It already permits the carrying of handguns in state parks

and forests for hunting, and, in the instance of the four state shooting ranges located in

state forests as shown in Exhibit L, it even provides for the voluminous discharge of

firearms and other weapons in state parks for recreational purposes. Thus, there is no

question that Connecticut can still enforce all of its other laws while permitting law-abiding

citizens such as Nastri to carry a handgun for self-defense in state parks and forests.

       64.    Thus, Connecticut’s refusal to allow Nastri to carry a handgun into state

parks and forests for the lawful purpose of self-defense and Conn. Agencies Regs. § 23-

4-1(c) violate his Second Amendment rights as guaranteed by the Fourteenth

Amendment.

                                  PRAYER FOR RELIEF

       Wherefore, the Plaintiff seeks the following relief:

       A.     A declaratory judgment that Conn. Agencies Regs. § 23-4-1(c)’s prohibition

on the carrying of handguns for the purpose of self-defense in state parks and forests

violates the Second and Fourteenth Amendments to the United States Constitution;




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      B.     A permanent injunction barring the Defendants from enforcing Conn.

Agencies Regs. § 23-4-1(c);

      C.     Costs and attorneys’ fees;

      D.     Any such other and further relief that the Court deems just and reasonable.



                                          The Plaintiff,

                                          By: /s/ Cameron L. Atkinson /s/
                                          Cameron L. Atkinson, Esq.
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on the foregoing date, a copy of the

foregoing was filed electronically and served by mail on anyone unable to accept

electronic filing. Notice of this filing will be sent by email to all parties and counsel of record

who have appeared by operation of the Court’s electronic filing system or by mail to

anyone unable to accept electronic filing. Parties may access this filing through the

Court’s system.

       Additionally, per the undersigned’s colloquy with the Court and counsel for the

Defendant, the undersigned will have a copy of this filing formally served on the Defendant

and/or her representatives as established by law in the normal course of serving process

in this action.

                                  /s/ Cameron L. Atkinson /s/




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                                                                                                                                                                             (/DEEP)
Connecticut
Department of Energy & Environmental Protection
CT.gov Home   (/) Department of Energy & Environmental Protection   (/DEEP) State Parks   (/DEEP/State-Parks/Connecticut-State-Parks-and-Forests)   Listing of State Parks



All State Parks




Whether you are looking for a rigorous outdoor activity, a leisurely stroll or a peek into history, Connecticut’s parks and forests have something to offer you year round. With 139
state parks and forests statewide, you’re sure to find one close to home or just a short trip away.

Above All State Park, Warren/Litchfield (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#AboveAll)Air Line State Park Trail, Multi-Town (/DEEP/State-Parks/Parks/Air-Line-State-Park-
Trail)
Algonquin State Forest, Colebrook (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-and-Forests)
American Legion State Forest, Barkhamsted (/DEEP/State-Parks/Forests/American-Legion-and-Peoples-State-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325054&deepNav_GID=1650)Beaver Brook State Park, Windham/Chaplin (/DEEP/State-Parks/Locate-Park-Forest/Other-
State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#BeaverBrook)Becket Hill State Park, Old Lyme (/DEEP/State-Parks/Locate-Park-Forest/Other-
State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#BecketHill)Beckley Furnace State Park, North Canaan (/DEEP/State-Parks/Parks/Beckley-
Furnace-Industrial-Monument)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325172&deepNav_GID=1650)Bennett's Ponds State Park, Ridgefield (/DEEP/State-Parks/Parks/Bennetts-Pond-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&Q=478368&deepNav_GID=1650)Bigelow Hollow State Park, Union (/DEEP/State-Parks/Parks/Bigelow-Hollow-State-Park-
Nipmuck-State-Forest)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325174&deepNav_GID=1650)Black Rock State Park, Watertown (/DEEP/State-Parks/Parks/Black-Rock-State-Park)
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State Park, Groton (/DEEP/State-Parks/Parks/Bluff-Point-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325178&deepNav_GID=1650)Bolton Notch State Park, Bolton (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-
and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#BoltonNotch)Brainard Homestead State Park, East Haddam (/DEEP/State-Parks/Locate-Park-
Forest/Other-State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#BrainardHomestead)Burr Pond State Park, Torrington (/DEEP/State-Parks/Parks/Burr-Pond-
State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325180&deepNav_GID=1650)C.P. Huntington State Park, Redding/Bethel/Newtown (/DEEP/State-Parks/Parks/Collis-P-
Huntington-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325222&deepNav_GID=1650)Camp Columbia State Park, Morris (/DEEP/State-Parks/Parks/Camp-Columbia-State-Park-
Forest)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=435450&deepNav_GID=1650)Camp Columbia State Forest, Morris (/DEEP/State-Parks/Parks/Camp-Columbia-State-Park-
Forest)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=435450&deepNav_GID=1650)Campbell Falls State Park, Norfolk (/DEEP/State-Parks/Reserves/Campbell-Falls-State-Park-
Reserve)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325308&deepNav_GID=1650)Centennial State Forest, Fairfield (/DEEP/State-Parks/Forests/Centennial-Watershed-State-
Forest)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=447970&deepNav_GID=1650)Chatfield Hollow State Park, Killingworth (/DEEP/State-Parks/Parks/Chatfield-Hollow-State-
Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325182&deepNav_GID=1650)Cockaponset State Forest, Haddam/Chester (/DEEP/State-Parks/Forests/Cockaponset-State-
Forest)
Connecticut Valley Railroad State Park, Essex (/DEEP/State-Parks/Parks/Connecticut-Valley-Railroad-State-Park)
Dart Island State Park, Middletown (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#DartIsland)Day Pond State Park, Colchester (/DEEP/State-Parks/Parks/Day-Pond-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325184&deepNav_GID=1650)Dennis Hill State Park, Norfolk (/DEEP/State-Parks/Parks/Dennis-Hill-State-Park)

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(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325186&deepNav_GID=1650)Devil's Hopyard State Park, East Haddam (/DEEP/State-Parks/Parks/Devils-Hopyard-State-
Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325188&deepNav_GID=1650)Dinosaur State Park, Rocky Hill (/DEEP/State-Parks/Parks/Dinosaur-State-Park)
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(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325194&deepNav_GID=1650)Eagle Landing State Park, Haddam (/DEEP/State-Parks/Parks/Eagle-Landing-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=478672&deepNav_GID=1650)Enders State Forest, Granby/Barkhamsted (/DEEP/State-Parks/Forests/Enders-State-Forest)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&Q=594616&deepNav_GID=1650)Farm River State Park, East Haven (/DEEP/State-Parks/Parks/Farm-River-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=454726&deepNav_GID=1650)Farmington Canal Greenway State Park, Cheshire/Hamden (/DEEP/State-
Parks/Parks/Farmington-Canal-State-Park-Trail)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&Q=479526&deepNav_GID=1650)Fort Griswold State Park, Groton (/DEEP/State-Parks/Parks/Fort-Griswold-Battlefield-State-
Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325198&deepNav_GID=1650)Fort Trumbull State Park, New London (/DEEP/State-Parks/Parks/Fort-Trumbull-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325200&deepNav_GID=1650)Gardner Lake State Park, Salem (/DEEP/State-Parks/Parks/Gardner-Lake-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=444484&deepNav_GID=1650)Gay City State Park, Hebron (/DEEP/State-Parks/Parks/Gay-City-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325202&deepNav_GID=1650)George Dudley Seymour State Park, Haddam (/DEEP/State-Parks/Parks/George-Dudley-
Seymour-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=446328&deepNav_GID=1650)George Waldo State Park, Southbury (/DEEP/State-Parks/Locate-Park-Forest/Other-State-
Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#GeorgeWaldo)Gillette Castle State Park, East Haddam (/DEEP/State-Parks/Parks/Gillette-
Castle-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325204&deepNav_GID=1650)Green Falls State Campground, Voluntown (/DEEP/State-Parks/Forests/Pachaug-State-Forest)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325072&deepNav_GID=1650)Haddam Island State Park, Haddam (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-
and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#HaddamIsland)Haddam Meadows State Park, Haddam (/DEEP/State-Parks/Parks/Haddam-
Meadows-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325206&deepNav_GID=1650)Haley Farm State Park, Groton (/DEEP/State-Parks/Parks/Haley-Farm-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325208&deepNav_GID=1650)Hammonasset Beach State Park, Madison (/DEEP/State-Parks/Parks/Hammonasset-Beach-
State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325210&deepNav_GID=1650)Harkness Memorial State Park, Waterford (/DEEP/State-Parks/Parks/Harkness-Memorial-
State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325214&deepNav_GID=1650)Haystack Mountain State Park, Norfolk (/DEEP/State-Parks/Parks/Haystack-Mountain-State-
Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325216&deepNav_GID=1650)Higganum Reservoir State Park, Higganum (/DEEP/State-Parks/Locate-Park-Forest/Other-
State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#HigganumReservoir)Hop River State Park, Multi-Town (/DEEP/State-Parks/Parks/Hop-River-
State-Park-Trail)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&Q=493304&deepNav_GID=1650)Hopemead State Park, Montville/Bozrah (/DEEP/State-Parks/Locate-Park-Forest/Other-State-
Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Hopmead)Hopeville Pond State Park, Griswold (/DEEP/State-Parks/Parks/Hopeville-Pond-
State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325218&deepNav_GID=1650)Horse Guard State Park, Avon (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-and-
Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#HorseGuard)Housatonic Meadows State Park, Sharon (/DEEP/State-Parks/Parks/Housatonic-
Meadows-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325220&deepNav_GID=1650)Housatonic Meadows State Forest, Sharon (/DEEP/State-Parks/Locate-Park-Forest/Other-
State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Housatonic)Humaston Brook State Park, Litchfield (/DEEP/State-Parks/Locate-Park-
Forest/Other-State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#HumastonBrook)Hurd State Park, East Hampton (/DEEP/State-Parks/Parks/Hurd-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325224&deepNav_GID=1650)Indian Well State Park, Shelton (/DEEP/State-Parks/Parks/Indian-Well-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325226&deepNav_GID=1650)J.A. Minetto State Park, Torrington (/DEEP/State-Parks/Parks/John-A-Minetto-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325242&deepNav_GID=1650)James L Goodwin State Forests Forest, Hampton (/DEEP/State-Parks/Forests/James-L-
Goodwin-State-Forest)
Kent Falls State Park, Kent (/DEEP/State-Parks/Parks/Kent-Falls-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325228&deepNav_GID=1650)Kettletown State Park, Southbury (/DEEP/State-Parks/Parks/Kettletown-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325230&deepNav_GID=1650)Killingly Pond State Park, Killingly (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-
and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#KillinglyPond)Lake Waramaug State Park, Kent (/DEEP/State-Parks/Parks/Lake-Waramaug-
State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325232&deepNav_GID=1650)Lamentation Mountain State Park, Berlin (/DEEP/State-Parks/Locate-Park-Forest/Other-State-
Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#LamentationMountain)Larkin State Park Trail, Southbury/Naugatuck/Oxford/Middlebury
(/DEEP/State-Parks/Parks/Larkin-State-Park-Trail)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=434808&deepNav_GID=1650)Lovers Leap State Park, New Milford (/DEEP/State-Parks/Parks/Lovers-Leap-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=433316&deepNav_GID=1650)Macedonia Brook State Park, Kent (/DEEP/State-Parks/Parks/Macedonia-Brook-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325234&deepNav_GID=1650)Machimoodus State Park, East Haddam (/DEEP/State-Parks/Parks/Machimoodus-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=478996&deepNav_GID=1650)Mansfield Hollow State Park, Mansfield (/DEEP/State-Parks/Parks/Mansfield-Hollow-State-
Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325236&deepNav_GID=1650)Mashamoquet State Park, Pomfret (/DEEP/State-Parks/Parks/Mashamoquet-Brook-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325238&deepNav_GID=1650)Massacoe State Forest, Simsbury/Canton (/DEEP/State-Parks/Forests/Massacoe-State-Forest)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Massacoe)Mattatuck State Forest, Multi-Town (/DEEP/State-Parks/Forests/Mattatuck-State-
Forest)
Meshomasic State Forest, East Hampton/Glastonbury/Portland (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Meshomasic)Mianus River State Park, Stamford (/DEEP/State-Parks/Locate-Park-
Forest/Other-State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#MianusRiver)Millers Pond State Park, Haddam (/DEEP/State-Parks/Parks/Millers-Pond-State-
ParK)                                                                         App.19
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325240&deepNav_GID=1650)Minnie Island State Park, Bozrah, Montville (/DEEP/State-Parks/Locate-Park-Forest/Other-
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(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#MinnieIsland) (https://www.ct.gov/deep/cwp/view.asp?
a=2716&q=325060&deepNav_GID=1650)Mohawk State Forest/ Mohawk Mountain State Park, Goshen/Cornwall (/DEEP/State-Parks/Forests/Mohawk-Mountain-State-Forest-
State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325060&deepNav_GID=1650)Mohegan State Forest, Scotland (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-
and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Mohegan)Mono Pond State Park, Columbia (/DEEP/State-Parks/Locate-Park-Forest/Other-
State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#MonoPond)Mooween State Park, Lebanon (/DEEP/State-Parks/Parks/Mooween-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Moween)Mount Bushnell State Park, Washington (/DEEP/State-Parks/Locate-Park-
Forest/Other-State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#MountBushnell)Mount Riga State Park, Salisbury (/DEEP/State-Parks/Locate-Park-
Forest/Other-State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#MountRiga)Mount Tom State Park, Litchfield (/DEEP/State-Parks/Parks/Mount-Tom-State-
Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325244&deepNav_GID=1650)Nassahegon State Forest, Burlington (/DEEP/State-Parks/Locate-Park-Forest/Other-State-
Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Nassahegon)Natchaug State Forest, Eastford (/DEEP/State-Parks/Forests/Natchaug-State-
Forest)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325062&deepNav_GID=1650)Nathan Hale State Forest, Coventry/Andover (/DEEP/State-Parks/Locate-Park-Forest/Other-
State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#NathanHale)Naugatuck State Forest, Naugatuck/Oxford/Beacon Falls (/DEEP/State-
Parks/Locate-Park-Forest/Other-State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Naugatuck)Nehantic State Forest, Lyme (/DEEP/State-Parks/Forests/Nehantic-State-Forest)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325064&deepNav_GID=1650)Nepaug State Forest, New Hartford (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-
and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Nepaug)Nipmuck State Forest, Union (/DEEP/State-Parks/Forests/Nipmuck-State-Forest-
Bigelow-Hollow-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325066&deepNav_GID=1650)Nye-Holman State Forest, Tolland (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-
and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Nye-Holman)Old Furnace State Park, Killingly (/DEEP/State-Parks/Parks/Old-Furnace-State-
Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=435384&deepNav_GID=1650)Osbornedale State Park, Derby (/DEEP/State-Parks/Parks/Osbornedale-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325246&deepNav_GID=1650)Pachaug State Forest, Voluntown (/DEEP/State-Parks/Forests/Pachaug-State-Forest)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325068&deepNav_GID=1650)Pattaconk Lake Recreation Area, Chester/Haddam (https://portal.ct.gov/DEEP/State-
Parks/Forests/Cockaponset-State-Forest)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325056&deepNav_GID=1650)Paugnut State Forest, Torrington/Winchester (/DEEP/State-Parks/Forests/Paugnut-State-
Forest)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=435626&deepNav_GID=1650)Paugussett State Forest, Newtown (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-
and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Paugussett)Penwood State Park, Bloomfield (/DEEP/State-Parks/Parks/Penwood-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325248&deepNav_GID=1650)Peoples State Forest, Barkhamsted (/DEEP/State-Parks/Forests/American-Legion-and-Peoples-
State-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325054&deepNav_GID=1650)Platt Hill State Park, Winchester (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-
and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#PlattHill)Pomeroy State Park, Lebanon (/DEEP/State-Parks/Locate-Park-Forest/Other-State-
Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Pomeroy)Pootatuck State Forest, New Fairfield (/DEEP/State-Parks/Locate-Park-Forest/Other-
State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Pootatuck)Putnam Memorial State Park, Redding (/DEEP/State-Parks/Parks/Putnam-
Memorial-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325250&deepNav_GID=1650)Quaddick State Park, Thompson (/DEEP/State-Parks/Parks/Quaddick-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325252&deepNav_GID=1650)Quaddick State Forest, Thompson (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-
and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Quaddick)Quinebaug Lake State Park, Killingly (/DEEP/State-Parks/Locate-Park-Forest/Other-
State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#QuinebaugLake)Quinnipiac River State Park, North Haven (/DEEP/State-
Parks/Parks/Quinnipiac-River-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=438090&deepNav_GID=1650)River Highlands State Park, Cromwell (/DEEP/State-Parks/Parks/River-Highlands-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=434748&deepNav_GID=1650)Rocky Glen State Park, Newtown (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-
and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#RockyGlen)Rocky Neck State Park, East Lyme (/DEEP/State-Parks/Parks/Rocky-Neck-State-
Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325256&deepNav_GID=1650)Ross Pond State Park, Killingly (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-and-
Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#RossPond)S.L. Pierrepont State Park, Ridgefield (/DEEP/State-Parks/Locate-Park-Forest/Other-
State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325310&deepNav_GID=1650)Salmon River Sate Forest, Colchester (/DEEP/State-Parks/Forests/Salmon-River-State-Forest)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325074&deepNav_GID=1650)Salt Rock State Campground, Spragu (/DEEP/State-Parks/Campgrounds/Salt-Rock-State-
Campground)e (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=438076&deepNav_GID=1650)Satan’s Kingdom State Park, New Hartford (/DEEP/State-Parks/Locate-Park-Forest/Other-
State-Parks-and-Forests)
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(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#SatansKingdom)Scantic River State Park, Enfield/East Windsor/Somers (/DEEP/State-
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Seaside State Park, Waterford
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#ScanticRiver)Selden Neck State Park, Lyme (/DEEP/State-Parks/Parks/Selden-Neck-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=435364&deepNav_GID=1650)Shenipsit State Forest, Stafford/Somers/Ellington (/DEEP/State-Parks/Forests/Shenipsit-State-
Forest)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=332506&deepNav_GID=1650)Sherwood Island State Park, Westport (/DEEP/State-Parks/Parks/Sherwood-Island-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325260&deepNav_GID=1650)Silver Sands State Park, Milford (/DEEP/State-Parks/Parks/Silver-Sands-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325262&deepNav_GID=1650)Sleeping Giant State Park, Hamden (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325264&deepNav_GID=1650)Southford Falls State Park, Southbury (/DEEP/State-Parks/Parks/Southford-Falls-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325266&deepNav_GID=1650)Squantz Pond State Park, New Fairfield (/DEEP/State-Parks/Parks/Squantz-Pond-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325268&deepNav_GID=1650)Stillwater Pond State Park, Torrington (/DEEP/State-Parks/Locate-Park-Forest/Other-State-
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(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#StillwaterPond)Stoddard Hill State Park, Ledyard (/DEEP/State-Parks/Locate-Park-
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(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#StoddardHill)Stratton Brook State Park, Simsbury (/DEEP/State-Parks/Parks/Stratton-Brook-
State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325270&deepNav_GID=1650)Sunnybrook State Park, Torrington (/DEEP/State-Parks/Locate-Park-Forest/Other-State-Parks-
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(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Sunnybrook)Sunrise State Park, East Haddam (/DEEP/State-Parks/Parks/Sunrise-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Sunrise)Talcott Mountain State Park, Simsbury (/DEEP/State-Parks/Parks/Talcott-Mountain-
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(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325272&deepNav_GID=1650)Topsmead State Forest, Litchfield (/DEEP/State-Parks/Forests/Topsmead-State-Forest)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325076&deepNav_GID=1650)Tri-Mountain State Park, Durham/Wallingford (/DEEP/State-Parks/Locate-Park-Forest/Other-
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(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#TriMountain)Trout Brook Valley State Park, Easton (/DEEP/State-Parks/Locate-Park-
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(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#TroutBrookValley)Tunxis State Forest, Granby/Barkhamsted/Hartland (/DEEP/State-
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(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#Tunxis)Wadsworth Falls State Park, Middlefield/Middletown (/DEEP/State-
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(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325274&deepNav_GID=1650)West Rock Ridge State Park, Hamden/New Haven (/DEEP/State-Parks/Parks/West-Rock-Ridge-
State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325276&deepNav_GID=1650)Wharton Brook State Park, Wallingford (/DEEP/State-Parks/Parks/Wharton-Brook-State-Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=325278&deepNav_GID=1650)Whittemore Glen State Park, Naugatuck/Middlebury (/DEEP/State-Parks/Locate-Park-
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(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#WhittemoreGlen)Windsor Locks Canal State Park, Windsor Locks (/DEEP/State-
Parks/Parks/Windsor-Locks-Canal-State-Park-Trail)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=442594&ampdepNav_GID=1650)Windsor Meadows State Park, Windsor (/DEEP/State-Parks/Parks/Windsor-Meadows-State-
Park)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=458128&deepNav_GID=1650)Wooster Mountain State Park, Danbury (/DEEP/State-Parks/Locate-Park-Forest/Other-State-
Parks-and-Forests)
(https://www.ct.gov/deep/cwp/view.asp?a=2716&q=445284&deepNav_GID=1650#WoosterMountain)Wyantenock State Forest, Cornwall (/DEEP/State-Parks/Locate-Park-
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    Title 23. Parks, Forests & Public Shade Trees
      Department of Energy and Environmental Protection
         State Park Rules (Refs & Annos)

                                             Regs. Conn. State Agencies § 23-4-1

                                               Sec. 23-4-1. General regulations

                                                          Currentness


(a) Hours of operation.

State parks and state forest recreation areas shall be open for public use daily between sunrise and sunset. State parks shall be
open to public vehicular traffic daily between the hours of 8:00 a.m. and sunset, except as otherwise specifically authorized
by the Department of Energy and Environmental Protection. Other state forest areas shall be open between one hour before
sunrise and one hour after sunset.


(b) Vandalism and possession of food or beverage inside historic structures.


     (1) No person shall deface, destroy, alter, remove or otherwise injure in any manner any structures, buildings, vegetation,
     earth or rock material, trees, or fuelwood, nor shall any wildlife be molested or disturbed except as authorized by the
     Department of Energy and Environmental Protection. The Commissioner may grant upon written application, permission
     to collect specimens, take samples and conduct other investigations for scientific or educational purposes. Such permission
     shall be in writing and shall be subject to such conditions as the Commissioner deems necessary.


     (2) No person shall possess food or beverage inside of historic structures unless permitted by the Department of Energy
     and Environmental Protection.


(c) Hunting/weapons.

Hunting or carrying of firearms, archery equipment or other weapons, including but not limited to air rifles and slingshots,
is not permitted in any state park or forest except as authorized by the Department of Energy and Environmental Protection.
All carrying or use of weapons is subject to applicable provisions of the Connecticut General Statutes and regulations adopted
thereunder.


(d) Fishing.

Fishing is permitted in all state parks and forests, except in designated swimming areas and other areas so posted. Fishing where
permitted, is allowed from sunrise to sunset unless otherwise posted. All fishing is subject to the provisions of Chapter 490 of
the General Statutes and regulations adopted thereunder.


(e) Alcoholic beverages.


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    (1) The possession or consumption of alcoholic beverages in the following state parks and state forest recreation areas
    is prohibited:


         (A) Bigelow Hollow State Park;


         (B) Black Rock State Park and campground;


         (C) Burr Pond State Park;


         (D) Eagleville Dam;


         (E) Hopeville Pond State Park and campground;


         (F) Housatonic Meadows State Park and campground;


         (G) Indian Well State Park;


         (H) Kent Falls State Park;


         (I) Kettletown State Park and campground;


         (J) Macedonia Brook State Park and campground;


         (K) Mansfield Hollow State Park;


         (L) Mashamoquet Brook State Park, East Killingly Pond area;


         (M) Miller's Pond State Park;


         (N) Nepaug State Forest;


         (O) Osbornedale State Park;


         (P) Mt. Misery and Green Falls campgrounds in Pachaug State Forest;




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         (Q) Scantic River State Park;


         (R) Silver Sands State Park;


         (S) Squantz Pond State Park; and


         (T) Sherwood Island State Park.


    (2) For any state park or state forest recreation area not listed in subdivision (1) of this subsection, the following
    requirements apply:


         (A) The possession or consumption of alcoholic beverages is prohibited on state park beaches, state forest recreation
         area beaches, boardwalks and other areas so posted.


         (B) The possession of beer in containers larger than one liter is prohibited.


         (C) The sale of alcoholic beverages is prohibited, unless authorized in writing by the commissioner.


         (D) The Commissioner shall have the authority to temporarily ban, for periods up to a maximum of ninety days, the
         possession or use of alcohol at specific recreation areas if its possession or consumption is creating public safety
         issues as determined by the Commissioner.


         (E) The possession or consumption of alcoholic beverages by a minor on lands under the Commissioner's control
         is prohibited.


(f) Pets and riding animals.


    (1) Pets and riding animals are prohibited in Sherwood Island and Squantz Pond State Parks from April 15 to September
    30, inclusive. Except as provided in subdivision (5) of this subsection, riding animals and pets shall be on a leash that is
    no longer than seven (7) feet in length, and must be under the control of their owner or keeper at all times.


    (2) Pets and riding animals, including, but not limited to dogs and horses, are prohibited in the following areas of state parks
    and forests at all times: all buildings, swimming areas and other areas so posted. No person shall allow any pet or riding
    animal under their control to enter a waterbody in which there is a Department of Energy and Environmental Protection
    designated swimming area from anywhere on Department of Energy and Environmental Protection property containing
    that swimming area from April 1 through September 30, inclusive.


    (3) In state forest campgrounds, no more than two pets shall be allowed per campsite. Pets are prohibited from state park
    campgrounds.



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     (4) Trained service animals, required to perform a specific task and for the ongoing treatment of a disability or health
     condition, are permitted in all areas not closed to the public while accompanied by the person needing their assistance.


     (5) This subsection shall not apply to the proper use of dogs while in the act of hunting, training or deployment of certified
     search and rescue dogs or to Law Enforcement or Department of Energy and Environmental Protection personnel acting
     in the course of their employment.


     (6) Persons bringing pets or riding animals to state recreation picnic areas, athletic fields, man-made structures, paved
     surfaces, beaches where permitted and campgrounds, with the exception of horse camps, shall remove and properly dispose
     of pet waste (feces) left by the pet or riding animal under their control.


(g) Notices and signs.

No person shall erect, post or distribute any notice or sign upon state park or forest property unless authorized by the Department
of Energy and Environmental Protection manager in charge of such park or forest property.


(h) Commercial restrictions.

The use of state park or forest lands or any improvements thereon for private gain or commercial purposes is prohibited, except
by concessionaires or vendors with written permission of the Commissioner, or the Commissioner's designee, or by Special Use
License issued by the Department of Energy and Environmental Protection.


(i) Meetings and proselytism.

Political meetings and proselytism may be conducted only in areas and at times approved by the Commissioner of the
Department of Energy and Environmental Protection or the Commissioner's designee. Such approval shall not be unreasonably
withheld.


(j) Littering.

No person shall dispose of any material in a state park or forest, except in receptacles provided for such disposal.


(k) Dumping.

Disposing of any material in a state park or forest which was not accumulated during the use of such facilities is prohibited.


(l) Trails and roads.


     (1) Trails are open to non-motorized, multiple use activities unless posted closed. Use of any trail, road or path posted as
     closed by the Department of Energy and Environmental Protection is prohibited.




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     (2) Use of Connecticut Blue-Blazed Trails and the National Park Service Appalachian Trail crossing state property shall
     be limited to hiking except where Department of Energy and Environmental Protection blazed trails supporting other uses
     coincide.


     (3) Public roadways in state parks and forests are open to motor vehicles with a registration, as such terms are defined in
     Section 14-1 of the Connecticut General Statutes and other non-motorized multiple uses unless posted closed.


     (4) Service, logging and other roads closed to public use by motor vehicles are open to non-motorized multiple use activities
     unless posted closed.


(m) Boats.


     (1) Boats shall be restricted to areas posted for boating by the Department of Energy and Environmental Protection, and
     are prohibited in swimming areas.


     (2) No person shall fasten a boat to any state park or forest pier or anchor in any launching area so as to prevent free access
     to the pier or launching area.


     (3) Vessels launching from Squantz Pond State Boat Launch are prohibited from using a motor or combination of motors
     in excess of 25 horse power. Larger motors may be attached to such vessels but the propeller must be removed and the
     motor inclined out of the water or as high as possible. No motorized vessels may land or offload/unload passengers or
     equipment on Department of Energy and Environmental Protection owned property outside of the launch area.


     (4) Vessels launching from Lake Waramaug State Park are prohibited from using a motor or combination of motors in
     excess of 12 horse power. Such motor boats may only be launched from the state park property if they can be carried by
     no more than two individuals into the water. Prior to launching, all such motor boats shall be inspected for the presence
     of invasive plant material at the town of Washington boat ramp.


(n) Gambling.

Gambling in any form on state park or forest property is prohibited.


(o) Disorderly conduct.

Disorderly conduct, public nudity, intoxication, and obscene or indecent behavior are prohibited, and all forms of rough play,
or activities or contests creating hazards to persons or property, including, but not limited to, the use of paintball guns or other
similar devices, are prohibited.


(p) Picnicking.

Picnicking is allowed unless otherwise posted by the Department of Energy and Environmental Protection.



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(q) Fires.


     (1) Fires may be kindled only in grills, stoves, fireplaces or other designated campfire facilities.


     (2) No person may kindle or maintain a fire within five (5) feet of any tree, building or shrub, except in those locations
     where the Department of Energy and Environmental Protection has provided fireplaces or grills.


     (3) Fire residue shall be properly disposed of in hot coal/ash receptacles, where provided.


     (4) Fire residue shall not be disposed of in a manner that may damage property or cause injury to a person.


     (5) No fire shall be left unattended.


(r) Athletics.

The playing of baseball, football, soccer, golf or other athletic games is allowed unless otherwise restricted.


(s) Swimming.


     (1) Swimming is allowed except where posted as prohibited by the Department of Energy and Environmental Protection.


     (2) All persons in swimming areas shall obey the lifeguards.


     (3) Swimming hours are from sunrise to sunset.


     (4) No person shall swim in long pants, a long-sleeved shirt, a skirt, a dress or other restrictive clothing.


     (5) Washing of persons or articles in the waters of swimming areas is prohibited.


(t) Glassware.

The possession or use of glass on the beach or in swimming areas is prohibited.


(u) Fireworks.




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The possession or use of all classes of fireworks in any state park or forest is prohibited except as authorized by the Commissioner
of Energy and Environmental Protection. Such authorization shall be in writing and subject to the applicable provisions of the
Connecticut General Statutes and regulations adopted thereunder and such conditions as the Commissioner deems necessary.


(v) Swimming aids.


     (1) Inflatable or buoyant devices (including, but not limited to, inner tubes, ring buoys, balls, air mattresses and rafts) are
     prohibited in those areas at state swimming areas that are protected by on-duty lifeguards, except for U.S. Coast Guard
     approved personal flotation devices when worn by swimmers. The use of U.S. Coast Guard approved personal flotation
     devices may be required in certain areas as determined to be appropriate by the Department of Energy and Environmental
     Protection. These areas shall be designated by the posting of conspicuous signs notifying individuals of the required use
     of the U.S. Coast Guard approved personal flotation devices.


     (2) Snorkels are prohibited in guarded swimming areas.


     (3) Goggles, facemasks and flippers are permitted in swimming areas.


(w) Under-water fishing devices.

Under-water fishing devices are prohibited in designated swimming areas.


(x) Noise.

No person shall cause or allow any noise which infringes on the ability of others to enjoy state park or forest property, except as
authorized by the Commissioner of the Department of Energy and Environmental Protection or the Commissioner's designee.


(y) Avoidance of fees.

The avoidance of fees established in accordance with Section 23-26 of the Connecticut General Statutes at the various state
parks and forests is prohibited.


(z) Buildings and structures.


     (1) No person shall use any building or structure for any purpose other than that for which it is designated.


     (2) No person may attach any electrical extension cord to any electrical receptacle unless authorized by the Department
     of Energy and Environmental Protection manager in charge.


(aa) Public water facilities.


     (1) The use of public drinking water facilities for the purpose of washing is prohibited.


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     (2) No person shall attach any item to a faucet without prior approval of the Department of Energy and Environmental
     Protection manager in charge.


(bb) Losses or theft.

The state assumes no responsibility for the loss or theft of any article in any state park or forest.


(cc) Tents.


     (1) Full coverage tents are not permitted in day-use areas, including, but not limited to, beaches, parking lots and picnic
     areas.


     (2) Rigid frame (event-type) tents are not permitted to be erected on state park or forest property except as authorized in
     writing by the Commissioner of Department of Energy and Environmental Protection or the Commissioner's designee.


Credits
(Added effective June 24, 1986; Amended effective July 13, 1993; July 27, 2007; July 7, 2014; June 7, 2017.)

                                          <Statutory Authority: C.G.S.A. § 23-4>


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Regs. Conn. State Agencies § 23-4-1, CT ADC § 23-4-1

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Sec. 23-4-5. Evictions and penalties
CT ADC § 23-4-5 • Regulations of Connecticut State Agencies (Approx. 3 pages)

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           Regulations of Connecticut State Agencies
             Title 23. Parks, Forests & Public Shade Trees
                     Department of Energy and Environmental Protection
                        State Park Rules (Refs & Annos)


                                                           Regs. Conn. State Agencies § 23-4-5

                                               Sec. 23-4-5. Evictions and penalties
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            (a) Eviction.
                  (1) Violation of any provision of sections 23-4-1 through 23-4-4, inclusive, of the Regulations of
                  Connecticut State Agencies shall be sufficient cause for eviction for a period of twenty-four hours.
                  (2) No person evicted with written notice shall enter any state park or forest during the eviction
                  period.
            (b) Penalties.
                  (1) Any person who violates any provision of sections 23-4-1 through 23-4-4, inclusive, of the
                  Regulations of Connecticut State Agencies shall have committed an infraction.
                  (2)(A) Any person who violates any provision of sections 23-4-1 to 23-4-4, inclusive, of these
                  regulations shall pay a fine of thirty five-dollars ($35.00).
                        (B) Any person who enters a state park or forest during an eviction period in violation of
                        subsection (a) of this section shall pay a fine of seventy-five dollars ($75.00).


            Credits
            (Added effective June 24, 1986; Amended effective July 27, 2007; May 3, 2010.)
                                          <Statutory Authority: C.G.S.A. § 23-4>

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           Current with material published on the CT eRegulations System through 12/6/2022. Some sections
           may be more current, see credits for details.
           Regs. Conn. State Agencies § 23-4-5, CT ADC § 23-4-5



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Connecticut
Department of Energy & Environmental Protection
 CT.gov Home   (/) Department of Energy & Environmental Protection   (/DEEP) Hunting and Trapping   (/DEEP/Hunting/CT-Hunting-and-Trapping)   Questions about Hunting



Frequently Asked Questions About Hunting
General Hunting | Deer Hunting | Licensing and Permits | Hunter Education Courses and Requirements | Hunter Education Certificates | Hunting Safety | Target
Practice | Hunters with Disabilities



   New to hunting or interested in taking up the activity again? The Hunting Roadmap (/DEEP/Hunting/Roadmaps/Hunting-Roadmap) helps you get started!



General Hunting and Trapping

Can I hunt on Sunday in Connecticut?
Licensed archery deer hunters can hunt on private land only on Sundays in all Deer Management Zones (zone map (/DEEP/Hunting/Deer-and-Turkey-Management-Zone-Map)).
Wild turkeys CANNOT be taken on Sunday anywhere in the state. All archery deer hunting on Sundays must take place at least 40 yards away from blazed hiking trails. Sunday
hunting is also allowed on licensed private shooting preserves and regulated dog training areas when the operator has permission from the town. Hunting may also take place on
Sunday at permitted field trial events.

If you hunt and wound an animal during legal hunting hours, then follow the blood trail after legal hunting hours, can you still search for and harvest the animal?
Hunters can track and recover game after legal hunting hours, but cannot carry a loaded firearm or bow, or discharge a firearm or bow after legal hunting hours. If a hunter needs to
dispatch an animal after hunting hours, contact the State Environmental Conservation Police at 860-424-3333 (tel:8604243333) for guidance.

Do I need permission to hunt on private land in Connecticut?
All deer and turkey hunters must obtain written permission, dated for the current season, from the landowner on a DEEP Private Land Consent Form                                  , which is included in the
Hunting and Trapping Guide, and must carry this form with them at all times while hunting. All small game and waterfowl hunters must at least have verbal permission from the
landowner.

Can I use a handgun for hunting?
In Connecticut a handgun used for hunting small game on state-owned land must be no larger or heavier than .22 caliber rimfire. Handguns of any caliber are prohibited on state-
leased land and Permit-Required Hunting Areas. Revolvers of .357 caliber or larger may be used to hunt deer on private land during the private land shotgun/rifle deer season if the
landowner has authorized such use on the private land consent form. Revolvers may also be used by persons hunting with a free landowner deer permit during the landowner deer
season. A person using a handgun for hunting must possess any required permits to carry. The use of handguns to hunt turkey or migratory game birds is prohibited.

Can a centerfire rifle be used for hunting?
Rifles using ammunition larger or heavier than .22 caliber rimfire are prohibited on state-owned land. Rifles of any caliber are prohibited on state-leased and Permit-Required
Hunting Areas. It is prohibited to hunt on private land with ammunition larger than .22 caliber rimfire during the private land shotgun/rifle deer season. There are two private land
exceptions. During private land deer season a centerfire rifle that fires 6mm (.243 caliber) or larger ammunition may be used for deer or coyote hunting only if the landholding is 10
or more contiguous acres and the landowner has authorized rifle use on the DEEP consent form. An individual with written consent from the landowner and a valid private land
shotgun/rifle deer permit may also legally harvest coyotes during this season with a shotgun or muzzleloader legal for deer hunting. Remember, during the shotgun/rifle deer
private land hunting season, coyote hunters are restricted to ammunition not larger than .22 caliber rimfire without deer permits and written consent. For coyote hunting outside of
private land deer season, any legal centerfire rifle may be used, but the hunter must have verbal permission from the landowner.

Can I use a .17 caliber rimfire or a .22 caliber Magnum rifle to hunt small game on state lands?
It is legal to use .17 caliber rimfire or .22 caliber Magnum firearms in all situations where it is legal to use rimfire .22 caliber firearms.

Can I hunt with an “Other” in Connecticut?
An “Other” is not a rifle, shotgun, muzzleloader, or revolver/pistol. It does not fit the definition of a legal hunting implement in the state.

Are there any hunting-related opportunities for youth hunters?
Junior hunter training days are established annually for firearms hunting during specified seasons. On these occasions, only a licensed junior hunter may hunt when accompanied
by a licensed adult hunter 18 years of age or older. The adult hunter may not carry a firearm or participate in the hunt. These training days provide junior hunters with an
opportunity to learn safe and effective hunting practice from experienced hunters. All hunters must observe regulations regarding permits and stamps for hunting on private and
state land, including adults. Junior Hunter Training Days are provided during the following seasons: Spring Turkey, Pheasant, Waterfowl, and Deer. Check out the Junior Hunter
webpage (/DEEP/Hunting/Junior-Hunter-Training-Days) to learn about special events for junior hunters.

Where can I find huntable state land in Connecticut?
Consult the Hunting and Trapping Guide (/DEEP/Hunting/Hunting-and-Trapping-Information) or visit the CT Interactive Hunting Area Map (/DEEP/Hunting/Public-Hunting-
Areas). Maps of most hunting areas are available online.

Can I use an ATV for hunting in Connecticut?
ATVs are not permitted on any state-owned or controlled properties, except by special permit. The use of ATVs for transportation on private lands is not restricted as long as
landowner permission is obtained and the vehicle is properly registered. Hunters cannot shoot from any motorized vehicle. Special accommodations are made for handicapped
individuals. Please email deep.franklinwildlife@ct.gov (mailto:deep.franklinwildlife@ct.gov) for guidance.

Can a hunter use electronic calls?
                                                                                                    App.35
Electronic calls can be used for all species except turkeys and migratory game birds. Electronic calls can be used to hunt crows.
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Where do I find/print my harvest tags?
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Harvest tags and all the information related to reporting harvests can be found on the Tagging and Reporting Deer and Turkey Harvests (/DEEP/Hunting/Tagging-and-Reporting-
Deer-and-Turkey-Harvests) webpage.

What do I need to land trap in Connecticut?
You can only land trap coyotes in Connecticut. A land trapping certification is required and is included as part of the basic trapping course after June 2022. Land trapping
certifications are specific to Connecticut. Out of state trapping courses may qualify you to trap in Connecticut, however you will still need to attend a trapping course to land trap in
Connecticut.

Deer Hunting

What is the minimum acreage required for deer hunting?
There is no minimum acreage required for hunting with shotguns, muzzleloaders, or archery equipment. A centerfire rifle 6mm (.243 caliber) or larger may be used for deer hunting
on private land if the landholding is 10 or more contiguous acres and the landowner has authorized rifle use on the DEEP consent form. Rifles cannot be used on any state land.
Hunters must observe the 500-Foot Buffer Zone whenever using firearms for hunting. Regardless of the hunting implement used, a hunter must not shoot toward any person,
building, or domestic animal when within range.

Is it legal to bait animals in Connecticut?
Baiting is illegal on all public land statewide, and on private land in Zones 1-10. Baiting for deer is permitted on private land in zones 11 and 12 only. (Zone Map
(/DEEP/Hunting/Deer-and-Turkey-Management-Zone-Map))

Can scent attractants be used while hunting deer in Connecticut?
Most types of scent attractants (i.e., tarsal glands, food smells, smoke pole) may be used that provide no substance for deer to consume. For the safety of Connecticut's deer herd, a
state regulation prohibits all use of natural deer urine products. No person shall possess or use, for the purposes of taking or attempting to take or attract deer or for the
surveillance or scouting of deer, any product bought or sold that is manufactured or refined that contains or purports to contain deer urine. Products labeled as "synthetic" may still
be used. Products with vague descriptions about their contents are not recommended for use. Chronic wasting disease (CWD) can spread through exposure to infected deer urine.

Licensing and Permits

How do I obtain a hunting license?
You must complete a course that is provided by the Conservation Education/Firearms Safety (CE/FS) Program or its equivalent from another state OR have a Connecticut RESIDENT
license for firearms hunting that was issued within the past five years. There are special courses for firearms hunting, bowhunting, and trapping. After successfully completing a
hunter safety course, your certification will be uploaded to your online license profile and will print directly at the bottom of your hunting or fishing license (you may print your
certification without making a purchase). To print your certificate, go to the Online Outdoor Licensing System (https://ct.aspirafocus.com/internetsales?
utm_source=deep_website&utm_medium=frequently_asked_questions_about_hunting&utm_campaign=public_page&utm_content=textlink). Hunting licenses, stamps, and
permits may be purchased online (https://ct.aspirafocus.com/internetsales?
utm_source=deep_website&utm_medium=frequently_asked_questions_about_hunting&utm_campaign=public_page&utm_content=textlink) or from a vendor, such as a
sporting goods store, or from a town hall or certain DEEP offices.

What happens if I have multiple Conservation IDs?
Multiple conservation IDs will inhibit your ability to purchase a hunting license. If you know you have multiple conservation IDs, please email us at
(mailto:franklin.wildlife@ct.gov)deep.franklinwildlife@ct.gov (mailto:deep.franklinwildlife@ct.gov) with the numbers, and we will rectify it for you.

How do I create a Conservation ID?
Conservation IDs can be created by navigating to the Online Outdoor Licensing System (https://ct.aspirafocus.com/internetsales?
utm_source=deep_website&utm_medium=frequently_asked_questions_about_hunting&utm_campaign=public_page&utm_content=textlink) and clicking the “Create An Account”
button under New Customer. Please search for a pre-existing Conservation ID prior to creating a new one. If you are sure you have a Conservation ID but cannot find it, contact the
Wildlife Division at 860-424-3011 (tel:8604243011).

I have an NRA Hunter Education certificate issued prior to 1982. Is this valid for obtaining a hunting license?
The old NRA course does not meet international standards for hunter education and is not valid to obtain a hunting license.

I have a pistol permit. Do I still have to take the firearms hunter education course?
Pistol permits have no bearing on hunter safety and are not an acceptable form of training to obtain a hunting license. Although a pistol permit course covers general firearm safety
and handling, a hunter safety course covers additional information as it relates to safe, ethical, and responsible hunting that is not covered in pistol permit courses.

I am a Connecticut non-resident hunter. What do I need to hunt in Connecticut?
If you took your hunter education out of state and would like to submit it for approval in Connecticut, please submit the following in a single email to deep.franklinwildlife@ct.gov
(mailto:deep.franklinwildlife@ct.gov): a copy of your hunter safety certificate issued by another state, a picture of your current driver’s license, and your CT Conservation ID
number. Emails that are received with missing information will not be processed. Certificates from online hunter education will not be accepted. All hunter safety certificates will be
verified with the issuing state to ensure the class meets Connecticut requirements. The process for verification can take multiple weeks. Please do not wait until the hunting season
begins to get your information verified.

How do I get an Archery Deer and Small Game Permit?
To purchase an Archery Deer or Small Game Permit you must have proof of completion of the CE/FS bowhunting course (since 1982) or its equivalent from another state or country.
Certification cards from other states or provinces must specify "bowhunter education" to qualify. Connecticut does not accept certificates obtained through online courses or
combination firearm and bowhunting classes.

What is the minimum age to hunt in Connecticut?
The minimum age to hunt is 12 years old with proof of completed hunter education and valid licenses and permits.

If I have already purchased a junior hunter license for the current calendar year, do I need to buy one when I turn 16 this hunting season?
                                                                                         App.36
The Junior Hunting License is valid for a calendar year, as are other hunting licenses. At age 16, the youth may hunt alone with the Junior Hunting License.
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If I do not plan on hunting, but wish to accompany others while they hunt, is this allowed? Do I need a hunting or trapping license to accompany a hunter or trapper?
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As long as you are not engaged in the pursuit of hunting or trapping game or providing any act of assistance in taking game, you do not need a hunting or trapping license. A hunting
license is not needed to assist in the recovery of game. Pursuit is defined as actively hunting, operating calls, and working a dog while hunting.

I took a hunter safety course in another state that included an introduction to bowhunting. Is this certificate acceptable for a Connecticut Archery Permit?
Unless the certification specifies "Bowhunting" from a separate bowhunting course that meets the International Bowhunter Education Program content standards, it would not
qualify. Connecticut does not accept combination firearms/bowhunting/trapping courses or online hunter safety courses.

Do I have to buy a Firearms Hunting License to hunt on land that I own?
Landowners are exempt from buying a Firearms Hunting License if they permanently reside on the property and the property is 10 or more contiguous acres if they possess a Free
Landowner Permit. The proper deer permits are required to hunt deer and a Free Landowner Resident Game Bird Conservation Stamp are required to turkey on personally owned
land. Hunting on any land other than your own requires the proper licenses and permits. The Free Landowner Permit must be obtained yearly.

What is the minimum age to hunt or purchase a firearms hunting license or an Archery Deer and Small Game Permit in Connecticut or a trapping license?
A person must be at least 12 years old to hunt or purchase a firearms hunting license or Archery Deer and Small Game Permit in Connecticut. Persons 12 to 15 years old must
purchase a Junior Hunting License and be accompanied by a licensed hunter who is 18 years old or older while hunting. A licensed adult may not supervise more than 2 minors at
one time while hunting. Junior Hunters are entitled to their own bag limits. There is no minimum age requirement for trapping in Connecticut, but persons under 16 years old must
purchase a Junior Trapping License.

Hunter Education Courses and Requirements
How do I find where and when courses are held?
Consult the Hunter Education Registration page (/DEEP/Hunting/CEFS/Conservation-Education-Firearms-Safety-Program) on the DEEP's website for a list of available classes.
Classes are added as they are scheduled by our volunteer instructors.

Do I have to pay a fee for hunting and trapping classes?
There are no fees for in person classes and materials.

Can I bring someone else along to accompany me in class?
Parents and guardians are encouraged to take the courses with their children. Anyone that plans on taking the course for certification must be officially registered for the class prior
to attending. Any student under 18 years of age must have a parent/legal guardian present at the start of the class to sign the registration card.

Are accommodations made for students that have difficulties learning and/or taking tests?
Anyone who experiences difficulties learning or taking tests is encouraged to let the instructor know privately. Instructors can provide one-on-one assistance taking the test.

How old do I have to be to take the hunter education course?
A student must be at least ten (10) years old or reach the age of 10 by the end of the class. A parent/guardian must be present to sign the registration card for any student under the
age of 18.

I am on active duty with the armed services in Connecticut. What do I need to obtain a resident firearms hunting license? Do I have to take the course?
You will need a certificate of completion for a hunter education course from Connecticut, or a certificate of completion from another state that meets Connecticut requirements. If
you do not possess a Certificate of Completion, you must complete the appropriate course for the license you seek to obtain. Any active, full-time member of the U.S. armed forces
may purchase a Connecticut hunting, fishing, or trapping license at the same fees as a resident. Proof of full-time membership during calendar year must be carried while using the
license.

What equipment do I need to bring to a hunter safety class?
No personal firearms or ammunition is allowed in our classes. You are encouraged to bring your personal bow and 5 field tipped arrows (no broadheads) to a bowhunting course.
Students should also bring a pencil or pen, eye and ear protection for firearms courses, and a notepad to firearms hunter education courses. Be prepared for the weather as all
courses have an outdoor component. For full day classes, students should bring a lunch or be prepared to obtain lunch if it is available from a nearby food service vendor for full day
classes.

Will I shoot a gun or a bow in the course?
Students must conduct live fire exercises in both firearms and bowhunting classes. In the firearms hunter education courses, all firearms and ammunition will be provided, and
every student must complete live fire exercises with a .22 caliber rifle or a 20 gauge shotgun. In bowhunter education courses, students are encouraged to bring their personal bow
and arrows (equipped with field points). Personal firearms and ammunition are not allowed in any hunter safety course, including bowhunting.

Who teaches the courses?
Courses are taught by certified volunteer instructors with substantial experience in hunting and who are dedicated to sharing their skills and knowledge to promote safe hunting.

What is the best time to take my hunter education course?
Hunter education courses should be taken well before a hunting season is set to begin. Classes fill up quickly as hunting season approaches and we cannot guarantee a class is
offered in your general area, on a specific day, or at a specific time.

Do you accept walk-ins at your classes?
We do not accept walk-in students at our classes. This is due in part to our registration system and our ability to process certifications in a timely manner. All sites are already
operating at max capacity for the buildings, instructors, and equipment. Do not put our instructors in the uncomfortable position of denying you entry into the class.

Hunter Education Certificates
What should I do if I cannot find or if I have lost my original hunter education certificate?
Once you have completed hunter education, your certificate will reside in your online profile. Log onto the Online Outdoor Licensing System
(https://ct.aspirafocus.com/internetsales?
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utm_source=deep_website&utm_medium=frequently_asked_questions_about_hunting&utm_campaign=public_page&utm_content=textlink) and select "Reprint License". Print
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the document, even if you have not purchased anything. You may also visit a vendor or select DEEP office to reprint your license. Do not create a second Conservation ID, as this may
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hinder your ability to purchase a license in the future. Certifications may take up to a week to appear in the profile for recent course graduates. If it has been longer and your
credentials do not appear in your Conservation ID profile, please contact the Wildlife Division at 860-424-3011 (tel:8604243011).
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How do I submit out of state hunter education?




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If you took your hunter education out of state and would like to submit it for approval in Connecticut, please submit the following in a single email to deep.franklinwildlife@ct.gov
(mailto:deep.franklinwildlife@ct.gov): a copy of your hunter safety certificate issued by another state, a picture of your current driver’s license, and your CT Conservation ID
number. Emails that are received with missing information will not be processed. Certificates from online hunter education will not be accepted. All hunter safety certificates will be
verified with the issuing state to ensure the class meets Connecticut requirements. The process for verification can take multiple weeks. Please do not wait until the hunting season
begins to get your information verified.

Another state is requiring proof of hunter education. Where can I get it?
Proof of your hunter education can be reprinted anytime by going to our online sportsmen’s licensing system and reprinting your license. You do not need to purchase a current
license to reprint your certifications. Your firearm, bowhunting, trapping, and boating certifications will all appear on the license if you have them.

Hunting Safety

What should I do when I see another hunter while out hunting?
You should never assume that another hunter is aware of your presence when you are hunting. For everyone’s safety, always speak in a clear, loud voice. Do not rely on sounds or
other noises that can be misconstrued for animal movement to get their attention.

What should I do when I am approached by an Environmental Conservation (EnCon) Police Officer or any law enforcement officer when I am hunting with a firearm?
Do the following: (1) keep your firearm or bow pointed in a safe direction; (2) let the law enforcement officer determine what you will do next; (3) do not attempt to unload the
firearm by opening the action or removing the magazine, if so equipped. Let the officer take control of the situation.

Is it legal to use a tree stand on state property?
The use of portable tree stands is permissible. Hunters who use tree stands should always wear a full-body safety harness or fall arrest system to help prevent injuries. Leaving any
personal property unattended is not recommended. The Wildlife and Forestry Divisions advise hunters to remove tree stands from all state properties at the end of the deer hunting
season every year. The construction of permanent of tree stands involving damage to a tree or shrub is prohibited.

Does the 500-foot rule apply to bowhunting?
The safety buffer of 500 feet only applies to hunting with firearms or carrying of a loaded firearm when a reasonable person would conclude that the individual was engaged in
hunting.

Does the 500-foot rule apply to use of an air rifle (BB or pellet gun)?
Air rifles are defined as firearms for the purpose of hunting and the 500-foot rule does apply.

What is the specific requirement for wearing fluorescent orange when hunting in Connecticut?
All hunters must wear hunter orange (fluorescent orange) from September 1 through the last day in February. Please see the Hunting and Trapping Guide
(/DEEP/Hunting/Hunting-and-Trapping-Information) for exceptions. When fluorescent orange is required, the hunter must wear an article of clothing that has 400 square inches of
fluorescent orange material visible above the waist and visible from all sides. Camouflage fluorescent orange is permitted as long as it satisfies the above requirements. Hunters are
encouraged to wear a fluorescent cap as an additional safety measure.

Target Practice

Where can I go to practice my shooting skills?
The DEEP provides public shooting ranges for firearms target practice at three locations: Glastonbury, High Rock, and Wooster Mountain. The Nye Holman Archery Range provides
opportunity for archery shooting practice. These shooting ranges are open for limited hours and may require reservations or a fee. Consult the Hunting and Trapping Guide
(/DEEP/Hunting/Hunting-and-Trapping-Information) or the Hunting and Trapping page (/DEEP/Hunting/CT-Hunting-and-Trapping) on the DEEP website for more information
about these ranges. Many private sportsmen's clubs, which are located throughout the state, have private ranges (/DEEP/Hunting/Public-Shooting-Opportunities) that are available
for a fee to members and guests. No target practice can be conducted on state land.

Is it legal to conduct target practice on private property?
Consult local regulations which may prohibit discharge of firearms within the municipality’s limits. Additionally, the location of the property for target shooting must satisfy concerns
for down range safety per local regulations. If local regulations allow target practice, and the property satisfies concerns for down range safety, noise from gunfire may disturb
neighbors. To help prevent alarm and misunderstanding, notify neighbors and local law enforcement officials when and where the target practice will occur.

Hunters with Disabilities
Does Connecticut offer any special considerations for hunters with disabilities?
A person who has permanently lost the use of a limb may be issued a hunting or trapping license free-of-charge (permits are not included).

Verification of disability signed by a licensed physician must be presented.

Paraplegics may also be eligible to hunt from an ATV (All Terrain Vehicle).



   The CT DEEP and MassWildlife have nalized a Memorandum of Understanding which establishes that both states (Connecticut and Massachusetts), pursuant to their
   respective authorities (Section 26-29b of the CGS and Massachusetts GL c 131 Subsection 11), agree to issue free inland shing and hunting, or combination inland shing and
   hunting licenses to a resident of the other state who is the holder of a valid hunting, shing, or combination inland shing and hunting license issued to them by their state of
   residency that speci es that said individual is paraplegic. The individual must, however, still purchase any necessary permits or stamps required by either MA or CT.



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Some hunting areas are especially suited for hunters with disabilities and have access improvements to accommodate those hunters. They are listed in the current Hunting and
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Trapping Guide (/DEEP/Hunting/Hunting-and-Trapping-Information) and the CT Interactive Hunting Area Map (/DEEP/Hunting/Public-Hunting-Areas).

Content last updated in November 2022.




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CT.gov Home    (/) Department of Energy & Environmental Protection      (/DEEP) State Parks    (/DEEP/State-Parks/Connecticut-State-Parks-and-Forests)

Sleeping Giant State Park   (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park)   Overview/History

Sleeping Giant State Park

  Welcome (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park)

  Overview/History (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Overview)


  Activities (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Activities)

  Camping (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Camping)

  Fishing (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Fishing)

  Facilities (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Facilities)

  Fees (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Fees)


  Maps (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Maps)

  Getting Here (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Getting-Here)

  Related Information (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Related-Information)

  In the Area (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/In-the-Area)

  Contact the Park (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Contact)




Provided by:
Department of Energy & Environmental Protection (/DEEP)



Overview/History
Two miles of mountaintop resembling a large man lying in repose, the "sleeping giant", is a popular feature of the south central Connecticut skyline. A 1 1/2 mile scenic trail leads to
the stone observation tower on the peak of Mt. Carmel which provides an excellent view of Long Island Sound and the New Haven area. In 1924 Sleeping Giant was designated as a
state park.




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Trails & Maps




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Sleeping Giant Park Association constructed and now maintains the 32-mile
backcountry trail system at Sleeping Giant State Park. From the challenging
Blue Trail, to the moderate Nature Trail, there is something for everyone at the
Giant.

The modern-day trail system was designed and constructed by Ned Greist and
Dick Elliott from 1957 – 1960, and is one of the best hiking networks in the
state. In 1977, the trail system became the first trail in Connecticut to be
recognized by the Secretary of the Interior as a National Recreation Trail.




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Popular Trails at the Sleeping
Giant


   Tower Path                             Nature Trail
   1.5 miles                              1.5 miles
   Easy                                   Moderate
   A popular trail for first-time         A hidden gem, the Nature
   visitors, the tower path is the        Trail is a moderate loop that
   easiest route up the Giant. A          makes for a great family
   wide, gravel path gently               outing. With numbered
   climbs to the tower with 360-          stations along the way,
   degree views.                          visitors can learn about the
                                          natural history of the park’s
                                          flora and fauna. Learn more
                                          here.




   Red Circle Gorge                       Blue Trail
   0.75 miles                             5.1 miles
   Difficult                              Very Difficult

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  From the trailhead on Tuttle           The Blue Trail at Sleeping
  Ave, the Red Circle Trail              Giant comprises the eastern
  follows one of the most                portion of the 20-mile
  beautiful geologic features on         Quinnipiac Trail, part of CT’s
  the Giant - an incredible gorge        800+ mile Blue-Blazed Hiking
  complete with cascades and             Trail. Traversing the Giant
  pools. The gorge ends just             from head-to-toe, this is the
  before Red intersects with             most difficult trail at the park
  Violet.                                and rewards intrepid hikers
                                         great views along the way.




Discover Every Trail with Free
            Maps




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                             PDF Map           DOWNLOAD


SGPA produces and prints trail maps for the park’s visitors. Printed trail maps are
available at the kiosk near the main parking area, but we encourage visitors to save
paper by downloading a digital version of the map here.




                       Mobile, GPS Map              DOWNLOAD


A free, mobile-friendly, GPS-enabled map is available for download on the Avenza
Maps app. Simply download Avenza Maps, and search for “Sleeping Giant State Park”
in the map store. Once downloaded, your location will display on the map and you
can track your hikes, all without using cellular data.




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Where to park at Sleeping Giant
State Park?
200 Mt. Carmel Avenue, Hamden – This is the main parking lot for
the park, and provides access to most trails on the Giant, including the Tower
Path and Nature Trail. If it is your first time visiting the park, you should plan to
park here

Chestnut Lane – A popular access point for the eastern side of the park,
this parking area is located at the end of Chestnut Road, just before it turns
into Blue Trail Road.

Others – Additional parking areas are located along Tuttle Avenue (at the
northern trailhead for the Red Diamond and Red Circle trails); Mount Carmel
Avenue (at the southern trailhead for the Red Circle and Red Square trails);
and on Mansion Road (at the northern trailhead of the Red Square trail).




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Parking Fees – Thanks to Connecticut’s “Passport to Parks” program,
parking is free for all vehicles registered with a Connecticut license plate. From
April 1 through October 31, out-of-state vehicles are subject to a $15 parking
fee on the weekends, and a $10 parking fee on weekdays.




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                Help us improve the Giant
      Name


      Email


      Message




                                        S e n d


If You See Something, Say
Something
The Sleeping Giant Trail Crew is committed to keeping all 32 miles of trails clear
and open. If you see a hazard or obstacle on your hike, such as a downed tree,
damaged bridge, or vandalism, please use this form to report the issue.

Your report will ensure that our volunteers can address the issue as promptly
as possible.




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SGPA Information

      P.O. Box 185340, Hamden, CT 06518

     admin@sgpa.org




SGPA is an all-volunteer 501(c)3 non-profit organization, dedicated to protecting and caring
                                   for the Sleeping Giant.




Park Information

      200 Mt Carmel Ave, Hamden, CT 06518

     860-424-3200


SGPA thanks Tom Granucci and Aaron Lefland for allowing us to use their photographs and to
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CT.gov Home    (/) Department of Energy & Environmental Protection      (/DEEP) State Parks    (/DEEP/State-Parks/Connecticut-State-Parks-and-Forests)

Sleeping Giant State Park   (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park)   Related Information

Sleeping Giant State Park

   Welcome (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park)

   Overview/History (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Overview)


   Activities (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Activities)

   Camping (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Camping)

   Fishing (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Fishing)

   Facilities (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Facilities)

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   Maps (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Maps)

   Getting Here (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Getting-Here)

   Related Information (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Related-Information)

   In the Area (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/In-the-Area)

   Contact the Park (/DEEP/State-Parks/Parks/Sleeping-Giant-State-Park/Contact)




Provided by:
Department of Energy & Environmental Protection (/DEEP)



Related Information
       ACCESSIBILITY

This park offers:

    Parking


    Picnic Tables


HOURS:
The park is open from 8 am to sunset.


PETS:
Pets on a leash are permitted in picnic areas and on hiking trails.


Related Links
Connecticut Tourism Information (http://www.ctvisit.com/)
The Sleeping Giant Park Association (http://www.sgpa.org/)
Fishing Information (/DEEP/Fishing/CT-Fishing)




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Other Ways to
Enjoy the Park

While perhaps best known for its 32-miles of trails, Sleeping Giant State Park
offers much more than hiking.

Visitors from around the state come to the Giant for birding, fishing, climbing,
and other opportunities afforded by this rugged and natural landscape.




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Birding and Wildlife Spotting
Comprising over 1500 acres of pristine woodlands, wetlands, cliffs, and
talus, it’s no wonder that Sleeping Giant is a paradise for wildlife. Over 125
species of birds have been observed at the park, including a number of
threatened and endangered species. In fact, Sleeping Giant has been
designated as a “Hotspot” on the Cornell Lab of Ornithology’s eBird app.

Other wildlife sightings are not uncommon, including occasional
encounters with deer, bear, bobcat, foxes, and more. Please remember to
give wildlife space, observe from a distance, and keep your dog(s) leashed.




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Picknicking & Events
While the park’s picnic area was heavily impacted by the 2018 tornadoes,
there are still picnic tables, fireplaces, water, restrooms, and a covered
pavilion for visitors to enjoy.

Visitors wishing to use the pavilion should rent the space using CT DEEP’s
rental page.




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Cross Country Skiing
In addition to hiking trails, SGPA constructed and maintains a cross country
ski trail. While deep snowpack is less frequent than it once was, the trail
can still be enjoyed after a good winter storm.

The trail, marked with crossed white skis and poles on a black blaze, is
accessible from: the Red Circle trailhead on Tuttle Avenue; the Red Square
trailhead on Mansion Road; or the multiple trailheads on Chestnut Lane.

Click here for a trail map.




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Youth Group Camping
A limited number of camping areas are available to non-profit, youth-
oriented organizations. Youth Group Camp areas are available by written
application through CT DEEP. All other camping is prohibited.

For more information, please visit DEEP’s Youth Group Camping website.




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Fishing
The clean, cold waters of the Mill River flow through the park, and provide
habitat for a variety of fish species. The park is a designated Trout
Management Area, and all fishing must be licensed and done in accordance
with laws and regulations set forth by CT DEEP.




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Rock Climbing
In the early 1900s, Sleeping Giant was the epicenter of climbing in
Connecticut. Many legendary climbers established routes here, including
Hassler and Roger Whitney, Fritz Wiessner, Jim Adair, John Reppy and Sam
Streibert. The state banned climbing in the park following an accident in
1953, but has since reopened the park to climbers.

Rock climbing at the park should only be undertaken by experienced
climbers, with appropriate training, on established routes. Climbing on the
quarry is prohibited, as there is abundant loose rock from historic blasting
and quarrying.




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The park is a great place for many other forms of
 passive recreation, including meditation, snow
        shoeing, photography, and more.
 Whatever activity brings you to Sleeping Giant
State Park, please be sure to adhere to the rules
   of the park, set forth by Connecticut DEEP.




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SGPA Information

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Park Information

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     860-424-3200


SGPA thanks Tom Granucci and Aaron Lefland for allowing us to use their photographs and to
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                                                                                                                                                                         (/DEEP)
Connecticut
Department of Energy & Environmental Protection
CT.gov Home   (/) Department of Energy & Environmental Protection   (/DEEP) State Parks   (/DEEP/State-Parks/Connecticut-State-Parks-and-Forests)   Other State Parks and Forests



Other State Parks and Forests
Above All State Park (31 acres) Warren/Litchfield

    Services: Walk-in Park (Undeveloped)

    Location: From the junction of Route 45 and Route 341 in Warren, proceed north on Route 45 for 0.2 mile and turn left on Sackett Hill Road. Follow Sackett Hill Road 0.7 mile
    and turn left on Above All Road. Follow Above All Road for 1.0 mile to the barred gate on the left.

    Fee: There is no parking fee at this park.


Algonquin State Forest - Colebrook

    Activities: Hiking, Letterboxing (/DEEP/Forestry/Letterboxing/The-Clues-to-Letterbox-Sites-on-Connecticuts-State-Forests), Wildlife Viewing, Hunting (in some sections of
    forest) Additional Recreational Trail Use Information (/DEEP/State-Parks/Recreation-Information/Recreational-Trail-Use-Information)

    Location: From the junction of Route 8 and Route 20 in Winchester, proceed north on Route 8 3.0 miles and turn left on Sandy Brook Road. Follow Sandy Brook Road 1.1 miles
    to the pull-off for the White Trail on the right.

    Fee: There is no parking fee at this forest.


Beaver Brook State Park (401 acres) - Chaplin, Windham

    Activities: Hunting

    Services: Walk-in Park (Undeveloped)

    Location: From the junction of Route 203 and Route 14 in Windham Center, follow Route 14 east 0.7 mile and turn left on Back Road. The pond is 2.5 miles north, on the left.

    Fee: There is no parking fee at this park.


Becket Hill State Park Reserve (260 acres) - Lyme

    Services: Walk-In Park (Undeveloped)

    Location: From the junction of Route 82 and Route 156 in East Haddam, proceed south on Route 156 for 4.9 miles. The entrance is on the left.

    Fee: There is no parking fee at this park.


Bolton Notch State Park (95 acres) - Bolton

    Activities: Hiking, Rock Climbing

    Location: At the junction of Route 44 and Route 6 in Bolton. Heading west on I-384 from Bolton Notch, turn right at end of guardrail and go downhill to parking lot. Hiking trail
    is unmarked; trail starts just across from the parking lot. (Trail is maintained by Bolton Conservation Commission.)

    Fee: There is no parking fee at this park.

    Park Map


Brainard Homestead State Park (25 acres) - East Haddam

    Activities: Bird Watching, Field Sports, Hiking

    Services: Walk-in Park

    Location: From the junction of Route 149 and route 82 in East Haddam, proceed north on Route 149 for 0.8 mile and turn right on Landing Hill Road. Follow Landing Hill Road
    for 0.4 mile and turn right on Maple Avenue. Follow 0.1 mile and turn right on Creek Row (a dirt road). Park on the right by the open fields.

    Fee: There is no parking fee at this park.


Dart Island State Park (19 acres) - Middletown

    Activities: Bird Watching, Boating, Fishing

    Location: In the Connecticut river in Middletown; Access to this park is by water only.

    Fee: There is no parking fee at this park.


Ferry Landing State Park - Old Lyme

    Activities: Fishing, Bird Watching, Crabbing

    Location: At Connecticut Marine Headquarters, Ferry Road, Old Lyme. I-95 to exit 70, Route 156, right onto Ferry Road. Follow to the end.

    Fee: There is no fee at this park.
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George Waldo State Park (150 acres) - Southbury
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    Activities: Fishing, Hiking, Horseback Riding, Hunting, Mountain Biking, Additional Recreational Trail Use Information (/DEEP/State-Parks/Recreation-
    Information/Recreational-Trail-Use-Information)

    Services: Walk-In Park

    Location: From the intersection of Routes 6 and 67 in Southbury, follow Route 67 (Roxbury Road) west for 2 miles and turn left (south) on Route 172. Follow Route 172 south for
    2.1 miles and turn right (west) onto Spruce Brook Road. Follow Spruce Brook Road for 1.25 miles and bear left at the intersection onto Stilson Road. Follow Stilson for 0.6 miles
    to its end and turn left (south) onto Purchase Brook Road. The park entrance is 1.3 miles south of Stilson on the right (west).

    Fee: There is no parking fee at this park.

    Park Map


    George Waldo State Park enjoys 150 acres of undeveloped, topographically diverse land in southwest Connecticut. A trail of about 7/10 mile leads from Purchase Brook Road to
    the shore of Lake Lillinonah, drops 140 feet across its length and passes through mixed deciduous and coniferous total forest cover to the water's edge. Look for wetlands by
    the trailhead and stone walls away from the trail.

Haddam Island - Haddam

    Activities: Bird Watching, Boating, Fishing

    Location: In the Connecticut River at Haddam; Access to this park is by water only.

    Fee: There is no parking fee at this park.


Higganum Reservoir State Park (147 acres) - Higganum

    Activities: Boating (car top), Fishing, Hiking, Hunting

    Services: Walk-In Park, Car Top Boat Ramp (/DEEP/Boating/Boat-Launches/Higganum-Reservoir-Boat-Launch)

    Location: From the junction of Route 154 and Route 81, proceed south on Route 81 for 0.1 miles. Parking lot on right at base of dam. For the boat ramp (/DEEP/Boating/Boat-
    Launches/Higganum-Reservoir-Boat-Launch), follow Route 81 1.0 mile south of Route 154 and turn right on Dish Mill Road.

    Fee: There is no parking fee at this park.


Hopemead State Park (60 acres) - Bozrah/Montville

    Activities: Fishing, Hiking

    Location: From the junction of Route 82 and Route 163 in Bozrah, follow Route 82 west and immediately take the first right on Church Road. Follow Church Road to the end and
    turn right on Doyle Road. Follow 0.2 mile and turn left on Cottage Road. Follow Cottage Road 0.8 mile to the Park on the left.

    Fee: There is no parking fee at this park.


Horse Guard State Park (105 acres) - Avon

    Services: Walk-in Park (Undeveloped)

    Location: From the junction of Routes 167 and 44 in Avon, follow Route 167 south 1.1 miles to wooded area on west side of road.

    Fee: There is no parking fee at this park.

    Trail Map


Housatonic State Forest - Sharon

    Activities: Hiking, Hunting, Letterboxing (/DEEP/Forestry/Letterboxing/The-Clues-to-Letterbox-Sites-on-Connecticuts-State-Forests), Mountain Biking, Snowmobiling,
    Additional Recreational Trail Use Information (/DEEP/State-Parks/Recreation-Information/Recreational-Trail-Use-Information)

    Location: Mine Mountain Block: This block is most commonly accessed via the Appalachian Trail. Sharon Mountain Block: From the junction of Route 7 and Route 128 in
    West Cornwall (opposite the Cornwall covered bridge), turn north on Route 7 and take an immediate left on West Cornwall Road. Follow 3.6 miles to the Forest entrance on the
    right. Cream Hill Block: From the junction of Route 7 and Route 128 in West Cornwall, proceed east on Route 128 for 0.2 mile (passing through the covered bridge). Turn left
    on River Road and follow for 3.9 miles. Turn right on Music Mountain Road and follow 0.9 miles to the parking area on the left. Canaan Mountain Block: This block is most
    easily accessed via Beckley Furnace State Park. Gold's Pines Block: From the junction of Route 128 and Route 125 in Cornwall, proceed west on Route 128 for 1.1 miles to the
    forest entrance on the left.

    Fee: There is no parking fee at this forest.

    State Forest Management Plan for Gold's Pines Natural Area Preserve and Gold's Pine Block of Housatonic Pine Forest


Humaston Brook State Park (141 acres) - Litchfield

    Activities: Fishing, Hiking

    Services: Undeveloped

    Location: From Route 254 in Northfield, take Knife Shop Road 0.2 mile northeast to the dam. To get to the trail, turn left on Newton Road, left on White Road and park
    immediately.

    Fee: There is no parking fee at this park.
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Killingly Pond State Park (Wauregan Res) (162 acres) - Killingly
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    Activities: Fishing Hiking, Hunting

    Location: From the junction of Route 12 and Route 101 in Killingly, proceed east on Route 101 3.9 miles and turn left on Pond Road. The lake is on the right in 0.8 mile.

    Fee: There is no parking fee at this park.

    Alcoholic Beverages Prohibited: Please do not bring alcoholic beverages.


Lamentation Mountain State Park (47 acres) - Berlin

    Activities: Hiking, Scenic Vistas

    Location: From the junction of the Wilbur Cross Parkway (Route 15), Route 691 and Route 66 in Meriden, proceed north on Route 15 (which becomes the Berlin Turnpike).
    Follow the Berlin Turnpike north 3.1 miles to Spruce Brook Road. Turn right on Spruce Brook and park at the Mattabesett Trail marker. Follow the trail south to Lamentation
    Mountain.

    Fee: There is no parking fee at this park.


Meshomasic State Forest - East Hampton, Glastonbury, Portland

    Activities: Fishing, Hiking, Letterboxing, Hunting, Additional Recreational Trail Use Information (/DEEP/State-Parks/Recreation-Information/Recreational-Trail-Use-
    Information)

    Services: Parking, Public Shooting Range (/DEEP/Hunting/Glastonbury-Shooting-Range), 8 miles of gravel forest roads seasonally open to the public

    Fee: There is no parking fee at this forest.

    State Forest Management Plan for Meshomasic State Forest


Mianus River State Park (527 acres) - Stamford

    Activities: Biking, Fishing, Hiking, Horseback Riding

    Services: Limited Parking

    Location: From the junction of Route 104 and Route 15 (Merritt Parkway, Exit 34), proceed north on Route 104 for 3.1 miles and turn left on Riverbank Road. Follow this road for
    5.1 miles (noting that in 3.4 miles, the name changes to Westover Road.) Turn right on Merribrook Lane and follow 0.2 mile to the small parking areas on either side of the road.

    Fee: There is no parking fee at this park.


Minnie Island State Park (1 acre) - Bozrah/Montville

    Activities: Boating, Fishing, Picnicking

    Location: The island is accessible only by boat. It is in Gardner Lake opposite the boat ramp.

    Fee: There is no parking fee at this park.


Mohegan State Forest - Scotland

    Activities: Hiking, Letterboxing (/DEEP/Forestry/Letterboxing/The-Clues-to-Letterbox-Sites-on-Connecticuts-State-Forests), Hunting, Additional Recreational Trail Use
    Information (/DEEP/State-Parks/Recreation-Information/Recreational-Trail-Use-Information)

    Location: From the junction of Route 14 and Route 97 in Scotland, proceed south on Route 97 3.1 miles. Turn right on Waldo Road and park on the left in 0.5 mile.

    Fee: There is no parking fee at this forest.


Mono Pond State Park Reserve (218 acres) - Columbia

    Activities: Bird Watching, Boating, Cross-Country Skiing, Fishing, Hiking, Picnicking, Hunting

    Services: Boat Launch (/DEEP/Boating/Boat-Launches/Mono-Pond-Boat-Launch), Parking

    Location: 1.5 miles south of Route 66 on Hunt Road

    Other: Bow hunting is allowed in the fall on the west side of the pond. Check the hunting guide for hours and restrictions. Boating is limited due to shallow water throughout
    much of pond. There is an 8 mph limit but the pond is best used by canoe, kayak and row boat. Pond depths average 3.5 feet with a small area of 9 feet by the dam. Hiking trails
    marked by Columbia Conservation Commission.

    Fee: There is no parking fee at this park.


Mount Bushnell State Park (214 acres) - Washington

    Activities: Walk-In Park (Undeveloped)

    Location: Mount Bushnell is off Tinker Hill Road in New Preston

    Fee: There is no parking fee at this park.


Mount Riga State Park (276 acres) - Salisbury

    Activities: Hiking, Hunting (Archery deer/turkey only)                            App.69
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                             Case    23-1023, Document
                                  3:23-cv-00056-JBA    42, 11/22/2023,
                                                    Document           3592752,
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                                                                           01/28/23    of 273
    Location: From the junction of Route 44 and Route 41 in the center of Salisbury, proceed north on Route 41 3.2 miles to the Undermountain Trail parking area on the left.
                                                                                     Page  5 of 9
    Fee: There is no parking fee at this park.


Nassahegon State Forest - Burlington

    Activities: Hiking, Letterboxing (/DEEP/Forestry/Letterboxing/The-Clues-to-Letterbox-Sites-on-Connecticuts-State-Forests), Hunting, Additional Recreational Trail Use
    Information (/DEEP/State-Parks/Recreation-Information/Recreational-Trail-Use-Information)

    Location: From the intersection of Route 179 and Route 4 in Burlington, turn west on Route 4 and follow 2.0 miles to the fish hatchery on the left.

    Fee: There is no parking fee at this forest.


Nathan Hale State Forest - Coventry/ Andover

    Activities: Hiking, Letterboxing (/DEEP/Forestry/Letterboxing/The-Clues-to-Letterbox-Sites-on-Connecticuts-State-Forests), Hunting, Connecticut Antiquarian and Landmarks
    Society operates the nearby Nathan Hale Homestead (http://www.ctlandmarks.org/index.php?page=nathan-hale-homestead), Additional Recreational Trail Use
    Information (/DEEP/State-Parks/Recreation-Information/Recreational-Trail-Use-Information)

    Location: Between Talcott Hill Road in Coventry and Bear Swamp Road in Andover. From the junction of Route 31 and Route 44 in Coventry, proceed south on Route 31. Take
    second right on South River Road and follow to Case Road. Turn right on Case road and then turn left into Creaser Park for parking and trails.

    Fee: There is no parking fee at this forest.

    State Forest Management Plan for Nathan Hale State Forest.


Naugatuck State Forest - Cheshire/Hamden/Naugatuck/Oxford/Beacon Falls

    East and West Blocks (Naugatuck/Oxford/Beacon Falls)

    Activities: Fishing, Hiking, Letterboxing (/DEEP/Forestry/Letterboxing/The-Clues-to-Letterbox-Sites-on-Connecticuts-State-Forests), Mountain Biking, Snowmobiling, Target
    Shooting (for updated target shooting information see Hunting & Fishing Guide (https://www.ct.gov/deep/cwp/view.asp?a=2700&q=556882&deepNav_GID=1633)), Hunting,
    Additional Recreational Trail Use Information (/DEEP/State-Parks/Recreation-Information/Recreational-Trail-Use-Information)

    Location: The East Block of the Forest is north of Beacon Falls on the east side of the Naugatuck River. The West Block is north of Beacon Falls on the west side of the Naugatuck
    River.

    East Block: From the junction of Routes 42 and 63 in Bethany, go west on Route 42 and park on the right side (north side) at the blue oval sign for the Naugatuck Trail. GPS
    coordinates:W73 0.55, N41 27.151. Another entrance to the East Block is off of Andrasko Road in Beacon Falls. Follow Cross Street (exit 26 off Route 8) to Andrasko Road. GPS
    coordinates:W73 3.082, N41 28.052. Printer Friendly Map          . GPS friendly Map     .

    West Block: There is parking at the end of Hunter’s Mt. Rd. in Naugatuck. GPS coordinates:W73 5.105, N41 28.401. There is also parking at the end of Cold Spring Road in
    Beacon Falls (closed during winter). GPS coordinates:W73 3.768, N41 27.358. Map             . GPS friendly map    for use with mobile apps.

    For access to the Oxford Reservoirs: There is parking off of Rt. 42 at the intersection of Old Litchfield Turnpike in Oxford. GPS coordinates:W73 5.289, N41 26.1. There is also
    parking off of Chestnut Tree Hill Road in Oxford. GPS coordinates:W73 5.549, N41 26.996.
    Fee: There is no parking fee at this forest.


    Mt. Sanford Block (Cheshire/Hamden)

    Activities: Hiking, Hunting, Mountain Biking, Youth Group Camping (/DEEP/State-Parks/Camping/Youth-Group-Camping---CT-State-Parks-and-Forests), Additional
    Recreational Trail Use Information (/DEEP/State-Parks/Recreation-Information/Recreational-Trail-Use-Information)

    Location: There is parking at the south entrance at the end of Downes Road in Hamden. There is also parking at the north entrance off of Route 42 in Cheshire.

    South Entrance – From the intersection of Gaylord Mountain Road and Downes Road in Hamden, follow Downes Road north for 0.5 miles to the cul-de-sac at the end of the
    road. Park at the cul-de-sac. The YMCA Camp at the end of Downes Road is private property and is off limits to the public. To access the State Forest, take the Blue Trail or the
    White Trail as shown on the DEEP Trail map for this Block. GPS coordinates:W72 56.803, N41 27.013.

    North Entrance – The parking area is on the south side of Rt. 42. GPS coordinates:W72 57.032, N41 28.042.

    Fee: There is no parking fee at this forest.

    Trail Map - printer friendly map

    State Forest Management Plan for Naugatuck State Forest - Mount Sanford Block


    Quillinan Reservoir Block (Ansonia/Seymour)

    Activities: Fishing, Paddle Sports, Hiking, Mountain Biking, Snowshoeing and Cross Country Skiing

    Location: There is a parking area on Rt. 313 in Seymour. In Ansonia, there are parking areas on Beaver Street and at the end of Buswell Street.

    Fee: There is no parking fee at this forest.


    Trail Map - printer friendly map

    Trail Map - GPS friendly map         for use with mobile apps.


    State Forest Management Plan for Naugatuck State Forest - Great Hill Block




Nepaug State Forest - New Hartford                                                    App.70
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    Activities: Biking, Camping, Cross-Country Skiing, Fishing, Hiking, Letterboxing (/DEEP/Forestry/Letterboxing/The-Clues-to-Letterbox-Sites-on-Connecticuts-State-Forests),
                                                                                      Page  6 of 9
    Hunting, Additional Recreational Trail Use Information (/DEEP/State-Parks/Recreation-Information/Recreational-Trail-Use-Information)

    Services: Backpack Shelter

    Location: From the junction of Route 202 and Route 44 in Canton, follow Route 202 west 3.1 miles to the Forest entrance on the right.

    Fee: There is no parking fee at this forest.

    There is an alcohol ban in place at Nepaug State Forest. Please do not bring alcoholic beverages and plan your visit accordingly.

    Trail Map


Nye-Holman State Forest - Tolland

    Activities: Fishing, Hiking, Letterboxing (/DEEP/Forestry/Letterboxing/The-Clues-to-Letterbox-Sites-on-Connecticuts-State-Forests), Youth Group Camping, Hunting,
    Additional Recreational Trail Use Information (/DEEP/State-Parks/Recreation-Information/Recreational-Trail-Use-Information)

    Services: Parking

    Location: From the junction of Route 84 and Route 74 in Tolland (Exit 69), proceed east on Route 74 and take the first left into the forest.

    Fee: There is no parking fee at this forest.

    Trail Map


Paugussett State Forest - Newtown

    Activities: Boating, Fishing, Hiking, Letterboxing (/DEEP/Forestry/Letterboxing/The-Clues-to-Letterbox-Sites-on-Connecticuts-State-Forests), Hunting, Mountain Biking,
    Additional Recreational Trail Use Information (/DEEP/State-Parks/Recreation-Information/Recreational-Trail-Use-Information)

    Services: Parking, Boat Launch (/DEEP/Boating/Boat-Launches/Lake-Lillinonah-Pond-Brook-Boat-Launch)

    Location: Lower Block: From the junction of Route 34 and Route 111 in Monroe, proceed west on Route 34 for 0.1 mile and turn right on Great Quarter Road. Follow this road
    to the end (1.4 miles) and park at the trailhead. Upper Block: From the junction of Route 6 and Route 25 in the center of Newtown (at the flagpole), proceed north on Route
    6/25 for 0.2 mile and turn right on Hanover Road. Follow Hanover Road 1.1 miles to the end, and turn left on the Boulevard. Follow the Boulevard 0.5 mile and turn right on
    Echo Valley Road. Follow Echo Valley Road 1.3 miles to the fork, and bear left. Follow sign into the Forest. Boat Launch: For the boat launch, from the corner of Hanover Road
    and the Boulevard, turn left on the Boulevard and follow 2.3 miles to the Pond Brook boat launch on the right.


    Fee: There is no parking fee at this forest.

    Trail Map       (Upper Block)

    Trail Map       (Lower Block)

    Trail Map       (Lower Block - GPS friendly for use with mobile apps)




Platt Hill State Park (159 acres) - Winchester

    Activities: Bird Watching, Hiking, Picnicking, Scenic Vistas

    Services: Parking, Walk-In Park

    Location: From the junction of Route 44 and Route 263 in Winchester, proceeds south on Route 263 1.5 miles and turn left on Platt Hill Road. In 1.5 miles, turn left into the
    park.

    Fee: There is no parking fee at this park.


Pomeroy State Park Scenic Reserve (200 acres) - Lebanon

    Activities: Hiking, Hunting

    Services: Undeveloped Park

    Location: On Route 289 south of Route 32 in Willimantic.

    Fee: There is no formal parking area at this park.


Pootatuck State Forest - New Fairfield

    Activities: Hiking, Letterboxing (/DEEP/Forestry/Letterboxing/The-Clues-to-Letterbox-Sites-on-Connecticuts-State-Forests), Mountain Biking, Snowmobiling, Hunting,
    Additional Recreational Trail Use Information (/DEEP/State-Parks/Recreation-Information/Recreational-Trail-Use-Information)

    Location: Access is through Squantz Pond State Park. Additional non-paved parking and access is available off Shortwoods Road and Pine Hill Road.

    Fee: There is no parking fee at this forest.

    Trail Map        (included on Squantz Pond Trail Map)


Quaddick State Forest - Thompson

    Activities: Hiking, Fishing, Letterboxing (/DEEP/Forestry/Letterboxing/The-Clues-to-Letterbox-Sites-on-Connecticuts-State-Forests), Youth Group Camping, Hunting,
    Additional Recreational Trail Use Information (/DEEP/State-Parks/Recreation-Information/Recreational-Trail-Use-Information)

    Location: The forest is north of the park on both sides of the lake. The western block is crossed by Baker and Brandy Hill Roads; the eastern part is served by Baker Road and
    Quaddick Town Farm Road.                                                          App.71
                                Case
                              Case    23-1023, Document
                                   3:23-cv-00056-JBA    42, 11/22/2023,
                                                     Document           3592752,
    Fee: There are separate parking fees for vehicles with out of state plates.
                                                                13-10 Filed      Page74
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                                                                                      Page  7 of 9
Quinebaug Lake State Park (181 acres) - Killingly

    Activities: Boating, Fishing

    Services:Car-top Boat Ramp (/DEEP/Boating/Boat-Launches/Quinebaug-Pond-Boat-Launch)

    Location: From the junction of Route 6 and Route 12, proceed south on Route 12 for 1.1 miles and turn left on Shepard Hill Road. Following the boat-launch signs take an
    immediate left and the first right (in 0.2 mile) to the lake.

    Fee: There is no parking fee at this park.


Rocky Glen State Park (46 acres) - Newtown

    Activities: Hiking

    Location: From Route 84, take exit 10 and turn north on Church Hill Road toward Sandy Hook. Follow Church Hill 0.3 mile and turn left on Dayton Street. Follow 0.3 mile to the
    bridge. For the cascade, follow Church Hill Road an additional 0.3 mile and turn left on Glen Road. An unimproved road on the left in 0.4 mile leads to the trail

    Fee: There is no parking fee at this park.


Ross Pond State Park (314 acres) - Killingly

    Activities: Boating, Fishing, Hiking, Hunting

    Services: Gravel Parking, outhouse

    Location: From exit 91 on Route 395, take Route 6 east and an immediate right on South Frontage Road. Follow 0.4 mile and turn right on Ross Road (follow the boat ramp
    signs). Follow 0.4 mile and turn right on the unmarked road; follow 0.6 mile to the ramp.

    Fee: There is no parking fee at this park.


Satan's Kingdom State Recreation Area - New Hartford

    Activities: Hiking, Canoeing, Kayaking, Tubing

    Services: Public Canoe/Kayak/Tube Launch Area, Vendor on site for tubing rentals.

    Location: From the junction of Route 202 and Route 44 in Canton, follow Route 44 west 2.6 miles to the Forest entrance on the right.

    Fee: There is no parking fee at this park. Vendor charges fee for rentals - additional information (http://www.farmingtonrivertubing.com/)

    There is an alcohol ban in place at Satan's Kingdom State Recreation Area. Please do not bring alcoholic beverages and plan your visit accordingly.

    This park can be quite congested during the summer tubing season.


Scantic River State Park (784 acres) - Enfield, East Windsor, Somers

    Activities: Birding, Fishing, Hiking, Hunting

    Printer Friendly trail maps

         Enfield and Somers

         Enfield

         East Windsor

    GPS Friendly trail map for use with mobile apps such as Avenza

         Enfield and Somers

         Enfield

         East Windsor

    Location: Scantic River State Park has a number of access locations along the Scantic River in the towns of Somers, Enfield and East Windsor.

    Fee: There is no parking fee at this park.

    There is an alcohol ban in place at Scantic River State Park. Please do not bring alcoholic beverages and plan your visit accordingly.


Seaside State Park (33.4 acres) - Waterford

    Activities: Walking, hiking, fishing, birdwatching

    Services: Walk-in, undeveloped. Unmarked parking, portable toilets.

    Location: From the north, take CT-2 E towards Norwich/New London
    Take CT-11 S via Exit 19. Take exit 4 from CT-11 S
    Take CT-85 S, Cross Rd and CT-213 N/ Great Neck Rd to Seaside Dr in Waterford
    From the west, get on I-91 N to Rocky Neck in East Lyme. Take exit 72.
    Take CT-156 E to Seaside Dr in Waterford
    From the east, take state Hwy 614/Allyn St, I-95S and CT-213 N/Great Neck Rd to Seaside Dr in Waterford.
                                                                                     App.72
                               Case
                             Case    23-1023, Document
    Fee: There is no parking fee at this park
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Stillwater Pond State Park (226 acres) - Torrington

    Activities: Boating, Fishing

    Services: Paved Parking, Paved Boat Ramp (/DEEP/Boating/Boat-Launches/Stillwater-Pond-Boat-Launch)

    Location: From the junction of Route 4 and Route 272 in Torrington, go north on Route 272 for 1.4 miles to the parking area.

    Fee: There is no parking fee at this park.


Stoddard Hill State Park (55 acres) - Ledyard

    Activities: Boating, Fishing, Hiking

    Services: Car Top Boat Launch (/DEEP/Boating/Boat-Launches/Stoddard-Hill-Boat-Launch)

    Location: From the junction of Routes 12 and 214 in Ledyard, travel north 0.5 miles to the park entrance on left.

    Fee: There is no parking fee at this park.

    Trail Map


    This small, 55 acre park in Ledyard is made up of two sections with its main 48 acre segment being the most used. The entranceway leads to a parking area that has a ramp for
    car-top boat launching on the five acre tidal estuary. The park boasts nearly 2,000 feet of frontage on, and access to, the Thames River, though access to the river is under the
    railroad bridge which could have restricted use during high tides. While most activity is down by the water, the park’s high point of 183 feet above sea level can be reached via a
    trail from the parking area. The trail leads to the top which was once an Indian lookout during times of conflict. Look for the stone walled Stoddard family cemetery in the
    woods 500 feet north (upstream) from the parking area.

Sunnybrook State Park (464 acres) -Torrington

    Activities: Fishing, Hiking, Picnicking, Hunting

    Services: Walk-in Park

    Location: From Burr Pond State Park, turn right on Burr Mountain Road and follow 0.5 mile to Winsted Road. Turn right on Winsted Road and follow 4.1 miles to Newfield Road.
    Turn right on Newfield Road and follow 2.4 miles to the park on the left.

    Fee: There is no parking fee at this park.

    Park Map


Sunrise Resort State Park (143 acres) - East Haddam

    Activities: Hiking, Kayaking

    Location: Route 151 (Leesville Road) in East Haddam. One mile south of the intersection with Route 196.

    Fee: There is no parking fee at this park.

    Park Map


Tri-Mountain State Park (157 acres) - Durham/Wallingford

    Activities: Hiking

    Location: Access to the Park is via the Mattabesett Trail. The nearest crossing north of the Park is on Durham Road (Route 68) at Reed Gap. On the south, the trail crosses Howd
    Road west of the intersection with Trimountain Road. There is no road access to the Park.

    Fee: There is no parking fee at this park.


Trout Brook Valley State Park Reserve (300 acres) - Easton

    Activities: Hiking, Hunting

    Services: Walk-In Park

    Location: As of May 2020, Bradley Road parking area is closed on weekends. This walk-in park is accessible from north of the gate at Bradley Road in Weston. To reach the
    Bradley Road gate begin at the intersection of Routes 58 and 136 in Easton and follow 136 south. Follow Route 136 for 0.7 and turn right onto Old Redding Road. Follow Old
    Redding 1.8 miles to its end and turn right onto Valley Forge Road. Follow Valley Forge 0.2 mile and turn right onto Bradley Road. Follow Bradley to end.

    Fee: There is no parking fee at this park.


    The 300 acres of Trout Brook Valley State Park in Easton, Connecticut are just a portion of the greater valley preservation effort that encompasses 758 acres in the towns of
    Easton and Weston. This walk-in park is accessible from north of the gate at Bradley Road in Weston and can be explored by following its dirt roads or cross country through
    valleys and over rugged hills, always under a mixed deciduous and coniferous forest cover. Look for wildlife, wetlands and watercourses.

Tunxis State Forest - Granby/Barkhamsted/Hartland

    Activities: Cross-Country Skiing, Fishing, Hiking, Letterboxing (/DEEP/Forestry/Letterboxing/The-Clues-to-Letterbox-Sites-on-Connecticuts-State-Forests), Mountain Biking,
    Hunting, Additional Recreational Trail Use Information (/DEEP/State-Parks/Recreation-Information/Recreational-Trail-Use-Information)

    Services: Parking, Boat Launch (/DEEP/Boating/Boat-Launches/Howells-Pond-Boat-Launch)on Howells Pond

                                                                                     App.73
    Location: All of the major features of Tunxis State Forest are located on or near Routes 20 and 179. From the junction of Route 20 and Route 181 in Hartland, proceed east on
    Route 20. For Howell's Pond, proceed east 1.0 mile and turn left on West Street; follow for 1.4 miles and turn left on Old Mill Road (on some maps as Dish Mill Road); follow 0.2
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    mile and turn right at the dam. For the Falls Brook Trail proceed 3.4 miles and park in the small pull-off on the right. For the Tunxis Trail, proceed 7.4 miles and park at the trail
                                                                                     Page  9 of 9
    marker. For Hurricane Brook, follow 7.7 miles and turn left on Hurricane Brook Road; park so as not to block the gate, and follow the path uphill. For the CCC ski area, follow 8.0
    miles and turn right on Balance Rock Road. Follow to the end of the road and park, being careful not to block the cul-de-sac (used by school buses to turn around). Follow the
    roadbed into the woods. After crossing the Blue Blazed Tunxis Trail, look for the ski cabin on the right. For the northern terminus of the Tunxis Trail, follow Route 20 8.8 miles
    and turn left on Old Town Road. Follow Old Town Road 0.6 miles, and turn left on Pell Road and go about 2.5 miles north to the end of road.

    Fee: There is no parking fee at this forest


Whittemore Glen State Park (242 acres) - Naugatuck, Middlebury

    Activities: Hiking, Horseback Riding

    Location: From the junction of Route 188 and Route 63, take Route 63 south 1.3 miles and turn right into the parking area.

    Fee: There is no parking fee at this park.


Wooster Mountain State Park (444 acres) - Danbury

    Activities: Hiking, Skeet, Trap and Target Shooting, Hunting

    Services: Shooting Range (http://www.woostermountain.com/)

    Location: From the junction of Route 7 and Route 84 in Danbury, proceed south on Route 7 for 2.3 miles and turn right into the Park.

    Fee: There is no parking fee at this park.


Wyantenock State Forest - Cornwall, Kent, Warren

    Activities: Hiking, Hunting, Letterboxing (/DEEP/Forestry/Letterboxing/The-Clues-to-Letterbox-Sites-on-Connecticuts-State-Forests), Mountain Biking, Additional
    Recreational Trail Use Information (/DEEP/State-Parks/Recreation-Information/Recreational-Trail-Use-Information)

    Location: Woodville Block: From the junction of Route 341 and Route 202 in Warren, proceed north on Route 341 and turn right into the Forest. Spectacle Pond Block: From
    the junction of Route 341 and Route 41, proceed west on Route 341 for 3.2 miles and turn right on Kenico Road. Follow for 0.6 mile and turn right onto the forest road. The
    Coltsfoot Mountain block: Best accessed from the Mohawk Trail. The nearest trailhead is on the east side of Route 4 at the junction of Route 7 in Cornwall Bridge.

    Fee: There is no parking fee at this forest.

    State Forest Management Plan for Wyantenock State Forest - Woodville Block



(Portions of this page courtesy of "A Shared Landscape - A Guide and History of Connecticut's State Parks & Forests, by Joseph Leary" and the Friends of Connecticut State Parks)
To purchase a copy of "A Shared Landscape", visit the DEEP Store (/DEEP/About/DEEP-Bookstore/The-DEEP-Store)




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Connecticut
Department of Energy & Environmental Protection
CT.gov Home   (/) Department of Energy & Environmental Protection   (/DEEP) Hunting and Trapping    (/DEEP/Hunting/CT-Hunting-and-Trapping)   Public Shooting Opportunities



Public Shooting Opportunities




State Shooting Ranges

Trap or target shooting on any state property or public hunting area is prohibited unless the area is a designated shooting range. Four state-owned public shooting ranges are
available for target shooting, patterning shotguns, and sighting in rifles.

Glastonbury Public Shooting Range (/DEEP/Hunting/Glastonbury-Shooting-Range) - Meshomasic State Forest, Glastonbury. Entry at Toll Gate Road. Paper targets only, clay targets
not allowed. No range fees. Reservations required (https://ct.aspirafocus.com/internetsales?
utm_source=deep_website&utm_medium=glastonbury_public_shooting_range&utm_campaign=permits&utm_content=textlink).

High Rock Cooperative Shooting Range - Naugatuck State Forest, Naugatuck. Operated by the High Rock Shooting Association, Inc. Range hours: Saturday, 9:00 am – 5:00 pm;
Sunday, 12:00 noon – 5:00 pm (check website for scheduled closures). Range fee: $5.00 for the first hour and $5.00 per hour thereafter. No clay targets allowed. State pistol permit
required to shoot handguns. Call 203-720-1101 (tel:2037201101) or check the High Rock Shooting Association website (https://highrockrange.com/) for information.

Nye Holman Field Archery Range - Nye Holman State Forest, Tolland, Rte. 74. Entrance on South River Road. Field course available to public at all times unless otherwise posted.
Field points only, arrows with broadheads are strictly prohibited. Range hours: sunrise to sunset.

Wooster Mountain State Park Cooperative Shooting Range - Wooster Mountain State Park, Danbury. Operated by the Danbury Shooting Sports Association. Located on Route 7,
approximately two miles south of the Danbury Mall. Clay target shooting available. Call 203-794-9821 (tel:203794-9821) or check the Wooster Mountain Shooting Range website
(http://www.woostermountain.com/) for the daily time and fee schedule.

Private Shooting Ranges

The following ranges are private sporting clubs and offer limited opportunity for the public with requirements varying by location. The DEEP is not always aware of hours of
availability, costs, and/or requirements. Please contact the operator directly with any questions.

If your club/range offers public shooting hours you would like reflected here, please email DEEP.FranklinWildlife@ct.gov (mailto:DEEP.FranklinWildlife@ct.gov?subject=Public Shooting
Opportunities).

Manchester Sportsmen's Association - 612 Merrow Rd. Coventry. Open to the public Wednesday 6:00 pm-8:00 pm, Sunday at 10am for Skeet and Trap fields. Email
msactweb@gmail.com (mailto:msactweb@gmail.com) or visit msa-ct.com (https://www.msa-ct.com/) for fees, requirements, and other information.

Branford Gun Club - 40 Red Hill Rd. Branford. Open to the public Sunday 10:00 am-1:00 pm and Wednesday 6:00 pm-10:00 pm. See www.branfordgunclub.com/public-
announements (https://www.branfordgunclub.com/public-announements) for details.

Ramapoo Rifle and Revolver Club Inc. - 60 South Street. Ridgefield. Open to the public Mondays 7:00 pm-10:00 pm. Ridgefield residents pay $10, all other non-members $15,
payment by cash or check. See ramapoo.com (http://ramapoo.com) for details.

Content last updated in July 2022.




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            Carrying Handguns in Connecticut State
                       Parks or Forests
                              By: Janet Kaminski Leduc, Chief Attorney
                                   October 29, 2020 | 2020-R-0289



Issue
This report answers a series of questions about a person’s ability to legally carry a handgun (i.e.,
pistol or revolver) in a Connecticut state park or forest. It updates OLR Report 2010-R-0472.

The Office of Legislative Research is not authorized to provide legal opinions, and this should not be
considered one.


Can a person legally carry a handgun in a state park or forest?
Department of Energy and Environmental Protection (DEEP) regulations prohibit, with exceptions,
hunting or carrying firearms or other weapons in a state park or forest (Conn. Agencies Regs. § 23-
4-1(c)).

According to DEEP, a person may legally possess a handgun in a state park or forest only when
carrying the handgun for hunting small game (e.g., rabbits, squirrels) or participating in other
authorized activities, such as at a firearms range or during a hunter education class. The person
may only do so at predetermined times in areas set aside by DEEP and posted for such purposes
(Conn. Agencies Regs. § 26-66-2(d)). What is permissible for hunters depends on the location and
season. Also, to legally carry a handgun, a person must obtain a permit to do so (CGS § 29-28).

Under state regulations, a person cannot use a handgun using centerfire ammunition to hunt on
state-owned land. A person is also prohibited from using, on state-owned lands, handguns with
ammunition larger than .22 caliber rimfire long rifle cartridges (Conn. Agencies Regs. § 26-66-2(a)).

 www.cga.ct.gov/olr                  Connecticut General Assembly                       (860) 240-8400
 OLRequest@cga.ct.gov                 Office of Legislative Research                        Room 5300
                                    Stephanie A. D’Ambrose, Director          Legislative Office Building

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For more detailed information about hunting requirements, see DEEP’s 2020 Hunting and Trapping
Guide.


What are the penalties for illegally carrying weapons in a state park
or forest in violation of Section 23-4-1(c) of the regulations?
Anyone who illegally carries weapons in a state park or forest commits an infraction (Conn.
Agencies Regs. § 23-4-5(b)(1)). Currently, the total amount due for this infraction is $75, as set by
the judges of the Connecticut Superior Court.

Additionally, DEEP may evict the violator from the property for 24 hours (Conn. Agencies Regs. § 23-
4-5(a)(1)). State law also allows DEEP to prohibit a violator from entering any state park for up to
one year after their conviction date (CGS § 23-4(a)).


Does DEEP exercise control over parts of the National Park Service or
National Wildlife Refuge System within the state (e.g., the
Appalachian Trail)?
According to DEEP, it has authority over the parts of the Appalachian Trail that are on state-owned
park and forest property. Other parts of the trail are on federal property and managed collectively
under a Memorandum of Understanding between DEEP, the National Park Service, Department of
Public Safety, Appalachian Trail Conference, and Appalachian Mountain Club. Trail parts on private
property are not under DEEP’s control.


Does federal law allow someone to legally carry a handgun in parts of
the National Park Service or National Wildlife Refuge System? Can
someone legally carry a handgun while on the part of the
Appalachian Trail that passes through a state park or forest?
Federal law allows anyone who can legally possess firearms under applicable federal, state, and
local laws, to legally possess firearms on parts of the Appalachian Trail (16 U.S.C. § 1a-7b). This
applies only to land the U.S. government owns and the National Park Service manages. It does not
apply to the Appalachian Trail’s parts that are on land owned or managed by other federal, state, or
local agencies.

State laws and regulations apply to those parts of the Appalachian Trail that pass through state-
owned parks and forests (e.g., a person cannot carry a handgun in these areas except as described
above (Conn. Agencies Regs. § 23-4-1(c)). According to DEEP, there are property boundary markers



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on state park and forest lands, as well as on the Appalachian Trail. A person is responsible for
knowing his or her location and which law applies.



JKL:kc




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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

DAVID J. NASTRI, ESQ.,                       :
                                             :             DKT No.: 3:23-cv-00056-JBA
        Plaintiff,                           :
                                             :
v.                                           :
                                             :
KATIE DYKES, in her official capacity        :
only,                                        :
                                             :
        Defendant.                           :             January 28, 2023

         PLAINTIFF’S AMENDED EMERGENCY MOTION FOR A TEMPORARY
        RESTRAINING ORDER AND PRELIMINARY INJUNCTION AND, IN THE
     ALTERNATIVE, TO CONSOLIDATE THE PRELIMINARY INJUNCTION HEARING
                       WITH THE TRIAL ON THE MERITS

        Pursuant to Fed. R. Civ. P. 65, D. Conn. Local Rule 7, and the colloquy between

the Court and counsel for both parties on January 27, 2023, the Plaintiff, David J. Nastri,

Esq., hereby respectfully amends his motion asking the Court to issue an emergency

temporary restraining order and preliminary injunction against the Defendant. Dkt. 8.

Nastri requests the following relief:

        1.       A temporary restraining order barring the Defendant from enforcing Conn.

                 Agencies Regs. § 23-4-1(c)’s prohibition on the carrying of handguns for the

                 purpose of self-defense in state parks and forests until the Court can

                 determine the merits of Nastri’s application for a preliminary injunction;1



ORAL ARGUMENT REQUESTED.




1
  Nastri understands that the Court stated at the January 27, 2023 status conference that
it will deny this requested relief without prejudice. Its inclusion here does not constitute a
renewed request for it.
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      2.       A preliminary injunction barring the Defendant from enforcing Conn.

               Agencies Regs. § 23-4-1(c)’s prohibition on the carrying of handguns for the

               purpose of self-defense in state parks and forests until such time as the

               Court makes a final determination on the merits in this matter;

      3.       In the alternative, Nastri moves the Court to order expedited discovery and

               consolidate the preliminary injunction hearing with the trial on the merits in

               this matter pursuant to Fed. R. Civ. P. 65.

      Finally, Nastri hereby notifies the Court and the Defendant that he is not seeking

ex parte relief through this motion by styling it an emergency motion. Instead, he

respectfully requests expedited consideration of this motion by the Court pursuant to D.

Conn. Local Rule 7(a)6. His demonstration of good cause is contained in the

accompanying memorandum of law.

                                           The Plaintiff,

                                           By: /s/ Cameron L. Atkinson /s/
                                           Cameron L. Atkinson, Esq.
                                           (ct31219)
                                           ATKINSON LAW, LLC
                                           122 Litchfield Rd., Ste. 2
                                           P.O. Box 340
                                           Harwinton, CT 06791
                                           Telephone: 203.677.0782
                                           Email: catkinson@atkinsonlawfirm.com




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                               CERTIFICATION OF SERVICE

       The undersigned hereby certifies that, on the foregoing date, a copy of the

foregoing was filed electronically and served by mail on anyone unable to accept

electronic filing. Notice of this filing will be sent by email to all parties and counsel of record

who have appeared by operation of the Court’s electronic filing system or by mail to

anyone unable to accept electronic filing. Parties may access this filing through the

Court’s system.

                                  /s/ Cameron L. Atkinson /s/




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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF CONNECTICUT

DAVID J. NASTRI, ESQ.                            :          No. 3:23-cv-00056 (JBA)
    Plaintiff                                    :
                                                 :
             v.                                  :
                                                 :
KATIE DYKES, in her official capacity,           :
     Defendant                                   :          MARCH 30, 2023

                              MOTION TO DISMISS

      Pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure, Defendant,

Commissioner Katie Dykes, hereby moves to dismiss this lawsuit for lack of subject

matter jurisdiction. As set forth in the attached memorandum of law, Plaintiff has

failed to plead sufficient facts to establish that he has standing to challenge § 23-4-

1(c) of the Regulations of Connecticut State Agencies on a pre-enforcement basis.

This lawsuit should be dismissed.




                                          1



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                                     Respectfully submitted,

                                     DEFENDANT-COMMISSIONER
                                     KATIE DYKES

                                     WILLIAM TONG
                                     ATTORNEY GENERAL

                            BY:      /s/ Timothy J. Holzman
                                     Timothy J. Holzman (ct30420)
                                     Blake T. Sullivan (ct30289)
                                     Thadius L. Bochain (ct31367)
                                     Assistant Attorneys General
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                                     165 Capitol Avenue
                                     Hartford, CT 06106
                                     860-808-5020 (phone)
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                                     Timothy.Holzman@ct.gov
                                     Blake.Sullivan@ct.gov
                                     Thadius.Bochain@ct.gov
                                     Attorneys for the Commissioner




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on March 30, 2023 a copy of the foregoing was electronically filed.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s system.


                                                         /s/ Timothy Holzman
                                                         Assistant Attorney General




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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF CONNECTICUT

DAVID J. NASTRI, ESQ.                            :          No. 3:23-cv-00056 (JBA)
    Plaintiff                                    :
                                                 :
             v.                                  :
                                                 :
KATIE DYKES, in her official capacity,           :
     Defendant                                   :          MARCH 30, 2023

                    MEMORANDUM OF LAW IN SUPPORT
                        OF MOTION TO DISMISS

      David Nastri (“Plaintiff”) has brought a pre-enforcement challenge to § 23-4-

1(c) of the Regulations of Connecticut State Agencies, which provides in relevant part:

“Hunting or carrying of firearms, archery equipment or other weapons . . . is not

permitted in any state park or forest except as authorized by the Department of

Energy and Environmental Protection.” Plaintiff claims that this regulation violates

the Second Amendment on its face.

      As set forth below, Plaintiff has failed to plead sufficient facts to make out a

plausible claim that he has standing to challenge § 23-4-1(c). First, he merely alleges

a general desire to carry a handgun into State parks and forests in the future, as

opposed to an actual intention to do so, and courts have held that that is insufficient

to confer pre-enforcement standing. Second, Plaintiff has only vaguely alleged that

he has future plans to visit State parks and forests, rather than concrete and

imminent plans to do so, which falls short of the imminent and concrete injury-in-fact

requirement for Article III standing.

      This lawsuit should be dismissed for lack of subject matter jurisdiction.
                                          1



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I.    BACKGROUND

      Plaintiff’s Verified Amended Complaint (“Complaint”), ECF No. 13, pp. 13-14,

alleges that Plaintiff “received his pistol permit approximately 30 years ago” and

holds it in good standing. Id. ¶ 32. Plaintiff alleges that he “uses Connecticut state

parks and forests on a regular basis throughout the year—most often during the

summer. He enjoys hiking with his girlfriend at Sleeping Giant State Park . . . and

Naugatuck State forest when their schedules permit.” Id. ¶ 33. Plaintiff further

alleges that he “intends to and will continue to make use of Connecticut state parks

and forests in the immediate and foreseeable future for the purpose of recreation such

as hiking.” Id. ¶ 34. Plaintiff posits that his “prospective use of Connecticut state

parks and forests is not speculative” because he went to Sleeping Giant State Park

twice since commencing this lawsuit. Id. ¶ 35.

      Plaintiff “actively carries his handgun almost every time he leaves his home

and almost every place that he goes, but he abides by the laws and rules that govern

where he may carry it.” Id. ¶ 36. He alleges that he “seeks to carry a handgun for

purpose of self-defense” while making “regular use of Connecticut state parks and

forests[.]” Id. ¶ 37. Plaintiff does not allege that he has ever been arrested, fined,

evicted, or subject to any other adverse action for carrying handgun in a state park

or forest, or that the State has threatened to take any such action against him.

      Plaintiff commenced this action in January, 2023. He claims that § 23-4-1(c)

violates the Second Amendment, as incorporated by the Fourteenth Amendment, on
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its face. Plaintiff seeks declaratory relief and a permanent injunction. Compl.,

Prayers for Relief.

II.   ARGUMENT

      A.     Legal Standard

      Article III of the U.S. Constitution limits the jurisdiction of the federal courts

to “Cases” and “Controversies.” U.S. Const. art. III, § 2, cl. 1. “To establish Article III

standing, a plaintiff must show (1) an injury in fact, (2) a sufficient causal connection

between the injury and the conduct complained of, and (3) a likelihood that the injury

will be redressed by a favorable decision.” Susan B. Anthony List v. Driehaus, 573

U.S. 149, 157-58 (2014); Picard v. Magliano, 42 F.4th 89, 97 (2d Cir. 2022). An injury-

in-fact must be “concrete and particularized and actual or imminent, not conjectural

or hypothetical.” Susan B. Anthony List, 573 U.S. at 158.

      As the Supreme Court has recently observed, “[f]ederal courts do not possess a

roving commission to publicly opine on every legal question,” and therefore they “do

not adjudicate hypothetical or abstract disputes.” TransUnion LLC v. Ramirez, 141

S. Ct. 2190, 2203 (2021). “Requiring a plaintiff to demonstrate a concrete and

particularized injury caused by the defendant and redressable by the court ensures

that federal courts decide only the rights of individuals, and that federal courts

exercise their proper function in a limited and separated government.” Id.

      “At the motion to dismiss stage, the complaint must allege enough facts to

make it plausible to conclude that the plaintiff has standing.” Beatty v. Tong, No.

3:22-cv-380, 2023 U.S. Dist. LEXIS 36528, at *12-13 (D. Conn. Mar. 6, 2023) (Meyer,
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J.) (citing Maddox v. Bank of New York Mellon Tr. Co., N.A., 19 F.4th 58, 65-66 (2d

Cir. 2021)). “[A]lthough the plausibility requirement is most commonly applied in

the context of evaluating whether a complaint substantively states a claim for relief,

there is little reason to suppose that it should not equally govern the evaluation of

factual allegations that support federal subject matter jurisdiction.” Beatty, 2023

U.S. Dist. LEXIS 36528, at *12-13 (quoting Lapaglia v. Transamerica Cas. Ins. Co.,

155 F. Supp. 3d 153, 155 (D. Conn. 2016)).

      Plaintiffs can, under some circumstances, have standing to challenge a law

that has not yet been applied to them. “When an individual is subject to such a threat

[of enforcement], an actual arrest, prosecution, or other enforcement action is not a

prerequisite to challenging the law.” Susan B. Anthony List, 573 U.S. at 158-59.

Under those circumstances, “it is not necessary that petitioner first expose himself to

actual arrest or prosecution to be entitled to challenge a statute that he claims deters

the exercise of his constitutional rights.” Steffel v. Thompson, 415 U.S. 452, 459

(1974). “[A] plaintiff satisfies the injury-in-fact requirement where he alleges “an

intention to engage in a course of conduct arguably affected with a constitutional

interest, but proscribed by a statute, and there exists a credible threat of prosecution

thereunder.” Susan B. Anthony List, 573 U.S. at 159.

      Nevertheless, it is not enough for a plaintiff to simply allege that they want to

engage in conduct that it prohibited by a statute in order to have standing to

challenge that statute on a pre-enforcement basis. The threat of future enforcement

must also be “sufficiently imminent.” Susan B. Anthony List, 573 U.S. at 159.
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       Plaintiff has not met that burden here.1

       B.    Plaintiff lacks standing to being this pre-enforcement action
             because he has not alleged either an intention to carry a
             handgun into a State park or forest, or an intention to do so in
             the immediate future.

       In Lujan v. Defs. of Wildlife, 504 U.S. 555 (1992), plaintiff sought to challenge

a rule promulgated under the Endangered Species Act that rendered the Act

inapplicable to locations abroad. Plaintiff alleged that the rule would accelerate the

decrease in certain specie populations thereby preventing her from observing them

while she was present in those locations. The Supreme Court noted that plaintiff’s

desire to observe animal species “is undeniably a cognizable interest for purposes of

standing,” but nonetheless concluded that she lacked standing to challenge the Act

because she had not proven an “imminent” risk she would be unable to observe those

species in the future. The Court first emphasized that the fact that plaintiff “had

visited the areas” in the past “proves nothing.” Id. at 564. That is because “[p]ast

exposure to illegal conduct does not in itself show a present case or controversy

regarding injunctive relief . . . if unaccompanied by any continuing, present adverse




1Plaintiff has also filed an amended motion for preliminary injunction, which
Defendant has separately opposed. Although Defendant challenges standing for
purposes of this motion on the basis of the Complaint alone, this Court should assess
standing at the preliminary injunction stage under the higher standard applicable to
successive stages of litigation. See Cacchillo v. Insmed, Inc., 638 F.3d 401, 404 (2d
Cir. 2011) (“[E]ach element [of standing] must be supported in the same way as any
other matter on which the plaintiff bears the burden of proof, i.e., with the manner
and degree of evidence required at the successive stages of the litigation. . . . When
a preliminary injunction is sought, a plaintiff's burden to demonstrate standing will
normally be no less than that required on a motion for summary judgment.”).
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effects.” Id. (quoting L.A. v. Lyons, 461 U.S. 95, 102 (1983)). And although plaintiff

had “profess[ed] . . . an intent to return” to those places—at which point they would

be deprived of an opportunity to observe the species—that “[was] simply not enough.”

Id. “Such ‘some day’ intentions—without any description of concrete plans, or indeed

even any specification of when the some day will be—do not support a finding of the

‘actual or imminent’ injury that our cases require.” Id.

      Courts have applied these principles in the Second Amendment context.

Where a plaintiff attempts to challenge a law prohibiting carrying in a particular

location, courts have dismissed the claim for two reasons, both of which are pertinent

here. The first is where plaintiffs merely allege that they want to carry a firearm in

the particular locations in the future, as opposed to alleging an actual intention to

do so. See Antonyuk v. Bruen, No. 1:22-CV-0734 (GTS/CFH), 2022 U.S. Dist. LEXIS

157874, at *47, 2022 WL 3999791 (N.D.N.Y. Aug. 31, 2022) (Antonyuk I) (dismissing

complaint because plaintiff had “alleged and/or sworn that he ‘desires,’ ‘wants,’

‘wishes’ or ‘would like’ . . . to carry a concealed handgun” in particular places, but had

not “alleged or sworn . . . that he intends to do so”) (emphasis in original). In such a

case, plaintiff has failed to allege an intention to “engage in a course of conduct

arguably affected with a constitutional interest, but proscribed by [the law] . . . .” Id.

at 50 (quoting Susan B. Anthony List, 573 U.S. at 159).

      The second is where plaintiffs allege an intention to carry in the location, but

fail to allege that they intend to do so “in the immediate future . . . .” Antonyuk v.

Hochul, No. 1:22-CV-0986 (GTS/CFH), 2022 U.S. Dist. LEXIS 201944, at *42, 2022
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WL 4367410 (N.D.N.Y. Nov. 7, 2022) (Antonyuk II). That is because—as held in

Lujan—“‘someday’ intentions . . . without any description of concrete plans . . . do not

support” standing. Id. at *20.

      Plaintiff’s Complaint fails on both fronts. First, he does not allege that he

actually intends to carry a handgun into State parks and forests. He simply alleges

that he “seeks” to do so. Am.Compl. ¶ 37. That is an expression of a general desire

to carry, not an intention to do so. Antonyuk I, 2022 U.S. Dist. LEXIS 157874, at *47,

2022 WL 3999791. Plaintiff has therefore failed to allege an actual intention to

engage in conduct that § 23-4-1(c) prohibits, depriving him of pre-enforcement

standing.

      Second, even if the Court were to conclude that Plaintiff had alleged an

intention to carry arms into a State park or forest, he has not plausibly alleged that

he intends to do so in the immediate future. He alleges that has used Connecticut

parks and forests a number of times in the past, including on two occasions on

January 14 and 15, 2023. Am. Compl. ¶¶ 33, 35. But the mere fact that plaintiff

“had visited the areas” in the past “proves nothing.” Lujan, 504 U.S. at 564. Plaintiff

must allege concrete plans to do so in the future.

      On that score, Plaintiff’s Amended Complaint is lacking.           He alleges in

conclusory terms that he “intends to and will continue to make use of Connecticut

state parks and forests in the immediate future for the purpose of recreation,” and

that his “prospective use of Connecticut state parks and forests is not speculative.”

Am. Compl. ¶¶ 34, 35. But those kinds of conclusory allegations are not entitled to
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the presumption of truth, and are insufficient to confer standing. Sowell v. Tinley

Renehan & Dost, LLP, 807 F. App’x 115, 119 (2d Cir. 2020) (Summary Order)

(“plaintiff’s conclusory assertion [of] a chilling effect on her First Amendment rights

is not sufficient to establish injury in fact”); see also Treiber v. Aspen Dental Mgmt.,

635 F. App’x 1, 3 (2d Cir. 2016) (Summary Order) (“because the allegation is

wholly conclusory and     unsupported      by     any   facts,   it    is insufficient to

support standing”).

       The only concrete factual allegation regarding future use appears in paragraph

33, which alleges: “[Plaintiff] uses Connecticut state parks and forests on a regular

basis throughout the year—most often during the summer. He enjoys hiking with

his girlfriend at Sleeping Giant State Park . . . and Naugatuck State Forest when

their schedules permit.” That is the very kind of “someday” allegations that are

insufficient to confer standing. Plaintiff does not explain what he means by “regular

basis,” or allege any facts to indicate whether that gives rise to a sufficiently

imminent future use. Indeed, the summer months (when Plaintiff uses parks and

forests “most often”) are not yet here. And the fact that he “enjoys” hiking with his

girlfriend “when their schedules permit” does not establish anything about the

imminence of his alleged future injury. Again, “‘someday’ intentions . . . without any

description of concrete plans . . . do not support” standing. Lujan, 504 U.S. at 564.

III.   CONCLUSION

       For the foregoing reasons, the Court should dismiss this lawsuit for lack of

subject matter jurisdiction.
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                                    Respectfully submitted,

                                    DEFENDANT-COMMISSIONER
                                    KATIE DYKES

                                    WILLIAM TONG
                                    ATTORNEY GENERAL

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on March 30, 2023 a copy of the foregoing was electronically filed.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s system.


                                                        /s/ Timothy Holzman
                                                        Assistant Attorney General




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 1                 UNITED STATES DISTRICT COURT                              1   For the Defendant:
                      DISTRICT OF CONNECTICUT
 2                                                                           2            OFFICE OF THE ATTORNEY GENERAL
     _____________________________                                                             165 Capitol Avenue
 3                                )                                          3                 Hartford, CT 06106
     DAVID NASTRI,                )                                                            (860) 808-5296
 4                                ) No. 23-cv-00056 -JBA                     4                 E-mail: blake.sullivan@ct.gov
                    Plaintiff,    )                                                                     thadius.bochain@ct.gov
 5                                ) May 9, 2023                              5                          timothy.holzman@ct.gov
     v.                           )                                                       BY: BLAKE THOMAS SULLIVAN, ESQ.
 6                                ) 10:15 a.m.                               6                 THADIUS LATIMER BOCHAIN, ESQ.
                                  )                                                            TIMOTHY J. HOLZMAN, ESQ.
 7   KATIE DYKES,                 ) 141 Church Street                        7
                                  ) New Haven, Connecticut
 8                  Defendant.    )                                          8
     _____________________________)
 9                                                                           9

10                                                                          10
                 PRELIMINARY INJUNCTION HEARING
11                                                                          11

12   B E F O R E:                                                           12

13              THE HONORABLE JANET BOND ARTERTON, U.S.D.J.                 13

14                                                                          14

15   A P P E A R A N C E S:                                                 15

16   For the Plaintiff:                                                     16

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21                                                                          21

22   (Continued)                                                            22

23                                                                          23

24                     Corinne Thomas, RPR                                  24
                     Official Court Reporter
25                        (203) 809-0848                                    25




                                                              3                                                                                 4


 1                          I N D E X                                        1              (Call to Order, 10:15 a.m.)

 2   WITNESS:    PROFESSOR SAUL CORNELL           PAGE                       2              THE COURT:     Good morning, counsel, ladies and

 3                                                                           3   gentlemen.     Please be seated.

 4   Direct Examination By Mr. Atkinson           12                         4              We are here for the hearing on the

 5   Cross Examination by Mr. Sullivan            71                         5   preliminary injunction sought in Nastri v. Dykes,

 6   Redirect Examination by Mr. Atkinson         106                        6   23-cv-56.

 7   Recross Examination by Mr. Sullivan          125                        7              May I please have appearances of counsel, and

 8                                                                           8   at any time if you are the speaker, you may remove

 9   WITNESS:    DAVID NASTRI                     PAGE                       9   your mask.

10   Direct Examination by Mr. Atkinson           130                       10              MR. ATKINSON:     Thank you, Your Honor.     Good

11   Cross Examination by Mr. Bochain             174                       11   morning.

12                                                                          12              Cameron Atkinson on behalf of the plaintiff,

13                                                                          13   David Nastri, who's to my right at counsel's table.

14                                                                          14              THE COURT:     Good morning.

15                                                                          15              Good morning, Mr. Nastri.

16                                                                          16              MR. BOCHAIN:     Good morning, Your Honor.

17                                                                          17              Thadius Bochain, Assistant Attorney General.

18                                                                          18   I'm joined at counsel table by my colleagues

19                                                                          19   Blake Sullivan, who is to my left here, and

20                                                                          20   Timothy Holzman, at the far end on the left there,

21                                                                          21   and we represent the defendant, Commissioner Katie

22                                                                          22   Dykes.     And also joining us today is Section Chief

23                                                                          23   Maura Murphy Osborne of the special litigation

24                                                                          24   section and one of our colleagues, Keyla Rivera,

25                                                                          25   who's also in the courtroom today.




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 1              THE COURT:     They're over there?                                 1   Attorney Atkinson has agreed that those can come in.

 2              MR. BOCHAIN:     Correct.                                          2   Additionally --

 3              THE COURT:     You've relegated the women to the                   3             THE COURT:     Okay.     I'm going to stop you

 4   back bench.                                                                   4   there.    The agreement of counsel that they are

 5              MR. BOCHAIN:     No, Your Honor.     That was not                  5   unobjected to doesn't admit them.         So you need to

 6   deliberate.                                                                   6   identify what you're admitting; otherwise, I get

 7              THE COURT:     All right then.     There are a                     7   broad swaths of exhibits that, in fact, were not

 8   number of issues that we need to get through.          We                     8   admitted or relied on.      Okay?

 9   have a hard stop at four o'clock today and we will                            9             MR. BOCHAIN:     Okay.     Certainly, Your Honor.

10   continue tomorrow.       I'd like to start, if you don't                     10   So I guess I would defer to Your Honor, how you would

11   mind -- well, let me ask you if there's anything that                        11   like me to go about that.

12   you want to update or clarify or advise of agreements                        12             THE COURT:     Just as you get to the exhibits

13   on.                                                                          13   that you would want or perhaps at the end of the day

14              MR. BOCHAIN:     Yes, Your Honor.                                 14   if you want to collectively say which ones you

15              THE COURT:     Mr. Bochain.                                       15   believe relate to the testimony that was given.

16              MR. BOCHAIN:     I'm sorry?                                       16             MR. BOCHAIN:     Okay.

17              THE COURT:     I said Mr. Bochain.                                17             THE COURT:     I don't mean to make an obstacle

18              MR. BOCHAIN:     Thank you, Your Honor.                           18   here, but from my standpoint, I don't want a lot of

19              So there are a few housekeeping matters that                      19   extraneous exhibits in the record.         I just want the

20   I think we would like to put on the record.          The                     20   ones that you think are directed to any of the

21   first is there has been agreement between the parties                        21   issues.

22   with respect to various exhibits that are going to be                        22             MR. BOCHAIN:     The issues in the case, Your

23   entered into evidence and so we had provided the                             23   Honor, or to the testimony that you're going to hear

24   Court with copies of those.       And so Defense                             24   today?

25   Exhibits 1 through 132, those are going to be --                             25             THE COURT:     You can -- we can sort this out,




                                                                    7                                                                                  8


 1   but 1 through 132 of the defendant's exhibits have no                         1   updated the one that we submitted last night.

 2   objection.     What else?                                                     2   There's been one addition and a minor change.           So I

 3              MR. BOCHAIN:     That's correct, Your Honor.                       3   just wanted to put that on the record as well.

 4   Defense Exhibits 133 through 140, those are                                   4             THE COURT:     All right.     Thank you.   Anything

 5   declarations by various witnesses, some of which are                          5   else from the defendant side.

 6   expert witnesses.       Those are not going to be objected                    6             MR. BOCHAIN:     Nothing at this time.

 7   to either.                                                                    7             THE COURT:     All right.     Mr. Atkinson,

 8              THE COURT:     Will the experts testify?                           8   anything from your side.

 9              MR. BOCHAIN:     We have -- so it's my                             9             MR. ATKINSON:     Yes.     A few things.   First of

10   understanding that Attorney Atkinson will be calling                         10   all, I did -- I do believe I supplied your clerk with

11   one of those experts today.                                                  11   a courtesy copy of what we're marking as Exhibit 17

12              THE COURT:     Okay.                                              12   today.    That was not included in the bench book I

13              MR. BOCHAIN:     And that's Professor Saul                        13   delivered earlier this week.         We have 17 exhibits

14   Cornell.     Attorney Atkinson has also agreed -- has --                     14   right now.     I only anticipate entering 9, 10 and 17

15   is not objecting to and has agreed to the                                    15   as full exhibits.      The rest are for ID purposes in

16   qualifications of those experts as well.                                     16   the course of the proceedings today.         My

17              And additionally, Your Honor, there is -- we                      17   understanding is that the defendant is not objecting

18   have provided the Court with an updated exhibit and                          18   to the admissibility of 9, 10 and 17.

19   witness list.     And incorporated within that, there                        19             THE COURT:     Okay.

20   are a few additional exhibits from the defense and                           20             MR. ATKINSON:     Your Honor, we also had

21   that's 141 through 143.       It's my understanding that                     21   discussions yesterday about streamlining some of the

22   Attorney Atkinson is not objecting to those as well.                         22   proceedings.     We did prepare and did file last night

23              And just on the point about the updated                           23   a proposed stipulation.      I have a copy here if

24   exhibit list, I believe we did provide the Court with                        24   Your Honor would like me to hand it up to you.           It's

25   an updated copy this morning.          It's updated -- it has                25   at ECF 35.




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 1            THE COURT:     Okay.                                                1            MR. SULLIVAN:     Thank you, Your Honor.

 2            MR. ATKINSON:     From my perspective, Your                         2            So to your point about the building the

 3   Honor, if that stipulation is adopted, those are all                         3   record of the relevant statutes and ordinances,

 4   of the housekeeping matters that I would have.                               4   that's what we're referring to and essentially that

 5            THE COURT:     Okay.     One of the concerns that I                 5   the -- there has been a stipulation in place as to

 6   want to make sure that we address is that Bruen                              6   the vast swath of those, and that we intend to enter

 7   requires consideration of sufficient statutes to                             7   them in full for the Court's consideration in

 8   demonstrate the history and tradition that is argued                         8   connection with the preliminary injunction motion.

 9   to be supportive of the regulation.        And so even if                    9            There will be a few within there that we may

10   there are only references to those in testimony,                            10   ask, you know, the witnesses about and we will direct

11   would you make sure our record has the regulation or                        11   their attention to those at the time.

12   whatever is the actual document?                                            12            THE COURT:     That's fine.

13            MR. ATKINSON:     Understood.                                      13            MR. SULLIVAN:     But they were all submitted in

14            THE COURT:     I can't believe this record does                    14   our opposition to the preliminary injunction motion

15   not have them all, but just make sure that we have                          15   and that's true of the declarations as well,

16   that.   Okay?                                                               16   Your Honor.

17            MR. ATKINSON:     I will review my brief and I                     17            THE COURT:     All right.     So if that is all

18   will see if I can locate as many of the originals                           18   that you have preliminarily to bring us up to date,

19   that are referenced in that brief, Your Honor.                              19   I'd like to propose that we start, if it does not

20            THE COURT:     Okay.     It's really with respect                  20   disrupt your intended sequence, with testimony

21   to the testimony of people who are -- no, I suppose                         21   evidence on standing since standing is jurisdictional

22   it's not, is it?                                                            22   and therefore required to be established.

23            Okay.    All right.      Let's just make sure that                 23            All right.     Mr. Atkinson, would you care to

24   we are traveling precisely down the path we should.                         24   begin?

25            Yes, Mr. Sullivan.                                                 25            MR. ATKINSON:     Your Honor, I actually had




                                                                  11                                                                             12


 1   intended to call Mr. Nastri, my only witness as to                           1   for the record, please spell your last name and state

 2   standing last, primarily because of discussions I had                        2   your town of residence.

 3   with my colleagues about Professor Cornell being --                          3            THE WITNESS:     Yes.   My name is Saul Cornell,

 4            THE COURT:     The scheduling, okay.                                4   S-A-U-L, C-O-R-N-E-L-L.

 5            MR. ATKINSON:     Yes.                                              5            THE COURT:     You may proceed.

 6            THE COURT:     All right.     Is Professor Cornell                  6            MR. ATKINSON:     Thank you, Your Honor.

 7   here now?                                                                    7      DIRECT EXAMINATION OF PROFESSOR SAUL CORNELL

 8            MR. ATKINSON:     Yes.     Your Honor.                              8   BY MR. ATKINSON:

 9            THE COURT:     You may proceed then and I will                      9     Q.     Good morning, Professor Cornell, and thank

10   expect to hear from Mr. Nastri when you have finished                       10   you for being here with us.      I'd like to start by,

11   with exhibits -- witnesses who have come here and                           11   can you tell us what your employment is?

12   done so anticipating they'll be called today.                               12     A.     Yes.   I am a Paul and Diane Guenther chair in

13            MR. ATKINSON:     Thank you, Your Honor.                           13   American history at Fordham University, and I am an

14            THE COURT:     Okay.                                               14   adjunct professor of law at Fordham Law School.

15            MR. ATKINSON:     Would Your Honor prefer me to                    15     Q.     And you are here today because you were

16   use the podium?                                                             16   retained as an expert by the defendant in this case?

17            THE COURT:     Yes, please.                                        17     A.     That's correct.

18            MR. ATKINSON:     Thank you.     Plaintiff calls                   18     Q.     With respect to the Paul and Diane Guenther

19   Professor Saul Cornell to the stand, please.                                19   chair in American history, is that a -- do you teach

20            THE COURT:     All right.     Sir, if you would                    20   in that role?

21   kindly stand, raise your right hand, the oath will be                       21     A.     So the Guenther chair is one of three endowed

22   administered to you.                                                        22   professorships in the history department and one of

23            (Professor Saul Cornell, sworn.)                                   23   maybe -- I don't know -- half a dozen endowed

24            THE WITNESS:     Yes, I do.                                        24   professorships in the humanities at Fordham, and it

25            THE CLERK:     Please be seated, state your name                   25   comes with a reduced teaching load, some research




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 1   support, and the definition of the job position was                         1   constitutional history and Fordham Law School has a

 2   constitutional history.                                                     2   well-respected tradition in the field of

 3     Q.       Okay.     So help me understand your testimony.                  3   constitutional history.       So I think it was implicit

 4   Do you teach constitutional history right now?                              4   when I was hired that I would build bridges to the

 5     A.       I do.                                                            5   law school.

 6     Q.       Okay.     And concurrently with that in your                     6     Q.      Understood.     Have you taught at any other

 7   role as holding this endowed chair, you conduct                             7   places during your employment at Fordham?

 8   research, correct?                                                          8     A.      During my employment at Fordham, let me just

 9     A.       That is correct.                                                 9   think.    I've been a visiting research scholar, but

10     Q.       And the research you conduct is on                              10   that did not have teaching duties.

11   constitutional history?                                                    11     Q.      What would those duties involve?

12     A.       That is one of several areas that I would                       12     A.      So I was a senior research scholar at Yale

13   work in.    I've also authored a popular American                          13   Law School, at the University of Connecticut Law

14   history textbook for college-level American history                        14   School, and I was a fellow at the Floersheimer Center

15   classes.                                                                   15   for Constitutional Democracy at Cardoza Law School.

16     Q.       Understood.     Do you -- what level do you                     16     Q.      When you say that you weren't a -- those

17   typically teach, undergraduate?                                            17   didn't involve teaching responsibilities, what did --

18     A.       Yes.     I suppose you might say 13th grade                     18   what does the position of the visiting research

19   through 17th grade, so everything from freshman to                         19   scholar entail?

20   graduate students to law students.                                         20     A.      So being a visiting research scholar is nice

21     Q.       Would teaching law students be part of your                     21   work if you can get it.       It's involves no teaching,

22   role as the Guenther chair or more in terms of your                        22   but you have access to all of the intellectual

23   role as an adjunct law professor?                                          23   activities, which at a place like Yale or UConn are

24     A.       Well, that's an interesting question because                    24   quite lively.

25   the purpose of the Guenther chair was to hire in                           25             And so you would go to seminars, you would




                                                                 15                                                                             16


 1   participate in brown bag lunches, conferences, and of                       1   Pennsylvania.

 2   course you have access to the law library, which for                        2     Q.      When did you receive that?

 3   me was particularly important.                                              3     A.      1991.   Hold on.     Sorry.   1989.

 4     Q.       Do you receive -- did you receive any                            4     Q.      I understand.      It was a long time ago.

 5   compensation for positions as a visiting research                           5     A.      Yeah.

 6   scholar?                                                                    6     Q.      What was your PhD, for lack of a better term,

 7     A.       So those were all done while I was on                            7   major in?

 8   sabbatical, and one of the perks of the Guenther                            8     A.      So I was trained as an early American

 9   chair is that it has a very generous sabbatical                             9   political historian and I wrote my first book about

10   policy.                                                                    10   the anti-federalist who were the original opponents

11     Q.       Maybe I didn't phrase my question clearly                       11   of the Constitution and who are sometimes credited

12   enough.    So, for instance, I believe you mentioned                       12   with being the driving force behind the Bill of

13   earlier that you were a visiting research scholar at                       13   Rights.

14   Yale Law School.                                                           14     Q.      I'm a bit confused.      You wrote your first

15              Did you receive any compensation from Yale                      15   book or were you -- did you mean your dissertation on

16   Law School in that role?                                                   16   the anti-federalist?

17     A.       No.                                                             17     A.      So typically, the typical career path of a

18     Q.       And that would be largely true for every                        18   history professor would be you write a dissertation

19   other place you served as --                                               19   which you might sort of view as the rough draft of a

20     A.       Right.                                                          20   book, and success in the field almost always requires

21     Q.       Let's talk about your education.     You -- do                  21   turning the dissertation into a published book, which

22   you have a PhD right now?                                                  22   I did.

23     A.       I do.                                                           23     Q.      Congratulations.

24     Q.       Where did you receive your PhD from?                            24     A.      Well, thank you very much.

25     A.       My PhD is from the University of                                25     Q.      And what was the title of your dissertation




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 1   slash book?                                                               1   history?

 2     A.      So the title of the dissertation was "The                       2     A.       Yes.

 3   Political Thought and Culture of the                                      3     Q.       Did you ever study internationally?

 4   Anti-Federalist."      And the book version, which was                    4     A.       So yes.     I spent a year at the University of

 5   published by the Institute of Early American History                      5   Sussex in England studying English and American

 6   and Culture, had to be a bit more snappy.      So that                    6   history.

 7   was called The Other Founders:      Anti-Federalism and                   7     Q.       Did you earn a degree from that --

 8   the Dissenting Tradition in America, 1788 to 1828.                        8     A.       No.     I did actually find my wife, though.

 9     Q.      Prior to receiving a PhD from the University                    9     Q.       Well, that seems like better than a degree.

10   of Penn, did you receive a master's degree?                              10              But since you've obtained your PhD in 1989,

11     A.      Yes.    Typically if you survive a PhD program,                11   have you always -- withdrawn.

12   they give you a master's along way to give you some                      12              After you obtained your PhD in 1989, what was

13   hope that the end is in sight.                                           13   your first employment?

14     Q.      Okay.    So it's your testimony you obtained                   14     A.       So my first job was at the College of William

15   your master's degree from Penn as well?                                  15   & Mary and I had a post doc at the Institute of Early

16     A.      Yeah.    So sometimes you have to do exams.                    16   American History and Culture, which is generally

17   Sometimes just doing -- writing a seminar paper.                         17   regarded as kind of the premier post doc in my field.

18   Each university has a slightly different -- so at                        18   It actually came with a book contract for my

19   Penn, it was a combination of passing your oral exams                    19   dissertation and I spent two lovely years teaching at

20   and completing the required research seminars.                           20   William & Mary, which is a beautiful place to teach

21     Q.      Understood.    You also received -- did you                    21   and a great place to study early American history.

22   also receive a bachelor's degree?                                        22     Q.       As a professor, were you expected to publish?

23     A.      Yes.    I got my BA from Amherst College and I                 23     A.       Yes.

24   graduated magna cum laude.                                               24     Q.       And when I say "publish," can you describe

25     Q.      Were all of these degrees in the area of                       25   for us what that expectation typically looked like?




                                                               19                                                                            20


 1     A.      So typically to gain tenure, one would                          1   law reviews.       And they were all on various aspects of

 2   typically publish a book, several articles and                            2   Anti-Federalism.

 3   present papers at suitably prestigious and selective                      3     Q.       Okay.     And when you say, "various aspects of

 4   conferences.      So I published one book and about 30                    4   Anti-Federalism," can you give us an idea of what

 5   articles by the time I had tenure.                                        5   aspects you wrote about?

 6     Q.      And how long did it take you to achieve                         6     A.       Happily.     So the Journal of American History

 7   tenure?                                                                   7   article was a study of how ordinary Americans who

 8     A.      So typically, tenure is a seven-year process                    8   opposed the Constitution, how they understood the

 9   and I don't -- I was on track.      So I assume I would                   9   Constitution and why they opposed it, and it focused

10   have done it there my seventh year at Ohio State                         10   on back country Pennsylvania where there's a good

11   where I -- was my next job after William & Mary.                         11   deal of agitation around the Constitution.

12     Q.      What was the general theme of your research                    12              The Northwestern Law Review article charted

13   at William & Mary?                                                       13   the history of how Anti-Federalism was interpreted

14     A.      So at William & Mary, I focused primarily on                   14   from sort of the moment of ratification until the

15   aspects of my work on the anti-federalist.      So I                     15   Reagan years, because one of the interesting things

16   published an article in the Journal of American                          16   where there is a lot of writing about Anti-Federalism

17   History which is the leading journal of American                         17   during the Reagan years, they were sort of

18   history appropriately enough, published something in                     18   rediscovered.       So I wrote about that.

19   the William & Mary Quarterly which is generally                          19     Q.       So would it be a fair characterization of

20   considered to be the leading journal in early                            20   your research during this time that you were

21   American history, published in the Law and History                       21   commenting generally on the -- for lack of a better

22   Review which is the leading journal in legal history,                    22   term, the political -- the general political culture

23   the Northwestern University Law Review which at the                      23   at the time?

24   time was a little bit out of my normal publishing                        24     A.       Yes.     I was focused on the political thought,

25   venue because historians don't typically publish in                      25   political culture, and I was also interested in some




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 1   constitutional ideas, but the main focus was on                             1   AP history and I kind of got hooked on the history as

 2   political thought and political culture.                                    2   kind of a great intellectual puzzle.

 3     Q.    Right.   At that time, what constitutional                          3     Q.       And what inspired you to select the

 4   ideas were you interested in?                                               4   Anti-Federalist's influence on the constitutional

 5     A.    Well, I was very interested in federalism                           5   adoption process as your research focus at this

 6   because the anti-federalist were very interested in                         6   point?

 7   federalism.                                                                 7     A.       Well, I think the anti-federalist were sort

 8     Q.    So just to help me understand, you were --                          8   of like the Brooklyn Dodgers of American political

 9   were you interested in the general structure of the                         9   history.     They are sort of the lovable losers who had

10   Constitution or a specific provision?                                      10   heart, but didn't quite make it to the pennant.

11     A.    Well, I was interested in it all really.        I                  11     Q.       Understood.    So it appealed to you as an

12   was interested in both the sort of macro-level                             12   underdog?

13   analysis of how the Constitution fit into Anglo                            13     A.       Yes.    I mean, they were the underdogs, so

14   American political and constitutional development.          I              14   that appealed to me, yeah.

15   was interested in the specific dynamics of why                             15     Q.       At some point did you become interested in

16   particular parts of the Constitution took the form                         16   studying and writing about the Second Amendment?

17   they did, and I was interested in the early debates                        17     A.       Yes, I did.    The reason I was drawn to the

18   over the meaning of the Constitution.                                      18   Second Amendment had very little to do with modern

19     Q.    What inspired you as a person to become a                          19   debates over guns.       It was almost entirely a function

20   historian?                                                                 20   of the fact that I noticed there was a resurgence of

21     A.    Well, that's a great question.     Well, you                       21   interest in Anti-Federalism and a huge part of that

22   know, I will tell you a story.     So many people in New                   22   resurgence focused on the Second Amendment and I was

23   York City get false IDs so they can go into bars, but                      23   puzzled by it.

24   I actually got a false ID so I could go to the New                         24     Q.       Let's break that down.    When did you first

25   York Public Library and do college-level research for                      25   notice that resurgence?




                                                                 23                                                                                 24


 1     A.    So when I was teaching at William & Mary, I                         1   Amendment?

 2   lived around the corner from the Marshall-Wythe Law                         2     A.       Well, that's a good question.    I suppose I

 3   School and I spent a lot of time in the law library                         3   was sent a manuscript to read by the University of

 4   reading law review articles, and I noticed that there                       4   Virginia Press and I told them it had potential.          It

 5   was a remarkable amount of attention to the                                 5   was on the Second Amendment, but it needed some more

 6   anti-federalist in recent law review articles.     This                     6   work.    And I wrote a somewhat detailed report, which

 7   would have been in the '80s.     This would have been                       7   is typical of academic publishing.       And the editor

 8   also at the time that sort of the jurisprudence of                          8   said, "I don't want to publish their book, but I want

 9   original intent emerged during the Reagan years.        And                 9   you to turn your reader's report into a book for me."

10   low and behold, Anti-Federalist texts that I had                           10   So I said, "Oh, that's interesting."

11   spent the last ten years studying were suddenly being                      11     Q.       And when about did this occur?

12   cited as being highly relevant in the Second                               12     A.       That was about 1999.

13   Amendment debate.                                                          13     Q.       So if I'm understanding you correctly, the

14     Q.    And so would it be fair to say that something                      14   first piece of literature that you published on the

15   clicked for you and you said I can make another area                       15   Second Amendment was 1999 or thereabouts?

16   of research out of this?                                                   16     A.       Yes.    It was an article in the Journal of

17     A.    Well, I sort of backed into it.     I didn't                       17   Constitutional Commentary.

18   really think I was going to end up spending very much                      18     Q.       Okay.    And since then, you've published books

19   time on it.   I just thought it would be sort of a                         19   about the Second Amendment?

20   fun -- I was supposed to be writing a book about                           20     A.       Yes.    I have published one monograph and two

21   Jefferson and Monticello and this was supposed to be                       21   edited volumes on the Second Amendment.

22   kind of a quick, side detour and 25 years later, I'm                       22     Q.       Just for my purposes, because I might be too

23   still working on it.                                                       23   young to understand what a monograph is, what is a

24     Q.    At what point did you realize you had gotten                       24   monograph?

25   yourself lost down the rabbit hole of the Second                           25     A.       I'm sorry.    A monograph is the standard term




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 1   that academics use to describe a book that is                                 1   history generally doesn't exist for really old

 2   primarily driven by primary source research and makes                         2   statutes in most cases.     You don't have committees.

 3   an original contribution to an academic debate as                             3   You don't have the kind of deep back sources.

 4   opposed to a work of synthesis or a textbook or in                            4   Sometimes all you have is records of votes.

 5   the case of law, a case book.                                                 5     Q.    Let me take a step back, Professor.       With

 6     Q.       Okay.    So let's talk about the monograph for                     6   respect -- let's switch gears for a second.      With

 7   a second then.      What was the subject of the                               7   respect to the ratification of the United States

 8   monograph?                                                                    8   Constitution, am I correct in understanding that

 9     A.       So it was a study of the changing meaning of                       9   there are no transcriptions of those debates?

10   the Second Amendment in American constitutional law                          10     A.    So, no.     In this case -- so the Constitution,

11   between the 18th century and the New Deal.                                   11   of course, is not a statute.     So -- and the

12     Q.       To write that book, what sources did you                          12   Constitution was ratified by what at the time was a

13   consult?                                                                     13   unique process, popularly elected ratification

14     A.       Well, I had to -- I looked at what might be                       14   conventions.     And those ratification conventions did

15   called all the usual sources.      So I looked at                            15   generate both newspaper coverage and in some cases

16   statutes, cases, treatises, but I also delved into                           16   there were reporters hired, although interestingly,

17   places that hadn't been looked at.                                           17   the reporters hired tended to be Federalists who

18              So I looked at, for instance, justice of the                      18   curiously somehow managed to lose some of the

19   peace manuals.      I looked at some sensational cases                       19   Anti-Federalist debates when they were editing.

20   that left unusually detailed trial records, but did                          20     Q.    Understood.     And the Bill of Rights was

21   not generate appellate decisions, so they are not                            21   ratified by Congress, correct?

22   typically available on Westlaw or Lexus.                                     22     A.    So, yes.     The Bill of Rights was a product of

23     Q.       At any point did your -- in your research,                        23   post-ratification and we have detailed debates within

24   did you look at legislative history?                                         24   the House, but no records of the Senate's

25     A.       So what modern lawyers would call legislative                     25   deliberations.




                                                                   27                                                                            28


 1     Q.       Did you -- in writing the book we just talked                      1     Q.    Okay.     And do you recall opening that article

 2   about, did you consult those debate -- the notes of                           2   by characterizing the historical evidence regarding

 3   those debates?                                                                3   the meaning of the Second Amendment's right to bear

 4     A.       Yes, I did.                                                        4   arms as complex?

 5     Q.       Okay.    Apart from the notes of those debates,                    5     A.    That -- you'd have to show me the text for me

 6   did you consult any literature, such as diaries                               6   to give you a precise answer.     That sounds plausible,

 7   written by the congressional members who were                                 7   but since I'm under oath, I'd want to actually take a

 8   involved in those debates?                                                    8   look.

 9     A.       To the extent that there were other sources                        9     Q.    That's fair.     That's fair.    I don't have that

10   that shed light on it, yeah, sometimes letters.                              10   article with me today, but let me ask it this way:

11   There is actually a very, very famous diary by                               11   Based on your lifetime of research, your scholarship

12   William Maclay that is an important source for the                           12   on the Second Amendment, is it fair to say that the

13   period, but there aren't a lot of diaries.                                   13   historical evidence regarding the right to bear arms

14     Q.       Understood.    How about contemporary                             14   guaranteed by the Second Amendment is complex?

15   commentary, did you look at that?                                            15     A.    Yes.     I think that would be a fair statement.

16     A.       Sure.    I spent a lot of hours over microfilm                    16     Q.    As a scholar, were you at the time and are

17   machines reading microfilm because those things were                         17   you still aware of dominant approaches to

18   not digitized and they were not searchable through                           18   interpreting the Second Amendment?

19   digital means.      You had to actually read everything.                     19     A.    I guess I'm not sure what you mean by

20     Q.       Okay.    In 2002, you wrote a law review                          20   "dominant."    Dominant in what sense?

21   article entitled, "Don't Know Much About History, the                        21     Q.    Dominant in the sense that most people would

22   Current Crisis in Second Amendment Scholarship."         Do                  22   espouse one view or the other?

23   you recall that article?                                                     23     A.    Sorry.     Who are the people we're discussing?

24     A.       Yes.    I couldn't cite it to you verbatim, but                   24     Q.    Academics, for instance.

25   I do recall writing it.                                                      25     A.    Well, you'd have to be precise because are we




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 1   talking historians, political scientists, law                              1   useful to define what one means by that.         And of

 2   professors?                                                                2   course, that hasn't really happened in the Second

 3     Q.       Let me take a step back.     Are you familiar                   3   Amendment debate.       People just sort of assume

 4   with the collective rights model interpretation of                         4   everyone knows what an individual right is, but I

 5   the Second Amendment?                                                      5   think most historians would argue that our conception

 6     A.       Yes.                                                            6   of rights has evolved considerably since the 18th

 7     Q.       Are you familiar with the individual rights                     7   century.     So we need to be historically precise when

 8   model interpretation of the Second Amendment?                              8   you use terms like "individual right."

 9     A.       Yes.                                                            9     Q.       What could be done to make the definition of

10     Q.       Would you characterize those as being popular                  10   "individual right" more precise in your opinion?

11   views of how to interpret the Second Amendment?                           11              MR. SULLIVAN:    Object.    Outside the scope of

12     A.       Well, considering most of the data we have                     12   his opinions.

13   about the average knowledge of the Constitution and                       13              THE COURT:    Your claim, Mr. Atkinson?

14   the Bill of Rights of the average American on the                         14              MR. ATKINSON:    Pardon me?

15   street, I don't think "popular" would be the word I                       15              THE COURT:    Your claim?     I have his

16   would choose.                                                             16   affidavit.     I don't recall that within that was his

17     Q.       Let me take a step back.     Within academia,                  17   preferred opinion on the right definition.            Tell me

18   would those be the two -- would those be popular                          18   what you're offering this for.

19   interpretations of the Second Amendment?                                  19              MR. ATKINSON:    Your Honor, I was simply

20     A.       So I would say among legal scholars, but                       20   seeking to get clarification.         I'm not going to claim

21   among historians, there was a considerable amount of                      21   it.    I'll move on.

22   dissatisfaction with that simple dichotomy.                               22              THE COURT:    Okay.

23     Q.       Do you share that dissatisfaction, Professor?                  23              MR. ATKINSON:    Thank you, Your Honor.

24     A.       Yes, I do.     I do believe that if you're going               24              THE COURT:    Let me ask you this:     Are you

25   to call something an individual right, it might be                        25   asking that as a demonstration of witness bias or




                                                                31                                                                                  32


 1   inclination or are we moving on?                                           1   forum in which you've published which was not

 2              MR. ATKINSON:     I'm moving on, Your Honor.    I               2   academia?

 3   just wanted clarification for my own purposes.                             3     A.       Sure.   I've published in the Washington Post,

 4   BY MR. ATKINSON:                                                           4   The New York Times, The New Republic, The Atlantic,

 5     Q.       Professor, in addition to the -- in addition                    5   The Nation, Salon, Slate.        Those are the ones that

 6   to the scholar research that you have written and                          6   come to mind most readily.

 7   published, have you published your views on the                            7     Q.       By publishing in those forums, do you

 8   Second Amendment in any other setting?                                     8   understand yourself to be engaging in a political

 9     A.       So, yes.     I wear several hats.   I have                      9   dialogue?

10   published popular journalistic venues.         I have                     10     A.       So in those forums, I consider myself to be a

11   participated as a niche in front-of-the-court                             11   public intellectual and I see myself as trying to

12   filings.    I've been interviewed by, you know, the                       12   bring the perspective of a student of early American

13   media in various contexts from here and abroad.         I've              13   history to a wider audience.

14   done podcasts.                                                            14     Q.       Okay.   Professor, have you ever attended a

15              Yes.    So I have opined in many forums, you                   15   political protest?

16   know, with many different hats as it were, as                             16              MR. SULLIVAN:    Objection as to relevance.

17   scholar, as an individual, as a historian, citizen,                       17              MR. ATKINSON:    I believe I have the

18   all kinds of things.                                                      18   ability --

19     Q.       When you opine in a nonacademic setting, do                    19              THE COURT:    I'm going to permit the question.

20   you write the same way or talk the same way that you                      20   You may go ahead.       I think that they have bearing on

21   would in an academic paper?                                               21   the weight.

22     A.       No.    I don't think I'd get anything published                22   BY MR. ATKINSON:

23   if I did that.                                                            23     Q.       Professor, have you ever attended a political

24     Q.       How would -- withdrawn.                                        24   protest?

25              Can you give us an example of a journalistic                   25     A.       Of -- well, my first act was to put up




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 1   McGovern for president stickers when I was 12.         So I                   1   what the historical traditions of gun regulation in

 2   would certainly view that as a political act.                                 2   America were.

 3     Q.       How about a protest as in people coming                            3     Q.      Have you ever donated money to an

 4   together to voice their opinions?                                             4   organization that advocates for gun control?

 5     A.       So I walked a picket line with my mom when I                       5     A.      So I don't donate money to any political

 6   was in high school.       That would certainly be                             6   organization, although I'm sure my wife has.

 7   political.                                                                    7     Q.      Well, your wife's an independent person.

 8     Q.       How about in your adult life?                                      8     A.      Okay.     She would certainly agree with that

 9     A.       In my adult life, that's a good question.       I                  9   characterization.

10   guess it sort of depends what you mean by political                          10     Q.      You have -- have you submitted -- going back

11   protest.     I'm trying to think.                                            11   to something you said earlier.      Have you submitted

12     Q.       Let me help you.    Have you ever attended a                      12   amicus briefs to the U.S. Supreme Court in Second

13   political protest in support of gun control?                                 13   Amendment cases?

14     A.       So I live one town over from Newtown and I                        14     A.      Yes.     I participated in Heller, McDonald and

15   have -- I was asked by the Newtown Action Alliance to                        15   Bruen.

16   speak -- I don't know if you call that -- what you                           16     Q.      Okay.     Were you alone on those briefs?

17   would call that.                                                             17     A.      No.     All of those briefs were collective

18     Q.       All right.    Well, let's break that down.                        18   efforts on the part of, I would say, an elite group

19              When did you speak at that event?                                 19   of historical -- legal historical scholars.

20     A.       So that was about a year after the Sandy Hook                     20     Q.      Were these all people that you knew -- know

21   massacre.                                                                    21   fairly well professionally?

22     Q.       Okay.    Was that event a memorial service?                       22     A.      Yes.

23     A.       It was -- no.    It wasn't a memorial service,                    23     Q.      Okay.     Who's -- withdrawn.

24   but it was a discussion of, you know, what the                               24             Let's talk about Heller for a second.       When

25   current state of the debate over gun policy was and                          25   you submitted -- this group of professors submits the




                                                                   35                                                                                36


 1   brief in Heller, whose idea was it to have that brief                         1     A.      I don't think I've ever won a discussion with

 2   submitted, if you recall?                                                     2   Jack.    He outranks me.

 3     A.       So the lead author on that brief was                               3     Q.      Understood.     What would you characterize as

 4   Jack Rakove of Stanford, who is a Pulitzer                                    4   the argument made by that brief?

 5   Prize-winning historian.       And my recollection is Jack                    5     A.      So that brief, of course, and I think it's a

 6   said, "I'm doing a brief.       Do you want to                                6   general principle among amicus briefs, that in

 7   participate?"                                                                 7   contrast to something you might write for a magazine

 8     Q.       Okay.    When you say, "participate," what was                     8   or even a scholarly article, when you write as a

 9   that nature of your participation in preparing that                           9   friend of the Court, you're operating within the

10   brief?                                                                       10   confines of what the existing legal doctrine is.         So

11     A.       Well, that's an interesting question because                      11   that was a brief that was written with Miller as the

12   Jack has a policy where when he -- he'll only sign                           12   controlling precedent.

13   briefs that he writes.       So he took the lead in                          13             So the substance of that argument was that

14   writing it and he sent it to all of us and said,                             14   Miller was more right than it was wrong and the Court

15   "Given your subfields of expertise, do you think the                         15   ought to adhere to the Miller precedent.

16   argument, you know, is cogent?       How would you suggest                   16     Q.      Do you recall the brief arguing that private

17   I alter it?       Are there sources I should be citing?"                     17   aspects of the ownership of firearms never crossed

18   So it was that kind of thing.                                                18   the threshold into being constitutionally significant

19     Q.       Okay.    Do you recall making any suggestions                     19   in the founding era?

20   about the content of that brief?                                             20     A.      So my recollection is that -- let me think

21     A.       Yes.    I remember saying that I think we                         21   about that for a moment.      So my recollection is there

22   should have a section on the police power and Jack                           22   was broad agreement among the signers that the right

23   said, "Nah, we don't need to do that, everyone knows                         23   of individual self-defense was well-established under

24   about the police power."                                                     24   common law, but that the right instantiated in the

25     Q.       Did you win that discussion with Jack?                            25   Second Amendment was primarily about the allocation




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 1   of power between the states and the federal                                 1   Miller was the controlling precedent, the Bruen brief

 2   government.       And so those two different rights, which                  2   started with the assumption that Heller and McDonald

 3   we now see as one right in the 18th century, were                           3   were the controlling precedents.        So you know, the

 4   distinct.                                                                   4   task before us was to marshal historical evidence to

 5     Q.       When you say that it was more about the power                    5   help guide the Court and to do so within the

 6   dynamic between the state and the federal                                   6   framework set out by Heller and McDonald.

 7   governments, are you referring to the right for                             7     Q.     Okay.     And were you alone on that brief?

 8   states to maintain a militia?                                               8     A.     No.     I also participated with another group

 9     A.       So I suppose that's one way of characterizing                    9   of impressive academics.

10   it.                                                                        10     Q.     And were these all personal -- were all of

11     Q.       How would you characterize it?                                  11   these academics professionally known to you?

12     A.       So I would characterize the right is the                        12     A.     Yes.

13   dominant understanding in the 18th century was that                        13     Q.     Similar to what I asked you earlier, whose

14   it was a right of the people to keep and bear arms so                      14   idea was it to have the brief submitted?

15   that it would be possible to maintain a                                    15     A.     So in that case, my standing in the

16   well-regulated militia and the panoply of other                            16   profession had risen a bit.     So I actually initiated

17   rights, such as the right of self-defense, were part                       17   that one and asked Jack if he would sign it.

18   of the background of that, but were not at the center                      18     Q.     Okay.     Did you take the Jack approach and

19   of the congressional debates over the structure of                         19   write the brief yourself?

20   the Second Amendment.                                                      20     A.     No.     I'm much more of a collaborative author.

21     Q.       Understood.    Let's move to Bruen.    Did you                  21   So I asked people to take a pretty active role in

22   have any -- I believe you testified earlier that you                       22   helping to draft it.

23   submitted an amicus brief in Bruen as well, correct?                       23     Q.     Who did you ask to take an active role in

24     A.       Yes.    So the Bruen amicus brief -- so if the                  24   drafting it?

25   Heller amicus brief started with the assumption that                       25     A.     Everyone who signed it read multiple drafts.




                                                                 39                                                                             40


 1     Q.       Were those drafts prepared by attorneys?                         1     Q.     Okay.     Do you recall making the argument that

 2     A.       So the typical process in drafting an amicus                     2   neither English nor American history supported a

 3   brief, which I think I've gotten better at, I usually                       3   broad right Second Amendment right to carry firearms

 4   or a group of scholars will sort of draft a memo.                           4   or other dangerous weapons in public based on a

 5   Then we usually seek outside counsel because it's                           5   generic interest in self-defense?

 6   expensive to file amicus briefs and things like blue                        6     A.     So the argument of that brief was there was a

 7   booking can be quite, you know, arduous, as I'm sure                        7   long history of limits on public carry under Anglo

 8   you know.                                                                   8   American law.

 9              So typically we would do a memo.      Based on                   9     Q.     Do you think the Supreme Court agreed with

10   the memo, they would then do a draft sort of both                          10   you in its Bruen decision?

11   formatting it in the correct form for the Supreme                          11            MR. SULLIVAN:     Just object to the extent it

12   Court and, you know, making advice -- offering advice                      12   calls for a legal conclusion just as phrased.

13   about, you know, phrasing and, you know, what needed                       13            THE COURT:     Well, I assume you are referring

14   to be below the line in the footnotes, what needed to                      14   to the text of Bruen and whether or not that contains

15   be in the text, sort of those strategic kind of                            15   a reflection of whether the premises of their amicus

16   things that lawyers are much better at than                                16   was adopted, rejected or ignored.

17   historians.                                                                17            MR. ATKINSON:     I'm simply asking him for his

18     Q.       Understood.    So somebody had to start this                    18   perception of that, Your Honor.     I understand what

19   project.    Were you the one who started the initial                       19   Bruen says is the province of the court to decide.

20   memo?                                                                      20   I'm simply asking him what his perception was of

21     A.       Yes.                                                            21   Bruen.

22     Q.       And then if I'm understanding you correctly,                    22            THE COURT:     I'll permit that.    Go ahead.

23   everybody else who signed the brief worked on                              23            MR. ATKINSON:     Thank you.

24   multiple drafts of it?                                                     24   BY MR. ATKINSON:

25     A.       Yes.                                                            25     Q.     So Professor, I'll ask it again for you, do




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 1   you think the Supreme Court agreed with you in its                           1   territories from Texas, from most of the major cities

 2   Bruen decision?                                                              2   of restrictions similar in nature to New York's

 3     A.     So I think there are aspects of the Court's                         3   Sullivan law, and the Supreme Court decided that they

 4   decision that are consistent with our brief and there                        4   were outliers.     So they didn't dispute our

 5   are aspects of it that are not.                                              5   characterization of laws; they disputed how to weigh

 6     Q.     All right.     Can you describe to us what                          6   them.

 7   aspects you think are consistent with your brief?                            7     Q.    Are you familiar with a journalistic outlet

 8     A.     So our brief looked at the history and                              8   known as SCOTUSblog?

 9   tradition of firearms regulation and the framework                           9     A.    Yes.     SCOTUSblog is the top of the heap in

10   that the Bruen court decided to implement was a                             10   terms of Supreme Court punditry.

11   history text tradition framework.        So                                 11     Q.    Okay.     After Bruen, did SCOTUSblog, to your

12   methodologically, there was substantial agreement.                          12   knowledge, did they hold a symposium asking for

13            MR. ATKINSON:     May I have a moment, Your                        13   commentary on Bruen?

14   Honor?                                                                      14     A.    Yes.     They asked me and several other people

15            THE COURT:     Yes.                                                15   to contribute.

16            MR. ATKINSON:     Thank you.                                       16     Q.    Did you contribute?

17   BY MR. ATKINSON:                                                            17     A.    I did.

18     Q.     What aspects of Bruen do you think the                             18     Q.    Okay.     Do you recall the name of the piece

19   Supreme Court didn't agree with you on?                                     19   you submitted to SCOTUSblog?

20     A.     Sorry.     Did or didn't?                                          20     A.    Well, I don't think I've memorized it, but,

21     Q.     Didn't.                                                            21   you know, I have a vague recollection of the title I

22     A.     Did not.                                                           22   came up with.

23     Q.     The negative, yes.                                                 23     Q.    If I showed you the article, do you think

24     A.     The negative, thank you.       Well, I think that                  24   you'd recognize it?

25   in our brief, we produced evidence from the                                 25     A.    Oh, of course.




                                                                  43                                                                           44


 1            MR. ATKINSON:     Your Honor, may I approach the                    1           MR. ATKINSON:     May I approach the witness

 2   witness to show him what is marked as Plaintiff's                            2   again, Your Honor?

 3   Exhibit 14 for ID only?        And I'm going to show it to                   3           THE COURT:     You may.

 4   my colleagues first before I approach him.                                   4           MR. ATKINSON:     I'm going to take that back.

 5   BY MR. ATKINSON:                                                             5   BY MR. ATKINSON:

 6     Q.     Do you recognize that, Professor?                                   6     Q.    Professor, let's turn to your testimony or

 7     A.     Yes.     That is the genuine article.                               7   your opinion you supplied in this case.     Do you

 8     Q.     Okay.     What is the title of that article?                        8   recall submitting an affidavit to the Court or --

 9     A.     So the title is "Cherry-Picked History and                          9   withdrawn.

10   Ideology-Driven Outcomes:        Bruen's Originalists                       10           Do you recall providing an affidavit at the

11   Distortions."                                                               11   request of the defendant in this case?

12     Q.     Okay.     Would it be -- let me ask you this:                      12     A.    Yes.

13   Were you disappointed in the Bruen decision,                                13     Q.    And you understood you were being called to

14   Professor?                                                                  14   provide an expert opinion?

15     A.     No.     I don't think I was because I wasn't                       15     A.    Yes.

16   surprised.     I think to be disappointed, you'd have to                    16     Q.    And did you provide that expert opinion?

17   be surprised.                                                               17     A.    I did.

18     Q.     Okay.     But you were -- were you critical of                     18     Q.    Okay.     Prior to taking the stand to testify

19   the interpretive methodology that was applied?                              19   today, did you review that affidavit?

20     A.     Yes.     So this particular piece, of course, is                   20     A.    I did.

21   by definition not written within the Bruen framework.                       21     Q.    Okay.     Do you recall stating in your

22   It was written in opposition to the Bruen framework.                        22   affidavit, and I quote, "there were no modern style

23     Q.     And is it true that you characterized the                          23   parks in the era of the Second Amendment"?

24   Bruen test as, quote, fiction, fantasy and mythology?                       24     A.    Yes.

25     A.     That is correct.                                                   25     Q.    By "the era of the Second Amendment," do you




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 1   mean the time around the year 1791?                                            1   Honor, approach the witness again?

 2     A.       Yes.                                                                2              THE COURT:     You may.

 3     Q.       You did -- did you reference urban --                               3              MR. ATKINSON:     Thank you.

 4   withdrawn.                                                                     4              I am showing my colleagues and for the

 5              Did you reference urban public spaces                               5   Court's convenience, I am showing what's been marked

 6   throughout your affidavit?                                                     6   as Exhibit -- Plaintiff's Exhibit 4, which is also a

 7     A.       I discussed both urban, state-controlled and                        7   full exhibit without -- without objection on the

 8   federal parks.                                                                 8   defendant's list, Your Honor.          I'm unaware of the

 9     Q.       Okay.     But you did reference urban public                        9   number off the top of my head.

10   spaces throughout your affidavit?                                             10   BY MR. ATKINSON:

11     A.       I did.                                                             11     Q.       Professor, I've just placed what's been

12     Q.       All right.     And in particular, you                              12   marked as Plaintiff's Exhibit 4 for identification in

13   mentioned -- did you -- withdrawn.                                            13   front of you.       Please take some time to review that.

14              In particular, did you mention the Boston                          14              THE COURT:     You're offering this as a full

15   Common?                                                                       15   exhibit?

16     A.       Yes.     I did discuss the Boston Common.                          16              MR. ATKINSON:     I was just using it for ID.     I

17     Q.       Okay.     Did you describe the Boston Common as                    17   believe the defendants have it as a full exhibit on

18   the oldest public space in America?                                           18   their exhibit list, but I don't have that in front of

19     A.       I did.                                                             19   me right now.       I'll check.

20     Q.       As you sit here today, what is your                                20              THE COURT:     So is that --

21   recollection of the year the Boston Common was                                21              MR. ATKINSON:     Your Honor, on the list that

22   established?                                                                  22   we have, it's marked as Defendant's Exhibit -- full

23     A.       I'd have to check my declaration.         I vaguely                23   exhibit.

24   recall it might have been 1638.                                               24              THE COURT:     Is it 11?

25              MR. ATKINSON:     I will -- if I may, Your                         25              MR. ATKINSON:     135.     For us, it's Plaintiff's




                                                                    47                                                                               48


 1   Exhibit 4 for ID.       We did not object to the state                         1   going to hand him my copy of that.          I accidentally

 2   offering or the defendant offering it as a full                                2   handed him somebody else's declaration and I

 3   exhibit.                                                                       3   apologize.     I apologize, Professor.

 4              MR. SULLIVAN:     Your Honor, if we can just                        4              THE WITNESS:     It was interesting reading.

 5   clarify the numbers.       I think there is some                               5              Yes.     This looks more familiar.

 6   confusion.                                                                     6   BY MR. ATKINSON:

 7              THE COURT:     So I have 135 as Professor                           7     Q.       Okay.     Professor, I've just handed you what

 8   Cornell's declaration on the defendants, and then I                            8   has been admitted as Defendant's Exhibit 135.          Do you

 9   have --                                                                        9   recognize that?

10              MR. ATKINSON:     Your Honor, I apologize.      I                  10     A.       That's this thing?

11   just -- I believe I gave Mr. Cornell the wrong                                11     Q.       Correct.

12   exhibit and I apologize.       May I approach him?                            12     A.       That's my declaration.

13              THE COURT:     Are you talking about Professor                     13     Q.       We were discussing the Boston Common and the

14   Cornell's declaration?                                                        14   year.   Would you look at page 16 of that exhibit,

15              MR. ATKINSON:     Yes.   That's what I attempted                   15   paragraph 30, please?

16   to hand him.                                                                  16     A.       Sorry.     I was off by four years, 1634.

17              THE COURT:     Shall we just use the designation                   17     Q.       Just so the record is clear, the year 1634 is

18   of 135?                                                                       18   when the Boston Common was established?

19              MR. ATKINSON:     That's fine with me, Your                        19     A.       Yes.

20   Honor.                                                                        20     Q.       You also -- in your affidavit, you listed --

21              THE COURT:     Let's do that and that's a full                     21   did you list what the common uses of the Boston

22   exhibit without objection.                                                    22   Common were?

23              MR. SULLIVAN:     Yes, Your Honor.   No                            23     A.       Yes.

24   objection.                                                                    24     Q.       Okay.     What were those common uses?

25              MR. ATKINSON:     Correct.   Your Honor, I'm                       25     A.       So the Common was used as a pasture, a place




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 1   of execution, site for militia musters and drills.                         1   myself as an expert on farming or sheep grazing.

 2     Q.      Apart from what you listed in your affidavit                     2     Q.      I was just about to go there, but thank you.

 3   or your declaration, are you aware of any other uses                       3     A.      I'm sorry.

 4   for the Boston Commons in that initial 1634 period?                        4     Q.      No, I'm joking.

 5     A.      I'm sure people strolled on the Boston                           5             Would you characterize strolling as

 6   Common.                                                                    6   recreational?

 7     Q.      If we fast-forwarded to 1791, would you be                       7     A.      That would be one context in which you would

 8   aware of any other uses apart from the ones that you                       8   stroll.

 9   listed in your affidavit and the one that you just                         9     Q.      What would other contexts of strolling be?

10   gave to us?                                                               10     A.      Well, I'm speculating here.    If my dog ran

11     A.      Well, I have not made a careful study of the                    11   away, I'd probably stroll after it.

12   changing uses of the Boston Common.      So I would be                    12     Q.      Would you run after it?

13   hesitant to offer an opinion under oath about what                        13     A.      Are we talking me now or me in my blazing

14   activities were going on in it without further                            14   youth?

15   research.                                                                 15     Q.      I'm not going hold you to that.    Let's move

16     Q.      Understood.    Fair enough.   But you also just                 16   on.

17   testified that you're sure people strolled on the                         17             You also stated that, quote, even when used

18   Boston Common, correct?                                                   18   for militia purposes, these public spaces were

19     A.      Well, I'm guessing they did.     I'm making an                  19   tightly regulated, correct?

20   educated guess.                                                           20     A.      Yes.    You couldn't actually come to muster

21     Q.      Okay.    What would be the basis for making an                  21   with a loaded firearm or discharge it.

22   educated guess like that?                                                 22     Q.      Do you know the purpose of that law?

23     A.      Well, it's hard to pasture an animal without                    23     A.      That is a public safety measure.

24   you walking occasionally and checking on the animal.                      24     Q.      What basis do you rely on for your opinion

25   I grew up in Brooklyn, so I'm not going to present                        25   that it's a public safety measure?




                                                                51                                                                            52


 1     A.      Well, having read the statute, I don't have                      1   19th century pre-Civil War Boston.

 2   the statute in front of me, but the statute clearly                        2     Q.      When you say carrying in public, do you mean

 3   was -- the goal was to facilitate militia training,                        3   in a -- withdrawn.

 4   but to do so in a safe manner, so ergo public safety.                      4             When you say carrying in public -- withdrawn

 5     Q.      And that was a law -- was that law passed by                     5   again.

 6   the Massachusetts legislature to your understanding?                       6             Are you familiar with the Statute of

 7     A.      Yes.                                                             7   Northampton, Professor?

 8     Q.      Okay.    Outside of that law from the period of                  8     A.      I am indeed.

 9   1634 to 1834, are you familiar with any other law                          9     Q.      Okay.    The law, the 1834 law you just

10   that prohibited the carrying of firearms on the                           10   described and the codification, did it bear any

11   Boston Common?                                                            11   similarities to the Statute of Northampton?

12     A.      Well, there were general laws in the state of                   12     A.      So the Statute of Northampton, which was

13   Massachusetts that prohibited public carry.                               13   enacted in 1328, was the foundation for several laws

14     Q.      Can you give us an example of those?                            14   enacted in the era of the Second Amendment, notably

15     A.      Yes.    So in 1834, I believe, Massachusetts                    15   Virginia and North Carolina.     The Massachusetts'

16   thoroughly revised its criminal code as part of a                         16   statute, which was enacted in 1794, three years --

17   broader process called codification where common law                      17   the first version of the statute three years after

18   was transformed into statutory law and the                                18   the Second Amendment departed in its language from

19   Massachusetts statute or series of statutes enacted                       19   the Statute of Northampton.

20   in 1834 prohibited carrying firearms in public.                           20             I'd have to have the two in front of me to

21             I've also done some research on the                             21   give you the exact differences between the two, but

22   enforcement of that by the Boston Police and we have                      22   it was part of a process that we call the

23   a really quite remarkable case where two individuals                      23   Americanization of the common law where aspects of

24   were prosecuted for carrying a gun in public.      So I                   24   English common law were adapted and we enacted either

25   feel pretty confident that you could not do that in                       25   by legislatures or by court decisions and




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 1   incorporated into the law of the individual states.                            1   would have also included a ramrod lading for the

 2     Q.       So understanding that you don't have the                            2   bullets, a cartridge box, gun powder and a powder

 3   statute in front of you, is your understanding as you                          3   horn.

 4   sit here today -- I'm not trying to pin you down on                            4     Q.      Are you familiar with how that Brown Bess

 5   this is an absolute.       I'm just asking about your                          5   musket was loaded?

 6   understanding today.       Is your understanding today                         6     A.      Yes.    It was a rather cumbersome process.

 7   that it -- that Massachusetts law in 1834 was a                                7     Q.      Okay.    Can you describe your understanding of

 8   general prohibition on the carrying of firearms in                             8   that process to us?

 9   public?                                                                        9             MR. SULLIVAN:    I would just object as to

10     A.       So it was a prohibition, but it had certain                        10   relevance and also he had earlier testified that he's

11   exceptions for imminent threat.                                               11   not a firearms expert.

12     Q.       We talked about five minutes ago about the                         12             MR. ATKINSON:    Your Honor --

13   purpose of the law prohibiting men from coming to                             13             THE COURT:    Well, so he did say that.    He

14   militia muster with loaded firearms.       Are you                            14   itemized what he would assume was the standard

15   generally familiar with the type of firearms in use                           15   carrying -- standard equipment carried by a militia

16   around 1791?                                                                  16   person.     What is your question and its purpose of

17     A.       Although I wouldn't claim to be a firearms                         17   cumbersomeness?

18   expert, I do have some knowledge of the relevant                              18             MR. ATKINSON:    Your Honor, we were -- the

19   types of firearms that were common in the 18th and                            19   line of questioning that I was pursuing was as to the

20   19th century.                                                                 20   purpose of the law prohibiting a man from coming to

21     Q.       Okay.     Do you have any knowledge of what a                      21   militia muster with a loaded firearm.      He did testify

22   militiaman would typically be expected to carry?                              22   earlier that it also went to the safety of how

23     A.       Yes.    The standard weapon of a militiaman                        23   militia drilled, if I recollect correctly.

24   would have been a Brown Bess musket which would have                          24             What I'm getting at in terms of the -- him,

25   had to have been capable of taking a bayonet.        It                       25   one, saying that it was cumbersome to load implies he




                                                                    55                                                                            56


 1   has some knowledge of the process of how it was                                1   firearms?

 2   loaded, and what I'm trying to do is get at how                                2     A.      Well, unlike modern firearms, it takes quite

 3   militia drilled in that time and whether there was                             3   a bit of skill to learn how to load and fire black

 4   another purpose for the law prohibiting someone to                             4   powder, you know, muzzle-loading weapon.

 5   come to militia apart from -- with a loaded firearm                            5     Q.      Okay.    Given the time that it took to -- and

 6   apart from a public safety.                                                    6   the skill that it took to load a black powder musket

 7              THE COURT:     Why don't we focus the question                      7   as you describe, would you agree with me that a unit,

 8   on that.    Okay?                                                              8   a militia unit that could load relatively quickly had

 9              MR. ATKINSON:     Okay.                                             9   an advantage in combat?

10   BY MR. ATKINSON:                                                              10             MR. SULLIVAN:    I just object again to

11     Q.       Professor, you -- you're familiar that                             11   relevance.     We're getting outside the scope of the

12   militias typically drilled in the founding era,                               12   declaration.

13   correct?                                                                      13             THE COURT:    It is outside the scope of the

14     A.       Yes.                                                               14   declaration.      So tell me what your purpose is.

15     Q.       Given the cumbersomeness of loading a                              15             MR. ATKINSON:    What I am attempting to do is

16   founding era Brown Bess musket, was it important for                          16   to establish the importance of the militia drilling,

17   militias at the time to drill loading their muskets?                          17   and in this context, the reason why they were being

18     A.       It was.     And also we know from newspaper                        18   required to come to muster without muskets -- without

19   reports that people do get shot on muster days.           So                  19   loaded muskets would defeat some of the purpose of

20   the state having laws that said you can't travel to                           20   drilling.

21   muster or you can't discharge your firearm until                              21             THE COURT:    That's not what your question

22   ordered by an officer would have been consistent with                         22   sounded like to me.      Do you want to rephrase?

23   public safety.                                                                23             MR. ATKINSON:    I will attempt to do so and if

24     Q.       Okay.     What is your understanding on why                        24   I can't, Your Honor, I'll move on.

25   militias drilled regularly by practicing loading                              25   BY MR. ATKINSON:




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 1     Q.      Professor, are you aware of any way to unload                    1   New England form of land use.

 2   a black powder musket in the founding era?                                 2     Q.    Okay.     By the term "urban space," the term

 3     A.      Well, discharging it would be the most direct                    3   that you used, "urban space," did you also mean to

 4   way of doing that.                                                         4   encompass what we would refer to now as a town green?

 5     Q.      Are there any other ways that you're aware                       5     A.    Yes.     That -- but the town green is something

 6   of?                                                                        6   you associate with nucleated villages in New England.

 7     A.      Well, again, we're sort of stretching my                         7   You don't have town greens in Virginia or South

 8   expertise, but there are these auger things where you                      8   Carolina.

 9   can actually remove a musket ball if you had to.                           9     Q.    Okay.     The founding era, based on your

10   It's somewhat dangerous and cumbersome, but if it had                     10   research, et cetera, would smaller communities have

11   to be done, you could do it.                                              11   public spaces -- smaller New England towns actually,

12     Q.      And by saying "cumbersome," do you mean that                    12   would they have public spaces similar to the Boston

13   it would take time?                                                       13   Common but smaller in size?

14     A.      Yes.                                                            14     A.    In New England where you had nucleated

15     Q.      I am ready to move on.                                          15   villages, yes.

16             I want to go back to your characterization of                   16     Q.    And the purposes for those public spaces

17   the Boston Common as an urban space.      Was it                          17   were -- would they be largely similar to the purposes

18   prototypical in the founding era for large cities to                      18   that you've outlined for the Boston Common?

19   have space similar to the Boston Common?                                  19     A.    Yes.

20     A.      So it really depended on what region of                         20     Q.    In your affidavit, you -- withdrawn.

21   American you were in.      If you were in the back                        21           In terms of common public spaces, are you

22   country, you wouldn't have had need for anything like                     22   familiar with founding era taverns?

23   the Boston Common.      In the South, you don't have                      23     A.    Yes.     I lived in Colonial Williamsburg and

24   nucleated villages, so you wouldn't have had commons.                     24   spent a good deal of time in several of those.

25   So the idea of a common is a distinctively                                25     Q.    Would you agree with me that those taverns




                                                                59                                                                           60


 1   existed in the colonial and the founding era?                              1   creation of modern parks as we know them today began

 2     A.      Yes.     Certainly taverns are a venerable part                  2   in the middle of the 19th century, correct?

 3   of the American tradition.                                                 3     A.    Correct.

 4     Q.      Would you also agree with me that they were                      4     Q.    If I recall correctly, you also stated that

 5   places of recreation in the founding era?                                  5   Henry David Thoreau was a primary influence in that

 6     A.      Well, of course they were, but taverns were                      6   creation, correct?

 7   privately owned.                                                           7     A.    So what we call modern parks were certainly

 8     Q.      Are you aware of any government laws that                        8   influenced by both romanticism and transcendentalist,

 9   prohibited the carrying of firearms in taverns during                      9   and Thoreau is certainly one of the leading

10   the founding era?                                                         10   transcendentalists luminaries.

11     A.      Typically you don't get government                              11     Q.    And in pursuant of various romanticized and

12   regulations of how people can use their private                           12   transcendentalist ideals, you also stated that urban

13   spaces.                                                                   13   planners, architects and government officials began

14     Q.      In the founding era --                                          14   to look towards creating state parks, right?

15     A.      No.     As a general rule under Anglo American                  15     A.    That's right.     We have -- the earliest parks

16   law, private property is pretty esteemed value, and                       16   are municipal, but then state and federal parks

17   typically people have considerable autonomy over                          17   follow somewhat later.

18   their lands and property.      So you do, for instance,                   18     Q.    Okay.     I understand.   I misspoke there and

19   in Boston have a -- have a law that says you can't                        19   thank you for clearing me up.

20   have a loaded firearm in your -- any domestic                             20           What was the first American municipal park,

21   dwelling in the city.                                                     21   to your knowledge?

22     Q.      What era was that law?                                          22     A.    New York Central Park, 1858.

23     A.      1786.                                                           23     Q.    Okay.     To your knowledge, was Central Park

24     Q.      Okay.     Let's move on.                                        24   open for business before the Civil War?

25             You also stated in your affidavit that the                      25     A.    So I would have to confirm that.      I don't




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 1   recall whether 1858 is when they broke ground or when                      1   your understanding that other major cities followed

 2   it was opened to the public.    So I'd have to confirm                     2   suit fairly quickly thereafter?

 3   that before I could swear to it.                                           3     A.    Yes.     Within about a decade, you had a number

 4     Q.    That's fair.     That's fair.    And from the --                   4   of other parks created.

 5   in your understanding, from the start, Central Park                        5     Q.    Okay.     Do you recall, as you sit here today,

 6   had a prohibition on carrying firearms in it?                              6   which cities created other parks?

 7     A.    Yes.    Virtually all of the major parks in                        7     A.    So in my declaration I have a table that

 8   America from their inception had such prohibitions.                        8   lists the earliest -- well, sorry.       The creation of

 9     Q.    Let's just focus on Central Park for now.                          9   parks in the nation's five largest cities and whether

10     A.    Okay.                                                             10   or not they had gun prohibitions.       And in the

11     Q.    Who created the Central Park rule?                                11   footnote, I list a number of other early parks also

12     A.    So, well, the -- the person who designed                          12   from the sort of era of reconstruction.

13   Central Park is Frederick Law Olmsted.      New York City                 13     Q.    Let's focus on the table for a second.

14   created Central Park.                                                     14     A.    Yes.

15     Q.    And they also created the law that prohibited                     15     Q.    The first city that you list is Chicago after

16   carrying firearms in it, correct?                                         16   New York, actually.    And when did Chicago create a

17     A.    Correct.                                                          17   public park, if you recall?

18     Q.    And when about did they create that law?                          18     A.    1873.

19     A.    It was part of the earliest regulations of                        19     Q.    At the time they created a public park, was

20   the use of the park.                                                      20   the first time they promulgated a regulation that

21     Q.    Do you have a recollection as you sit here                        21   functionally said thou shall not carry a firearm in a

22   today when those earliest regulations were                                22   public park?

23   promulgated?                                                              23           MR. SULLIVAN:     I would just object to the

24     A.    1858.                                                             24   characterization to the extent that's --

25     Q.    After New York creates Central Park, is it                        25           MR. ATKINSON:     I'll rephrase, Your Honor.




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 1           THE COURT:     All right.    The affidavit talks                   1   doing some further research.    I didn't focus on the

 2   about gun prohibition in parks.      When did Chicago                      2   founding date of all the parks.

 3   have a gun prohibition in its park, started in 1873.                       3     Q.    Okay.     That's fair enough.    I'll move on.

 4           MR. ATKINSON:     Correct.                                         4           To this point, we've been talking about

 5   BY MR. ATKINSON:                                                           5   municipalities and their regulations.       Based on your

 6     Q.    To the best of your knowledge, Professor,                          6   research, when was the -- when -- which statement --

 7   Chicago's first gun prohibition in a park was 1873?                        7   withdrawn.

 8     A.    I believe so, yes.                                                 8           Based on your research, do you recollect, as

 9     Q.    Philadelphia is the third one you list there.                      9   you sit here today, which state government was the

10   When did it create its first public park?                                 10   first one to impose a similar prohibition on carrying

11     A.    I would have to -- I don't know if I actually                     11   firearms in public parks?

12   listed that in my report.    So I'd have to confirm                       12     A.    So Olmsted took a leading role in

13   that.                                                                     13   establishing the first state park in California, but

14     Q.    Okay.    But you do have on the table that they                   14   California had problems funding the maintenance.         So

15   imposed a prohibition on carrying a firearm in a                          15   the park was turned over to federal control and under

16   public park in 1868, correct?                                             16   federal control, a similar prohibition was enacted.

17     A.    Yes.    The table focuses on post-Civil War                       17     Q.    So I understand what you're testifying there.

18   reconstruction era given Bruen's emphasis on that as                      18   What I'm asking you is very specific.

19   an important date in understanding the scope of the                       19           What -- as you sit here today, do you have a

20   legitimate regulation.                                                    20   recollection of which state was the first one to

21     Q.    Perhaps we can simplify this.       Apart from New                21   follow through with imposing a similar prohibition?

22   York's Central Park prior to the Civil War, are you                       22     A.    So I did not examine that question in detail

23   aware of any other public parks being created prior                       23   because state parks were not common in this period.

24   to the Civil War?                                                         24     Q.    Okay.     To your knowledge, when did they

25     A.    You know, I -- I could not tell you without                       25   become common?




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 1     A.      State parks are more of an early 20th century                       1   because of the Supreme Court's ruling in Barron v.

 2   phenomenon.                                                                   2   Baltimore.    So there would have been no foundation

 3     Q.      When you say, "early 20th century                                   3   under American law to make a Second Amendment claim

 4   phenomenon," can you be more precise in term of years                         4   against a state regulation.

 5   or decades?                                                                   5     Q.       How about after the Fourteenth Amendment was

 6     A.      Well, again, without doing some additional                          6   adopted?

 7   research, it's more of a progressive era, Teddy                               7     A.       Well, of course, it takes a while for

 8   Roosevelt era development than it is a reconstruction                         8   incorporation doctrine to work itself out, but I'm

 9   era development.                                                              9   not aware of any challenges to parks in the era of

10     Q.      Fair enough.     Let's go back to the laws that                    10   the Fourteenth Amendment.

11   were enacted around the time of the Civil War and                            11     Q.       Okay.   In the pre-Civil War era, are you

12   thereafter.                                                                  12   aware of any legal challenges to prohibition such as

13             Are you aware, based on your research of                           13   the Central Park prohibition that relied on a state

14   those laws, of any legal challenges to them that                             14   constitutional provision that was similar to the

15   relied on the Second Amendment as a basis for                                15   Second Amendment?

16   challenging them?                                                            16     A.       Not as it pertains to parks, no.

17     A.      I'm sorry.     Legal challenges to --                              17     Q.       Okay.   How about after the Civil War, are you

18     Q.      I'll rephrase the question for you.                                18   aware of any such challenges?

19             For laws that -- prohibitions on carrying                          19     A.       Not from the era of the Fourteenth Amendment.

20   firearms in state parks before the Civil War and                             20     Q.       How about the early 1900s, are you aware of

21   thereafter, are you aware of any legal challenges to                         21   any challenges in that era?

22   those laws that relied on the Second Amendment to                            22     A.       Well, I did not look at that period because

23   state the legal challenge?                                                   23   Bruen gives less attention to that.

24     A.      Well, the Second Amendment would not have                          24              MR. ATKINSON:     Your Honor, may I have a

25   applied to the states in pre-Civil War America                               25   moment to confer with Mr. Nastri, please?




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 1             THE COURT:     Yes.                                                 1   Your Honor.

 2             MR. ATKINSON:     Thank you, Your Honor.                            2              MR. SULLIVAN:     Your Honor, we'd be open to a

 3   BY MR. ATKINSON:                                                              3   break, a short lunch break.

 4     Q.      I have one more line of questioning,                                4              THE COURT:     Let's take a short break in which

 5   Professor.    Going back to what we discussed earlier                         5   it will be assumed that you have something to eat and

 6   regarding the Boston Common law about the discharge                           6   we will be back -- is half an hour enough?

 7   of -- or regarding coming to muster with a loaded                             7              MR. SULLIVAN:     Half an hour, thank you.

 8   firearm, are you aware of -- withdrawn.                                       8              THE COURT:     Half an hour.    Thank you very

 9             To the best of your knowledge, do you know                          9   much.

10   when -- if the militia was drilling on the Boston                            10              I'll ask our witness, Professor Cornell,

11   Common, for instance, they would discharge their                             11   please don't discuss your testimony with anyone until

12   firearms in the course of drilling?                                          12   you are back on the stand.       Thank you very much.

13     A.      I must confess that I don't recall.        I do                    13              We stand in recess.

14   know, obviously, in many militia musters there would                         14              (Recess taken.)

15   be discharge of firearms when ordered to do so.         But                  15              (Call to Order, 12:36 p.m.)

16   I don't remember specifically looking at what the                            16              THE COURT:     Please be seated, counsel.

17   practice was of the muster militia in the city of                            17              Mr. Nastri, would you mind checking and

18   Boston.                                                                      18   seeing if Mr. Atkinson --

19     Q.      Understood.                                                        19              MR. ATKINSON:     I apologize, Your Honor, if I

20             MR. ATKINSON:     No further questions, Your                       20   kept everybody waiting.

21   Honor.                                                                       21              THE COURT:     Not very long.    All right.   We

22             THE COURT:     All right.   Do you want to begin                   22   need Professor Cornell.

23   cross-examination?      Do you want to take an early and                     23              MR. SULLIVAN:     We can check the hallway for

24   brief lunch break?      What's your pleasure?                                24   him, Your Honor.

25             MR. ATKINSON:     I'll defer to my colleagues,                     25              MR. BOCHAIN:     Your Honor, can I just have one




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 1   moment with Attorney Atkinson?                                             1   and we had discussion with counsel and I believe with

 2            THE COURT:     Yes.                                               2   Your Honor regarding these exhibits.

 3            Okay.    Professor Cornell, if you would kindly                   3              So I guess I'm looking for a little bit of

 4   return to the stand and recall that you are under                          4   clarity from Your Honor how you would like to proceed

 5   oath.                                                                      5   with this, because it's my understanding that there's

 6            MR. ATKINSON:     Your Honor, as a brief                          6   no objection for Exhibits 1 through 143 coming into

 7   housekeeping matter, can I get Exhibit 14 back from                        7   evidence, and we would be offering those for

 8   Professor Cornell, please?                                                 8   consideration for Your Honor in connection with the

 9            THE COURT:     Have you stolen Exhibit 14?                        9   preliminary injunction hearing.

10            MR. ATKINSON:     I instructed him to leave it                   10              So I guess I'm just looking for a little bit

11   there.                                                                    11   of clarity from Your Honor how you would like us to

12            THE COURT:     All right.     We're all set?                     12   go forward with that and the declarations, but those

13            MR. ATKINSON:     Yes, Your Honor.                               13   are part of the exhibits that I just referenced, Your

14            MR. BOCHAIN:     Actually, Your Honor, if we                     14   Honor.

15   could just have one other quick housekeeping matter,                      15              THE COURT:     We can do it this way:   Why don't

16   I know earlier this morning there was a brief                             16   we proceed assuming that 1 through 143 will be a part

17   discussion about exhibits, and perhaps there was a                        17   of the record without objection.       At the end of the

18   misunderstanding on my end and I just want to clarify                     18   hearing, you will call out the exhibits you did not

19   the record if I may.                                                      19   use or do not need.

20            So Exhibits 100 through 143, the ones that I                     20              MR. BOCHAIN:     I believe -- we can proceed

21   had referenced this morning, we are offering them                         21   like that, Your Honor, but I'm -- I just am telling

22   today in connection with the preliminary injunction                       22   the Court that we do intend to rely on all of those.

23   hearing for your consideration.        And so Exhibits 1                  23              THE COURT:     Okay.

24   through 132 we had submitted in connection with the                       24              MR. BOCHAIN:     And so would you like me to

25   preliminary injunction opposition that we had filed,                      25   still proceed in that fashion or can we say that it's




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 1   admitted today at this time?                                               1   reasons.     So yes is the answer.

 2            THE COURT:     We can say that 1 through 143 are                  2              MR. SULLIVAN:     Thank you, Your Honor.

 3   admitted without objection and will that clarify our                       3              Furthermore, although he's been separately

 4   proceeding?                                                                4   recognized by myself and plaintiff's counsel as an

 5            MR. ATKINSON:     Yes, Your Honor.                                5   expert in his field, I would like to, in light of his

 6            THE COURT:     All right.     Let's proceed.                      6   testimony directed to plaintiff's counsel on

 7            I'm sorry.     Are you finished, Mr. Atkinson,                    7   examination, I would like to tender him as an expert

 8   with your examination?                                                     8   witness under Rule 702 as a legal and constitutional

 9            MR. ATKINSON:     Yes, Your Honor.     If the                     9   historian.

10   record didn't reflect that, I apologize.                                  10              THE COURT:     He certainly seems to be that

11            THE COURT:     Cross-examination.                                11   expert.    I will certainly certify him as an expert

12      CROSS-EXAMINATION OF PROFESSOR SAUL CORNELL                            12   under -- for constitutional history; is that the

13   BY MR. SULLIVAN:                                                          13   offer.

14     Q.     Good afternoon, Professor Cornell.                               14              MR. SULLIVAN:     That's the offer, Your Honor.

15     A.     Good afternoon.                                                  15              THE COURT:     Thank you.

16     Q.     How was your lunch?                                              16   BY MR. SULLIVAN:

17     A.     I love New Haven, good coffee, good eats.                        17     Q.       Now, Professor Cornell, as we begin, I'd like

18   It's awesome.                                                             18   to just take a moment and clarify, you're not a

19            THE COURT:     You can come back any time.                       19   lawyer, are you?

20            MR. SULLIVAN:     We'll try to get done with you                 20     A.       I am not a lawyer, no.

21   today at least.    So just as we were -- actually, Your                   21     Q.       You never attended law school?

22   Honor, if I may have some leeway to go outside the                        22     A.       No, I did not.

23   scope of plaintiff's examination.                                         23     Q.       But you are a constitutional legal historian,

24            THE COURT:     That's fine.     He's being offered               24   correct?

25   by both sides, perhaps not for completely congruent                       25     A.       Yes, I am.




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 1     Q.       So as we are here today in a courtroom, what                    1   what did -- in what capacity were you writing for

 2   do you understand your role to be as a witness                             2   that article?

 3   offering opinions as a constitutional and legal                            3     A.     So there I was acting as a public

 4   historian?                                                                 4   intellectual unconstrained by the decisions of the

 5     A.       Sure.    My role as an expert witness is to                     5   Court, offering my own views as a historically

 6   give the state my expert opinion about the relevant                        6   informed private citizen.

 7   history of gun regulation and the relevant context to                      7     Q.     And do you understand there to be constraints

 8   understand those regulations consistent with Bruen's                       8   on your testimony today?

 9   history, text and tradition framework.                                     9     A.     Oh, absolutely.    There are arguments that are

10     Q.       And on plaintiff's examination, you were                       10   simply taken off the table by Heller, McDonald and

11   asked about your work in other fields, which I                            11   Bruen.   I'm quite aware of that.

12   believe you had -- in your response, you                                  12     Q.     All right.    Now, just before we get to the

13   characterized as, you know, work as a public                              13   specifics of your opinion in this matter, I'd like to

14   intellectual, work as an academic, and then work more                     14   step back and get a sense of your general practices

15   directed to legal work; is that correct?                                  15   as an academic historian.

16     A.       Yes.    And I often tell my students that for                  16     A.     Sure.

17   any given constitutional question or constitutional                       17     Q.     Now, are there standards that govern the

18   text, you can ask what a particular text meant at a                       18   practice of historians in your field?

19   particular moment in American history, you can ask                        19     A.     Yes.    There are best practices, well-accepted

20   what does it mean in American culture today, and then                     20   methodological precepts, rules about evidence, rules

21   you can ask what does it mean as a matter of law, and                     21   about argumentation, rules about style, and perhaps

22   then, of course, the latter one is shaped by the                          22   the best place to see those would be in the recent

23   decisions of the Supreme Court.                                           23   three-volume Cambridge History of Law in America

24     Q.       All right.    And when you were writing in more                24   which I think is recognized as kind of the standard

25   popular media, for instance, the SCOTUSblog venue,                        25   history of American law, and I wrote the chapter in




                                                                75                                                                               76


 1   that on the Bill of Rights and the Marshall Court                          1   irrelevant?

 2   era.     I'm sorry, cowrote it.                                            2     A.     Well, no.    In fact, the most remarkable thing

 3     Q.       All right.    And how are those academic                        3   about this whole process of being an expert witness

 4   standards enforced in your field?                                          4   is there's really no reason given my scholarly focus

 5     A.       So those academic standards require you to                      5   to have looked at the history of gun regulations in

 6   not cherry-pick evidence, but to actually immerse                          6   parks, it wouldn't have come up, but obviously the

 7   yourself in the full range of sources that one can                         7   facts of this case meant that that was relevant.        So

 8   identify as relevant to any particular historical or                       8   I had to dig into the history of parks, the history

 9   constitutional topic.                                                      9   of the regulation of parks, and the history of

10              So when I do my research, I try to cast as                     10   firearms regulation in parks.

11   wide a net as possible both in terms of primary                           11     Q.     All right.    As you're identifying those

12   sources, but also in terms of secondary sources so                        12   sources, how do you as a historian weigh them in

13   that, for instance, I would look at the history of                        13   arriving at a conclusion about their impact on

14   material culture to understand something about                            14   constitutional history?

15   firearms, military history, social history, all of                        15     A.     Sure.    Well, the -- one of the most important

16   these fields which don't speak directly to the Second                     16   things you do as a historian is you try and

17   Amendment, but I think are important to understand                        17   understand why a particular text was written, who

18   what Americans thought they were doing when they                          18   authored it, what the intended audience for the text

19   passed various pieces of legislature or why various                       19   was, how different groups in society might have read

20   pieces of legislation might not have been on their                        20   that text, and particularly important, the limits of

21   minds.                                                                    21   the archive.

22     Q.       And when you are reviewing the history and                     22            Not every -- not every situation gets

23   those sources, do you do so with any preconceived                         23   recorded.     Not every piece of evidence gets saved.

24   notions about, as you identify those sources, which                       24   And it's sort of maddening as a historian, but you

25   ones may be relevant and which ones may be                                25   are stuck with what people decided to save.     And not




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 1   surprisingly, we know an awful lot of about what                          1   to make as a historian.

 2   Thomas Jefferson did almost every moment of his day.                      2     Q.    You mentioned earlier that there are laws

 3   We know a lot less about what was going on, you know,                     3   about constitutional provisions for which a

 4   if you were, you know, a young woman living in rural                      4   legislature history does not exist; is that correct?

 5   New England, although we know a lot about that, much                      5     A.    I'm sorry.     Can you just say that again?

 6   more than we used to know about that, but still the                       6     Q.    I believe you testified earlier that there

 7   papers of Jefferson fill many, many, many shelves in                      7   are legislative histories that do not exist for

 8   the library.                                                              8   particular laws and constitutional provisions; is

 9     Q.       So does the absence of a primary source or                     9   that correct?

10   contemporary source regarding -- that may touch on a                     10     A.    Yes.    I think, you know, the closer you get

11   given topic prevent you from performing an analysis                      11   to the modern period, the biggest problem historians

12   of the scope of constitutional history surrounding                       12   have is figuring out what not to read, and the bigger

13   that topic?                                                              13   problem you have when you go further back in time is

14     A.       Well, it depends on the particular topic and                  14   trying to find something to read.

15   how much other material is available.     The one thing                  15     Q.    So in light of the absence, there may be

16   you have to be very careful about is not interpreting                    16   certain legislative histories that were not available

17   silence beyond what the silence will suggest.     Like                   17   or were not available to you as you conduct your

18   for instance, at any given moment, legislatures will                     18   research, does that prevent you from understanding --

19   not enact laws if there is no pressing social need                       19   historical understanding -- the common historical

20   for a law.                                                               20   understanding of a given constitutional provision?

21              So the fact that you don't legislate in any                   21     A.    So fortunately, in the context of this case,

22   particular moment may tell us something or it may                        22   I didn't know what I would find when I set out, but I

23   tell us nothing about what is the state of the law at                    23   was really surprised in some sense and really quite

24   a particular moment in American history.     So that is                  24   pleased that there was such detailed historical

25   among the most complicated judgments I think you have                    25   documentation of what the regulations were in these




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 1   early parks.                                                              1   reading them with some understanding of the very

 2              We have a very detailed set of historical                      2   different world that our Americans of an earlier

 3   documents about the regulations of early parks.     And                   3   generation lived in.

 4   if you had asked me without having looked at the                          4     Q.    And did you engage in that analysis despite

 5   sources did I think I would find anything, I would                        5   disagreeing with portions of the Bruen decision?

 6   have said I really don't know, we could find a                            6     A.    Yes.    You know, it's interesting because the

 7   treasure trove or we could find a real dearth of                          7   final paper for my students this term is to actually

 8   sources.     So we actually found quite a lot, which I                    8   adjudicate a live case in the aftermath of Bruen.

 9   was quite happy about.                                                    9   And I told them quite expressly that obviously you

10     Q.       All right.   So in light of the work you did                  10   have to follow Bruen's framework, but you may find

11   in this case and developing your opinions that you're                    11   that the outcome is one that you don't personally

12   being -- that are being offered today, can you please                    12   agree with and interestingly, you may also find that

13   describe your methodology that you engaged in when                       13   you can make the best argument for something that you

14   you were conducting your academic analysis given the                     14   don't necessarily agree with.

15   Supreme Court's holding in Bruen?                                        15           So what your personal views are and what

16     A.       Sure.   Well, Bruen makes it quite clear that                 16   arguments the sources and doctrine will allow you to

17   history texts and tradition are the proper framework                     17   make don't always line up perfectly.    And I tell them

18   for evaluating the history of the -- evaluating the                      18   if you want to be a lawyer, you better get used to

19   constitutionality of contemporary gun laws.                              19   that.

20              And so the role of the historian in this is                   20     Q.    And is that true if you want to be a

21   to help courts find what is the documentary record,                      21   historian as well?

22   give some sense of why certain things are well                           22     A.    Well, yeah.     I mean, if you want to be a

23   represented in documentary record, and why certain                       23   historian, you have to get used to that too, but I

24   things might be underrepresented, and how to weight                      24   don't think historians typically feel as invested

25   and contextualize those sources so that you're                           25   necessarily.    I mean, for me it's a big intellectual




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 1   puzzle.    I work on this topic not so much because of                   1   of -- you know, you do some research, something

 2   any political -- as I suggested in my earlier                            2   becomes clear to you, then you have to ask the

 3   testimony, any political commitments, although like                      3   question, well, now I need to know something about

 4   any American, I have my views on public policy.       I do               4   the history of parks to understand why all these

 5   it because I just love doing history.     I suppose                      5   sources date to this period and not to an earlier

 6   lawyers love doing law.     So maybe we're not that                      6   period.

 7   different.                                                               7     Q.      So when you're engaging in this analysis

 8     Q.      So can you give me a sense of the types of                     8   regarding the Second Amendment and the framework set

 9   primary sources that you looked at in arriving at                        9   forth by the Bruen Court, would you be doing that

10   your opinions in this case?                                             10   without any reference to any other constitutional

11     A.      Sure.    So really the sources that turned out                11   doctrine?

12   to be most relevant were the regulations of early                       12     A.      Well, no.    Because, of course, all the

13   parks.    And of course in order to understand why                      13   Constitution matters and one of the -- one of the

14   those sources come into the historical record in the                    14   bodies of law that's highly relevant to understanding

15   middle of the 19th century, I had to figure out                         15   the issues in this case were issues about the

16   something about the history of parks.                                   16   understanding of private property, understanding

17             And it's very clear that at the time of the                   17   about trespass, and I think American legal history

18   Second Amendment, you don't have these modern-style                     18   going back to the very earliest days of America,

19   parks which are really created because America is                       19   indeed going back to sort of the Anglo American roots

20   losing the kind of wilderness that the first                            20   of our law, there's this strong Lockean tradition of

21   generations of Americans encountered.     I mean, you                   21   sort of life, liberty and property, which, of course,

22   don't really have a need for a park if you're living                    22   gets reframed in the Declaration as life, liberty and

23   in a forest or if you're living in -- you know, in a                    23   the pursuit of happiness.

24   situation where there are very few urban areas.                         24             And so in the process of looking at these

25             So as is often the case, you have to sort                     25   things, I went back and looked at Blackstone and his




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 1   discussion of trespass, which, you know, I had done                      1   kind of time line when we're looking at the medieval

 2   in the past, but hadn't done recently.     And, of                       2   to modern English laws and as you understand it in

 3   course, it just made it clear how significant and how                    3   the Bruen framework?

 4   powerful the rights of private property are, and then                    4     A.      Well, in the most technical sense, obviously

 5   I started to look at some First Amendment scholarship                    5   July 4, 1776, marks a pretty clear break with certain

 6   to understand the difference between sort of the                         6   aspects of Anglo American law, although virtually

 7   application of the First Amendment when government's                     7   every one of the new states in one form or another

 8   a proprietor versus when it's just a private citizen.                    8   either by judicial decision, by express act in the

 9             And so, you know, looking at that body of                      9   Constitution or by a statute absorbs those aspects of

10   scholarship made me realize, oh, I need to go back                      10   the common law that were in force in the colonies at

11   and I need to really understand 18th century property                   11   the moment that independence was declared.

12   law a little bit better than I did when I began this                    12             So knowing what the common law was in the

13   enterprise.                                                             13   14th century is not all that relevant, but knowing

14     Q.      All right.    So I'd like to just take a moment               14   what the common law, how it was understood in

15   to frame the time periods that were identified by the                   15   Virginia 1774 is actually somewhat relevant.

16   Court in Bruen.     And so first of all, in the Bruen                   16     Q.      All right.    On that note again just in terms

17   decision, there's a discussion of, you know, laws                       17   of framing the time period, what is your

18   that were in existence in medieval to modern England;                   18   understanding of the dates that the time -- the Court

19   is that correct?                                                        19   is looking at when it's talking about laws that

20     A.      Right.    So obviously, America doesn't really                20   existed during the American colonies and early

21   enter the game until the 17th century and the Boston                    21   republic?

22   Common and the rules governing it would probably be                     22     A.      Right.   So it's interesting that the Court

23   the oldest kinds of statutes that I encountered.                        23   did fuse together the colonial period and the

24     Q.      And just in terms of the framework of what                    24   revolutionary period.     Those are typically treated as

25   years we're talking about, so at what point does the                    25   interconnected, but distinct because the revolution




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 1   does -- for one thing, we get rid of monarchy and                         1   Sumter in 1861.

 2   aristocracy, which is really two parts of the British                     2     Q.       All right.   And on that line, what is the

 3   mix constitution almost overnight.                                        3   period that you would describe as reconstruction?

 4           So there are some profound changes, but they                      4     A.       So reconstruction is a pretty hotly debated

 5   offer profound continuity.     So those are both clear                    5   topic in terms -- and the chronology gets debated as

 6   within the 18th century.                                                  6   well.     I think everyone agree that the period between

 7     Q.    And again, just for the benefit of the Court,                     7   the Fourteenth Amendment in 1868 and the withdrawal

 8   can you just give the years that you would give to                        8   of northern troops in 1876 is clearly covered by

 9   that period?                                                              9   reconstruction, but many scholars today would say

10     A.    Sure.     So as I said, most historians would                    10   that reconstruction extended through the 1890s

11   divide that in two.     That period would include the                    11   because all of the important Supreme Court decisions

12   period under what we call the imperial crisis which                      12   on the meaning of the Fourteenth Amendment date to

13   is once parliament starts heavily regulating the                         13   that sort of period from the 1870s to the 1890s.

14   colonies in the late 1750s through 1760s and would                       14              So scholars make their money, if there is any

15   probably go up to Jefferson's election in 1800.                          15   money to be made, by disagreeing and by redefining

16     Q.    All right.     And what is the time period as                    16   fields.     So there's a little bit of that going on.

17   you understand it as being referred to when the                          17     Q.       All right.   And just kind of marching through

18   Supreme Court is talking about Antebellum America?                       18   the time line, how would you describe the

19     A.    So again, you know, historians love to dice                      19   significance of the periods of law that are being

20   and slice things in quite precise terms.     So                          20   enacted like those parks laws that were coming into

21   typically we talk about a Jeffersonian era, a                            21   existence in the late 19th century and early 20th

22   Jacksonian period, and sort of a sectional conflict                      22   century?

23   leading up to the Civil War.     I think the Court sort                  23     A.       Well, of course, what becomes clear when you

24   of put all those distinct periods together and so                        24   look at this story is that there's very little need

25   that would roughly go 1800 to the firing on Fort                         25   for -- you know, when Thomas Jefferson decides he




                                                               87                                                                           88


 1   wants to go experience nature, he just walks out his                      1   there is evidence from 1868, it makes that evidence

 2   door and he can walk for about 5,000 acres until he                       2   highly probative.

 3   finds his nearest neighbor.     I dare say that very few                  3     Q.       So you had mentioned, I think this -- the

 4   people in Boston in the 1860s would have the same                         4   Lockean conceptions of property rights.

 5   experience.                                                               5              How did those Lockean concepts -- how are

 6           So what we call the sort of parks movement is                     6   they understood by the founders when they were

 7   a result of the fact that more Americans live in a                        7   implementing regulations or guiding the course of

 8   situation similar to that Bostonian and fewer and                         8   conduct on government property?

 9   fewer Americans are living in that situation similar                      9     A.       Sure.   Well, to me, one of the most

10   to Jefferson in the 1780s.                                               10   interesting illustrations of that is Thomas Jefferson

11     Q.    And so that said, those parks regulations                        11   who offered his own alternative to the Virginia

12   prohibiting firearms that you came across that may                       12   Constitution, very in keeping with Jefferson's

13   have been implemented in the late 19th, early 20th                       13   personality rewrote the Bible to exclude the things

14   century, do they still have relevance to you when                        14   he thought were not appropriate to the Bible which is

15   you're reaching an opinion regarding the application                     15   a very Jeffersonian concede, I suppose.     So his

16   of the Bruen analysis in the case?                                       16   provision on arms bearing actually cabins the right

17     A.    Yes.     Well, Bruen very clearly, although it's                 17   to one's lands and tenements.     So, you know, that's

18   complicated, makes the period of reconstruction                          18   very interesting I think.

19   relevant.     There is some -- you know, there's the                     19              If you look at the general order -- the

20   concurrence of Justice Barrett which raises some                         20   general orders issued by General Sickles as a prelude

21   interesting theoretical questions about how you would                    21   to the Fourteenth Amendment, this is a set of orders

22   weight, you know, 1868 versus 1791.                                      22   responding to the black codes in South Carolina, he

23           I think in general, there is a recognition                       23   very clearly talks about the need to protect the

24   that 1868 is very important, and in particular, if                       24   right to keep and bear arms of African Americans, but

25   it's a new problem that didn't exist in 1791 and                         25   he also goes on to say that protecting that right




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 1   should not be understood to prohibit regulation of                       1   Massachusetts carried forward that a conception

 2   firearms in public, nor should it be understood to                       2   implicit in the Statute of Northampton that there

 3   allow individuals to carry guns on other people's                        3   were certain places in public that one had to

 4   property.                                                                4   exercise greater regulatory control over arms,

 5           So, you know, a very robust understanding of                     5   because the Statute of Northampton expressly mentions

 6   the right to keep and bear arms I think has always                       6   fairs and markets, for instance.

 7   coexisted with a fairly robust view of regulation.                       7     Q.    And so are you aware of the Supreme Court's

 8     Q.    All right.     And I believe earlier you gave as                 8   discussion and treatment of the Statute of

 9   an example the Massachusetts Acts and Resolves of                        9   Northampton and its opinion in Bruen?

10   1794 as indicating a regulation of the right to carry                   10     A.    Yes.     I have to say there are very few

11   in public; is that correct?                                             11   statutes from the era of Richard III that have

12     A.    Yes.                                                            12   received the same attention.

13     Q.    And that's been entered in evidence as                          13     Q.    All right.     And so did you understand the

14   Defense No. 142.                                                        14   Court to be dismissing the Statute of Northampton

15           Now, I believe you also testified the                           15   outright or merely discussing its relevance as it

16   Massachusetts Acts and Resolves of 1794 were part of                    16   weighed in on the problem of public carry in the law

17   a lineage of cases from the Statute of Northampton in                   17   as was issued in Bruen?

18   England; is that correct?                                               18     A.    Right.     I think the focus was certainly on

19     A.    Right.     Not so much cases, but yes, of                       19   public carry, and the one thing that is clear is

20   regulations.                                                            20   that -- both from Heller and Bruen is that the

21     Q.    All right.     And in your opinion, does that                   21   sensitive places doctrine, which of course is a

22   evidence an ability and intent of the State of                          22   modern gloss on the ability to regulate firearms in

23   Massachusetts to regulate the carry of firearms on                      23   certain public locations, clearly emerges in part out

24   public lands?                                                           24   of that tradition in the Statute of Northampton.

25     A.    I think there's very strong evidence that                       25           The question of what counts as a sensitive




                                                              91                                                                              92


 1   place is obviously something that courts are now                         1     A.    So clearly, I mean, the case of University of

 2   wrestling with, but the idea that there are such                         2   Virginia is fascinating because, of course, Jefferson

 3   places and one can regulate firearms pretty robustly                     3   and Madison are both on the board of overseers and

 4   in them I don't think is in dispute.                                     4   they are deeply involved in crafting every aspect

 5     Q.    All right.     So the fact that that statute                     5   down to literally Jefferson was involved in

 6   kind of retained the ability to regulate firearms in                     6   everything from the curriculum to hiring the

 7   specific locations is still relevant to your opinions                    7   professors, and he viewed the University of Virginia,

 8   as a historian in this case?                                             8   and it's one of three things he actually puts on his

 9     A.    Yes.                                                             9   tombstone as part of his epithet.       He doesn't mention

10     Q.    All right.     So generally speaking, what types                10   being president, but he does mention being the

11   of public lands existed at the time of the founding?                    11   founder of the University of Virginia.       And clearly,

12     A.    So the number of -- excuse me.     There were a                 12   he viewed the University of Virginia as a place the

13   number of different examples of public land.     We've                  13   government needed to exercise a fairly strong hand in

14   already talked about the Boston Common.    In some                      14   regulating.

15   states, you had colleges such as University of                          15           MR. SULLIVAN:     So if I may, I'd like to

16   Virginia, University of Georgia, University of North                    16   approach the witness with what's been marked and

17   Carolina, all of which date -- well, Virginia is the                    17   entered in full as Exhibit 143.       First of all, I'll

18   early 19th century.    The other two are founding era.                  18   show that to counsel.

19   And obviously, you do have, you know, places like --                    19           THE WITNESS:     Thank you.

20   what's the name of the one down the street -- Yale,                     20   BY MR. SULLIVAN:

21   right, so...                                                            21     Q.    Professor, can you take a moment to read that

22     Q.    And how would you describe from a                               22   document or to review that document?

23   constitutional perspective what the -- what power the                   23           MR. SULLIVAN:     Your Honor, just as a

24   government was relying on when it was regulating the                    24   housekeeping matter, I have a transcription of the

25   use of those lands?                                                     25   document as well that was taken from the same digital




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 1   archive that the handwritten document was downloaded.                   1   BY MR. SULLIVAN:

 2   If it's easier perhaps to the Court and the witness,                    2     Q.       Professor Cornell, have you completed your

 3   I'd be happy to provide a copy of that transcription                    3   review of the --

 4   as plaintiff has an opportunity to review.                              4     A.       Yes.

 5           THE COURT:    Sure.                                             5     Q.       Were you able to read the handwritten

 6           MR. ATKINSON:    Your Honor, may I be heard as                  6   exhibit?

 7   to the transcription, please?                                           7     A.       Yeah, yeah.

 8           THE COURT:    Do you need to be heard as to the                 8     Q.       With adequate clarity?

 9   transcription right now or shall we let the witness                     9     A.       Yeah.

10   testify from the original?                                             10     Q.       So first, can you tell me what Exhibit 142

11           MR. ATKINSON:    My preference would be for the                11   is?

12   witness to testify to the original primarily because                   12     A.       So --

13   I have not had -- while I concede that this original                   13     Q.       I'm sorry.     Strike that.   143.    I'm referring

14   is difficult to read, I've not had an opportunity to                   14   to Exhibit 143.

15   compare the transcription versus what I can make out                   15              Can you describe for me what is Exhibit 143?

16   for the original.                                                      16     A.       Sure.     So these are the rules for the

17           THE COURT:    Let's proceed with the original                  17   University of Virginia that the visitors of the

18   and then when Mr. Atkinson has had a chance to                         18   university, which would be like the board of trustees

19   compare the two, then this can be submitted which                      19   for a university today, drafted.

20   will be of -- could be of assistance to the Court.                     20              And present at the meeting were Thomas

21           MR. ATKINSON:    Thank you, Your Honor.                        21   Jefferson, James Madison, James Breckinridge, John

22           MR. SULLIVAN:    May I approach the bench?     At              22   Cook, George Loyall and Joseph Cable.           And although

23   this time, I'd like to mark this for ID as                             23   we're obviously familiar with Jefferson and Madison,

24   Exhibit 144.                                                           24   those are all the important political figures in the

25           THE COURT:    Yes.                                             25   state of Virginia at the time.




                                                             95                                                                                 96


 1     Q.    And certainly as to Jefferson and Madison,                      1   clarity, we're looking at the bottom of page 6 of

 2   they'd been involved in the founding period?                            2   Exhibit 143; is that correct?

 3     A.    I think everyone would concede those guys                       3     A.       Right.     So yes, they take a very

 4   count as founders.                                                      4   uncompromising view of weapons on campus.

 5     Q.    And can you describe the types of rules that                    5     Q.       All right.     And does that sentence continue

 6   these boards -- that the board of visitors' minutes                     6   onto page 7?

 7   are setting forth?                                                      7     A.       Yes.     Also, obviously, gun powder is

 8     A.    So --                                                           8   prohibited, any stick or any weapon --

 9     Q.    Just as a general matter.                                       9     Q.       I think that's sufficient.      Thank you,

10     A.    Sure.   It's everything from whether or not                    10   Professor.

11   you can consume spiritus liquors, engage in riotous,                   11              So to be clear at the time, were the lands --

12   disorderly, intemperate, and indecent conduct.    It                   12   were these regulations and these limits on the carry

13   bans fighting with any weapons that are capable of                     13   of firearms implemented to regulate conduct on the

14   inflicting death.    It includes a fairly broad                        14   lands of the University of Virginia?

15   recognition that any offenses cognizable by the laws                   15     A.       Yes.

16   of the land will be left to the -- the civil                           16     Q.       And were those public lands?

17   magistrate.                                                            17     A.       Yes.

18           So being a student at the University of                        18     Q.       And was the University of Virginia a state

19   Virginia is not a get-out-of-jail card for law in the                  19   school?

20   state of Virginia.    And finally, no student shall                    20     A.       Yes.

21   within the precincts of the university introduce,                      21     Q.       So if your -- so in your opinion, does this

22   keep or use any spiritus or -- that one is a little                    22   reflect an exercise of government power to regulate

23   hard to read, liquors, some kind of liquors, or keep                   23   the conduct on its own lands?

24   or use weapons of any kind.                                            24     A.       Yes.

25     Q.    And Professor Cornell, just for the sake of                    25     Q.       And that conduct here was prohibiting the




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 1   carrying of firearms?                                                        1   the 1745 laws of Yale College?

 2     A.    Yes.                                                                 2     A.    Yes.

 3     Q.    Is there any significance in your opinion to                         3           MR. SULLIVAN:   I'll submit that that's been

 4   the fact that private schools, like Harvard or Yale,                         4   marked as a full exhibit as Defendant's 119.

 5   prohibited the carry of firearms during the period of                        5   BY MR. SULLIVAN:

 6   the founding?                                                                6     Q.    And so in your opinion, those laws are

 7     A.    Yes.    I mean, I think it speaks to issues                          7   examples of public regulation and prohibition of

 8   about the scope of legitimate regulation of arms on                          8   firearms on property in the time of the founding?

 9   private property.     It speaks to the view of the                           9     A.    So again, I would distinguish the situation

10   founding generation that outside of supervised                              10   where the legislature or an entity created by the

11   context, young people having arms could be                                  11   legislature would write the regulations for a public

12   potentially problematic.     So there was a big                             12   university and the relevant body at Harvard or Yale

13   difference between being an 18-year-old in the                              13   that would have written the regulation, although both

14   militia and being an 18-year-old Harvard student                            14   Harvard and Yale have charters by the state, so they

15   carrying a gun.                                                             15   are complicated semipublic, semiprivate institutions

16           MR. SULLIVAN:     All right.   And so, Your                         16   in this period.

17   Honor, it's been marked for admission as Defendant's                        17     Q.    Did Harvard and Yale have the ability to

18   Exhibit 118, the 1655 Laws of Harvard College.                              18   regulate conduct on their own lands at that time?

19   BY MR. SULLIVAN:                                                            19     A.    Yes.

20     Q.    Professor Cornell, are you generally familiar                       20     Q.    All right.   So moving into the Antebellum

21   with those laws?                                                            21   period, Professor, what, if any, relevance would

22     A.    Yes.    In an article I wrote for the Yale                          22   Antebellum juris prudence on, say, police powers have

23   Journal of Law and Policy, I discuss these early                            23   on your understanding of the legitimate scope of the

24   statutes of the various universities in some detail.                        24   government's regulation of firearms?

25     Q.    All right.     And so are you also familiar with                    25     A.    Well, the first cases we have challenging




                                                                  99                                                                         100


 1   regulations of firearms are all from the Antebellum                          1   for violating that 1336 revision of the 1794 law for

 2   period, mostly from the slave south.     And the                             2   carrying arms, what they might have described

 3   dominant paradigm, if you will, the dominant model                           3   promiscuously or habitually.

 4   that courts employ is the new doctrine, of course now                        4     Q.    And I believe you testified that there are

 5   it's not new, it's one of the most fundamental                               5   parks ordinances that began to appear even as applied

 6   doctrines in American law, is the police power.        And                   6   to modern parks in what we would consider to be the

 7   the police power comes into American juris prudence                          7   Antebellum period?

 8   in Antebellum case decided by John Marshall about                            8     A.    Yes.   The Antebellum period, you start to see

 9   regulation of gun powder.                                                    9   the beginnings of this concern that America is

10           And the basic framing is consistent with the                        10   becoming industrialized, that we're losing connection

11   text of the Second Amendment which talks about                              11   with our -- you know, the primitive beauty that

12   infringement.     And infringement, let's say in                            12   always defined American esthetics.     That's where sort

13   contradistinction to the language of the First                              13   of Thoreau and the transcendentalists come in.

14   Amendment which uses the phrase "abridgment," abridge                       14   That's where you get the first great -- you know,

15   in 18th century English of course means to lessen,                          15   things like nonurban cemetery, you know, of course

16   whereas "infringe" means to destroy.                                        16   Thoreau writes Walden which is a great ode to the

17           So the police power framing in the Antebellum                       17   sort of redemptive power of the wilderness.     And in a

18   period is legitimate exercises of regulation are                            18   way, Central Park is the result of that -- those two

19   permissible as long as they don't destroy the right.                        19   movements and the recognition that New York really

20     Q.    So can you point to examples apart from maybe                       20   needs some nature to sort of recivilize it

21   the cases that you mentioned that the government's                          21   inhabitants.

22   exercise of that power through legislature?                                 22     Q.    All right.   So I mean -- and the ordinance

23     A.    Yes.    Well, again, one of the places that                         23   governing the prohibition of firearms in Central Park

24   I've looked at most closely is Massachusetts.        And                    24   in 1858 has been entered into evidence as Exhibit 1.

25   clearly in Massachusetts, people are being prosecuted                       25   And so that's consistent with the government's --




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 1     A.     Yes.                                                             1   Fairmount Park was done by the state legislature, not

 2     Q.     -- powers at the time; is that correct?                          2   by ordinance by the Philadelphia local government.

 3            You were asked earlier about state exercises                     3            You'd have to be more of a student of the

 4   of powers banning the carry of firearms in public                         4   history of local government to know why New York's

 5   parks.   Do you recall that line of questioning by                        5   structure of authority was so different from

 6   plaintiff's counsel?                                                      6   Pennsylvania's, but clearly they were because two

 7     A.     Yes.     It's not surprising that urban areas                    7   different entities were responsible for regulating

 8   are the first places where there's really compelling                      8   the parks.

 9   perception that the public needs -- that governments                      9     Q.     All right.    And so the 1868 Pennsylvania laws

10   need to create these spaces.     If you were living in                   10   that have been entered into evidence as

11   almost anywhere in Connecticut outside of New Haven                      11   Defendant's 3, is that an example then of the state

12   in the 19th century, you would only be a few minutes                     12   legislature acting to approve a firearms ban --

13   away from some kind of green space.                                      13     A.     Yes.   From a legal point of view, it's a

14            So, you know, the idea of a state park in the                   14   state acting.   You know, from a geographical point of

15   Antebellum period doesn't make quite as much sense,                      15   view, I suppose you might argue it's still an urban

16   whereas I think anyone who was in downtown New York                      16   area they're regulating.     But from a legal point of

17   or downtown Boston would pretty much say there's not                     17   view, clearly it's the state who is the actor.

18   a lot of green around here.                                              18     Q.     It's an exercise of power at the state level;

19     Q.     Are you familiar with the 1868 Pennsylvania                     19   is that fair to say?

20   laws governing parks?                                                    20     A.     Yes.

21     A.     Yeah.     So what's interesting about that, I                   21     Q.     Now, there's been some discussion about

22   mean, one of the great 19th century parks besides New                    22   municipal ordinances versus state-level legislation.

23   York's Central Park is Fairmount Park in                                 23   So as a historian, how would you weigh the

24   Philadelphia, but because of the structure of                            24   significance of a municipal ordinance versus a state

25   Pennsylvania government, the legislation governing                       25   legislature as evidence of the government's




                                                              103                                                                           104


 1   regulation of conduct on its lands?                                       1   develop something called the home rule doctrine which

 2     A.     Sure.     Well, what's interesting about                         2   is associated with Dillon's law, which you may

 3   Antebellum police power doctrine is it doesn't really                     3   remember from law school, is this principle about how

 4   make much of a distinction between the exercise of                        4   much authority localities have, and that happens in

 5   that power by both the state or the locality.       One of                5   the late 19th century and it's part of the evolving

 6   the really interesting things is that almost any town                     6   struggle over federalism between states and

 7   our -- that gets incorporated will have a provision                       7   localities.

 8   that essentially says that whatever the legislative                       8     Q.     So would you -- would you consider those to

 9   body of the town, whether it's a town council or                          9   be relevant evidence of demonstrating a historical

10   something, enjoys full police power authority within                     10   tradition of the regulation of firearms on public

11   that locale.                                                             11   lands?

12            So the state grants the locality or cedes                       12     A.     Yeah, absolutely.

13   part of its police power to the locality and it's not                    13     Q.     Now, we've discussed the history of firearms

14   until much later where you start to see any effort to                    14   regulation in this case.     Have you had an opportunity

15   curtail that.                                                            15   to review the regulation at issue which is

16     Q.     All right.     So is there any reason to                        16   Connecticut Agency Regulation Section 23-4-1(c)?

17   disregard the significance of a local ordinance as                       17     A.     Yes.

18   evidence of regulation of conduct on public lands in                     18     Q.     All right.    And have you reviewed its

19   your opinion as a historian?                                             19   predecessor regulations pertaining to Connecticut

20     A.     No.     I think it was understood to be                         20   state parks and forests?

21   consistent with state regulation and in some cases                       21     A.     Yes.

22   expressly delegated authority by the state.                              22     Q.     All right.    And applying the methodology

23     Q.     All right.     And entering into the                            23   required by Bruen, have you concluded whether

24   reconstruction period, did that understanding change?                    24   Connecticut Agency Regulation Section 23-4-1(c) is

25     A.     It only changed when some states decided to                     25   consistent with the nation's historical tradition of




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 1   firearms regulation?                                                        1     Q.    And is it analogous to laws or government

 2              MR. ATKINSON:     Objection, Your Honor.     That's              2   practices that may have existed at the time of the

 3   an opinion on an ultimate issue.                                            3   founding?

 4              MR. SULLIVAN:     Your Honor, he's been --                       4     A.    Yes.

 5              THE COURT:     Well, have you concluded means is                 5           THE COURT:     Time what?

 6   it your opinion whether the Connecticut agency does                         6           MR. SULLIVAN:     Of the founding.

 7   what.     I think that's certainly what expert witnesses                    7           That's all the questions I have at this time.

 8   do.     So I'm going to overrule that objection whether                     8   Thank you, Professor.

 9   it is an ultimate question for the Court or not.                            9           THE COURT:     Any redirect?

10              MR. SULLIVAN:     Thank you, Your Honor.                        10           MR. ATKINSON:     Yes, Your Honor.

11   BY MR. SULLIVAN:                                                           11    REDIRECT EXAMINATION OF PROFESSOR SAUL CORNELL

12     Q.       Do you recall the question?                                     12   BY MR. ATKINSON:

13     A.       Yes.     So I would say that based on my                        13     Q.    Good afternoon, Professor Cornell.     You

14   expertise, I concluded that the Connecticut                                14   testified on cross-examination that you employ a

15   regulations are consistent with the history of                             15   methodology as a historian, correct?

16   regulation, but I didn't make any conclusion about                         16     A.    Correct.

17   its current legality under Bruen because that's                            17     Q.    And part of that -- the purpose of that

18   obviously the job of the Court.                                            18   methodology is to give you structure to conduct a

19     Q.       In your opinion as an expert historian, is it                   19   historical inquiry, correct?

20   analogous to laws that existed at the time of                              20     A.    So structures, I suppose you can frame it

21   reconstruction?                                                            21   that way.     So the -- maybe if you rephrase the

22     A.       Yes.                                                            22   question I can sort of have a better sense of what

23     Q.       And it's analogous to laws that existed at                      23   you're trying to --

24   the time of -- in the Antebellum period?                                   24     Q.    Sure.     You were approached in this case to

25     A.       Yes.                                                            25   offer an expert opinion about history, correct?




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 1     A.       Yes.     That's correct.                                         1   deliberate.     I wouldn't describe it as running off.

 2     Q.       And you understood the purpose of that expert                    2     Q.    Correct.

 3   opinion to be focused towards private property                              3     A.    But I acidulously and diligently formulated

 4   ownership, regulation of private property?                                  4   research strategy, implemented it, and gathered the

 5     A.       So I was asked about the history of firearms                     5   relevant sources and then interpreted them.

 6   regulations as they would illuminate Connecticut's                          6     Q.    And the way you formulated your research

 7   laws governing firearms in parks.       And I concluded                     7   strategy was informed by the professional standards

 8   that in addition to looking at the regulation of                            8   of your methodology?

 9   firearms in parks, it would be important to look at                         9     A.    Yes.

10   regulation of firearms on private property because                         10     Q.    And it was also informed by what you

11   government sometimes acts as a property owner or                           11   described as your understanding of the rules set

12   proprietor and, therefore, the relevant body of law                        12   forth by a Supreme Court precedence, correct?

13   would at least -- I should say the relevant                                13     A.    Yes.

14   regulations, history of regulation, would be drawn                         14     Q.    And that includes Bruen?

15   from regulations of private property.                                      15     A.    Yes.

16     Q.       So bottom line, you were given a question,                      16     Q.    You also mentioned earlier that there are

17   correct?                                                                   17   rules about argumentation for historians.     Can you

18     A.       Well -- I was given -- yes.     I mean, to                      18   describe what that principle means, please?

19   evaluate the history of firearms regulations as they                       19     A.    Sure.     So, for instance, it's a pretty

20   pertained to the issues in this case.                                      20   well-accepted historical practice that if you're

21     Q.       And to answer that question, you just didn't                    21   going to quote a historical source, it should be

22   go running off into whatever history book you could                        22   accurate, you should to the best of your ability

23   lay your hands on, you followed a methodology,                             23   identify who wrote it if it's possible and why they

24   correct?                                                                   24   wrote it, know something about who might have had

25     A.       Right.     Although I would say that I was very                 25   access to it beyond the author, and if it's possible,




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 1   though sometimes it's the most difficult thing for a                     1   community.     Critics of the rules emerge occasionally

 2   historian to reconstruct, how others in that society                     2   saying that rule is flawed, that rule unfairly

 3   beyond the author of a particular text might have                        3   excludes certain kinds of things, and then the rules

 4   understood that text or document.                                        4   are revised and that's how knowledge is produced in

 5     Q.    Is that -- is that evaluation objective or                       5   our world.

 6   subjective?                                                              6     Q.       Within the community of historians and the

 7     A.    Well, this may be one of the oldest debates                      7   rules that they have developed either implicitly and

 8   among historians about whether history is more art or                    8   explicitly, would you characterize yourself as

 9   social science and I think it's a little bit of both.                    9   somebody who generally follows those rules?

10     Q.    And you've heard the expression I believe                       10     A.       Yes.    I would say I definitely try to follow

11   attributed to Napoleon that history is a pack of lies                   11   those rules.

12   agreed upon?                                                            12     Q.       Have you ever been a critic to those rules?

13     A.    I've heard so many different quips and                          13     A.       Have I ever criticized those rules?

14   altruisms about history, but that is certainly --                       14     Q.       Yes.

15   that is certainly one that I've come across at some                     15     A.       That's a very interesting question.      I would

16   point or another.                                                       16   have to really sit and think about that for a while.

17     Q.    So when you're looking at history, in reality                   17   I mean, I've certainly criticized some particular

18   when you're taking your own look at history, you have                   18   pieces of scholarship.      I'm trying to think if I've

19   to make judgments about what to credit, correct?                        19   ever written sort of a wholesale critique of the

20     A.    Well, so I think -- I think what historians                     20   historical profession.      I don't think I have.

21   do is really beautifully captured by sort of John                       21     Q.       Have you written piecemeal criticisms of the

22   Dewey's theory of knowledge.    So Dewey's theory of                    22   profession?

23   knowledge basically says we have, you know, groups                      23     A.       Well, I've certainly criticized some

24   and communities that are credentialed, they formulate                   24   interpretations of things.

25   rules, those rules are then enforced by that                            25     Q.       You also, I believe, testified earlier about




                                                             111                                                                            112


 1   not cherry-picking sources, correct?                                     1     Q.       Human energy, your personal human energy?

 2     A.    Yes.    That is one of our cardinal rules.                       2     A.       That certainly is also another constraint.

 3     Q.    And from your personal perspective, you're                       3     Q.       The archives that are available to you?

 4   super careful about that, correct?                                       4     A.       Also a constraint.

 5     A.    I am -- I am extremely aware of the dangers                      5     Q.       When you received the question -- withdrawn.

 6   of confirmation bias and something called                                6              When you -- withdrawn.

 7   availability risk where you tend to go to the sources                    7              You testified, if I heard you correctly,

 8   you're most familiar with and not necessarily the                        8   earlier that prior to being asked to take the role of

 9   best sources to answer the questions.    So I'm very                     9   an expert in this case, you had never really studied

10   self-conscious about that, yes.                                         10   state parks firearm regulation.      Did I hear you

11     Q.    Are you -- withdrawn.                                           11   correctly?

12           Is it possible for you as one single                            12     A.       That specific question, no.    I mean, because

13   individual human being to know every possible source                    13   I -- because I wrote this American history textbook,

14   in existence?                                                           14   for instance, I -- I did include a pretty detailed

15     A.    I don't think I've ever claimed I'm -- and I                    15   discussion of the transcendentalist movement, you

16   don't think any historian that I know has.                              16   know, the parks, the development of parks, like

17     Q.    And the limitations on your ability to -- on                    17   Central Park, and other things, but I never thought

18   your awareness of what sources are in existence,                        18   to look at firearms regulations in them, in that

19   you'd agree with me are informed by a number of                         19   context.

20   considerations, correct?                                                20     Q.       So basically, if I'm understanding you

21     A.    Yes.    I think by definition that would have                   21   correctly, you had a prior reserve of knowledge that

22   to be true, that --                                                     22   might have been -- that was in your mind related a

23     Q.    And so that would be time, correct?                             23   little bit to the subject but wasn't exactly on

24     A.    Time is certainly one of the constraints on                     24   point?

25   research, sure.                                                         25     A.       Yeah.    I think it's fair to say I wasn't a




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 1   historian of American parks.                                                 1              MR. SULLIVAN:     Your Honor, I'll make the

 2     Q.       Okay.     Approximately when were you contacted                   2   objection.     We're going outside the scope of cross.

 3   to be an expert for this case?                                               3   I can wait for a question if you'd like.

 4     A.       That's a good question.      I'd have to check my                 4              MR. ATKINSON:     Your Honor, rethinking this a

 5   e-mail.    Sometime in the fall or the summer I'm                            5   little bit, I will withdraw that last line of

 6   guessing, but I'd have to check my e-mail.        I'm sure                   6   questioning and I'll see if I can do this somewhat

 7   counsel could fill us in.                                                    7   simpler.

 8     Q.       Let me see if I can assist you with that.                         8              THE COURT:    Okay.

 9   It's currently May 2023, correct?                                            9   BY MR. ATKINSON:

10     A.       Right.                                                           10     Q.       Professor, regardless of whether you remember

11     Q.       And did you review documents in this case?                       11   the exact date when you were contacted to be a

12     A.       When?                                                            12   witness for this case, were you given to understand

13     Q.       Since you've been retained as an expert.                         13   in this case that it was -- the case was proceeding

14     A.       Yes.                                                             14   on an accelerated time period?

15     Q.       Did you review the -- did you review the                         15     A.       God, I must confess, I'm involved in so many

16   amended complaint in this matter?                                           16   cases now, I don't recall that -- you know, those

17     A.       Yes, I did.                                                      17   kind of procedural issues are very lawyerly.          So I

18     Q.       Would you recognize that if I showed it to                       18   don't tend to pay attention to them.

19   you?                                                                        19     Q.       Understood.     I guess what I'm getting at is

20     A.       You know, if you showed it to me, yes, I                         20   were you ever given the impression that you needed to

21   think I would.                                                              21   provide an opinion sooner rather than later in this

22              MR. ATKINSON:     May I have a moment, Your                      22   case?

23   Honor?                                                                      23     A.       I never felt rushed, if that's what you're

24              THE COURT:     Yeah.   Are we getting a little                   24   getting at.

25   beyond cross-examination?                                                   25     Q.       Okay.   Would you have liked more time to




                                                                 115                                                                               116


 1   research this -- the history that underlies your                             1     A.       Yes.

 2   opinion?                                                                     2     Q.       Okay.   What First Amendment precedence did

 3              MR. SULLIVAN:     I'll object that we're beyond                   3   you look at?

 4   the scope.                                                                   4     A.       Well, Second Amendment juris prudence which

 5              THE COURT:     Sustained.                                         5   is evolving and relatively young oftentimes

 6   BY MR. ATKINSON:                                                             6   references First Amendment cases.       So I have over the

 7     Q.       Would you -- withdrawn.                                           7   course of researching it looked at a number of First

 8              I believe you testified earlier that you                          8   Amendment cases and the question of government as a

 9   don't enter a historical inquiry with preconceived                           9   proprietor was one of the cases.       I also looked at

10   notions, correct?                                                           10   Konigsburg v. California because it's actually

11     A.       Yes.     To the best of my ability as a person                   11   mentioned in Bruen.

12   who undoubtedly has been shaped by all of his                               12     Q.       When you looked at First Amendment

13   experiences, education, I try to set aside whatever                         13   precedence, did you look into the law regarding

14   preconceived notions I'm aware of, yeah.                                    14   forums?

15     Q.       But to guide your search, you did use the                        15     A.       That is part of the -- that is part of the

16   rules established by Bruen, correct?                                        16   body of case law that sort of relates to government

17              MR. SULLIVAN:     I'll just object.   This has                   17   as proprietor and its use of speech, yeah.

18   been asked and answered.                                                    18     Q.       Did you -- did you apply your understanding

19              THE COURT:     Sustained.                                        19   of what the forum doctrines were to your -- giving

20              MR. ATKINSON:     I'll move on.                                  20   your opinion in this case?

21   BY MR. ATKINSON:                                                            21              MR. SULLIVAN:     Objection, Your Honor.     That's

22     Q.       If I remember your testimony correctly from                      22   outside the scope.

23   earlier during your cross, you stated that you looked                       23              MR. ATKINSON:     Your Honor, if I may, he

24   at First Amendment precedence to inform your study of                       24   testified that he looked at this.       I'm trying to

25   your research in this case?                                                 25   probe what he looked at and how he applied it here.




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 1   That testimony was elicited on direct and I'd like to                     1   from First Amendment precedence regarding the forum

 2   explore it -- on cross-exam, my apologies.                                2   doctrine to giving your opinion in this case?

 3           THE COURT:     You're actually on redirect.                       3     A.       No.    What I did was I sort of looked at the

 4           MR. ATKINSON:     Yes.     I got turned around for                4   First Amendment doctrine sort of at a very high level

 5   a second there.     It was brought out on                                 5   of generality to sort of think about is there a sense

 6   cross-examination that he looked at First Amendment                       6   in which you can talk about Second Amendment

 7   precedent.     He's just testified that he looked at                      7   regulation by the government as having some analogy

 8   forum, the forum doctrine.       I'd like to explore what                 8   to First Amendment regulation.         So therefore, I

 9   he looked at and how he applied it.                                       9   needed to understand what the history of the

10           THE COURT:     The how he applied it is of                       10   regulation of guns on property that the government

11   greater interest than whether he looked at it, but I                     11   controlled.

12   suppose one follows from the other.       I'm going to                   12              So it wasn't really applying doctrine.        It

13   permit that, but I didn't quite understand the basis                     13   was like reading the doctrine to say is there another

14   for your objection.                                                      14   body of sources I need to dig into to illuminate

15           MR. SULLIVAN:     Your Honor, recognizing that                   15   this.

16   he mentioned the First Amendment in his                                  16     Q.       Understood.     You testified that -- you

17   cross-examination, this is, I believe is beginning                       17   testified about the University of Virginia and if I

18   discursive.     It wasn't a broad inquiry into the First                 18   recollect, you stated that was a public college,

19   Amendment.     So I think exploring the contours of that                 19   correct?

20   doctrine is frankly beyond the scope of his                              20     A.       Yes.

21   declaration.                                                             21     Q.       Do you know, as you sit here today, what body

22           THE COURT:     I'm going to overrule you.     I am               22   was responsible for governing the University of

23   overruling him and you may proceed.                                      23   Virginia?

24   BY MR. ATKINSON:                                                         24     A.       So the -- again, I'll preface this by saying

25     Q.    Professor, did you apply what you understood                     25   I'm not a historian in the University of Virginia or




                                                              119                                                                                120


 1   of higher education, but the University of Virginia                       1              THE WITNESS:     Well, they were quite

 2   was created by the State of Virginia and the document                     2   interested in shaping the character of Virginians.

 3   that we talked about establishes certain regulations                      3   BY MR. ATKINSON:

 4   for students, faculty, and the grounds that the                           4     Q.       Would that be part and parcel of education?

 5   university is on.     It also makes clear that the                        5     A.       I think Jefferson had a very capacious view

 6   university is not exempt from laws generally                              6   of education which would include character formation.

 7   applicable in the state of Virginia.                                      7     Q.       I'm not sure that I heard your -- every

 8           So it's a good example of sort of a hybrid                        8   aspect of your testimony earlier regarding Fairmount

 9   space where there are certain aspects of life on the                      9   Park.   Do you recall testifying about that earlier?

10   University of Virginia in which it is in total                           10     A.       Yes.

11   control of the regulations and certain aspects where                     11     Q.       And if I recollect, you testified that the

12   it's subject to the laws of the State of Virginia.                       12   Pennsylvania legislature enacted the firearms

13     Q.    Would you agree with me that the University                      13   prohibition for Fairmount Park, correct?

14   of Virginia had a specific purpose?                                      14     A.       Yes.

15     A.    It had, I suppose, a specific general                            15     Q.       To your knowledge, why did the legislature

16   purpose, yes.                                                            16   enact that instead of a municipality?

17     Q.    And what was that purpose?                                       17              MR. SULLIVAN:     Object.   It's been asked and

18     A.    To educate the citizens of the state of the                      18   answered.

19   Virginia.                                                                19              THE COURT:     I don't remember the answer, so

20     Q.    To your knowledge, were there any other                          20   you can go ahead.

21   purposes for the University of Virginia?                                 21              MR. ATKINSON:     I don't remember it either,

22           MR. SULLIVAN:     Object.     It calls for                       22   Your Honor.

23   speculation.                                                             23   BY MR. ATKINSON:

24           THE COURT:     Presumably from his research if                   24     Q.       Can you please, Professor?

25   he has found any.     Overruled.                                         25     A.       Yes.    So the division of authority between




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 1   states and municipalities was different in every                           1   parks.   So there couldn't have been any regulation of

 2   state because the specific constitutional tradition                        2   modern-style parks before there were modern-style

 3   and the specific regulatory history of different                           3   parks.

 4   states meant that some things were within the sphere                       4     Q.     Understood.

 5   of the municipalities and some things were retained                        5            MR. ATKINSON:     No further questions, Your

 6   by the state.                                                              6   Honor.

 7            So, you know, Pennsylvania and Ohio                               7            THE COURT:     Is there any recross?

 8   localities were subject to fairly extensive                                8            MR. SULLIVAN:     Just one moment, Your Honor.

 9   regulation by the state, but New York and                                  9            Your Honor, no further questions from the

10   particularly New York City had a fairly robust                            10   state.

11   tradition of local self-rule from its earliest                            11            THE COURT:     The original regulation of our

12   settlement.                                                               12   banning of firearms from parks or commons or that

13     Q.     Do you know if Fairmount Park at the time of                     13   kind of public land, was that an exercise -- a

14   this prohibition being passed was owned by the State                      14   conscious exercise of police powers or what was that?

15   of Pennsylvania?                                                          15            THE WITNESS:     I do think it would have been

16     A.     You know, I don't know.     I don't know that.                   16   understood as a core exercise of police power, yes.

17     Q.     Okay.   To the best of your knowledge as you                     17            THE COURT:     And is there a difference, a

18   sit here today, was the Central Park prohibition on                       18   material difference, that we should understand

19   the carrying of firearms the only prohibition that                        19   between a commons or green or modern park for the

20   you're aware of prior to the Civil War?                                   20   purposes of understanding exercise of authority to

21     A.     In a park?                                                       21   ban firearms in those spaces?

22     Q.     Correct.                                                         22            THE WITNESS:     Well, I think the -- I think

23     A.     I guess what makes it difficult to answer is                     23   the -- in trying to understand what defines a

24   I'm trying to think what other parks existed that --                      24   category of, quote, a sensitive place, the question

25   I mean, Central Park is the first of modern-style                         25   of what kind of public activity occurs in that place




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 1   and what is the societal value of that activity and                        1   tradition.

 2   why that particular activity might be adversely                            2            And then there's been a recognition that

 3   affected by what in the 19th century they would call                       3   there are certain spaces that because of what

 4   habitual or promiscuous carry of firearms, that's the                      4   transpires in them, that firearms are -- ought to be

 5   key aspect of why parks are different because they                         5   excluded.    For instance, there's a long tradition of

 6   have a specific role to play in American society and                       6   excluding them from around polling places because of

 7   American culture, and the belief was that it was                           7   a concern that they might intimidate the exercise of

 8   important to restrict firearms so that parks could                         8   suffrage.

 9   function the way they were understood that they                            9            You know, the Statute of Northampton which

10   needed to function to sort of promote the civil                           10   talks about fairs and markets, fairs and markets are

11   virtues and values that society wanted to cultivate                       11   also places of commerce, places where people go to

12   in its citizens, if that's clear.                                         12   congregate, you know, it's a place where

13            THE COURT:     And you've also discussed the                     13   entertainment occurs, places where public notices

14   states as proprietors, states owning the land, and                        14   would have been posted, so it has a civic function.

15   compared that at least in part to the proprietor's                        15            So I think there's always been a recognition

16   right to control the use of their land.                                   16   that there can be important values that the state

17            Where, if at all, do those two -- did those                      17   needs to protect, and that regulating firearms to

18   two overlap before we got to modern parks and then                        18   protect those values and create the kind of spaces

19   after?                                                                    19   where those values can flourish is deeply rooted in

20            THE WITNESS:     So I think there is a long                      20   our tradition.

21   tradition of robust authority of proprietors of                           21            THE COURT:     Any questions on my questions?

22   property to control who can enter them and what kind                      22            MR. ATKINSON:     None from the plaintiffs, Your

23   of activity could be engaged.     For instance, you                       23   Honor.

24   couldn't hunt on somebody else's land.     You had to                     24            MR. SULLIVAN:     Just briefly.

25   ask for permission.     So there is that long-standing                    25




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 1     RECROSS-EXAMINATION OF PROFESSOR SAUL CORNELL                             1              MR. ATKINSON:     May I have a moment to

 2   BY MR. SULLIVAN:                                                            2   confer --

 3     Q.       So Professor Cornell, just to be clear, when                     3              THE COURT:     I'm going invite us to take a

 4   looking at the founders' understanding of their                             4   five-minute recess.

 5   power, as well as the -- looking at the founders'                           5              MR. ATKINSON:     Thank you, Your Honor.

 6   understanding of their powers, did their conception                         6              (Recess taken.)

 7   of the states' rights as a proprietor factor into                           7              THE COURT:     All right.    Are we ready to

 8   their regulation of public spaces?                                          8   proceed?

 9     A.       I think, yes, I think it did.      And I also                    9              MR. ATKINSON:     Yes, Your Honor.    May I

10   think that the entire success of the Constitution                          10   address a couple of housekeeping matters first?           With

11   rests on an assumption that state police power would                       11   respect to the -- to the transcript of the

12   not be unduly cabined by the new federal constitution                      12   defendant's exhibit, I did have a chance to compare

13   that if there had been a perception that the adoption                      13   that.    What I would ask -- what we -- we would have

14   of the Constitution would have eviscerated state                           14   no objection to it being submitted in as an

15   police power, we wouldn't have a Constitution.                             15   evidentiary exhibit, but to the extent there are any

16     Q.       All right.                                                      16   discrepancies between the transcription and --

17     A.       Or Bill of Rights for that matter.                              17              THE COURT:     The original prevails.

18              MR. SULLIVAN:     That's all I have.    Thank you.              18              MR. ATKINSON:     Correct.

19              THE COURT:     Thank you very much, Professor                   19              THE COURT:     So that's 143.

20   Cornell.     This has been very interesting and you may                    20              MR. SULLIVAN:     Your Honor, I'll just make a

21   step down and you are excused.                                             21   brief note that the transcription is Exhibit 144.           So

22              THE WITNESS:     Thank you very much.    Should I               22   Exhibit 133 of the -- the actual document, that's

23   leave the exhibit for someone to collect?                                  23   pages 1 through 10 of the actual document, this

24              THE COURT:     Yes, please.                                     24   transcription actually goes to pages 1 through 15.

25              Let me ask who the next witness will be.                        25   We hadn't taken it out.       So I would say in fairness,




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 1   the transcription from where it discusses pages 11                          1   constraints apply to either Mr. Nastri or Colonel

 2   onwards should probably not be considered at all.                           2   Lewis.     So we were prioritizing getting to the

 3              THE COURT:     Why don't you cut it out?                         3   jurisdictional issues first.

 4              MR. SULLIVAN:     I'd be happy to do so, Your                    4              I'm happy and prepared to go forward with

 5   Honor.                                                                      5   either Mr. Nastri or Colonel Lewis.         It's Your

 6              THE COURT:     Okay.   Let's do that so the                      6   Honor's preference.

 7   transcription will correlate with the original and                          7              THE COURT:     Is there any reason to choose one

 8   just be pages 1 through 10.        Good.                                    8   over the other?

 9              MR. ATKINSON:     Also, Your Honor, I do intend                  9              MR. BOCHAIN:     I don't believe so, Your Honor.

10   to call Mr. Nastri next to get to the standing                             10   I know Your Honor is interested in addressing the

11   matter.     I believe that my conversations with my                        11   standing issue.     Colonel Lewis is available.

12   colleagues, we do have Colonel Lewis from the                              12              THE COURT:     Well, eventually that will be in

13   Department of Energy and Environmental Protection                          13   the analysis.

14   here.     We'd ask that he be excused because we don't                     14              MR. BOCHAIN:     Colonel Lewis is available

15   anticipate getting to him for the rest of the day.                         15   tomorrow.     And in speaking with Attorney Atkinson, it

16              THE COURT:     Is there any possibility of                      16   appears either way which we address today, it's going

17   finishing him today if we did get to him?                                  17   to run over until tomorrow most likely.         So I believe

18              MR. ATKINSON:     We could possibly finish                      18   we'd be asking to go in the order that he is

19   Colonel Lewis today, Your Honor, but I think the                           19   suggesting.

20   discussion we were having is whether we could                              20              THE COURT:     And we will be able to finish by

21   prioritize the standing issues based on what Your                          21   four o'clock tomorrow?

22   Honor said at the start of proceedings today.                              22              MR. BOCHAIN:     Yes.   With the testimony, I

23              So we honored that Professor Cornell                            23   believe that's correct.

24   needed -- was on a tighter schedule.        My                             24              THE COURT:     With this hearing.

25   understanding is that the same -- neither of the same                      25              MR. ATKINSON:     I believe my estimate right




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 1   now is we'll finish testimony somewhere around noon                               1             THE WITNESS:     My name is David Nastri.      My

 2   to one o'clock, Your Honor, maybe two o'clock.             And                    2   last name is spelled N-A-S-T-R-I.

 3   if we want to take a break and then prepare for oral                              3             THE COURT:     And your town of residence?

 4   argument, we would be able to complete oral argument                              4             THE WITNESS:     I'm sorry, Your Honor?

 5   by four o'clock tomorrow.                                                         5             THE COURT:     Your town or city of residence?

 6              THE COURT:     We have to.     Okay?                                   6             THE WITNESS:     Cheshire, Connecticut.

 7              MR. BOCHAIN:     If I can just have one moment,                        7             THE COURT:     Thank you.   You may proceed.

 8   Your Honor.                                                                       8             MR. ATKINSON:     Thank you, Your Honor.

 9              Your Honor, I believe that's fine.           The only                  9             DIRECT EXAMINATION OF DAVID NASTRI

10   thing I would note, I think we can get all this done                             10   BY MR. ATKINSON:

11   in the time frame that you've just laid out.             The                     11     Q.      Good afternoon, Mr. Nastri.      Please tell the

12   only point that I would raise that in the event that                             12   Court where you were born.

13   something does arise, we would like to have the                                  13     A.      I was born in Cheshire, Connecticut.

14   opportunity to call someone back in our own case.                                14     Q.      Where did you grow up?

15              THE COURT:     All right.     You might be doing                      15     A.      I as a small child lived in Waterbury and

16   that in two weeks, though.                                                       16   then we returned to Cheshire, Connecticut and I grew

17              MR. BOCHAIN:     Understood, Your Honor.                              17   up there.

18              THE COURT:     That's fine.     All right.     Then I                 18     Q.      Where did you go to school as a child?

19   guess we'll start with Mr. Nastri.                                               19     A.      Elementary school in Cheshire and high school

20              MR. ATKINSON:     Yes, Your Honor.                                    20   also in Cheshire.

21              THE COURT:     Okay.   Remain standing and raise                      21     Q.      When did you graduate high school?

22   your right hand, please.                                                         22     A.      1979.

23              (David Nastri, sworn.)                                                23     Q.      Okay.   What did you do after you graduated

24              THE CLERK:     Please be seated.       State your                     24   high school?

25   name for the record and spell your last name.                                    25     A.      I spent a very brief amount of time in




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 1   college and then I joined the Army.                                               1   sporadically and did that for quite a long time.

 2     Q.       Where did you go to college?                                           2     Q.      Okay.   What jobs did you pursue at that time?

 3     A.       I started at Central Connecticut State                                 3     A.      Owned a liquor store at one point.        I worked

 4   University.                                                                       4   for a property management company.       I went into sales

 5     Q.       Okay.   And what was your reason for leaving                           5   for an answering service company, made furniture.

 6   Central State -- Central Connecticut State?                                       6   There were a lot of jobs.

 7     A.       I was not focused on school, so I sought                               7     Q.      So sort of a jack-of-all-trades, basically?

 8   something else.                                                                   8     A.      Yes.

 9     Q.       Okay.   And what prompted you to join the                              9     Q.      You just testified that you went back to

10   Army?                                                                            10   school sporadically.      When did you start going back

11     A.       It seemed like a better option than going to                          11   to school?

12   college.    My father had been a soldier during the                              12     A.      So I probably went on and off from the early

13   Korean War.    So I think probably both of those things                          13   '80s and then ultimately got a bachelor's degree and

14   factored in.                                                                     14   an MBA.

15     Q.       Okay.   How long did you serve in the Army?                           15     Q.      Let's talk about your bachelor's degree.

16     A.       I was on active duty for a little bit less                            16   Where did you get your bachelor's degree from?

17   than a year.                                                                     17     A.      From Quinnipiac University.

18     Q.       Okay.   And when did you leave the Army?                              18     Q.      And what year, approximately?

19     A.       Approximately, I'm going to say, sometime                             19     A.      I believe it was 1990.

20   around September of 1981.                                                        20     Q.      Okay.   What year did you get your MBA?

21     Q.       Okay.   Why did you leave the Army?                                   21     A.      I believe that was 2001.

22     A.       I was medically discharged.                                           22     Q.      In the interim between 1990 and 2001, what

23     Q.       Okay.   What did you do after you were                                23   did you do in that period?

24   discharged from the Army?                                                        24     A.      My employment at that time was working for

25     A.       I worked.    I got jobs.      I went to school                        25   the answering service company and I believe making




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 1   furniture also.                                                            1   insurance company in there.    It's a little jumbled as

 2     Q.     At some point did you -- withdrawn.                               2   far as the time frame goes.

 3            At some point did you join the national --                        3     Q.      What's your occupation now?

 4   the Army National Guard?                                                   4     A.      I'm a financial adviser.

 5     A.     I did.     I joined the Army National Guard in                    5     Q.      When approximately did you start that

 6   2003.                                                                      6   occupation?

 7     Q.     Why did you join the National Guard?                              7     A.      I started in this particular role in 2006.

 8     A.     Well, we had -- we were at war and I felt I                       8   Before that, I was working for Mass Mutual.

 9   had an obligation to my country.                                           9     Q.      And that was -- the Mass Mutual job was the

10     Q.     What was your job in the National Guard?                         10   insurance job, just to be clear?

11     A.     I was an infantry soldier.     I'm sorry.   Full                 11     A.      That is correct.

12   disclosure, I was an infantry soldier as a primary                        12     Q.      And what type of job was that with Mass

13   military occupational specialty, and my secondary was                     13   Mutual?

14   forward observer for artillery.                                           14     A.      Insurance sales.

15     Q.     Is the National Guard a full-time job?                           15     Q.      At some point did you deploy overseas as part

16     A.     It is not.                                                       16   of the National Guard?

17     Q.     What did you do -- withdrawn.                                    17     A.      I did.

18            You had the -- did you have the ability to                       18     Q.      When was that?

19   maintain another job concurrent with your service in                      19     A.      Our activation was the fall of 2009 and we

20   the National Guard?                                                       20   got in country in January of 2010.

21     A.     I did.                                                           21     Q.      When you say "in country," does that mean

22     Q.     And at that time in 2003, what was your                          22   returning to the United States or deploying overseas?

23   occupation at that point?                                                 23     A.      No.   That means arrival in Afghanistan.

24     A.     In 2003, I think I was making furniture at                       24     Q.      Where were you deployed in Afghanistan?

25   that point.     I may also have had a job with an                         25     A.      I was on a forward operating base called




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 1   Metherlon (phonetic).     We were in a region called RC                    1     A.      I did.

 2   East.   We were generally on the eastern side of the                       2     Q.      Did you pass those tests?

 3   country not too far from the Pakistan border.                              3     A.      I did.

 4     Q.     Okay.    What was your rank when you deployed                     4     Q.      During your service in Afghanistan, did you

 5   to Afghanistan?                                                            5   see enemy action?

 6     A.     I was a staff sergeant.                                           6     A.      I did.

 7     Q.     What were your responsibilities?                                  7     Q.      Did you ever fire your weapon at another

 8     A.     At that point, my responsibility was as the                       8   person in an enemy action?

 9   personal security detail for our battalion commander.                      9     A.      No.

10     Q.     Can you describe for us briefly what that                        10     Q.      Did there come a time where you were

11   involved?                                                                 11   evacuated from Afghanistan?

12     A.     I was responsible for his personal safety.                       12     A.      I was, yes.

13     Q.     As part of your service with the National                        13     Q.      Why were you evacuated from Afghanistan?

14   Guard, were you ever trained on the use of firearms?                      14     A.      It was medical evacuation for a noncombat

15     A.     I was.                                                           15   injury.

16     Q.     What firearms were you trained on the use of?                    16     Q.      Where were you evacuated to?

17     A.     My primary weapon was an M4 carbine and my                       17     A.      Initially to -- started Bagrum Airfield, a

18   secondary weapon was an M9 handgun.                                       18   hospital there, and then to Landstuhl, Germany.

19     Q.     Okay.    You were trained on both, correct?                      19     Q.      What was the nature of your noncombat injury?

20     A.     Correct.                                                         20     A.      My kidney failed.

21     Q.     Did you have to pass tests to demonstrate                        21     Q.      Did you pursue your recovery in Germany or

22   proficiency with the M4 carbine?                                          22   were you returned to the United States?

23     A.     Yes.                                                             23     A.      No.   I was returned to the United States and

24     Q.     Did you have to pass a test to show                              24   stationed at West Point.

25   proficiency with the nine-millimeter handgun?                             25     Q.      How long did it take you to recover?




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 1     A.      Approximately six months.                                         1     Q.       Are you still a financial adviser today?

 2     Q.      Were you discharged as a result of your                           2     A.       Yes.

 3   injury?                                                                     3     Q.       Do you practice law at all?

 4     A.      I was not.                                                        4     A.       My practice of law is limited to acting as an

 5     Q.      When did you complete your service with the                       5   attorney for veterans who are seeking compensation

 6   National Guard?                                                             6   claims before the Veterans Administration.

 7     A.      March of 2012.                                                    7     Q.       Do you accept compensation for that practice

 8     Q.      Were you discharged?                                              8   of law?

 9     A.      I'm sorry?                                                        9     A.       I don't.

10     Q.      Were you discharged?                                             10     Q.       Approximately how many hours a week do you do

11     A.      I was.                                                           11   that?

12     Q.      Was it honorable?                                                12     A.       It's probably hours a month, maybe two hours

13     A.      It was.                                                          13   a month.

14     Q.      After you left the National Guard, did you                       14     Q.       Fair enough.     Do you currently hold a

15   continue your career as a financial adviser?                               15   Connecticut State Pistol Permit?

16     A.      I did.                                                           16     A.       I do.

17     Q.      Did you pursue any further education?                            17     Q.       When did you first obtain that pistol permit?

18     A.      I did.                                                           18     A.       I don't recall when it was, but it was at

19     Q.      What education did you pursue?                                   19   least 30 years ago.

20     A.      I went to law school.                                            20     Q.       Have you held it consistently since then?

21     Q.      Okay.     When did you -- did you obtain a law                   21     A.       I have.

22   degree?                                                                    22     Q.       You've kept up with the annual renewals?

23     A.      I did.                                                           23     A.       Yes.    Though I --

24     Q.      When did you obtain your law degree?                             24     Q.       The regular renewals?

25     A.      2018.                                                            25     A.       Yes.




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 1     Q.      Does a Connecticut Pistol Permit allow you to                     1   preliminary matters, so I'd ask that the form of the

 2   purchase firearms?                                                          2   question be rephrased.

 3     A.      It does.                                                          3              THE COURT:     Do you carry a handgun when you

 4     Q.      Does it allow you to purchase ammunition?                         4   venture into public is not a leading question, but be

 5     A.      Yes.                                                              5   aware that you should not lead your witness after

 6     Q.      Does it permit you to carry a handgun in                          6   this.     Okay?

 7   public?                                                                     7              MR. ATKINSON:     Understood, Your Honor.

 8     A.      It does.                                                          8              THE COURT:     Okay.     So the question that's

 9     Q.      Do you own a handgun?                                             9   pending is do you carry a handgun when you venture

10     A.      I do.                                                            10   into public.

11     Q.      Do you own more than one handgun?                                11              THE WITNESS:     I do.

12     A.      I do.                                                            12   BY MR. ATKINSON:

13     Q.      What handguns do you own?                                        13     Q.       The handgun that you carry into public, is it

14     A.      I own a Glock 17, a Glock 19, a Glock 48, a                      14   one of the handguns that you've previously listed

15   Glock 42, a Smith & Wesson Model 659, a Ruger Mark 2,                      15   here today?

16   a Beretta 950 and a Taurus 85.                                             16     A.       Yes.

17     Q.      Of all those firearms that you just                              17     Q.       Of the handgun that -- of the handguns you

18   described, are all of those pistols?                                       18   listed, do you have a preferred one to carry in

19     A.      They are.     One is a revolver.                                 19   public?

20     Q.      Do you carry a handgun when you venture into                     20     A.       Yes.

21   public?                                                                    21     Q.       Which handgun is that?

22     A.      I do.                                                            22     A.       The Glock 42.

23             MR. BOCHAIN:     Your Honor, if I may, I have                    23     Q.       Why do you prefer to carry that handgun in

24   given Attorney Atkinson quite a bit of leeway here.                        24   public?

25   A lot of these questions are leading.        These are                     25     A.       It's a combination of concealibility and I




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 1   think effectiveness is -- it's better with that than                        1   mentioned the Smith & Wesson Model 659 which I

 2   any of the others.                                                          2   believe was the first pistol that I purchased, and it

 3     Q.       How often do you carry that Glock 42 into                        3   would have been right around the same time I got the

 4   public?                                                                     4   permit.

 5     A.       Daily.                                                           5     Q.      So more than 30 years ago?

 6     Q.       Why do you carry that Glock 42 daily in                          6     A.      More than 30 years ago, yes.

 7   public?                                                                     7     Q.      Okay.   And in those 30 years, have you

 8     A.       For self-defense.                                                8   owned -- have you always owned a handgun during that

 9     Q.       In the entire time -- withdrawn.                                 9   time?

10              Prior to obtaining a Connecticut Pistol                         10     A.      Yes.

11   Permit, did you own a handgun?                                             11     Q.      During those 30 years where you've owned a

12     A.       I'm sorry.     I don't think I heard your                       12   handgun, have you typically carried your handgun into

13   question.                                                                  13   public?

14     Q.       I apologize.     Prior to obtaining a                           14     A.      Yes.

15   Connecticut Pistol Permit, did you own a handgun?                          15     Q.      During the times that you've -- during that

16     A.       No.                                                             16   period, that 30-year period we've been discussing,

17     Q.       After you acquired a Connecticut Pistol                         17   have you ever been -- have you ever had to use your

18   Permit, did you acquire a handgun?                                         18   firearm -- your handgun in self-defense?

19     A.       I did.                                                          19     A.      No.

20     Q.       Have you consistently owned a handgun since                     20     Q.      Have you ever had to make a showing of your

21   you -- withdrawn.                                                          21   handgun for the purposes of self-defense?

22              When did you -- when approximately did you                      22     A.      No.

23   acquire the handgun after you obtained your pistol                         23     Q.      When you carry your handgun in public, do you

24   permit?                                                                    24   try to obey laws regulating how you may carry it?

25     A.       It would have been shortly thereafter.      I                   25             MR. BOCHAIN:   Objection, Your Honor.




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 1   Leading.                                                                    1             With respect to carrying your handgun in

 2              THE COURT:     Sustained.                                        2   public, are you aware of whether there are any laws

 3   BY MR. ATKINSON:                                                            3   that govern how you may carry it?

 4     Q.       Mr. Nastri, when you -- are you aware that --                    4     A.      I am.

 5   withdrawn.                                                                  5     Q.      Okay.   What laws are you aware of on -- that

 6              Mr. Nastri, as part of obtaining your pistol                     6   regulate how you may carry your handgun in public?

 7   permit, did you have to undergo any -- any                                  7     A.      I think the statute is silent on whether it

 8   educational classes?                                                        8   is carried concealed or open, but I believe it

 9              MR. BOCHAIN:     Objection, Your Honor.                          9   references that you may not carry it in such a way as

10   Leading.                                                                   10   to cause alarm to another person.

11              THE COURT:     Overruled.                                       11     Q.      Are you aware of any other laws besides that

12              THE WITNESS:     It was a long time ago and I do                12   one that you just described to us?

13   remember attending a class at the police department                        13     A.      As far as carrying, I can't think of one.

14   and then demonstrating proficiency by shooting at                          14   You have to have your permit with you when you carry.

15   targets.                                                                   15   Then there are storage requirements if you're not

16   BY MR. ATKINSON:                                                           16   able to carry it on your person.

17     Q.       If you recall as you sit here today, what did                   17     Q.      Do you comply with the laws that you are

18   the class at the police department entail?                                 18   aware of regulating how you may carry your handgun in

19     A.       I have no recollection of it.                                   19   public?

20     Q.       Since you obtained your pistol permit and                       20     A.      I do.

21   took that initial class, have you taken any other                          21     Q.      Are you aware of any laws in the state of

22   class or have you taken any classes with respect to                        22   Connecticut that regulate where you may carry your

23   handguns?                                                                  23   handgun in public?

24     A.       Not outside of the military.                                    24     A.      I am.

25     Q.       If -- withdrawn.                                                25     Q.      What laws are you aware of?




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 1     A.       There are restrictions about certain                          1            THE COURT:     You're correct.   Let me go to

 2   locations such as courthouses, schools, polling                          2   yours.   I have Number 1 has an amended complaint.

 3   places, and then I became aware last year of the                         3   BY MR. ATKINSON:

 4   restriction on state parks and forests.                                  4     Q.     Mr. Nastri, do you recognize the document I

 5     Q.       How did you become aware of these laws?                       5   just handed you?

 6     A.       I had gotten a hunting license and I was                      6     A.     I do.     It's the verified amended complaint.

 7   reading the regulations about where you can hunt, for                    7     Q.     Okay.     What is your understanding of a

 8   what, with what and when, and I came across the                          8   verified complaint?

 9   regulation that prohibits firearms in state parks and                    9     A.     As -- I think it's the last and complete

10   forests.                                                                10   complaint that's filed in this action.

11     Q.       And just so the record is clear, the                         11     Q.     Well, did you -- do you recall signing it in

12   regulation that you are referring to, can you provide                   12   front of a notary public -- well, withdrawn.

13   us the number if you're aware of it?                                    13            May I direct your attention, Mr. Nastri, to

14     A.       I can't remember what the number is.                         14   the final page of the complaint that bears the ECF

15              MR. ATKINSON:    Your Honor, if I may show                   15   stamp Document 13, page 15 of 16?

16   Mr. Nastri what's been marked as Plaintiff's Exhibit                    16     A.     Yes.     I do see that.

17   No. 1, the amended complaint.                                           17     Q.     What is that, Mr. Nastri?

18              THE COURT:    You may.   So Number 1 says                    18     A.     That is the verification that I signed and

19   ordinances and laws about parks, 1858 Central Park.                     19   had notarized.

20   Do we have the right one?                                               20     Q.     What do you understand that verification to

21              MR. ATKINSON:    Plaintiff's Exhibit 1 for ID.               21   be?

22              THE COURT:    Yeah.                                          22     A.     It means that I verified the truth of the

23              MR. ATKINSON:    Are you looking at the                      23   allegations in the complaint.

24   combined exhibit list?      Because what you just                       24     Q.     Did you do so under oath?

25   described sounds like the state's first exhibit.                        25     A.     I did.




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 1     Q.       If I may now direct your attention to the                     1   you use state parks and forests?

 2   fourth page on the ECF stamp for Document 13,                            2     A.     I did.

 3   paragraph 13.                                                            3     Q.     Which state parks and forests did you use

 4     A.       I see that.                                                   4   prior to obtaining your hunting license?

 5     Q.       After reviewing that paragraph, you -- you                    5     A.     Sleeping Giant State Park in Hamden, the

 6   recall the number of the reg- -- the state regulation                    6   Farmington Canal Trail which is through most towns in

 7   that prohibits you from carrying a firearm in state                      7   the state but primarily in Cheshire, and then

 8   parks that you referenced earlier?                                       8   Naugatuck State Forest.

 9     A.       I do.   It's Section 23-4-1(c).                               9     Q.     Do you still use those same parks today?

10     Q.       When did you become aware of that regulation?                10     A.     I do.

11     A.       After I had received my hunting permit and I                 11     Q.     How often do you use Sleeping Giant State

12   was reading the regulations on the DEEP website about                   12   Park?

13   where hunting is permitted, for what and when.                          13     A.     I probably would say on average, once a month

14     Q.       When did you receive your hunting permit?                    14   during the course of the year.

15     A.       I think it was -- it was definitely in 2022,                 15     Q.     For what purpose do you use Sleeping Giant

16   sometime in the summer, I think.                                        16   State Park?

17     Q.       Why did you obtain a hunting permit?                         17     A.     Hiking.

18     A.       I had a nephew who asked me to go bird                       18     Q.     Pardon me?

19   hunting with him a few years ago and I obviously                        19     A.     Hiking.

20   needed a hunting license to do that.                                    20     Q.     How often do you use Naugatuck State Forest?

21     Q.       Had you ever been -- withdrawn.                              21     A.     Probably once or twice a year.

22              Had you ever held a Connecticut hunting                      22     Q.     What do you use Naugatuck State Forest for?

23   license prior to that occasion?                                         23     A.     Hiking.

24     A.       No.                                                          24     Q.     How often do use the Farmington River Canal

25     Q.       Prior to obtaining your hunting license, did                 25   Trail?




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 1     A.     Probably on average, three times a week.     I'm                1     Q.     You testified earlier that you only became

 2   sorry.   Let me qualify that.   Probably four or five                    2   aware of the prohibition established by 23-4-1 when

 3   times a week total.                                                      3   you -- after you obtained your hunting license.

 4     Q.     What do use the Farmington River Canal Trail                    4            Prior to learning of that regulation, did you

 5   for?                                                                     5   carry a handgun into state parks and forests?

 6     A.     I run on it and I then also walk on it.                         6     A.     Yes, I did.

 7     Q.     For each of the parks listed,                                   7     Q.     Which state parks and forests did you carry

 8   approximately -- well, pardon me.    Withdrawn.                          8   your handgun into?

 9            For Sleeping Giant State Park, how long                         9     A.     Sleeping Giant, the Naugatuck State Forest

10   approximately have you been using it?                                   10   and the Farmington Canal Trail.

11     A.     Since I was 15 years old probably.                             11     Q.     Approximately how many times did you carry

12     Q.     For Naugatuck State Forest, how long                           12   your handgun into Sleeping Giant State Park?

13   approximately have you been using it?                                   13     A.     Every time I went there.

14     A.     Probably 40 years.                                             14     Q.     Approximately how many times did you carry

15     Q.     For the Farmington River Canal Trail,                          15   your handgun into Naugatuck State Forest?

16   approximately how long have you been using it?                          16     A.     Every time I went there.

17     A.     I would say at least ten.                                      17     Q.     Approximately how many times did you carry

18     Q.     I'm not sure if I asked you this yet, but for                  18   your handgun into -- on the Farmington River Canal

19   what purpose do you use the Farmington River Canal                      19   Trail?

20   Trail?                                                                  20     A.     Approximately three times a week when I was

21     A.     For both running and then also for walking.                    21   walking on it.

22     Q.     How often do you use it for running?                           22     Q.     After you became aware of the regulation that

23     A.     Probably three to four times a week.                           23   prohibited you from carrying a firearm in state parks

24     Q.     How often do you use it for walking?                           24   and forests, did you stop carrying a firearm in state

25     A.     Probably two to three times a week.                            25   parks and forests?




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 1     A.     I did.   But that was only after inquiring of                   1     Q.     Did you have any specific reason that you

 2   the commissioner of the DEEP if there was some other                     2   would feel the need to carry a firearm for

 3   regulation that permitted people with firearm's                          3   self-defense on the Farmington River Canal Trail?

 4   permits to carry them in state forests.                                  4     A.     Yes.

 5     Q.     Let's hold that thought for a second and I                      5     Q.     What was that reason?

 6   want to circle back to something.                                        6     A.     I know that there are -- there's a lot of

 7            Prior to the learning of the regulation for                     7   criminal activity on the canal.     I'm aware of sexual

 8   why you -- that prohibited you from carrying firearms                    8   assaults that have taken place.     There was one

 9   in state parks and forests, why did you carry a                          9   particularly egregious event with a Yale law student

10   handgun in Sleeping Giant State Park?                                   10   who was assaulted on the Canal Trail.

11     A.     For self-defense.                                              11     Q.     How did you become aware of those incidents?

12     Q.     Why did you carry a firearm for the -- based                   12     A.     Some of them --

13   on the same time period in Naugatuck State Forest?                      13            MR. BOCHAIN:     Objection, Your Honor.    Calls

14     A.     Self-defense.                                                  14   for hearsay.

15     Q.     And the same for Farmington River Canal                        15            MR. ATKINSON:     Your Honor, I'm not

16   Trail?                                                                  16   offering --

17     A.     Also self-defense, yes.                                        17            THE COURT:     Does it matter?

18     Q.     Did you have any specific reason to believe                    18            MR. ATKINSON:     It's going to his impression

19   that you would need to carry a firearm in Sleeping                      19   of why he need -- why he felt the need to carry for

20   Giant State Park?                                                       20   self-defense on the Farmington --

21     A.     No.                                                            21            THE COURT:     I'll permit the question.    Go

22     Q.     Did you have any specific reason to believe                    22   ahead.

23   that you would need to carry a firearm for                              23   BY MR. ATKINSON:

24   self-defense in Naugatuck State Forest?                                 24     Q.     Do you need me to ask the question again,

25     A.     No.                                                            25   Mr. Nastri?




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 1     A.       Yeah, please.                                                      1   that regulation which made an exception to that rule

 2     Q.       Now I've lost my train of thought.                                 2   for people who had pistol permits and I couldn't find

 3              THE COURT:     Let me ask Ms. Thomas to read                       3   one.    So I e-mailed Commissioner Dykes and asked if I

 4   that back.                                                                    4   was just missing it or if, in fact, it was the case

 5              (Record read by the Court Reporter.)                               5   that no one was allowed to carry firearms in state

 6              THE WITNESS:     So some of them I was made                        6   parks and forests.

 7   aware by my brother who is a police officer in                                7     Q.       When approximately did you e-mail

 8   Cheshire, investigations that he had been a part of.                          8   Commissioner Dykes?

 9   Some were in discussions with you about criminal                              9     A.       I don't remember the exact date.      I think it

10   background on -- or criminal events on the Farmington                        10   was in the fall.

11   Canal Trail.                                                                 11     Q.       Okay.     One second, please.   You still have in

12   BY MR. ATKINSON:                                                             12   front of you what's marked as Plaintiff's Exhibit 1,

13     Q.       Okay.    What effect did those -- what effect                     13   the verified amended complaint.       I would direct your

14   did hearing those stories have on you?                                       14   attention to paragraph 19 on page -- the page bearing

15     A.       I think it would be a fair statement to say                       15   the ECF stamp 4 of 16 and then that runs over onto

16   that it made me more committed to be able to defend                          16   page 5 of 16.

17   myself in those areas.                                                       17     A.       I see that.

18     Q.       You -- let's circle back to what you                              18     Q.       Okay.     Have you read that paragraph?

19   referenced earlier about contacting, I believe you                           19     A.       Yes.

20   testified you contacted Commissioner Katie Dykes, the                        20     Q.       Does that refresh your recollection on when

21   defendant in this action, to see if there was another                        21   you sent that or when you made that inquiry with

22   regulation or law that permitted you to carry a                              22   Commissioner Dykes?

23   handgun in state parks and forests?                                          23     A.       Yes.     I did it on November 18, 2022.

24     A.       That's correct.     When I saw the 23-4-1, I did                  24     Q.       Do you recall if Commissioner Dykes ever

25   research to try and find some other counterpart to                           25   responded to you?




                                                                  155                                                                             156


 1     A.       Commissioner Dykes did not respond to me.         A                1              THE WITNESS:     In his response, I received an

 2   deputy commissioner did.                                                      2   attachment which was a link to an Office of

 3     Q.       Who was the deputy commissioner who responded                      3   Legislative Research report about firearms in state

 4   to you?                                                                       4   parks and forests.

 5     A.       Deputy Commissioner Mason Trumble.                                 5              THE COURT:     The question is what was your

 6     Q.       What was the content of his response as you                        6   conclusion based on your conversation.

 7   understood it?                                                                7              MR. ATKINSON:     Your Honor, will it be helpful

 8              MR. BOCHAIN:     Objection, Your Honor.   Calls                    8   if I rephrase the question.

 9   for hearsay.                                                                  9   BY MR. ATKINSON:

10              THE COURT:     Sustained.                                         10     Q.       Mr. Nastri, did you reach a conclusion based

11   BY MR. ATKINSON:                                                             11   on your conversation with Mr. Trumble on whether

12     Q.       Mr. Nastri, did you -- withdrawn.                                 12   carrying a firearm in a state park or forest was

13              Mr. Nastri, you received responses from                           13   permissible?

14   Commissioner Trumble, correct?                                               14     A.       I did.

15     A.       Yes.                                                              15     Q.       What was your conclusion?

16     Q.       And on the basis of those responses, did you                      16     A.       Based on our communication, it is not

17   form a conclusion about whether carrying a handgun in                        17   permitted to carry firearms in state parks and

18   a Connecticut state park or forest was permitted?                            18   forests.

19     A.       I did.                                                            19              MR. BOCHAIN:     Objection, Your Honor.   I have

20     Q.       What was your conclusion based on your                            20   to raise the hearsay objection again.        It's based on

21   conversation with Mr. Trumble?                                               21   the content of an e-mail that he's forming an

22              MR. BOCHAIN:     Objection, Your Honor.   That's                  22   opinion.

23   hearsay.                                                                     23              THE COURT:     The e-mail may say something

24              THE COURT:     Overruled.   It's his state of                     24   else.    His opinion is this.

25   mind.                                                                        25              MR. BOCHAIN:     I think it still goes to the




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 1   substance.     I maintain my objection.                                     1     Q.      Are those copies true and accurate copies of

 2             THE COURT:     If somebody wants to put the                       2   the e-mails between you and Mr. Trumble?

 3   e-mail in, that's fine, to show that his opinion is                         3     A.      Yes.

 4   different from or modified by the e-mail, but for the                       4             MR. ATKINSON:     Your Honor, I did not

 5   time being, he thinks that was not permitted to carry                       5   previously mark these but I would offer them as a

 6   firearms in state parks or forests.         Go ahead.                       6   full --

 7   BY MR. ATKINSON:                                                            7             THE COURT:     Are they attached to the

 8     Q.      Mr. Nastri, can I direct your attention to                        8   complaint?

 9   the document labeled 13 dash 13 on the ECF stamp in                         9             MR. ATKINSON:     Yes.   Which was marked as

10   the exhibit -- Plaintiff's Exhibit 1 that you have in                      10   Plaintiff's Exhibit 1.

11   front you and it consists of four pages beginning                          11             THE COURT:     All right.   I think they're

12   with one bearing the cover exhibit M.         Do you see                   12   included in that then already.

13   that?                                                                      13             MR. ATKINSON:     Thank you, Your Honor.

14     A.      I'm sorry.     Exhibit 1 what?                                   14             MR. BOCHAIN:     Your Honor, if I could just

15     Q.      Exhibit M.                                                       15   clarify the record briefly.        I don't believe

16     A.      M, yes.                                                          16   Plaintiff's Exhibit 1 is in evidence at this time.

17     Q.      Can you review that, please, Mr. Nastri?                         17   It was offered for identification.        I think the

18     A.      Yes.                                                             18   record should be clear on that.

19     Q.      What is that document, Mr. Nastri?                               19             THE COURT:     I thought that you told me --

20     A.      This is -- these are copies of the e-mails                       20             MR. ATKINSON:     I would concur with

21   that I -- the e-mail I sent to Commissioner Dykes,                         21   Attorney --

22   Deputy Commissioner Trumble's response and my                              22             THE COURT:     I think that's right, that we

23   response to Deputy Commissioner Trumble as well as                         23   have 17, 19, 10, and -- 9, 10 and 17 without

24   the legislative research report on carrying handguns                       24   objection.    All right.    The verified complaint is

25   in state parks -- Connecticut parks and forests.                           25   Exhibit 1.




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 1             MR. ATKINSON:     Correct, Your Honor.                            1   statement that was deliberately prepared in that form

 2             THE COURT:     Can't I take judicial notice of                    2   in order to -- in order to support his preliminary

 3   this as a document filed in the Court by the                                3   injunction and temporary restraining order paperwork.

 4   plaintiff?     I don't know where that goes in terms of                     4   I think at least my understanding would be that it's

 5   the treatment of its exhibits, but why is -- why can                        5   already properly in the record for your consideration

 6   I not take judicial notice of this as a document                            6   on the overall merits of the preliminary injunction.

 7   filed at the Court.                                                         7             The fact that it was marked just for ID today

 8             MR. BOCHAIN:     I believe the Court could take                   8   was a logistical thing.      I think it's clearly already

 9   judicial notice of it, Your Honor.         The only thing I                 9   been submitted to you as evidence.

10   would say is -- there's still this allegation in the                       10             THE COURT:     All right.   It's been verified?

11   complaint which we have not submitted an answer to                         11             MR. BOCHAIN:     Correct.

12   yet.    So to the extent the Court is going to rely on                     12             THE COURT:     You can cross-examine on it.

13   that as evidence, I would just note again it's                             13   What more do we need to consider about this?

14   allegations at this point.                                                 14             MR. BOCHAIN:     The only thing I would note is

15             THE COURT:     Right.   And when we take judicial                15   I would have no objection to Exhibit M which I think

16   notice, it has nothing to do with acceptance of the                        16   is the e-mail that he's referring to which I think is

17   contents.     It's just noting that it was filed, but I                    17   what he had been asking Mr. Nastri about.

18   don't think that's your purpose.                                           18             THE COURT:     All right.   Recognizing M is part

19             MR. ATKINSON:     Your Honor, I -- I was                         19   of the verified amended complaint, should we

20   attempting to just put the Exhibit M into --                               20   separately admit it as an exhibit?

21             THE COURT:     Is there an objection to                          21             MR. ATKINSON:     I have no objection to that,

22   Exhibit M?                                                                 22   Your Honor.

23             MR. ATKINSON:     Can I finish, Your Honor,                      23             THE COURT:     We'll call it A sub 1 -- I mean 1

24   please?     What I would also note is this is -- this                      24   sub A.

25   complaint was made under oath.       This is a sworn                       25             MR. ATKINSON:     That works for me.




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 1              THE COURT:    And then it will be M and it will                  1   result of that answer?

 2   be thoroughly confused.       Okay.   One -- Exhibit 1A,                    2              MR. BOCHAIN:     Objection, Your Honor.

 3   Plaintiff's Exhibit 1A is Exhibit M to the verified                         3   Leading.

 4   compliant.    Okay.     Let's go.                                           4              THE COURT:     Sustained.

 5              MR. ATKINSON:    Thank you, Your Honor.                          5              MR. ATKINSON:     Let me rephrase or attempt to

 6   BY MR. ATKINSON:                                                            6   at least.

 7     Q.       Mr. Nastri, in the e-mails that you exchanged                    7   BY MR. ATKINSON:

 8   with Mr. Trumble, what was the purpose of those                             8     Q.       Prior to you sending that e-mail to

 9   e-mails?                                                                    9   Commissioner Dykes and then hearing back from

10     A.       The purpose, as I stated in my original                         10   Mr. Trumble, you had -- did you carry your firearms

11   e-mail, was to clarify the regulation and to find out                      11   into state parks and forests?

12   if there was another regulation that allowed the                           12     A.       I did.

13   carrying of firearms in the state parks and forests.                       13     Q.       Were you looking to continue to carry your

14     Q.       Why did you seek that clarification,                            14   firearms into state parks and forests?

15   Mr. Nastri?                                                                15              MR. BOCHAIN:     Objection, Your Honor.

16     A.       Because I had a hard time believing that a                      16   Leading.

17   restriction on the ability to carry arms in public                         17              THE COURT:     Sustained.

18   could be on the books in such a manner.                                    18              I'm going to change my mind on that.         It does

19     Q.       Personally -- withdrawn.                                        19   not suggest its own answer.        You may ask that

20              Did you have a personal -- did you have a                       20   question.

21   personal interest in that answer?                                          21              MR. ATKINSON:     Thank you.    Can the court

22     A.       I'm not clear what you mean by "personal                        22   reporter please read it back.          Thank you.

23   interest."    Is it my background?      Do I understand                    23              (Record read by the Court Reporter.)

24   something about it?                                                        24              THE WITNESS:     Yes.   When I discovered this

25     Q.       Were you looking to do something as the                         25   regulation and inquired about, for lack of a better




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 1   term, a corollary regulation that would allow pistol                        1     Q.       Okay.    At that time did you have any

 2   permit holders to carry firearms in state parks and                         2   knowledge that there would be consequences for

 3   forests and based on Mr. Trumble's response, seeing                         3   violating that law?

 4   that there was no corollary that would allow that and                       4     A.       I was aware that carrying a firearm in a

 5   that, in fact, there is a prohibition on firearms in                        5   state park or forest carried a $35 fine.            I believe

 6   state parks and forests outside of the very specific                        6   there's a continuum of punishments to include being

 7   permitted activities, it was my intent with my final                        7   banned from state parks and forests for 24 hours and

 8   response to Mr. Trumble to draw his attention to                            8   also up to a year you can be banned from state parks

 9   Supreme Court decisions that clarified that we have a                       9   and forests.       In addition to those, a violation of

10   right to carry firearms in state parks and forests                         10   this type I thought could potentially jeopardize my

11   and I directed him to the Bruen decision and asked                         11   pistol permit.

12   that he ask Commissioner Dykes to amend that                               12              It conceivably could go on -- any --

13   regulation so that it's in compliance with the Bruen                       13   actually, it's not conceivable.          If I had received

14   decision.                                                                  14   any of those penalties, I would have had to report

15   BY MR. ATKINSON:                                                           15   those to the regulators in my industry and that would

16     Q.       After your conversation with Mr. Trumble, did                   16   go on my U4 which is our version of a permanent

17   you stop carrying your handgun in state parks and                          17   record.

18   forests?                                                                   18     Q.       Just to clarify, by your industry and U4 for

19     A.       As a result of the communication that I had                     19   a second, could you clarify those two terms?

20   with Mr. Trumble and discovering that, in fact, there                      20     A.       So in my industry, our regulatory body is

21   is no allowance for pistol permit holders to carry                         21   called FINRA.

22   them in state parks and forests, I did stop carrying                       22     Q.       So can I stop you for a second?

23   them in state parks and forests.                                           23     A.       Yes.

24     Q.       Why did you stop carrying them?                                 24     Q.       What industry are you referring to?

25     A.       Because I wasn't going to violate a law.                        25     A.       In the financial services industry.




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 1     Q.       Continue, please.                                               1   Webster Investments hires a firm called a broker

 2     A.       So FINRA is the Financial Institution                           2   dealer and the broker dealer is essentially the

 3   Regulatory Authority and it's called an SR,                                3   platform on which all of our investments are

 4   self-regulatory authority, and it is under the                             4   maintained.     They are also our immediate compliance

 5   auspices of the Securities and Exchange Commission                         5   authority.    So they would do audits.     They would

 6   and they are the agency which is charged with                              6   investigate complaints.

 7   compliance and making sure that we are operating                           7              They are sort of an arm of FINRA in that

 8   within the regulations of our industry.                                    8   regard to make sure that we are in compliance with

 9     Q.       And what is the U4 that you referred to?                        9   all the regulations that we are subject to and when a

10     A.       U4 is your permanent record.    It contains                    10   complaint is made, it goes to several levels.        One is

11   lists of licenses, employers, complaints that have                        11   internally at Webster and then it goes to the

12   been filed against you, arrests, you know, things of                      12   compliance department at LPL, and then that is

13   that nature.                                                              13   investigated.      They usually bring in an attorney to

14     Q.       Does it also contain a disciplinary history?                   14   do an investigation.       And a determination is made as

15     A.       It does.                                                       15   to the truth of the allegation and they make a

16     Q.       As you sit here today, have you ever been                      16   decision about whether they are going to deny the

17   disciplined as a financial adviser?                                       17   complaint or settle the complaint or forward it for

18     A.       I have not been disciplined.    I have one                     18   further adjudication.

19   complaint on my record, but I was not disciplined for                     19     Q.       In making your decision not to carry a

20   it.                                                                       20   handgun in state parks and forests because of this

21     Q.       How was that complaint resolved?                               21   law and the possibility that you might need to report

22     A.       It was denied.                                                 22   this to FINRA and the other proper authorities, did

23     Q.       What does denied mean?                                         23   you contemplate the effect that such a violation

24     A.       It means that -- so this takes a little bit                    24   would have on your career?

25   of background.       So I work for Webster Investments.                   25              MR. BOCHAIN:     Objection, Your Honor.




                                                               167                                                                            168


 1   Leading.                                                                   1   knowledge of what certain consequences could look

 2              THE COURT:    I'm going to sustain that because                 2   like -- what certain discipline could look like if

 3   it assumes there would be such an effect.                                  3   imposed on a financial adviser?

 4              MR. ATKINSON:    Okay, Your Honor.   Thank you.                 4     A.       I am.   I'm aware of people who had violated

 5   BY MR. ATKINSON:                                                           5   various different rules in our industry, broken laws

 6     Q.       Mr. Nastri, if you -- if you were to violate                    6   relative to our industry, and licenses can be

 7   the state parks prohibition on carrying firearms in a                      7   suspended and I am aware of people who have had that

 8   state park or forest and you received punishment or                        8   happen.    We just had an adviser resign after

 9   discipline for that, would you have to report that to                      9   allegations that he committed a very egregious

10   the regulatory bodies that oversee you as a financial                     10   violation which he admitted to.       So a complaint of

11   adviser?                                                                  11   this type or an incident of this type would go on my

12     A.       Yes.   I have an annual compliance                             12   U4 and it could lead to my discharge.

13   questionnaire that I'm obligated to fill out and                          13     Q.       You -- withdrawn.

14   there are questions on there about arrests, charges,                      14              MR. ATKINSON:     May I have a moment, Your

15   penalties, et cetera.                                                     15   Honor?

16     Q.       And can you remind us how long you've been a                   16              THE COURT:     Yes.

17   financial adviser?                                                        17              MR. ATKINSON:     Thank you.

18     A.       I have been in the role for 17 years.                          18   BY MR. ATKINSON:

19     Q.       Based on your knowledge of -- withdrawn.                       19     Q.       Based on your belief that these consequences

20              Based on the length of time that you have                      20   might result from a violation of the state park

21   been a financial adviser, have you acquired a                             21   prohibition on carrying in state parks and forests,

22   knowledge of the disciplinary system that oversees                        22   do you intend to carry a handgun in state parks and

23   financial advisers?                                                       23   forests in the future?

24     A.       I have.                                                        24              MR. BOCHAIN:     Objection, Your Honor.

25     Q.       Have you encountered or have you acquired a                    25   Leading.




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 1            THE COURT:   Do you want to break that into                       1   is repealed, then I will carry firearms in state

 2   two things?                                                                2   parks and forests again.

 3            MR. ATKINSON:   I can try, Your Honor.                            3     Q.      Why would you -- withdrawn.

 4            THE COURT:   Because otherwise, you have put                      4             In -- withdrawn.

 5   it together as a question that suggests its answer.                        5             You testified earlier that you researched a

 6            MR. ATKINSON:   I'll try to break that apart,                     6   lot about the laws pertaining to firearms and you

 7   Your Honor.                                                                7   also testified about your interactions with

 8   BY MR. ATKINSON:                                                           8   Commissioner Dykes and Commissioner Trumble.

 9     Q.     Mr. Nastri, when you concluded that carrying                      9             Are you aware based on -- or do you have any

10   a handgun into state parks and forests was no longer                      10   knowledge based on any research you did or any

11   permissible in your understanding of the law, did you                     11   conversations you had whether there's a way that you

12   contemplate the consequences that would result from                       12   could get permission to carry a handgun in state

13   that?                                                                     13   parks for self-defense?

14     A.     Yes.   I think certainly I would be subject                      14     A.      I am aware that there is a procedure where

15   some kind of discipline professionally.      I think my                   15   you can request permission to carry firearms into a

16   law license might be in jeopardy at that point and                        16   state park or forest.      I believe the context is

17   made a determination that I was going to obey that                        17   normally not self-defense.      I think that context --

18   law for as long as it stayed on the books and that's                      18   the one incident I read about was a reenactment

19   what led to filing this action, that until such time                      19   group, a civil war reenactment group, that wanted to

20   that this regulation is overturned, that I will not                       20   bring Civil war era weapons into a state park or

21   carry a firearm in a state park or forest.      I'm an                    21   forest.     I am not aware that it's something you can

22   officer of the court.    I will not willfully disobey a                   22   ask to carry a firearm for self-defense.

23   law, but as an officer of the court, it is my                             23     Q.      Okay.   Do you have any knowledge of how a

24   obligation to make sure that the laws that are on the                     24   process for making such an application as that

25   books are constitutionally sound, and when this one                       25   would -- what that process would look like?




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 1     A.     I believe there's a form that you submit                          1   walking or jogging?

 2   identifying what you want to do and bring it to the                        2             MR. BOCHAIN:     Objection, Your Honor.     This

 3   park.                                                                      3   has been asked and answered.

 4     Q.     Have you ever seen that form?                                     4             THE COURT:     Sustained.

 5     A.     I recollect seeing one in maybe one of these                      5             MR. ATKINSON:     Withdrawn.   I'll move on.

 6   exhibits.                                                                  6   BY MR. ATKINSON:

 7     Q.     Do you know where you could find such a form?                     7     Q.      Do you schedule when you're going to go to a

 8     A.     I don't.                                                          8   state park or forest, Mr. Nastri?

 9            MR. ATKINSON:   May I have a moment, Your                         9     A.      No.

10   Honor?   I think I'm close to wrapping up.                                10     Q.      Do you have a calendar that you keep track of

11   BY MR. ATKINSON:                                                          11   when you go?

12     Q.     Mr. Nastri, you testified that you regularly                     12     A.      No.

13   used Farmington River Canal Trail, correct?                               13     Q.      How far is Sleeping Giant State Park from

14     A.     Yes.                                                             14   your house?

15     Q.     Where do you do access the Farmington River                      15     A.      Sleeping Giant is probably three miles from

16   Canal Trail?                                                              16   my house.

17     A.     I can walk to the trail from my home.     I can                  17     Q.      How do you typically go to Sleeping Giant

18   walk to one end of my street and the canal intersects                     18   State Park?

19   with a road called Higgins Road.    I can take a right                    19     A.      I would drive there.

20   out of my driveway and access it on North Brooksvale                      20     Q.      Do you have any knowledge of how long

21   in Cheshire.                                                              21   approximately it would take you to drive from your

22     Q.     Do you typically access it by foot?                              22   house to Sleeping Giant State Park?

23     A.     Yes.                                                             23     A.      I want to amend my earlier answer.        It may be

24     Q.     And just to circle back to your testimony                        24   more than three miles.      It's a five- or ten-minute

25   earlier, when you access it, it's typically for                           25   ride.




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 1     Q.     Do you plan -- do you put a date on a                                  1   Sleeping Giant State Park that you could visit at any

 2   calendar when you're going to go to Sleeping Giant                              2   time you get a hunch to?

 3   State Park?                                                                     3     A.       Yes.    It's always impromptu.      If we have a

 4     A.     No.                                                                    4   gap in our afternoon and we're looking to fill it,

 5     Q.     How far is Naugatuck State Forest from your                            5   that's a good way to do it.

 6   house?                                                                          6     Q.       With respect to Farmington Valley --

 7     A.     Approximately a mile.                                                  7   withdrawn.

 8     Q.     How long -- how do you typically access                                8              With respect to the Farmington River Canal

 9   Naugatuck State Forest?                                                         9   Trail, do you typically plan when you're going to go

10     A.     I would drive down the street and there is a                          10   to visit?

11   town park calling Roaring Brook and I would hike up                            11     A.       No.    I would say it's more than impromptu

12   to the top of Roaring Brook and once you get to the                            12   because it's part of my running route.          So there's

13   top, you're in the Naugatuck State Forest.                                     13   regularity with that.       And then it's the same thing

14     Q.     Approximately how long does it take you to                            14   as far as walking, you know, we have a block of time

15   get from your house to Roaring Brook state park?                               15   and decide to go for a stroll.        You know, I did it

16     A.     Less than a minute.                                                   16   yesterday afternoon.       I did actually both.     I ran and

17     Q.     How long does it take you to hike from the                            17   then I took a cool-down walk.

18   entrance to Roaring Brook state park to where you                              18              MR. ATKINSON:     I have no further questions at

19   enter Naugatuck State Forest?                                                  19   this time, Your Honor.

20     A.     Fifteen minutes.     It's a steep hill that you                       20              THE COURT:     Okay.   Thank you.

21   have to climb up.                                                              21              Cross-examination.

22     Q.     Do you plan or mark your visits to Naugatuck                          22              MR. BOCHAIN:     If I can have one quick moment,

23   State Forest on a calendar?                                                    23   Your Honor.

24     A.     No.                                                                   24              CROSS-EXAMINATION OF DAVID NASTRI

25     Q.     Do you feel that you live close enough to                             25   BY MR. BOCHAIN:




                                                                    175                                                                                176


 1     Q.     Hi, Mr. Nastri.                                                        1     Q.       And after that, you served for a period of

 2     A.     How are you?                                                           2   time in the Army National Guard, correct?

 3     Q.     Good.     How are you?                                                 3     A.       Yes.

 4     A.     Thanks.                                                                4     Q.       And was that approximately 2003 when you

 5     Q.     My name is Thadius Bochain.     I represent the                        5   started?

 6   defendant, Commissioner Katie Dykes, along with my                              6     A.       Yes?

 7   colleagues.                                                                     7     Q.       And you were discharged, right, in about

 8            Have we met before?                                                    8   2012?

 9     A.     Yes.                                                                   9     A.       Yes.

10     Q.     Was that at your deposition on April 27th of                          10     Q.       And I think I heard correctly that you served

11   this year?                                                                     11   overseas for a period of time when you were in the

12     A.     Yes, it was.                                                          12   Army National Guard; is that right?

13     Q.     It's nice to see you again.     As you know,                          13     A.       Yes.

14   your lawyer just asked you some questions.     It's                            14     Q.       Isn't it true that when you're in the

15   going to be my turn to ask you some questions.        I                        15   military, there's quite a few rules and regulations

16   hope my questions will be clear, but I'm human.           So                   16   that you need to follow?

17   if I say something you don't understand, just let me                           17     A.       Yes.

18   know and I'll try to rephrase it.     Okay?                                    18     Q.       And when you were also deployed overseas for

19     A.     Okay.                                                                 19   a period of time, it was about year, did I hear that

20     Q.     Now, there were some questions during direct                          20   correctly?

21   that you served in the military, right?                                        21     A.       It was less than a year, but yes.

22     A.     That is true, yup.                                                    22     Q.       Less than a year.      And when you were there,

23     Q.     And you started in the Army around 1980, did                          23   did you follow all the rules and regulations while

24   I hear that correctly?                                                         24   you were overseas?

25     A.     That is correct.                                                      25     A.       When I was overseas, yes.




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 1     Q.       Okay.   And for a period of time, you served                    1     A.     Yes.

 2   in the Army National Guard, you came back to the                           2     Q.     Now, believe I heard some testimony about --

 3   states, correct?                                                           3   I don't know if I heard this but you work for

 4     A.       Yes.                                                            4   Financial Resources Group; is that right?

 5     Q.       And did you serve -- you served for a period                    5     A.     That is correct.

 6   of time in the United States while you were in the                         6     Q.     And they are -- there is a location here in

 7   Army National Guard, correct?                                              7   Connecticut and the office is in a Webster Bank; is

 8     A.       Yes.                                                            8   that not right?

 9     Q.       And while you were there, isn't it true that                    9     A.     That is correct.

10   you followed all of the rules and regulations while                       10     Q.     And I think heard correctly that you're a

11   you were in the Army National Guard?                                      11   wealth adviser?

12     A.       Are you referring to when I came back from                     12     A.     Correct.

13   overseas?                                                                 13     Q.     And that's -- you manage people's

14     Q.       When you came back from overseas, we'll start                  14   investments, correct?

15   with that.                                                                15     A.     Yes.

16     A.       Yes.                                                           16     Q.     And as part of that job, you have continuing

17     Q.       And so when you were overseas, though, you                     17   education requirements; is that right?

18   still followed all the rules and regulations when you                     18     A.     Yes.

19   were there?                                                               19     Q.     And you have always been in compliance with

20     A.       Yes.                                                           20   those continuing education requirements, correct?

21     Q.       And while you're in the military, you're                       21     A.     Yes.

22   issued orders from your superiors, correct?                               22     Q.     Now, I think I also heard on direct

23     A.       Yes.                                                           23   examination that you've never been disciplined by

24     Q.       And you had followed all of those orders,                      24   your current employer, the Financial Resources Group,

25   correct?                                                                  25   right?




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 1     A.       Yes.                                                            1   knowledgeable about firearms laws here in

 2     Q.       And you've never been disciplined by any                        2   Connecticut, right?

 3   employer in the past, correct?                                             3     A.     Reasonably so.

 4     A.       That's correct.   So our current --                             4     Q.     Would you consider yourself more

 5     Q.       That's a yes or no.                                             5   knowledgeable than most, correct?

 6     A.       Okay.                                                           6     A.     Yes.

 7     Q.       Thank you.                                                      7     Q.     So you're generally familiar with the laws

 8              And I think I heard during direct that you                      8   regarding gun ownership, correct?

 9   said you're a law-abiding citizen, correct?                                9     A.     Yes.

10     A.       Yes.                                                           10     Q.     And I think I heard you say you're also

11     Q.       And you've never been convicted of a felony,                   11   familiar with the law requiring that you have to have

12   right?                                                                    12   your pistol permit on you when you're carrying a

13     A.       Correct.                                                       13   firearm, correct?

14     Q.       You've never been convicted of a misdemeanor,                  14     A.     Correct.

15   right?                                                                    15     Q.     So you're familiar then with the laws

16     A.       Correct.                                                       16   regarding the possession of firearms, right?

17     Q.       And you've never been arrested before, right?                  17     A.     Yes.

18     A.       Correct.                                                       18     Q.     And you abide by all of those laws that you

19     Q.       Now, I think I also heard that you have a                      19   know of, correct?

20   pistol permit, correct?                                                   20     A.     Yes.

21     A.       Yes.                                                           21     Q.     And I think I also heard that you know that

22     Q.       All right.   And I don't know if this came out                 22   there's a law requiring the safe storage of a firearm

23   on direct, but you have 13 firearms, right?                               23   in a motor vehicle, correct, here in Connecticut?

24     A.       I believe that's the correct number.                           24     A.     I don't think that came up today but I am

25     Q.       And so you would consider yourself fairly                      25   generally aware of it.




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 1     Q.       I'll rephrase that.                                            1     Q.       So when you became aware of the assault

 2              You are aware that there's a law in                            2   weapons ban in Connecticut, didn't you research that

 3   Connecticut, right, regarding the safe storage of a                       3   issue to ensure that you were compliant with that

 4   firearm in a motor vehicle, correct?                                      4   law?

 5     A.       Yes.                                                           5     A.       I didn't actually need to do research.       When

 6     Q.       Isn't it also true that you actively try to                    6   the law was passed, you were required to register

 7   ensure that you're complying with gun laws here in                        7   anything that fell into that category.

 8   Connecticut?                                                              8     Q.       When you became aware of that law, you

 9     A.       I'm sorry.     Can you ask that again?                         9   actively took steps to comply it with, right?

10     Q.       Isn't it true that you actively try to ensure                 10     A.       That is correct.

11   that you are compliant with gun laws here in                             11     Q.       And you do not have any intent to violate any

12   Connecticut?                                                             12   law in the future; is that right?

13     A.       Yes.                                                          13     A.       That is correct.

14     Q.       So for example, when you discover that your                   14     Q.       Now, I'd like to switch gears slightly if I

15   conduct might implicate a gun law here in                                15   could and ask about where you actually carry a

16   Connecticut, you conduct research to ensure that                         16   firearm.

17   you're compliant with that law, correct?                                 17              Isn't it true that there's times where you

18     A.       I did in this particular instance, yes.                       18   live -- that you leave your house and you do not

19     Q.       Are you familiar -- you're familiar with the                  19   carry a firearm with you?

20   assault weapons ban, correct?                                            20     A.       Yeah.

21     A.       Yes.                                                          21     Q.       All right.    So I think I heard on direct

22     Q.       So when you became -- do you own a weapon --                  22   examination that you carry a firearm with you every

23   you own a weapon that would fall within the assault                      23   day, right?

24   weapons ban in Connecticut, right?                                       24     A.       Yes.

25     A.       I do.                                                         25     Q.       But there are times when you leave your house




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 1   and you do not carry a firearm, correct?                                  1     A.       Yes.

 2     A.       That is correct.                                               2     Q.       Now, we discussed very briefly at the

 3     Q.       Okay.   And so you're a military veteran,                      3   beginning here that you had a deposition in

 4   right?                                                                    4   connection with this case and at that -- that

 5     A.       Yes.                                                           5   deposition took place in Hartford at the Office of

 6     Q.       All right.     And you receive your health care                6   the Attorney General, correct?

 7   through the Veteran's Affairs Hospital otherwise                          7     A.       Yes.

 8   known as the VA here in Connecticut; is that not                          8     Q.       And isn't it true that when you left your

 9   right?                                                                    9   home that day, you left your firearm at home?

10     A.       Yes.                                                          10     A.       I did.

11     Q.       And so isn't it true that when you go to the                  11     Q.       And do you recall without speculating the

12   VA here in Connecticut, you leave your firearm at                        12   specific reasons why you stated that you left your

13   home?                                                                    13   firearm at home when you attend the deposition?

14     A.       I do.                                                         14     A.       I'm not sure exactly what I said during the

15     Q.       And the reason you do that is because you                     15   deposition, but --

16   cannot carry on your person a firearm in the VA                          16     Q.       Let me stop you right there.    So the question

17   hospital, right?                                                         17   was without speculating, do you know?

18     A.       You're not permitted to have a firearm on the                 18     A.       You are going to have to start over because

19   property.                                                                19   I've lost track of what you're asking me.

20     Q.       The property meaning the parking lot,                         20     Q.       Sure.    I can ask the question again.

21   correct?                                                                 21              So do you recall without speculating the

22     A.       Correct.     Anything that falls into that                    22   specific reasons that you stated as to why you left

23   envelope of VA property.                                                 23   your firearms at home when you attended your

24     Q.       So when you leave your home to go to the VA                   24   deposition on April 27, 2023?

25   Hospital, you leave your firearm at home, correct?                       25     A.       I would say no, I can't.




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 1           MR. BOCHAIN:     May I approach the witness,                      1     A.       Yes.

 2   Your Honor?                                                               2     Q.       So does that refresh your recollection?

 3           THE COURT:     You may.                                           3     A.       It does.

 4   BY MR. BOCHAIN:                                                           4     Q.       So isn't it true that the first -- you gave

 5     Q.    I'm showing you what has been marked as                           5   two reasons as to why you left your firearm at home;

 6   Plaintiff's Exhibit 15.    Can you just take a moment                     6   is that not right?

 7   to look at that?                                                          7     A.       Well, I think of it as one, but you can call

 8           Have you had a moment to look at that?                            8   it two.

 9     A.    Well --                                                           9     Q.       So we'll just say it's two.     The first reason

10     Q.    Just look at the first page and let me know.                     10   then that you left your firearm at home when you

11     A.    It's my deposition.                                              11   traveled to your deposition was because firearms are

12     Q.    So you're familiar with what that document                       12   prohibited at the Office of the Attorney General,

13   is?                                                                      13   correct?

14     A.    Yes.                                                             14     A.       Correct.

15     Q.    Now, I'm going to ask you to turn to                             15     Q.       And the second reason that you left your

16   page 149, lines 20 to 25, and it's also going to go                      16   firearm at home is really because you didn't know two

17   onto page 150, lines 1 to 2?                                             17   things, first, if you were going to be parking at the

18     A.    Okay.                                                            18   Office of the Attorney General premises, and the

19     Q.    All right.     Did you have a moment to review                   19   second thing is whether that premises where you'd be

20   those lines?                                                             20   parking is a location where firearms are prohibited,

21     A.    You said 22?                                                     21   correct?

22     Q.    So page 149.                                                     22     A.       Yeah.    I see that.   That's what I said.

23     A.    Yup.                                                             23     Q.       All right.    So you left your guns at home

24     Q.    And then it's lines 20 through 25 on 149 and                     24   because you were unsure whether firearms were

25   then onto page 150 lines 1 and 2.                                        25   prohibited at the Office of the Attorney General




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 1   premises where you'd be parking your car on the date                      1   deposition, right?

 2   of your deposition, correct?                                              2     A.       I did.

 3     A.    Yes.                                                              3     Q.       Now, earlier you testify that you have a

 4     Q.    You can keep that in front of you but you can                     4   Connecticut Pistol Permit and you carry that in your

 5   just close that for now.                                                  5   wallet, right?

 6           Now, let me ask this:     So at your deposition,                  6     A.       Yes.

 7   you were represented by Attorney Atkinson, right?                         7     Q.       And that's the only place that you keep it,

 8     A.    Yes.                                                              8   right?

 9     Q.    And he was with you at all times during the                       9     A.       Yes.

10   deposition?                                                              10     Q.       Now, there are times, though, that you do not

11     A.    Yes.                                                             11   carry your wallet on your person, right?

12     Q.    And you were placed under oath much like you                     12     A.       Yes.

13   were today at that deposition, right?                                    13     Q.       And so for example, when you go for a run,

14     A.    Yes.                                                             14   you do not carry your wallet with you, right?

15     Q.    And at the start of the deposition, I asked                      15     A.       That is correct.

16   -- you were asked whether you were under the                             16     Q.       And I think I heard you go for a run about

17   influence of any drugs, correct?                                         17   three to four times per week; is that right?

18     A.    Yes.                                                             18     A.       Yes.

19     Q.    And you were asked whether you were under the                    19     Q.       And when you go for a run, it's around your

20   influence of any alcohol, correct?                                       20   neighborhood, correct?

21     A.    Yes.                                                             21     A.       Yes.

22     Q.    And there was nothing that would have                            22     Q.       And I think you mentioned the Farmington

23   prohibited your ability to think clearly, correct?                       23   Canal Trail, it's very close to your house, isn't it?

24     A.    That's correct.                                                  24     A.       It is.

25     Q.    And you testified truthfully in that                             25     Q.       And you go for runs on the Farmington Canal




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 1   Trail, right?                                                            1     A.       That is correct.

 2     A.       Yes.                                                          2     Q.       In fact, it's never been your practice to

 3     Q.       And the reasons that you run -- go for a run                  3   carry a firearm on your person when you go for a run?

 4   on the Farmington Canal Trail is because of the                          4     A.       Correct.

 5   proximity to where you live and it's visually pretty,                    5     Q.       Now, isn't it also true that there's other

 6   correct?                                                                 6   places that you go to that you don't carry your

 7     A.       Correct.                                                      7   firearm?

 8     Q.       So you don't need to run there, you just                      8     A.       Yes.

 9   chose to do so because of those reasons, correct?                        9     Q.       All right.   In fact, as a gun owner, you

10     A.       Correct.                                                     10   sometimes choose not to carry a firearm on your

11     Q.       And isn't it true that you do not carry your                 11   person because there are certain places where you

12   firearm on your person when you do not have your                        12   can't have a firearm; isn't that right?

13   pistol permit on you?                                                   13     A.       That is correct.

14     A.       Yes.    That is correct.                                     14     Q.       So for example, at Financial Resources Group,

15     Q.       So you do not carry it when you have your --                 15   you don't bring a gun to Webster Bank, correct?

16   when you don't have a pistol permit on you, right?       I              16     A.       That is correct.

17   just want to be clear about that?                                       17     Q.       And you go into that office five times per

18     A.       Which one are you referring to, the gun or                   18   week, right?

19   the pistol permit?                                                      19     A.       Generally, yes.

20     Q.       You do not carry a firearm on your person                    20     Q.       I'm going to ask you to take a look at

21   when you do not have your pistol permit on you,                         21   deposition -- your transcript in front of you there,

22   right?                                                                  22   page 27 to 28.

23     A.       That is correct.                                             23     A.       All right.   I'm on that page.

24     Q.       And isn't it also true that you never carry a                24     Q.       Lines 2 to 3, isn't it true that you go into

25   firearm on your person when you go for a run?                           25   the office five days per week?




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 1     A.       What page are you referring to?                               1   their functions, correct?

 2     Q.       Page 28.     I'm sorry.                                       2     A.       That is correct.

 3     A.       Twenty-eight, okay.       Yes.                                3     Q.       Now, you have two brothers; is that not

 4     Q.       All right.     So -- and that's what you                      4   right?

 5   testified in your deposition?                                            5     A.       I do.

 6     A.       Yeah.                                                         6     Q.       And they both live in Hamden, Connecticut,

 7     Q.       So it's five days per week you go into the                    7   right?

 8   office?                                                                  8     A.       Yes.

 9     A.       Yes.                                                          9     Q.       And you visit the home of one of those

10     Q.       And you never carry your gun when you go into                10   brothers once per month, correct?

11   the office, right?                                                      11     A.       Yes.

12     A.       That is correct.                                             12     Q.       And when you go to that brother's house, the

13     Q.       And the reason for that is Webster Bank                      13   one that you visit once per month, isn't it true you

14   prohibits firearms on their premises, right?                            14   don't carry a firearm into that house?

15     A.       That is correct.                                             15     A.       That is correct.

16     Q.       And Webster Bank had a holiday party in                      16     Q.       And the reason you don't carry a firearm into

17   December 2002 at a brewery in Southington, correct?                     17   that house is because your sister-in-law, so your

18     A.       Yes.                                                         18   brother's wife, prohibits guns in their house, right?

19     Q.       And you didn't carry your firearm to that                    19     A.       That is correct.

20   holiday party, correct?                                                 20     Q.       And you always honor that request, don't you?

21     A.       I didn't carry it inside, no.                                21     A.       I do.

22     Q.       I'm sorry?                                                   22     Q.       And you have a girlfriend, do you not?

23     A.       I did not carry it inside, no.                               23     A.       Yes.

24     Q.       And the reason you didn't carry it is because                24     Q.       Her first name is Colleen, right?

25   Webster Bank prohibits you from carrying a firearm at                   25     A.       Yes.




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 1     Q.       And she has a son, correct?                                    1     A.    That is correct.

 2     A.       Yes.                                                           2     Q.    And that's because you can't bring a gun into

 3     Q.       Now, you -- when you go to pick up the son at                  3   a courthouse, right?

 4   school, you don't bring your gun there, correct?                          4     A.    Correct.

 5     A.       That is correct.                                               5     Q.    And in the past, you've seen signs in various

 6     Q.       And isn't -- and Colleen has family down in                    6   places that say no guns allowed, right?

 7   Florida, right?                                                           7     A.    Yes.

 8     A.       Yes.                                                           8     Q.    And so when you've seen those signs, you

 9     Q.       And you visit her family occasionally, do you                  9   comply with them, don't you?

10   not?                                                                     10     A.    Yes.

11     A.       Yes.                                                          11     Q.    Now, I want to circle back, if I can to

12     Q.       And you leave your gun at home when you go                    12   social -- let me ask it this way -- withdrawn.

13   visit the family, correct?                                               13           When you go visit your brother, it's for

14     A.       I do.                                                         14   social gatherings, right?

15     Q.       I think you also mentioned on the direct                      15     A.    Yes.

16   there's certain places that you don't go to with your                    16     Q.    And so you're familiar with a family with the

17   gun.   I can't recall.     But you don't take your gun to                17   last name Greens, right?

18   a post office, right?                                                    18     A.    Yes.

19     A.       No.                                                           19     Q.    They're friends of yours, right?

20     Q.       When you go to vote, you don't bring a gun,                   20     A.    Yes.

21   correct?                                                                 21     Q.    And you occasionally go to their house for

22     A.       Correct.                                                      22   dinner, don't you?

23     Q.       And when you visited your brother at a                        23     A.    Yes.

24   courthouse in the past, you haven't brought a gun                        24     Q.    But you bring your gun to their house, don't

25   there, correct?                                                          25   you?




                                                              195                                                                          196


 1     A.       I do.                                                          1     A.    It does.

 2     Q.       Now, if the Greens were to ask you not to                      2     Q.    All right.     So isn't it true that you said

 3   carry a gun in their house, you would not do so,                          3   that would be trespassing if you brought a gun into

 4   isn't that right?                                                         4   their house, correct, against their wishes?

 5     A.       That is correct.                                               5     A.    I did say that.

 6     Q.       And you would not bring a gun into their                       6     Q.    If you went to a restaurant while you were

 7   house because you want to respect their request,                          7   carrying a firearm and the restaurant's owner told

 8   don't you?                                                                8   you that there were no guns allowed, isn't it true

 9     A.       That is correct.                                               9   that you wouldn't bring your firearm to that

10     Q.       And if you brought a gun into their house                     10   restaurant?

11   against their wishes, that would be trespassing,                         11     A.    That is correct.

12   wouldn't it?                                                             12     Q.    In fact, you'd leave your firearm in the car

13     A.       It would.                                                     13   under those circumstances, wouldn't you?

14     Q.       It would?                                                     14     A.    Yes.

15     A.       It would be trespassing.    Well, once they ask               15     Q.    And if that restaurant owner saw you with a

16   me to leave, I believe that would be the trespass.                       16   gun and asked you to leave because they said no guns

17     Q.       I'm going to ask you to take a look at                        17   allowed on the premises, you would leave, wouldn't

18   page 159 of your deposition, please.                                     18   you?

19     A.       159?                                                          19     A.    I would.

20     Q.       159, correct.                                                 20     Q.    Now, do you recall being asked a similar

21     A.       Line 7?                                                       21   question during your deposition about why you would

22     Q.       Correct.    So isn't it true that you testified               22   leave your firearm in the car if that restaurant's

23   -- well, does that refresh your recollection of what                     23   owner told you that no guns were allowed?

24   you said in response to that question at your                            24     A.    I don't recall that question, no.

25   deposition?                                                              25           THE COURT:     I'm sorry.   What was your answer?




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 1             THE WITNESS:     I don't recall that.                               1   isn't it true would you not carry a firearm or

 2   BY MR. BOCHAIN:                                                               2   handgun, a handgun or a pistol, into any Connecticut

 3     Q.      All right.     If you can look at your                              3   state park or forest?

 4   deposition transcript there, I'm going to ask you to                          4              MR. ATKINSON:     Objection, Your Honor.   It

 5   turn to page 159 again, lines 22 to 25, and then it's                         5   seems very vague of a question to me.

 6   going to carry onto 160 to line 1.      Let me know when                      6              THE COURT:     Why don't you ask the question

 7   you've had a chance to review that.                                           7   straight out.      If the deposition is inconsistent with

 8     A.      So again, we're on page 159?                                        8   it, you can use that to --

 9     Q.      Yeah.     159, lines -- let's go 22 to 25 and                       9              MR. BOCHAIN:     I was actually -- I can ask it

10   then onto line 1 on page 160.                                                10   into two questions, Your Honor.

11     A.      Okay.                                                              11   BY MR. BOCHAIN:

12     Q.      Okay.     Have you had a chance to review that?                    12     Q.       So isn't it true that you would not carry a

13     A.      Yes.                                                               13   handgun or pistol into a Connecticut state park or

14     Q.      All right.     Does that refresh your                              14   forest?

15   recollection as to why you said you wouldn't bring                           15     A.       It is true --

16   it?    And I'll ask the follow-up question.       I'm just                   16     Q.       Yes or no?

17   asking if that refreshes your recollection.                                  17     A.       That is true.

18     A.      It does.                                                           18     Q.       And didn't you testify on direct examination

19     Q.      Okay.     So isn't it true that the reasons                        19   that you made a determination that you will not bring

20   you'd leave your firearm in your car under those                             20   a gun into any state park or forest while the

21   circumstances is because it's the restaurant owner's                         21   regulation is on the books?

22   property and if you wanted to stay, you would have to                        22     A.       Correct.

23   follow his rules?                                                            23     Q.       So you don't carry a firearm on your person

24     A.      Yes.     That's correct.                                           24   when you go to a post office, right?

25     Q.      I think I heard you say this on direct, but                        25     A.       Correct.




                                                                  199                                                                             200


 1     Q.      You don't carry a firearm when you go to a                          1   about bringing guns --

 2   school, right?                                                                2     A.       Yes.

 3     A.      Right.                                                              3     Q.       Thank you.

 4     Q.      You don't carry a firearm when you go to a                          4              You don't carry a firearm at your brother's

 5   government building, right?                                                   5   house, right?

 6     A.      Correct.                                                            6     A.       Correct.

 7     Q.      You wouldn't carry a firearm on your person                         7     Q.       And isn't it true that you would not carry a

 8   into a restaurant if the restaurant's owner said that                         8   firearm and you don't carry a firearm into

 9   firearms are prohibited, right?                                               9   Connecticut state parks and forests, correct?

10     A.      That is correct.                                                   10     A.       Correct.

11     Q.      You'd also leave the restaurant if the                             11     Q.       And isn't it true that you would not carry a

12   restaurant's owner asked you to leave the                                    12   firearm in any of those locations I just mentioned?

13   establishment because you had a gun, right?                                  13     A.       Correct.

14     A.      Correct.                                                           14     Q.       Now, I want to switch gears if I can.      I know

15     Q.      You don't carry a firearm when you go to work                      15   there was some discussion about the regulation at

16   in your office which is located in Webster Bank,                             16   issue here which is Section 23-4-1(c).       That

17   right?                                                                       17   regulation has never been enforced against you,

18     A.      When I go into the office, that's correct.                         18   correct?

19     Q.      You don't carry a firearm when you go to work                      19     A.       Correct.

20   functions, correct?                                                          20     Q.       And you're familiar with the Environmental

21     A.      When I what?                                                       21   Conservation Police, correct?

22     Q.      You do not carry a firearm when you go to                          22     A.       I am.

23   work functions hosted by Webster Bank, right?                                23     Q.       And you're aware that they are the law

24     A.      I don't carry them in those function.                              24   enforcement arm of the Department of Energy and

25     Q.      That's because Webster Bank has a prohibition                      25   Environmental Protection, right?




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 1     A.       Yes.                                                               1     A.       It would.

 2     Q.       And they had never threatened you with                             2     Q.       Okay.    If you could turn to page 181 on the

 3   enforcement of that regulation, correct?                                      3   deposition transcript there and lines 11 through 13.

 4     A.       Correct.                                                           4     A.       I see that, yes.

 5     Q.       No police officer has threatened you with                          5     Q.       So isn't it true that you have not visited

 6   enforcement of that regulation, correct?                                      6   the Naugatuck State Forest within the past 12 months?

 7     A.       Correct.                                                           7     A.       Yes.

 8     Q.       Now, there was some discussion about the                           8     Q.       Now, I think I heard you correctly, over the

 9   state parks and forests that -- two state parks that                          9   past two years, you visited Sleeping Giant State Park

10   you go to and one state forest, the two state parks,                         10   approximately, you said, once a month; is that

11   Sleeping Giant State Park and the Farmington Canal                           11   correct?

12   Trail, right?                                                                12     A.       I believe that's correct.

13     A.       Yes.                                                              13     Q.       So would it be about eight -- 10 to 12 times

14     Q.       And the third is the Naugatuck State Forest,                      14   maybe in a two-year period, past two years?

15   right?                                                                       15     A.       I think I missed the math on that.

16     A.       Yes.                                                              16              THE COURT:     Once a month for a two-year

17     Q.       Okay.   Over the past 12 months, you have not                     17   period is a lot more than 10 to 12.

18   visited the Naugatuck State Forest, isn't that                               18              MR. BOCHAIN:     I'm not greatest at math, Your

19   correct?                                                                     19   Honor.     I apologize.

20     A.       I don't believe so.                                               20              THE COURT:     There are 12 months in a year.

21     Q.       The answer is no?                                                 21              MR. BOCHAIN:     Yeah.   I apologize, Your Honor.

22     A.       To the best of my recollection, I don't think                     22   BY MR. BOCHAIN:

23   in the last 12 months.                                                       23     Q.       Let me ask it this way:      You visited Sleeping

24     Q.       Okay.   If I showed you something, would that                     24   Giant approximately 12 times in 2023, correct?

25   refresh your recollection?                                                   25     A.       Correct.




                                                                  203                                                                              204


 1     Q.       And isn't it true that visited Sleeping Giant                      1              MR. BOCHAIN:     Okay.   If I needed some more

 2   State Park approximately eight times in 2022?                                 2   time?

 3     A.       I think that's correct.                                            3              THE COURT:     Yes.   If you need time, you'll

 4     Q.       And I think I heard correctly on direct, but                       4   get it tomorrow.

 5   you don't have any plans, specific plans to visit                             5              MR. BOCHAIN:     Thank you, Your Honor.   I'm

 6   Sleeping Giant State Park, correct, in the future,                            6   trying to move quickly here.

 7   correct?                                                                      7   BY MR. BOCHAIN:

 8     A.       That is correct, yup.                                              8     Q.       Have you had a -- Exhibit 141 in that binder,

 9     Q.       And you visited the Farmington Canal Trail                         9   if you can just turn to it.

10   approximately -- is it two to four times per week?                           10     A.       Yes.    I have it.

11   Is that you said?                                                            11     Q.       All right.     And that has been admitted as a

12     A.       That is correct, yes.                                             12   full exhibit just for the Court's convenience.

13     Q.       Now, I'd like to draw your attention to                           13              Are you familiar with that document?

14   Defendant's Exhibit 141 which is --                                          14     A.       Yes.

15              MR. BOCHAIN:     If I can just approach the                       15     Q.       Okay.    And what is it?

16   witness, Your Honor.                                                         16     A.       It is a list of all state parks in

17              THE COURT:     You may.                                           17   Connecticut.

18              MR. BOCHAIN:     Your Honor, I see we're coming                   18     Q.       So you're familiar with that, correct?

19   up on four o'clock.       I've been trying to move quickly                   19     A.       Yes.

20   for Your Honor.                                                              20     Q.       Now, you see it's in alphabetical order and

21              THE COURT:     Thank you.   We really are going                   21   so you see the Farmington Canal State Park Trail, the

22   to stop at four o'clock.                                                     22   Naugatuck State Forest, and Sleeping Giant State Park

23              MR. BOCHAIN:     I understand, Your Honor.                        23   on that list?

24              THE COURT:     And we can go till five tomorrow.                  24     A.       Yes.

25   The calendar is okay if you need it.                                         25     Q.       Do you see Bigelow Hollow State Park in Union




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 1   on that list?    It's in alphabetical order.                             1   that location in the past ten years?

 2     A.    Yes.                                                             2     A.     That is true, yeah.

 3     Q.    You've never been there before, right?                           3     Q.     Isn't it true that you have no specific plans

 4     A.    No.                                                              4   to go there this summer?

 5     Q.    Isn't it true you have no specific plans to                      5     A.     That is true.

 6   go there this summer?                                                    6     Q.     You also don't have any specific plans to go

 7     A.    That is correct.                                                 7   there in the future; isn't that correct?

 8     Q.    You also don't have any specific plans to go                     8     A.     That is true.

 9   there in the future; isn't that right?                                   9     Q.     At the time you filed your complaint in this

10     A.    Correct.                                                        10   case, you did not have any specific plans to visit

11     Q.    And at the time you filed in this case, you                     11   Dinosaur State Park, right?

12   did not have any specific plans to visit Bigelow                        12     A.     That is correct.

13   Hollow State Park, correct?                                             13     Q.     All right.   Do you see Fort Griswold on that

14     A.    Correct.                                                        14   list in Groton?

15     Q.    Do you see Dinosaur State Park on that list                     15     A.     I do.

16   in Rocky Hill?                                                          16     Q.     You have not visited that location in the

17     A.    I do.                                                           17   past ten years either, right?

18     Q.    And you haven't visited that location within                    18     A.     Correct.

19   the past ten years, right?                                              19     Q.     And isn't it true that you have no specific

20     A.    That one was the one I wasn't sure about.                       20   plans to go there this summer?

21     Q.    I'm going to have you turn to page 192.     You                 21     A.     Correct.

22   also have your deposition transcript in front of you                    22     Q.     You don't have any specific plans to go there

23   and I'm going to ask you to take a look at that.                        23   in the future; isn't that right?

24     A.    Yeah.    I do see that.                                         24     A.     Correct.

25     Q.    So isn't it true that you haven't visited                       25     Q.     And at the time you filed your complaint in




                                                             207                                                                         208


 1   this case, you did not have any specific plan to                         1     Q.     The answer is yes or no?

 2   visit Fort Griswold, right?                                              2     A.     No.

 3     A.    That is correct.                                                 3     Q.     So you haven't been there in more than ten

 4     Q.    Do you see Fort Trumbull in New London on                        4   years?

 5   that list?                                                               5     A.     Correct.

 6     A.    I do.                                                            6     Q.     Isn't it true that you have no specific plans

 7     Q.    And you have no recollection of going there                      7   to go there this summer?

 8   before, right?                                                           8     A.     That is true.

 9     A.    That's correct.                                                  9     Q.     And you don't have any specific plans to go

10     Q.    Isn't it true that you have no specific plans                   10   there in the future; isn't that right?

11   to go there this summer?                                                11     A.     That is correct.

12     A.    That is correct.                                                12     Q.     You -- at the time you filed your complaint

13     Q.    And you also don't have any specific plans to                   13   in this case, you did not have any specific plans to

14   go there in the future; isn't that right?                               14   visit Hammonasset Beach State Park, right?

15     A.    That is correct.                                                15     A.     That is correct.

16     Q.    And at the time you filed your complaint in                     16     Q.     Do you see Harkness Memorial State Park in

17   this case, you did not have any specific plans to                       17   Waterford, Connecticut on this list?

18   visit Fort Trumbull, right?                                             18     A.     I do.

19     A.    That is correct.                                                19     Q.     You've never been to Harkness Memorial State

20     Q.    Do you see    Hammonasset Beach State Park on                   20   Park before; isn't that right?

21   that list in Madison?                                                   21     A.     Correct.

22     A.    Yes.                                                            22     Q.     Isn't it true that you have no specific plans

23     Q.    And you have not visited Hammonasset Beach                      23   to go there this summer?

24   State Park in more than ten years; isn't that right?                    24     A.     That is correct.

25     A.    I don't believe so.                                             25     Q.     And you also don't have any specific plans to




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 1   go there in the future; isn't that right?                                  1                    C E R T I F I C A T E

 2     A.     That is correct.                                                  2

 3     Q.     And at the time you filed your complaint in                       3          RE:     DAVID J. NASTRI v. KATIE DYKES
                                                                                                     No. 3:23-cv-00056-JBA
 4   the case, you did not have any specific plans to                           4

 5   visit Harkness Memorial State Park, correct?                               5                I hereby certify that the within and

 6     A.     That is correct.                                                  6   foregoing is a true and accurate transcript taken in

 7     Q.     So let's put aside Farmington Canal State                         7   the aforementioned matter to the best of my skill and

 8   Park, Naugatuck State Forest and Sleeping Giant State                      8   ability.

 9   Park, the locations we have discussed.       Isn't it true                 9

10   that within the past 12 months, you have not visited                      10                    /s/ Corinne T. Thomas

11   any of the other location on the list?                                    11                    CORINNE T. THOMAS, RPR
                                                                                                     Official Court Reporter
12     A.     That is correct.                                                 12                 United States District Court
                                                                                                        141 Church Street
13     Q.     Isn't it true that you have no specific plans                    13                New Haven, Connecticut 06510
                                                                                                          (203) 809-0848
14   to visit any of those locations other than the three                      14

15   that we just mentioned?                                                   15

16     A.     That is correct.                                                 16

17     Q.     So you have no intention of visiting any of                      17

18   those other state parks or forests, correct?                              18

19     A.     Yes.                                                             19

20            THE COURT:     Are you going to a new subject?                   20

21            MR. BOCHAIN:     It might be a good time to                      21

22   break.                                                                    22

23            THE COURT:     Very good.    I'll see you tomorrow               23

24   then at ten o'clock.     Thank you.                                       24

25            (Proceedings adjourned, 3:59 p.m.)                               25




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 1                 UNITED STATES DISTRICT COURT                                1   For the Defendant:
                      DISTRICT OF CONNECTICUT
 2                                                                             2            OFFICE OF THE ATTORNEY GENERAL
                                                                                                 165 Capitol Avenue
 3   ____________________________                                              3                 Hartford, CT 06106
                                  )                                                              (860) 808-5296
 4   DAVID NASTRI,                )                                            4                 E-mail: blake.sullivan@ct.gov
                                  ) No. 3:23-cv-00056-JBA                                                 thadius.bochain@ct.gov
 5                  Plaintiff,    )                                            5                          timothy.holzman@ct.gov
                                  ) May 10, 2023                                            BY: BLAKE THOMAS SULLIVAN, ESQ.
 6   v.                           )                                            6                 THADIUS LATIMER BOCHAIN, ESQ.
                                  ) 10:06 a.m.                                                   TIMOTHY J. HOLZMAN, ESQ.
 7                                )                                            7
     KATIE DYKES,                 ) 141 Church Street
 8                                ) New Haven, Connecticut                     8
                    Defendant.    )
 9   _____________________________)                                            9

10                                                                            10

11               PRELIMINARY INJUNCTION HEARING                               11
                            VOLUME II
12                                                                            12

13   B E F O R E:                                                             13

14              THE HONORABLE JANET BOND ARTERTON, U.S.D.J.                   14

15                                                                            15

16   A P P E A R A N C E S:                                                   16

17   For the Plaintiff:                                                       17

18         ATKINSON LAW, LLC                                                  18
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21         BY: CAMERON LEE ATKINSON, ESQ.                                     21

22                                                                            22

23   (Continued)                                                              23

24                                                                            24
                       Corinne Thomas, RPR
25                   Official Court Reporter                                  25
                          (203) 809-0848




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 1                          I N D E X                                          1              (Call to Order, 10:06 a.m.)

 2   WITNESS:    DAVID NASTRI                            PAGE                  2              THE COURT:     Good morning, counsel, ladies and

 3   Continued Cross Examination by Mr. Bochain          214                   3   gentlemen.    Please be seated.     We are ready to resume

 4   Redirect Examination by Mr. Atkinson                221                   4   our hearing in Nastri v. Dykes, 23-cv-56.

 5   Recross Examination by Mr. Bochain                  235                   5              And I will invite Mr. Nastri to return to the

 6                                                                             6   stand for further cross-examination recalling, sir,

 7   WITNESS:    CHRISTOPHER LEWIS                       PAGE                  7   that you are under oath.

 8   Direct Examination by Mr. Atkinson                  240                   8              All right.     Mr. Bochain, you may proceed.

 9   Cross-Examination by Mr. Bochain                    291                   9   I've jumped right into this because I didn't -- I

10   Redirect Examination by Mr. Atkinson                332                  10   didn't ask if you have what you call housekeeping

11   Recross-Examination by Mr. Bochain                  345                  11   issue.    Do you have housekeeping issues?

12   Further Direct Examination by Mr. Atkinson          348                  12              MR. BOCHAIN:     I don't believe we have any

13   Further Cross-Examination by Mr. Bochain            349                  13   housekeeping issues, but I will defer if we do.

14                                                                            14              MR. ATKINSON:     I will just note that it was

15                                                                            15   not said on the record before we closed yesterday,

16                                                                            16   but after we adjourned, I did advise Mr. Nastri not

17                                                                            17   that he was -- that he was still under oath and not

18                                                                            18   to discuss his testimony while he was still under

19                                                                            19   oath with anybody.      So I just wanted to make the

20                                                                            20   Court aware that even though that wasn't admitted on

21                                                                            21   the record, he did get that advisement from me.

22                                                                            22              THE COURT:     Thank you very much.

23                                                                            23              CONTINUED CROSS-EXAMINATION OF DAVID NASTRI

24                                                                            24   BY MR. BOCHAIN:

25                                                                            25     Q.       Good morning, again, Mr. Nastri.




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 1     A.       Good morning.                                                  1   yesterday at some point in the future.       Do you recall

 2     Q.       Again, it's Thadius Bochain on behalf of                       2   that testimony?

 3   commissioner Katie Dykes.       So I just wanted to go                    3     A.       The specific parks that you pointed out, not

 4   over, kind of a refresher of where we left off                            4   the ones that I have already identified.

 5   yesterday in case you forgot.       So what we were                       5              MR. BOCHAIN:     Let's do it this way.   If I can

 6   talking about, where we ended was various locations                       6   just approach the witness, Your Honor.

 7   in the Connecticut state park and forest system that                      7              THE COURT:     You may.

 8   you do not go to.       Do you recall that?                               8   BY MR. BOCHAIN:

 9     A.       I do.                                                          9     Q.       I'm showing you what has been -- if you just

10     Q.       And you recall that you testified that you do                 10   turn to Defense Exhibit 141, please.

11   not carry your gun in various locations, right?                          11     A.       Yes.

12     A.       I do.                                                         12     Q.       All right.     And so yesterday, I had asked

13     Q.       And you recall that one of those locations                    13   you -- I want to make sure you get there.       Do you see

14   was -- you don't carry it in a state park or forest,                     14   it?

15   correct?                                                                 15     A.       Yes, I do.

16     A.       That is correct.                                              16     Q.       So I had asked you some questions about --

17     Q.       And you wouldn't carry it in a state park or                  17   there's quite a few parks on this list, correct?

18   forest, correct?                                                         18     A.       Yes.

19     A.       Correct.                                                      19     Q.       And we had been discussing three particular

20     Q.       And so what I'd like do, I had asked you some                 20   parks:     Naugatuck State Forest, Sleeping Giant State

21   questions about parks that you had visited within the                    21   Park and Farmington Canal, correct?

22   past 12 months and I think I had asked you the                           22     A.       Yes.

23   question of whether or not you had any specific plans                    23     Q.       I had also asked you some questions about all

24   to go to any of the state parks or forests that were                     24   of the other parks on this list, right?

25   on -- that was on the list that I had showed you                         25     A.       Yes.




                                                              217                                                                            218


 1     Q.       All right.    And so you recall testifying that                1     A.       Yes.

 2   you have no plans in the future to visit any of these                     2     Q.       And it gets crowded pretty frequently in the

 3   other state parks or forests on that list at some                         3   summer months, correct?

 4   point in the future, correct?                                             4     A.       Yes.

 5     A.       That is correct, yes.                                          5     Q.       And so you avoid it at that time, correct?

 6     Q.       And I just wanted to clarify a couple of                       6     A.       When it's crowded, yes.

 7   points on that, if I may.                                                 7     Q.       Now, I believe you testified on direct

 8              And so at the time that you filed this                         8   examination yesterday that you learned of the

 9   complaint -- the complaint in this lawsuit, you had                       9   existence of Section 23-4-1(c), which is the

10   no specific plans to visit any of those other state                      10   regulation at issue in this case, you testified that

11   parks and forests, correct?                                              11   you learned of the existence of that regulation on

12     A.       That is correct.                                              12   November 16th or November 17, 2022; is that not

13     Q.       And today, you have no specific plans to                      13   correct?

14   visit any of those state parks and forests, correct?                     14     A.       Yes.

15     A.       That is also correct.                                         15     Q.       But since learning of that regulation's

16     Q.       All right.    Now, I'd like to, if I could                    16   existence, you've continued to use the Farmington

17   just, circle back to the Farmington Canal State Park                     17   Canal Trail, right?

18   Trail.     And you testified that you go jogging on that                 18     A.       Yes.

19   trail, correct?                                                          19     Q.       And in fact, you've used it in the week of

20     A.       Yes.                                                          20   your deposition, which would have been April 24,

21     Q.       And you do that about three to four times a                   21   2023, you used it a few times, correct?

22   week, right?                                                             22     A.       I believe I did, yes.

23     A.       Yes.                                                          23     Q.       Do you recall?

24     Q.       And isn't it also true that you tend to avoid                 24     A.       I know I used it.     I don't remember what the

25   the Farmington Canal Trail when it gets crowded?                         25   dates are.




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 1     Q.    But you recall that you had used it a few                         1   correct?

 2   times at the time?                                                        2     A.       Yes.

 3     A.    Yes.                                                              3     Q.       And I think he also asked you a similar

 4     Q.    Or that week of the deposition, correct?                          4   question about Naugatuck State Forest.     Do you

 5     A.    I do, yes.                                                        5   remember that?

 6     Q.    Now, I believe you testified during direct                        6     A.       I do.

 7   examination that -- Attorney Atkinson had asked you                       7     Q.       And you testified that you do not have any

 8   some questions about whether you had planned visits                       8   specific plans to visit Naugatuck State Forest in the

 9   on your calendar.    Do you remember that?                                9   future, correct?

10     A.    Say that again.                                                  10     A.       Also correct.

11     Q.    Do you recall that Attorney Atkinson                             11     Q.       Yesterday you testified -- I believe you

12   yesterday during direct examination asked you some                       12   testified that you -- do you recall testifying about

13   questions about whether you planned visits and put                       13   a U4 report in connection with your employment as a

14   them on your calendar for Farmington Canal Trail.     Do                 14   wealth advisor?     Do you recall that testimony?

15   you remember that?                                                       15     A.       Yes, I do.

16     A.    Yes.                                                             16     Q.       And I believe you testified that that report

17     Q.    And you testified, correct, that you don't                       17   documents violations of certain kind, correct?

18   have any specific plans on your calendar, correct?                       18     A.       It is a full record of your employment

19     A.    That is also correct.                                            19   licenses you hold, but it does include violations and

20     Q.    And he also asked you some questions --                          20   complaints.

21   similar question about planned visits to Sleeping                        21     Q.       Okay.   And I believe you testified on direct

22   Giant State Park, correct?                                               22   examination that you feared that a violation of

23     A.    Yes.                                                             23   Section 23-4-1(c) might show up on that U4 form,

24     Q.    And you testified that you do not have any                       24   correct?

25   specific plans to visit Sleeping Giant State Park,                       25     A.       It would be reportable, yes.




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 1     Q.    But isn't it true that you have no plans to                       1   asking you some questions about leaving your gun at

 2   bring a gun to a state park or forest?                                    2   home when you go to the VA?

 3     A.    That is correct.                                                  3     A.       I do.

 4     Q.    So it's really a hypothetical that that would                     4     Q.       And do you also recall explaining why you

 5   show up on a form, correct?                                               5   left -- leave your gun at home when you go to the VA?

 6     A.    It's not hypothetical that --                                     6     A.       I do, yes.

 7     Q.    Yes or no, please.                                                7     Q.       Can you repeat that reason for us?

 8     A.    If I was found in violation, that it would go                     8     A.       Having a firearm on VA property is a

 9   on my U4.                                                                 9   violation, so I can't even lock it in my car.       I have

10     Q.    But you're never going to bring a gun to a                       10   to leave it at home.

11   state park or forest, correct?                                           11     Q.       And just to make the record clear that the

12     A.    I will not do so as long as this prohibition                     12   parking lot at the VA, is that considered part of the

13   is in place.                                                             13   VA premises?

14           MR. BOCHAIN:     If I can just have one moment,                  14     A.       Yes, it is.

15   Your Honor.                                                              15     Q.       And your understanding is you're not

16           THE COURT:     Yes.                                              16   permitted to have a firearm on that property?

17           MR. BOCHAIN:     Nothing further at this time,                   17     A.       That is correct.

18   Your Honor.                                                              18     Q.       When you go to another place where a firearm

19           THE COURT:     Redirect.                                         19   is not permitted, another building per se, do you

20           MR. ATKINSON:     Yes, Your Honor.                               20   always leave your firearm at home?

21          REDIRECT EXAMINATION OF DAVID NASTRI                              21     A.       No.

22   BY MR. ATKINSON:                                                         22     Q.       If you're aware that you're going into a

23     Q.    Good morning, Mr. Nastri.                                        23   building where a firearm is not permitted, what do

24     A.    Good morning.                                                    24   you do with your firearm?

25     Q.    Do you recall yesterday Attorney Bochain                         25     A.       I lock it in a gun safe in my vehicle.




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 1     Q.      When you -- you've also testified that you've                      1   trails in the park?

 2   visited three state parks, the Farmington River Canal                        2     A.       It is on the north side of the parking lot as

 3   Trail, the Sleeping Giant State Park, and the                                3   you come into the park.

 4   Naugatuck State Forest.                                                      4     Q.       Would it be fair to describe that sign as

 5             When you visited the Sleeping Giant State                          5   being located at what's known as a trail head?

 6   Park over the past year, did you see any signs at the                        6              MR. BOCHAIN:     Objection, Your Honor.

 7   state park saying no guns?                                                   7   Leading.

 8     A.      I did.                                                             8              MR. ATKINSON:     I can rephrase, Your Honor.

 9     Q.      When did you see that sign?                                        9   BY MR. ATKINSON:

10     A.      I believe it was on a visit in March of this                      10     Q.       Where is that sign located more specifically,

11   year.    We had gone for a hike and I specifically was                      11   Mr. Nastri?

12   searching for some notice that firearms were not                            12     A.       There are two parking lots when you enter the

13   permitted in the park.                                                      13   park.    The first one is in the -- I'm trying to think

14     Q.      And that's -- just so the record's clear,                         14   of the cardinal direction.       It would be on the south

15   when you say, "March," that's March of this year,                           15   side of the park.       And from there, there's a road

16   2023?                                                                       16   that goes up into a larger parking lot and then up to

17     A.      That's correct.                                                   17   the northeast is where the trails begin, and this

18     Q.      Prior to noticing it in March of 2023, had                        18   sign is between that first parking lot and when the

19   you ever noticed it at Sleeping Giant State Park?                           19   trails begin.

20     A.      No.                                                               20     Q.       So if I'm understanding your testimony

21     Q.      Where did you find the sign?                                      21   correctly, you -- would you go in and you would park

22     A.      There was posted regulations on the back side                     22   your vehicle first?

23   of the sign that has the maps for the trails in the                         23     A.       Yes.

24   park.                                                                       24     Q.       And then would you go -- would you start

25     Q.      Where is the sign that has the maps for the                       25   walking to where the attractions would be?




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 1     A.      Yes.                                                               1   relationship to cross-examination?

 2     Q.      And as you're walking to where the                                 2              MR. ATKINSON:     There has been testimony

 3   attractions would be?                                                        3   elicited when Mr. Nastri first became aware of the

 4             THE COURT:     I'm sorry.     What's a "traction"?                 4   regulations at issue in this case.          He had been

 5             MR. ATKINSON:        I'll piece that out, Your                     5   visiting state parks and forests for quite some time

 6   Honor.                                                                       6   and he's been asked repeatedly of when he learned

 7   BY MR. ATKINSON:                                                             7   about the regulation.       So I'm simply exploring where

 8     Q.      Mr. Nastri, we just talked about the                               8   the times that he could have learned of the

 9   attractions.      What is your understanding of the                          9   regulations and the state didn't make it available to

10   activities that you may pursue at Sleeping Giant                            10   him.

11   State Park?                                                                 11              MR. BOCHAIN:     Your Honor, and I believe -- if

12             THE COURT:     You were saying "attraction."      Is              12   I may, I believe that has -- he's already testified

13   that the word you were using, "attraction"?                                 13   as to when he became aware of that.

14             MR. ATKINSON:        I'm sorry.                                   14              THE COURT:     He became aware on November 26,

15             THE COURT:     I thought you were just saying                     15   '22.    Is your question how did he become aware?

16   "traction" and I did not recognize that word.         Go                    16              MR. ATKINSON:     My question, I believe he's

17   ahead.                                                                      17   testified to how he became aware of it yesterday.

18             MR. ATKINSON:        Do you need me to flush it                   18   What I'm trying to explore is why he didn't become

19   out?                                                                        19   aware of it sooner.

20             THE COURT:     No.     I got it.                                  20              THE COURT:     I'll permit it.    Go ahead.

21             MR. BOCHAIN:     Your Honor, I do have an                         21              MR. ATKINSON:     Thank you.

22   objection.      I've given a little bit of leeway here                      22   BY MR. ATKINSON:

23   but this is going outside the scope of                                      23     Q.       So Mr. Nastri, we were discussing where the

24   cross-examination.                                                          24   exact location of the sign was at Sleeping Giant

25             THE COURT:     What is your claim as to its                       25   State Park and you had testified, if I understand you




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 1   correctly, is it was on the way as you were walking                         1   the back of that sign?

 2   from the parking lot to the attractions in the park,                        2     A.    Not until that day I just mentioned in March.

 3   correct?                                                                    3     Q.    When you're leaving, when you're walking back

 4     A.       Yes.                                                             4   to the parking lot at Sleeping Giant State Park, can

 5     Q.       Approximately how far a -- how far of a walk                     5   you see the back of that sign as you're walking back

 6   is it from the parking lot that you -- the parking                          6   to the parking lot?

 7   lots that you described to that sign?                                       7     A.    Yes.

 8     A.       No more than maybe 25 meters.                                    8     Q.    Okay.   Prior to the day you went around and

 9     Q.       And for those of us who aren't familiar with                     9   looked at that sign, had you ever looked at the back

10   the metric system, can you give that to us in yards?                       10   of that sign as you were leaving Sleeping Giant State

11     A.       Approximately 25 yards.                                         11   Park?

12     Q.       Okay.    Can you describe what the sign looks                   12     A.    No.

13   like to us?                                                                13     Q.    You also testified yesterday that you access

14     A.       Yes.    It's a sign that's mounted on posts.                    14   Naugatuck State Forest by hiking through a municipal

15   It's approximately, I would say maybe, four by six,                        15   park known as Roaring Brook State Park.        Do you

16   four high, six wide.                                                       16   recall that testimony?

17     Q.       When you say, "four by six," are you meaning                    17     A.    I do.

18   feet?                                                                      18     Q.    When you enter Naugatuck State Forest from

19     A.       Yes.                                                            19   Roaring Brook Municipal Park, are there any signs

20     Q.       Okay.    Continue, please.                                      20   posted at that point where you enter at saying no

21     A.       And on the side that's facing the parking lot                   21   guns allowed?

22   is a map of all the trails in the park.                                    22     A.    No.

23     Q.       And -- withdrawn.                                               23     Q.    You also testified yesterday that you enter

24              When you previously went to -- when you went                    24   the Farmington River Canal Trail down the street from

25   to Sleeping Giant State Park, did you ever look at                         25   your house or a short distance from your house.         Do




                                                                229                                                                               230


 1   you recall that?                                                            1   with the EnCon Police.     Do you recall that testimony?

 2     A.       I do.                                                            2     A.    I do.

 3     Q.       Can you describe for us what the entry point                     3     Q.    And you also testified that you're familiar

 4   that you use to enter the Farmington River Canal                            4   with what a -- withdrawn.

 5   trail looks like?                                                           5           How long have you been using Connecticut

 6     A.       Yes.    There are two and they're both                           6   state parks and forests?

 7   virtually identical but on different streets.                               7           MR. BOCHAIN:     Objection Your Honor.     That's

 8   There's a crosswalk painted on the street.       There are                  8   been asked and answered.

 9   some barriers to prevent vehicles from the traveling                        9           THE COURT:     It has been.   Sustained.

10   down the trail.       There are benches at each corner.                    10   BY MR. ATKINSON:

11   There is a distance marker at each location.         I'm not               11     Q.    Mr. Nastri, in the time that you've been

12   actually sure what that makes reference to.         It never               12   using Connecticut state parks and forests, have you

13   quite made sense to me.       So it must be from some                      13   ever encountered an EnCon police officer?

14   certain point on the trail that delineates how far                         14     A.    No.

15   you've gone.       That's pretty much it.                                  15     Q.    Yesterday Attorney Bochain asked you about a

16     Q.       Are there any signs posted at those two entry                   16   list of state parks.     Do you recall that?

17   points that you've described?                                              17     A.    I do.

18     A.       No.                                                             18     Q.    And do you also recall him asking you about

19     Q.       And that -- does that absence of signs that                     19   specific state parks on that list?

20   you just stated, that absence, does that absence of                        20     A.    I do.

21   signs include the absence of a sign saying no guns                         21     Q.    Do you still have State's Exhibit 141 in

22   allowed?                                                                   22   front of you, Mr. Nastri?

23     A.       It -- yes.    That is also included in what's                   23     A.    I do.

24   not there.                                                                 24     Q.    Do you recall Attorney Bochain asking you

25     Q.       Yesterday you were asked if you were familiar                   25   about Bigelow Hollow State Park?




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 1     A.    I think so.    I don't remember exactly which                    1   Rocky Hill away from you?

 2   ones he mentioned.                                                       2     A.      It's approximately a 35-minute drive.

 3     Q.    Okay.    Do you see Bigelow State Park on --                     3     Q.      Do you recall Attorney Bochain asking you

 4   Bigelow Hollow State Park on Exhibit 141 in front of                     4   about Fort Griswold State Park yesterday?

 5   you right now?                                                           5     A.      I do.

 6     A.    I do.                                                            6     Q.      Do you see Fort Griswold State Park on

 7     Q.    What town does that list indicate Bigelow                        7   State's Exhibit 141 in front of you?

 8   Hollow State Park is located in?                                         8     A.      I do.

 9     A.    Union, Connecticut.                                              9     Q.      What town does that -- does State's

10     Q.    Do you know where Union, Connecticut is,                        10   Exhibit 141 list Fort Griswold State Park as being

11   Mr. Nastri?                                                             11   in?

12     A.    I would guess -- I don't specifically know.                     12     A.      Groton, Connecticut.

13   I think it's up by UConn in that area, but I don't                      13     Q.      Do you know where Groton, Connecticut is?

14   know.                                                                   14     A.      I do.

15     Q.    Have you ever been to Union, Connecticut?                       15     Q.      How far in relation to where you live away is

16     A.    Not that I can recall.                                          16   Groton from you?

17     Q.    Do you recall Mr. Bochain asking you about                      17     A.      Approximately an hour and 15 minutes.

18   Dinosaur State Park yesterday?                                          18     Q.      Do you recall Attorney Bochain asking you

19     A.    I do.                                                           19   about Fort Trumbull State Park yesterday?

20     Q.    Do you see -- do you -- what town on State's                    20     A.      I do.

21   Exhibit 141 is Dinosaur State Park located in?                          21     Q.      Do see you Fort Trumbull State Park on

22     A.    In Rocky Hill.                                                  22   State's 141?

23     Q.    Do you know where Rocky Hill is?                                23     A.      I do.

24     A.    I do.                                                           24     Q.      What town does it indicate state -- Fort

25     Q.    How far in relation to where you live is                        25   Trumbull State Park as being located in?




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 1     A.    New London.                                                      1   State's 141?

 2     Q.    Do you know where New London is, Mr. Nastri?                     2     A.      Yes.

 3     A.    I do.                                                            3     Q.      Where does State's 141 indicate that Harkness

 4     Q.    How far is New London from where you live,                       4   Memorial State Park is located?

 5   approximately?                                                           5     A.      In Waterford.

 6     A.    I believe about the same as Groton, about an                     6     Q.      Do you know where Waterford is, Mr. Nastri?

 7   hour and 15 minutes.                                                     7     A.      Yes.

 8     Q.    Do you recall Attorney Bochain asking you                        8     Q.      Where is Waterford located?

 9   yesterday about Hammonasset Beach State Park?                            9     A.      It's down in the same area as New London and

10     A.    I do.                                                           10   Groton.

11     Q.    Do you see Hammonasset Beach State Park on                      11     Q.      Approximately how far away from where you

12   State's 141?                                                            12   live is Waterford?

13     A.    I do.                                                           13     A.      Approximately an hour and 15 minutes.

14     Q.    What town does State's 141 indicate                             14     Q.      Do you recall Attorney Bochain asking you

15   Hammonasset Beach State Park as being located in?                       15   about all of the parks we listed and asking you if

16     A.    Madison.                                                        16   you had specific plans to go there?

17     Q.    Do you know where Madison is, Mr. Nastri?                       17     A.      Yes.

18     A.    I do.                                                           18     Q.      Do you recall your answer to those questions?

19     Q.    How far away from where you live is Madison,                    19     A.      Yes.

20   approximately?                                                          20     Q.      What was your -- in your -- withdrawn.

21     A.    Approximately 45 minutes.                                       21             And I believe your testimony was that you had

22     Q.    Do you recall Attorney Bochain asking you                       22   no specific plans to go there?

23   about Harkness Memorial State Park yesterday?                           23             MR. BOCHAIN:     Objection Your Honor, it's been

24     A.    I do.                                                           24   asked and answered.

25     Q.    Do you see Harkness Memorial State Park on                      25             THE COURT:     It has been.   You know, when




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 1   you're repeating back what was asked him, it is asked                        1   BY MR. BOCHAIN:

 2   and answered.    So let's move on.                                           2     Q.       Mr. Nastri, you comply with the gun laws that

 3            MR. ATKINSON:     I apologize, Your Honor.                          3   you know about, correct?

 4   BY MR. ATKINSON:                                                             4     A.       I do.

 5     Q.     Why do you have no specific plans to visit                          5     Q.       You also comply with signs that prohibit guns

 6   those state parks, Mr. Nastri?                                               6   on certain locations, correct?

 7     A.     My visits to state parks, as I testified, are                       7     A.       Yes.

 8   impromptu and generally limited to the ones that I've                        8     Q.       There's testimony and there's questions about

 9   identified as where I go to regularly.                                       9   whether you knew EnCon.       You've never been arrested

10     Q.     What informs your decision as to what parks                        10   by an EnCon officer, correct?

11   you go to regularly?                                                        11     A.       Correct.

12     A.     Their proximity primarily.                                         12     Q.       And you've never been threatened with

13     Q.     Do you recall Attorney Bochain asking you                          13   enforcement of the particular regulation at issue in

14   about your plans to bring a gun to a state park in                          14   this case by an EnCon officer, correct?

15   the future?                                                                 15     A.       Also correct.

16     A.     I do.                                                              16     Q.       And you've never been threatened with

17     Q.     Why won't you bring a gun to a state park in                       17   enforcement of the regulation by any police officer,

18   the future?                                                                 18   correct?

19     A.     Because it's currently against the law to do                       19     A.       Correct.

20   so.                                                                         20              MR. BOCHAIN:     Nothing further at this time,

21            MR. ATKINSON:     No further questions, Your                       21   Your Honor.

22   Honor.                                                                      22              THE COURT:     I have one question referring

23            THE COURT:     Any recross?                                        23   back to U4 reporting responsibilities.        The

24            MR. BOCHAIN:     Very briefly, Your Honor.                         24   regulation at issue provides for certain sanctions,

25            RECROSS EXAMINATION OF DAVID NASTRI                                25   although I'm not actually seeing it in the regulation




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 1   itself but somewhere it exists.                                              1              THE COURT:     Are you aware yourself of anybody

 2            MR. ATKINSON:     Your Honor, if I may, if                          2   who has had this regulation enforced against them.

 3   you're referring to Connecticut agencies, the                                3              THE WITNESS:     No, I'm not.

 4   prohibition regulation, and it would be helpful, I do                        4              THE COURT:     Thank you.

 5   believe we laid out the punishment in paragraph 14 of                        5              Questions on my question.

 6   Plaintiff's Exhibit 1 and we provided a citation to                          6              MR. ATKINSON:     None from the plaintiff, Your

 7   the statute that's the penalty.                                              7   Honor.

 8            THE COURT:     Okay.   So my question is:    The                    8              MR. BOCHAIN:     Nothing from the defense, Your

 9   sanctions or consequences of being apprehended with a                        9   Honor.

10   firearm in a Connecticut state park or forest is a                          10              THE COURT:     Okay.   Thank you very much then.

11   fine, a 24-hour ban, a longer ban, are those                                11   You may step down.      You are excused.

12   reportable under your U4.                                                   12              MR. ATKINSON:     Your Honor, may I have a

13            THE WITNESS:     In the annual compliance                          13   moment to confer with Attorney Bochain, please.

14   questionnaire that I'm required to fill out, the                            14              THE COURT:     Sure.

15   questions are, I think, purposely overbroad and --                          15              MR. ATKINSON:     Your Honor, my discussion with

16            THE COURT:     Let's -- don't -- my question is:                   16   Attorney Bochain was about the stipulation that I

17   From your standpoint if you got a fine for carrying a                       17   filed prior to beginning yesterday that was located

18   firearm in a state park, would that be a reportable                         18   at ECF 35.    I had asked you to adopt it at this time

19   event on your U4?                                                           19   prior to me calling Colonel Lewis because I do intend

20            THE WITNESS:     It is.                                            20   to use it in my questioning of Mr. Lewis.

21            THE COURT:     If you get a parking ticket?                        21              THE COURT:     All right.   So the parties'

22            THE WITNESS:     No.   Not a parking ticket.                       22   proposed stipulation for this hearing relates to the

23            THE COURT:     If you get a traffic summons?                       23   number of firearm hunting licenses issued since

24            THE WITNESS:     Specifically those are not                        24   January 2017 by year and the statistic for 2022 of

25   reportable.                                                                 25   DEEP's harvest tagging system documenting that




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 1   hunters harvested 611 deer and -- during the 2022                              1   off the witness --

 2   hunting season, and 257 turkeys on that land during                            2           THE COURT:     Good idea.

 3   the fall and spring hunting seasons.        All right.    We                   3           All right.     Sir, if you raise your right

 4   can adopt that as facts not in dispute.                                        4   hand, you will be sworn.

 5              MR. ATKINSON:     Thank you, Your Honor.                            5           (Christopher Lewis, sworn.)

 6              MR. BOCHAIN:     Correct, Your Honor.                               6           THE WITNESS:     I do.

 7              MR. ATKINSON:     Can we also have that document                    7           THE CLERK:     Please be seated, state your name

 8   marked as Plaintiff's 18 for identification only?                              8   for the record spelling your last name and please

 9              THE COURT:     But it's not identification, is                      9   state the town of your residence.

10   it?                                                                           10           THE WITNESS:     Christopher Lewis, town of

11              MR. ATKINSON:     I was doing that just for                        11   residence Avon, Connecticut.

12   logistical purposes of being able to put that in                              12           THE COURT:     You may proceed.

13   front of Colonel Lewis as he was testifying.          I can                   13           MR. ATKINSON:     Thank you, Your Honor.

14   just hand him an ECF stamp.                                                   14           DIRECT EXAMINATION OF CHRISTOPHER LEWIS

15              THE COURT:     I thought I just adopted this                       15   BY MR. ATKINSON:

16   document which we would call a joint exhibit.                                 16     Q.    Good morning, Colonel Lewis.        How are you?

17              MR. ATKINSON:     Okay.                                            17     A.    Good.   Good morning.

18              THE COURT:     All right.   It will be joint                       18     Q.    Have we met before?

19   Exhibit A.                                                                    19     A.    Yes.

20              Okay.    And is Colonel Lewis ready?                               20     Q.    Where did we meet?

21              MR. ATKINSON:     Yes, Your Honor.                                 21     A.    Attorney General's office during deposition.

22              THE COURT:     Are you calling him or are you                      22     Q.    Okay.   When approximately was that?

23   resting?                                                                      23     A.    I can't recall.     It's been recent.

24              MR. ATKINSON:     I'm calling him, Your Honor.                     24     Q.    Fair enough.     Fair enough.     Can you state for

25   I would also ask for permission to clear the exhibits                         25   the record who your employer is?




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 1     A.       Yes.    It's State of Connecticut Department of                     1   worked for the Alabama Wildlife Freshwater Fisheries?

 2   Energy and Environmental Protection.                                           2     A.    Correct.

 3     Q.       And what is your position?                                          3     Q.    And you held a variety of positions there,

 4     A.       I'm the division director for the                                   4   didn't you?

 5   Environmental Conservation Police Division.                                    5     A.    Yes.

 6     Q.       Are you familiar with the defendant in this                         6     Q.    Okay.   You were a conservation officer first?

 7   action?                                                                        7     A.    Yes.

 8     A.       No.                                                                 8     Q.    Approximately how long were you a

 9     Q.       Do you know who she is?                                             9   conservation officer?

10     A.       I'm sorry.     The defendant, yes, the                             10     A.    Five years.

11   commissioner.                                                                 11     Q.    And at some point, did you -- were you

12     Q.       What's her name?                                                   12   promoted?

13     A.       Katie Dykes.                                                       13     A.    Yes.

14     Q.       And who is Katie Dykes to you?                                     14     Q.    And what were you promoted to?

15     A.       She is commissioner to the Department of                           15     A.    Conservation enforcement officer sergeant.

16   Energy and Environmental Protection.        She's our                         16     Q.    How long did you hold that position?

17   appointed authority.                                                          17     A.    Approximately five years.

18     Q.       Would it be a fair characterization to                             18     Q.    And were you promoted again?

19   describe her as your boss?                                                    19     A.    Yes.

20     A.       Yes.                                                               20     Q.    What were you promoted to?

21     Q.       Okay.    You've served as director of the                          21     A.    Lieutenant conservation enforcement officer

22   Environmental Conservation Police since approximately                         22   lieutenant.

23   November '19, correct?                                                        23     Q.    And how long did you hold that position?

24     A.       Correct.                                                           24     A.    Approximately four years.

25     Q.       And prior to serving in that position, you                         25     Q.    And were you promoted again?




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 1     A.       Yes.                                                           1   that you were responsible for enforcing included game

 2     Q.       And what were you promoted to?                                 2   laws?

 3     A.       District captain conservation enforcement                      3     A.       Yes.

 4   officer.                                                                  4     Q.       And by "game laws," do you mean hunting laws?

 5     Q.       How long did you hold that position?                           5     A.       Yes.   Hunting, trapping.

 6     A.       Approximately two years.                                       6     Q.       And you were also responsible in these

 7     Q.       And were you promoted again?                                   7   positions to enforce state law or park laws in

 8     A.       Yes.                                                           8   Alabama too, correct?

 9     Q.       And what were you promoted to?                                 9     A.       Correct.

10     A.       Assistant chief of enforcement for wildlife                   10     Q.       And during that -- those positions and your

11   freshwater fisheries.                                                    11   experience in those positions, you were responsible

12     Q.       And all of these positions were within the                    12   for interacting with members of the public, correct?

13   Alabama Wildlife Freshwater Fisheries, correct?                          13     A.       Correct.

14     A.       Yes.                                                          14     Q.       And those members of the public included

15     Q.       And how long did you hold your position as                    15   members of the public who were carrying firearms too,

16   assistant chief?                                                         16   correct?

17     A.       Approximately five years.                                     17     A.       Yes.

18     Q.       And you left that position to take your                       18     Q.       Did those responsibilities change in any

19   current position now, correct?                                           19   substantial way when you obtained your current

20     A.       Correct.                                                      20   position?

21     Q.       And throughout all of the positions that                      21     A.       No.

22   you've held, your responsibilities were basically to                     22     Q.       Were you familiar with Connecticut agency's

23   enforce conservation laws, correct?                                      23   regulation 23-4-1?

24     A.       Correct.                                                      24     A.       Yes.

25     Q.       In these positions, the conservation laws                     25     Q.       Did Alabama have a similar prohibition --




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 1   withdrawn.                                                                1   experience would be relevant.

 2              What is your understanding of Connecticut                      2              THE COURT:     Why would it be relevant?

 3   Agency's Regulation 23-4-1?                                               3              MR. ATKINSON:     Well, in terms of how he would

 4     A.       It governs behavior and actions in state                       4   approach that person, we do have an exhibit, his

 5   parks and forest.                                                         5   declaration here in which he makes statements that

 6     Q.       Is your understanding of it that it also                       6   the ban -- the Connecticut's ban not being in place

 7   prohibits the carrying of firearms in state parks and                     7   would change the way Connecticut's Environmental

 8   forests?                                                                  8   Conservation Police interact with members of the

 9     A.       Yes.                                                           9   public.

10     Q.       Did Alabama have a similar prohibition on                     10              THE COURT:     I think we should stick to

11   carrying firearms in state parks and forests in your                     11   Connecticut.

12   understanding while you were working there as a                          12              MR. ATKINSON:     I will, Your Honor.

13   conservation officer?                                                    13              THE COURT:     Okay.

14              MR. BOCHAIN:     Objection, Your Honor.                       14   BY MR. ATKINSON:

15   Relevance.                                                               15     Q.       Colonel, DEEP employs law enforcement

16              THE COURT:     What is the relevance?                         16   officers, current?

17              MR. ATKINSON:     Your Honor, I'm attempting to               17     A.       Yes.

18   basically establish whether he had prior                                 18     Q.       Those law enforcement officers are referred

19   experience --                                                            19   to as EnCon officers, correct?

20              THE COURT:     Why is that relevant?                          20              MR. BOCHAIN:     Your Honor, objection.     I've

21              MR. ATKINSON:     I think in terms of the issues              21   given Attorney Atkinson some leeway.       It's a lot of

22   in this case, if he had prior experience in enforcing                    22   leading questions here.

23   this type of law in Alabama, some of the questions I                     23              MR. ATKINSON:     Your Honor, may I be heard as

24   intend to ask him later that go to how he enforced --                    24   to that?    Under Federal Rule of Evidence 611, I think

25   how he enforces that law to hunters, this prior                          25   I've established that Colonel Lewis is an employee of




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 1   DEEP, is sufficiently identified with an adverse                             1              MR. ATKINSON:     I will, Your Honor.      I will

 2   party such that it's within Your Honor's discretion                          2   then.

 3   to allow me to ask leading questions.                                        3              MR. BOCHAIN:     Your Honor, the one thing I'll

 4            THE COURT:     All right.   I'm hopeful that that                   4   just note is Colonel Lewis is here voluntarily.           He's

 5   might actually facilitate the testimony.        You are,                     5   not here by subpoena.       He's here voluntarily.

 6   however, proposing that he be described as a hostile                         6              THE COURT:     All right.    Well, I'm going to

 7   witness because he is an officer of, an employee of                          7   permit for now leading questions in as much as

 8   the defendant; is that correct?                                              8   Colonel Lewis is a witness identified with an adverse

 9            MR. ATKINSON:     I'm not sure I read the rule                      9   party, that is Commissioner Dykes.         Go ahead.

10   that way, Your Honor.     The case law that I had                           10              MR. ATKINSON:     Thank you, Your Honor.

11   researched on it and the actual text of the rule                            11              Can we have the last question read back,

12   seemed to draw a distinction between a witness who                          12   madame court reporter, please?

13   was hostile as in they were being uncooperative on                          13              THE COURT:     Yes.

14   the stand and a party who was simply sufficiently                           14              (Record read by the Court Reporter.)

15   identified with an adverse party.        I'm not making a                   15              THE WITNESS:     Yes, that's correct.

16   claim that Colonel Lewis --                                                 16   BY MR. ATKINSON:

17            THE COURT:     I thought you were, that that was                   17     Q.       Those officers wear uniforms, Colonel?

18   why you were --                                                             18     A.       Yes.

19            MR. ATKINSON:     So I am --                                       19     Q.       And as part of their uniform, they carry

20            THE COURT:     -- citing 611.                                      20   handguns, correct?

21            MR. ATKINSON:     Specifically for 611, Your                       21     A.       Yes.

22   Honor, I'm referring to (c)(2).                                             22     Q.       And DEEP employs approximately -- well, DEEP

23            THE COURT:     Which is when you call a hostile                    23   employs approximately 52 of these officers including

24   witness, which is why I asked you whether you are                           24   you, correct?

25   designating Colonel Lewis as a hostile witness.                             25     A.       Correct.




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 1     Q.     DEP also employs approximately 30 park                              1     Q.       And within that -- withdrawn.

 2   rangers, correct?                                                            2              You mentioned visitation levels.         What's the

 3     A.     I don't know exactly how many park rangers                          3   criteria for making an assignment on a visitation

 4   DEEP employees.     It's more than my department.                            4   level basis?

 5            THE COURT:     Can you speak into the                               5              MR. BOCHAIN:     Objection, Your Honor.      That's

 6   microphone.                                                                  6   a little ambiguous.

 7            THE WITNESS:     I don't know how many park                         7              THE COURT:     Do you understand the question?

 8   rangers DEEP employs.                                                        8   When you say that you assign rangers based on the

 9   BY MR. ATKINSON:                                                             9   visitation level, does that mean the number of people

10     Q.     What is your -- withdrawn.                                         10   who come to the park?

11            The park rangers that DEEP -- withdrawn.                           11              THE WITNESS:     Yes.

12            What are EnCon rangers?                                            12              THE COURT:     Okay.    Next question.

13     A.     EnCon rangers are seasonal employees that we                       13   BY MR. ATKINSON:

14   hire during the summer months.                                              14     Q.       You also mentioned about past history,

15     Q.     Okay.    And those EnCon rangers, they're                          15   Colonel.    Can you describe for us what you meant by

16   unarmed, correct?                                                           16   that?

17     A.     Correct.                                                           17     A.       Where we've identified parks that we have a

18     Q.     But they do wear uniform shirts?                                   18   continuous problem or where we need to increase our

19     A.     Yes.                                                               19   presence due to -- just where we've identified where

20     Q.     And where are they typically assigned?                             20   we need to increase our presence.

21     A.     Our shoreline parks and then select inland                         21     Q.       When you say, "problem," what do you mean by

22   parks.                                                                      22   that?

23     Q.     Is there any criteria for assigning them to                        23     A.       The park is overcrowded, we have parking

24   specific parks?                                                             24   outside of the park trying to gain entry once the

25     A.     Visitation levels, campgrounds, past history.                      25   park closes routinely, we have quality of life from




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 1   neighbors, maybe loud music.                                              1   if an EnCon ranger came across a person carrying an

 2     Q.       EnCon rangers have the authority to write                      2   unauthorized firearm in a state park or forest, they

 3   tickets for low-level -- withdrawn.                                       3   could write that person a -- they could enforce the

 4              EnCon rangers have the authority to write                      4   park rule against that person?

 5   tickets for infractions, correct?                                         5     A.      They could.

 6              MR. BOCHAIN:     Objection, Your Honor.                        6     Q.      Do they typically -- and to your knowledge,

 7   Foundation.                                                               7   do they typically enforce that rule against such a

 8              THE COURT:     Sustained.                                      8   person?

 9   BY MR. ATKINSON:                                                          9     A.      To my knowledge, no.

10     Q.       Colonel Lewis, do EnCon rangers have the                      10     Q.      Why don't they enforce that rule against a

11   authority to enforce state park rules?                                   11   person under those circumstances?

12     A.       Yes.                                                          12     A.      I can't recall it happening since I've known

13     Q.       What rules do they have the authority to                      13   them.

14   enforce?                                                                 14     Q.      Pardon me?

15     A.       Twenty-three regulations of state parks and                   15     A.      I can't recall that charge coming up since

16   forests.                                                                 16   they -- since the program's -- since I've been here

17     Q.       Pardon me?                                                    17   with the program.

18     A.       The 23 regulations for state parks and                        18     Q.      Understood.     Do you know how many state parks

19   forest.                                                                  19   and forests Connecticut has?

20     Q.       Does the -- do the regulations that they have                 20     A.      Not exactly.

21   the authority to enforce include the prohibition on                      21     Q.      If I may show you what's been marked as

22   carrying a handgun in -- carrying a firearm in state                     22   Defendant's Exhibit 141.

23   parks and forests without permission to do so?                           23             Colonel, have you reviewed Defendant's

24     A.       Yes.                                                          24   Exhibit 141?

25     Q.       So if I understand your testimony correctly,                  25     A.      Yes.




                                                              253                                                                          254


 1     Q.       Would it be helpful for you to move the mic a                  1   there's so many state parks and forests they

 2   little closer if that's okay and that might make it                       2   couldn't.     Why don't you just ask him how many of

 3   easier.                                                                   3   these 139 state parks and forests have EnCon officers

 4     A.       Thank you.                                                     4   assigned to them and does that include rangers.

 5     Q.       Thank you.                                                     5             MR. ATKINSON:     Not -- I was trying not to ask

 6              What is that, Colonel?                                         6   a compound question, Your Honor.

 7     A.       It appears to be a printout of our state park                  7             THE COURT:     Let's get straight at this.

 8   web page listing the state parks.                                         8   BY MR. ATKINSON:

 9     Q.       Do you see the first paragraph above the                       9     Q.      Colonel, how many parks have an EnCon officer

10   list?                                                                    10   assigned to them?

11     A.       Yes.                                                          11     A.      How do you mean assigned to them?     It's hard

12     Q.       Have you read that paragraph?                                 12   for me to answer that question like that.

13     A.       Yes.                                                          13     Q.      Well, let me ask it this way, do you assign

14     Q.       I'll ask you again, based on that, how many                   14   EnCon officers to specific state parks and forests?

15   state parks does Connecticut have, approximately?                        15     A.      To only a state park?

16     A.       139 state parks and forests.                                  16     Q.      Correct.

17     Q.       Thank you.     Is it possible for you to assign               17     A.      To a specific park, no, they are not assigned

18   an EnCon officer to every park in the state at all                       18   to a specific state park.

19   times?                                                                   19     Q.      Do you assign EnCon rangers to a specific

20              MR. BOCHAIN:     Objection, Your Honor.                       20   state park?

21   Argumentative.                                                           21     A.      Rangers, yes, are assigned to a specific

22              MR. ATKINSON:     I've simply --                              22   state park.

23              THE COURT:     I'm going to sustain the                       23     Q.      In the assignment of a ranger to a specific

24   objection because you can lead but you can't argue.                      24   state park, is a ranger assigned to just one state

25   The concept that is suggested in your question is                        25   park?




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 1     A.    Generally speaking, yes.      There are a couple                  1   enforce that prohibition with local law enforcement

 2   of exceptions.                                                            2   officials?

 3     Q.    Let's talk about the exceptions.       Can you                    3            MR. BOCHAIN:     Objection, Your Honor.

 4   describe those for us, please?                                            4   Relevance.

 5     A.    So an exception would be we typically staff,                      5            THE COURT:     What is the relevance?

 6   we call it a unit in state parks, a management unit                       6            MR. ATKINSON:     Your Honor, he's just

 7   under state park's division.     So we'll staff that                      7   testified that other -- other law enforcement

 8   with a ranger or two rangers in that unit and that                        8   agencies have the ability to enforce that --

 9   unit may contain three, four, five different state                        9            THE COURT:     I understand that, but what's the

10   parks or forests within that management unit.                            10   relevance?

11     Q.    Okay.    Does DEEP have any technology that                      11            MR. ATKINSON:     What I'm getting at is

12   would assist its human employees in monitoring state                     12   somewhat to the standing issues, Your Honor, when

13   parks and forests?                                                       13   Mr. Nastri was asked earlier whether a local law

14     A.    Not to my knowledge.                                             14   enforcement officer had ever -- or police officer had

15     Q.    Do other Connecticut law enforcement agencies                    15   ever asked -- threatened to enforce the law

16   have the authority to enforce the firearms                               16   against --

17   prohibition in Connecticut state parks and forests?                      17            THE COURT:     And he said no.

18     A.    They do.                                                         18            MR. ATKINSON:     Correct.    And I'm simply

19     Q.    Do those other law enforcement agencies                          19   completing the loop that they have that authority and

20   include the state police?                                                20   that DEEP -- this also goes to my broader argument of

21     A.    Yes.                                                             21   how DEEP has not informed the public of this

22     Q.    Do those other law enforcement agencies                          22   prohibition and it has chosen not to take steps to

23   include local police departments?                                        23   the lack of --

24     A.    Yes.                                                             24            THE COURT:     I don't think that this question

25     Q.    Does DEEP take any steps to coordinate how to                    25   gets at all to that, so I'm going to sustain the




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 1   objection.                                                                1   we got the right number on it, that's all.

 2   BY MR. ATKINSON:                                                          2            MR. BOCHAIN:     I'm sorry.    It is Defense

 3     Q.    Colonel Lewis, you submitted an affidavit in                      3   Exhibit 136, Your Honor.

 4   this case, correct?                                                       4   BY MR. ATKINSON:

 5     A.    Yes.                                                              5     Q.     Have you had a chance to review that, Colonel

 6     Q.    Would you know that affidavit or recognize                        6   Lewis?

 7   that affidavit if I showed it to you?                                     7     A.     Yes.

 8     A.    Yes.                                                              8     Q.     Is that your affidavit?

 9           MR. ATKINSON:     I am going -- may I approach                    9     A.     Yes.

10   the witness, Your Honor?                                                 10     Q.     Can I turn your attention to what is ECF

11           THE COURT:     Yes.                                              11   stamped page 6 and a paragraph 16.

12   BY MR. ATKINSON:                                                         12     A.     Okay.

13     Q.    I am going to show you, after I show counsel,                    13     Q.     In that -- your affidavit, Colonel Lewis, you

14   what's been marked as Plaintiff's Exhibit 4 --                           14   gave a number of reasons for the prohibition on

15           MR. ATKINSON:     Actually, Your Honor, I'm                      15   carrying firearms in state parks and forests without

16   going to use Defense 136, which I understand is                          16   state permission, correct?

17   already in the binder there in front of him.                             17     A.     Yes.

18           THE COURT:     Is it the same thing?                             18     Q.     And the first reason that you listed was that

19           MR. ATKINSON:     Yes, Your Honor.                               19   the presence of firearms particularly if alcohol is

20           THE COURT:     So the declaration of Colonel                     20   involved increases the risk of confusion, alarm and

21   Chris Lewis is going to be marked as Defendant's 136?                    21   conflict among visitors, correct?

22           MR. ATKINSON:     Correct.                                       22     A.     Correct.

23           MR. BOCHAIN:     It's already introduced into                    23     Q.     Are you familiar with Connecticut General

24   evidence, Your Honor.    It's a full exhibit.                            24   Statute 54-206d?

25           THE COURT:     That may be.   I want to make sure                25     A.     Say the statute again, please.




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 1     Q.       Sure.   Connecticut General Statute 54-206d?                         1              THE COURT:     As Plaintiff's 7.

 2     A.       I'd have to review it.                                               2              MR. ATKINSON:     May I proceed, Your Honor?

 3              MR. ATKINSON:     Okay.     If I may, Your Honor,                    3              THE COURT:     Yes.

 4   approach the witness to show him what's been marked                             4   BY MR. ATKINSON:

 5   as Plaintiff's Exhibit 7 for identification.                                    5     Q.       Is your understanding of that statute,

 6              THE COURT:     You may.                                              6   Colonel, that it prohibits individuals from carrying

 7              MR. ATKINSON:     Just to correct, Your Honor, I                     7   a firearm while under the influence of alcohol?

 8   did misspeak, that's 53-206d is the statute.                                    8     A.       Correct.

 9   BY MR. ATKINSON:                                                                9     Q.       Is it also your understanding that it

10     Q.       Have you had a chance to review that,                               10   prohibits individuals from carrying a firearm while

11   Colonel?                                                                       11   under the influence of another intoxicant?

12     A.       Yes.                                                                12     A.       Yes.

13              MR. ATKINSON:     What is -- well, I'm going to                     13     Q.       Is it your understanding also that it

14   do it this way, Your Honor.          I would ask since what                    14   prohibits an individual from carrying a firearm while

15   I've handed Colonel Lewis is the Westlaw printout of                           15   under the influence of alcohol in a state park or

16   that statute, I would ask Your Honor to take judicial                          16   forest?

17   notice of the content of that statute.                                         17              MR. BOCHAIN:     Objection, Your Honor.    I'm

18              THE COURT:     Any objection?                                       18   going to ask for the relevance at this point.

19              MR. BOCHAIN:     No, Your Honor.     But I may have                 19              MR. ATKINSON:     Your Honor, he states in his

20   objections based on his line of questioning that                               20   declaration that one of the reasons for the agency

21   might be coming up but I don't have objection to that                          21   regulation at issue in this action is that it reduces

22   right now.                                                                     22   -- as I read it, it reduces the risk of confusion,

23              THE COURT:     All right.     We have admitted                      23   alarm, conflict, particularly for people with

24   53-206d.                                                                       24   alcohol, and I'm simply demonstrating that there are

25              MR. ATKINSON:     Correct, Your Honor.                              25   other applicable laws.       So I think it's highly




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 1   relevant.                                                                       1   field training officer program.

 2              THE COURT:     I'm sorry.     Because there are                      2     Q.       Okay.    When you say, "basic field academy

 3   other applicable laws, his testimony that this is his                           3   training," are you referring to POSTC training?

 4   objective is not credible.       What is the issue you are                      4     A.       Yes.    It's POSTC-approved academy.

 5   getting at?                                                                     5     Q.       What is Post-approved education?

 6              MR. ATKINSON:     I am simply trying to show                         6     A.       Police Officer Standards Training Commission,

 7   that there are other laws that are tailored to                                  7   they're the governing body for police officers, state

 8   accomplish the purpose that he's claiming for 23-4.                             8   of Connecticut.       So they designate what training,

 9              THE COURT:     All right.     You may proceed.                       9   what hours and what classes is held at a basic police

10   BY MR. ATKINSON:                                                               10   academy.

11     Q.       Colonel, I'll ask my question again.        Is it                   11     Q.       As part of a POSTC-approved training, would

12   your understanding that this prohibition on                                    12   officers receive training to enforce Connecticut

13   individuals carrying a firearm under the influence of                          13   General Statute 53-206d?

14   alcohol also applies to individuals carrying it under                          14     A.       I don't know.

15   the influence of alcohol in a state park or forest?                            15     Q.       Could DEEP -- could DEEP itself provide them

16     A.       Yes.                                                                16   training on the enforcement of 53-206d?

17     Q.       Is that the same -- is your understanding the                       17     A.       Yes.

18   same when it comes to a person carrying a firearm                              18     Q.       Does DEEP currently provide them with

19   under the influence of another intoxicant in a state                           19   training on the enforcement of 53-206d?

20   park or forest?                                                                20     A.       I don't know.

21     A.       Yes.                                                                21     Q.       Does DEEP provide training to EnCon rangers

22     Q.       Do EnCon officers receive training?                                 22   on the enforcement of 53-206d?

23     A.       Yes.                                                                23     A.       No.

24     Q.       What type of training do they receive?                              24     Q.       If I may have the Exhibit 7 back from you,

25     A.       Basic police academy training followed by                           25   Colonel, please.




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 1     A.       Yup.                                                                 1     A.       Yes.

 2              MR. ATKINSON:     May I have a moment to go to                       2     Q.       Do you recall previously telling me that you

 3   counsel's table, Your Honor?                                                    3   believe the mere presence of a firearm in a place can

 4   BY MR. ATKINSON:                                                                4   increase the risk of alarm?

 5     Q.       Thank you for bearing with me, Colonel Lewis.                        5     A.       Yes.

 6   We were discussing about the reasons you stated                                 6     Q.       Do you recall previously telling me that you

 7   for -- we were discussing the reasons you stated for                            7   believe the mere presence of firearms in a place can

 8   the prohibition on carrying firearms in state parks                             8   increase the risk of conflict?

 9   and you stated that the -- the carrying a firearm                               9     A.       I don't recall that.

10   in -- the reason for the prohibition was that it                               10     Q.       Okay.   Do you recall that you also stated

11   prevents an increase in the risk of confusion from                             11   that people are generally confused if they saw a

12   somebody carrying a firearm in a state park, correct?                          12   firearm where they're not expecting to see one?

13     A.       Correct.                                                            13     A.       Yes.

14     Q.       Do you recall telling me previously that you                        14     Q.       What do you base that opinion on?

15   believe that the mere presence of a firearm in a                               15     A.       It's personal experience, professional

16   place can increase the risk of confusion?                                      16   experience.

17              MR. BOCHAIN:     Objection, Your Honor.     Asked                   17     Q.       Okay.   Can you describe the personal

18   and answered.                                                                  18   experience that you base that opinion on to us?

19              THE COURT:     I'm going to permit it.                              19     A.       So personal experience, so someone -- I've

20              THE WITNESS:     Can you state the question                         20   been places, someone is paying for something and

21   again?                                                                         21   they're fishing out a wallet and they pull out a gun

22   BY MR. ATKINSON:                                                               22   and throw it on the counter and people -- at a store

23     Q.       Sure.    Do you recall previously telling me                        23   and people kind of got shocked by it, like what's

24   that you believe that the mere presence of firearms                            24   going on, stepping back.     So that was a confusing

25   in a place can increase the risk of confusion?                                 25   moment.




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 1     Q.       You also spoke about your professional                               1   his testimony, he can.

 2   experience that you based your -- that opinion on.                              2              MR. ATKINSON:   Okay.

 3   Can you describe your -- what professional                                      3   BY MR. ATKINSON:

 4   experiences you've had that gave rise to your                                   4     Q.       Colonel Lewis, do you expect to see a firearm

 5   opinion?                                                                        5   at a gun store?

 6     A.       Answer calls where someone is seen with a                            6     A.       Yes.

 7   firearm in a place where it would not be allowed or                             7     Q.       At a shooting range?

 8   just being seen with a firearm period in public                                 8     A.       Yes.

 9   whether it's allowed or not.       They receive 9-1-1                           9     Q.       At a fish and game hunting area?

10   calls and answered those.                                                      10     A.       Yes.

11     Q.       Did you also previously tell me that --                             11     Q.       Do you expect to see a firearm at a gas

12   did -- withdrawn.                                                              12   station?

13              Do you recall us previously discussing                              13     A.       No.

14   where you'd expect to see a firearm is?                                        14     Q.       Do you expect to see a firearm at a

15     A.       Yes.                                                                15   restaurant?

16              MR. BOCHAIN:     Objection, Your Honor.                             16     A.       No.

17   Foundation.       I'm trying to understand that.                               17     Q.       Do you expect to see a firearm on the street?

18              THE COURT:     I'm going to sustain that.     If                    18     A.       I -- professionally, I would look for it.     I

19   what you're doing is asking him a question, he either                          19   would not expect to see one laying in the street,

20   answers contrarily or needs his recollection                                   20   though.

21   refreshed from the deposition, that's fine, but not                            21     Q.       Would you expect to see a person carrying a

22   this indirect essentially parroting of his deposition                          22   firearm on the street?

23   testimony.    Ask him straight out the question.        If it                  23     A.       No.

24   differs from what he said in his deposition, you can                           24     Q.       Does a person carrying a firearm concealed

25   show him his deposition, and if he wishes to adjust                            25   reduce the risk of confusion over a firearm being




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 1   present in a place?                                                            1   Argumentative and speculation.

 2              MR. BOCHAIN:     Objection, Your Honor.                             2              THE COURT:     Overruled.

 3   Argumentative.                                                                 3              THE WITNESS:     If it was carry concealed, less

 4              MR. ATKINSON:     Let me rephrase that, Your                        4   risk, yes.

 5   Honor.                                                                         5   BY MR. ATKINSON:

 6              THE COURT:     So are you asking him whether his                    6     Q.       Why does -- withdrawn.

 7   paragraph 16 in his affidavit related to presence of                           7              Does -- would you agree with me that someone

 8   firearms is related to public or concealed carry?                              8   carrying a firearm was more likely to -- carrying a

 9   Maybe you should clarify.                                                      9   firearm openly is more likely to cause alarm to other

10              MR. ATKINSON:     I don't think he drew that                       10   people?

11   distinction.                                                                  11     A.       Carrying openly?

12              THE COURT:     I'm wondering if your question is                   12     Q.       Correct.

13   attempting to do that.                                                        13     A.       Yes, that's correct.

14              MR. ATKINSON:     Yes.     I am attempting to do                   14     Q.       Would you agree with me that a person

15   that.                                                                         15   carrying a firearm concealed is less likely to cause

16              THE COURT:     Go ahead.                                           16   alarm to people?

17   BY MR. ATKINSON:                                                              17     A.       Yes.

18     Q.       Colonel Lewis, would you agree with me that                        18     Q.       Going back to your affidavit for a second,

19   somebody open carrying a firearm is highly likely to                          19   why does a firearm increase the risk of conflict by

20   cause confusion in a certain place?                                           20   its mere presence?

21     A.       Yes.                                                               21     A.       So if a fight breaks out and there's a

22     Q.       Would you agree with me that someone carrying                      22   firearm present, the opportunity for a gun fight or

23   a firearm concealed is less likely to cause the risk                          23   gun to be involved increases dramatically because

24   of confusion in a place?                                                      24   there's actually a gun there versus when there's no

25              MR. BOCHAIN:     Objection, Your Honor.                            25   gun there, a fight breaks out, there's not going to




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 1   be a gun involved.                                                             1              THE COURT:     All right.   And you've marked

 2     Q.       But there would have to be a fight first?                           2   this as?

 3     A.       Fight, conflict, verbal, any type -- when I                         3              MR. ATKINSON:     As Plaintiff's Exhibit 6, Your

 4   say, "fight," I'm not saying physical fight.          A                        4   Honor.

 5   conflict could be verbal in nature.                                            5              THE COURT:     It's in evidence.

 6     Q.       Understood.     Do you -- the second reason you                     6              MR. ATKINSON:     For identification only.

 7   gave -- withdrawn.                                                             7              THE COURT:     Is it not in evidence?   Are you

 8              The second reason that you gave for the                             8   offering it?

 9   firearms prohibition in state parks and forests is                             9              MR. ATKINSON:     So what I'm doing is because

10   that there's a substantial risk that discharging a                            10   these are Westlaw printouts based on discussions I

11   firearm even in self-defense would strike a bystander                         11   had with the state, we decided the best way to

12   unintentionally particularly in the middle of many                            12   proceed was to ask you to take judicial notice rather

13   parks that can become crowded in the summer months,                           13   than entering it into evidence as a full exhibit.

14   correct?                                                                      14              THE COURT:     So the judicial notice is that

15     A.       Correct.                                                           15   there exists a statute denominated Connecticut

16     Q.       Are you familiar with Connecticut General                          16   General Statute 53-203 captioned "Unlawful Discharge

17   Statute 53-203?                                                               17   of Firearms."     Go ahead.

18     A.       I'd have to review it to be 100 percent.                           18              MR. ATKINSON:     Thank you, Your Honor.

19              MR. ATKINSON:     Your Honor, if I may, I'd like                   19   BY MR. ATKINSON:

20   to show Colonel Lewis what's been marked as                                   20     Q.       Colonel Lewis, have you had a chance to

21   Plaintiff's Exhibit 6 for identification.                                     21   review what's been marked as Plaintiff's Exhibit 6?

22              While Colonel Lewis is reviewing that, Your                        22     A.       I have.

23   Honor, I'd also ask you to take judicial notice of                            23     Q.       What is that, Colonel Lewis?

24   the content of Connecticut General Statute                                    24     A.       It's a state law for unlawful discharge of

25   Section 53-203.                                                               25   firearms.




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 1     Q.      Can you read for us what that copy says?                         1              THE COURT:   You may.

 2     A.      Sure.   The statute, "Any person who                             2   BY MR. ATKINSON:

 3   intentionally, negligently or carelessly discharges                        3     Q.       The third reason you gave in your affidavit

 4   any firearm in such a manner as to be likely to cause                      4   for the prohibition on carrying a firearm in state

 5   bodily injury or death to persons or domestic                              5   parks was that there are no areas in many state parks

 6   animals, or the wanton destruction of property, shall                      6   and forests including beaches and swimming areas to

 7   be guilty of a Class C misdemeanor."                                       7   properly store firearms, correct?

 8     Q.      As part of the EnCon officer's POSTC-approved                    8     A.       Correct.

 9   training that you mentioned earlier, do officers                           9     Q.       And would you be able to give us, as you sit

10   receive training to enforce 53-203?                                       10   here today, an example of a park where that concern

11     A.      I don't know.                                                   11   would be present?

12     Q.      Does the same risk of striking a bystander                      12     A.       Hammonasset Beach State Park.

13   with an errant shot apply to a hunter?                                    13     Q.       What is the primary basis for this concern,

14     A.      Yes.                                                            14   Colonel?

15     Q.      Is that same risk present on a crowded                          15     A.       That if someone was going to Hammonasset

16   street?                                                                   16   Beach State Park, the primary proper use is going to

17     A.      Yes.                                                            17   the beach, swimming, wading in the beach, sunbathing,

18     Q.      How about a movie theater?                                      18   and then carrying concealed while wearing a bathing

19     A.      Yes.                                                            19   suit does not -- is very difficult.

20     Q.      A restaurant?                                                   20     Q.       Do you also have a concern that a child could

21     A.      Yes.                                                            21   gain access to an unattended firearm in such a

22     Q.      A gas station?                                                  22   situation?

23     A.      Yes.                                                            23     A.       If a person chose to leave the firearm

24             MR. ATKINSON:     If I may I approach Colonel                   24   unattended because they went swimming, yes.

25   Lewis to take back Exhibit 6, Your Honor.                                 25              MR. ATKINSON:     If I may, Your Honor, I'd like




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 1   to show Colonel Lewis what has been marked as                              1   training to enforce Section 53-21?

 2   Plaintiff's Exhibit 5.                                                     2     A.       I do not know.

 3             MR. BOCHAIN:     Your Honor, just for                            3              MR. ATKINSON:     Your Honor, that's all the

 4   expediency, we wouldn't object to this coming in.                          4   questions I have as to that exhibit.

 5             THE COURT:     After we finish this exhibit,                     5              THE COURT:   Let's take a five-minute recess.

 6   we'll take a brief recess.                                                 6              (Recess taken.)

 7   BY MR. ATKINSON:                                                           7              (Call to Order, 11:46 a.m.)

 8     Q.      And have you reviewed that, Colonel?                             8              THE COURT:   Please be seated.    Continue

 9     A.      Yes.                                                             9   direct examination of Colonel Lewis.

10     Q.      What is it?                                                     10              MR. ATKINSON:     Thank you, Your Honor.

11     A.      It's a state -- state law 53-21 which is                        11   BY MR. ATKINSON:

12   injury or risk of injury to or impairing morals of                        12     Q.       Colonel, do you recall that before the break,

13   children and sale of children.                                            13   we were talking about your concern about the proper

14     Q.      And according to your understanding, what                       14   storage of firearms in state parks and forests?

15   does that law prohibit?                                                   15     A.       Yes.

16     A.      Endangering a child or allowing -- or as the                    16     Q.       To the best of your knowledge, is there --

17   guardian or parent of a child, allowing that child to                     17   has DEEP enacted any rule that would prohibit people

18   be placed in danger.                                                      18   from leaving firearms unattended in a state park or

19     Q.      And based on your understanding of that law,                    19   forest?

20   leaving a firearm on a beach unattended where a child                     20     A.       No.

21   could access it would pose a risk of injury to a                          21     Q.       To the best of your knowledge, does DEEP post

22   minor, wouldn't it, correct?                                              22   a notification at a state park or forest warning

23     A.      If the minor retrieved the gun.                                 23   people not to leave firearms unattended?

24     Q.      Do you know as a part of the POSTC education                    24     A.       No.

25   you mentioned earlier, if EnCon officers receive                          25     Q.       To the best of your knowledge, is there




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 1   anything that would prevent DEEP from posting a sign                     1   Plaintiff's Exhibit 17?

 2   at the entrance to a state park or forest telling                        2     A.       Yes.

 3   people not to leave firearms unattended?                                 3     Q.       What is that?

 4     A.    No.                                                              4     A.       It's a -- appears to be a list from one of

 5     Q.    Going back to your affidavit, the fourth                         5   our web pages where -- listing state parks where some

 6   reason that you gave for the prohibition on the                          6   hunting may occur at, yeah.

 7   carrying of firearms in state parks and forests was                      7     Q.       Okay.   Pardon me.

 8   that it serves DEEP's conservation goals particularly                    8              Can you count for us the number of parks that

 9   with respect to hunting, correct?                                        9   are listed on that exhibit, Colonel?

10     A.    Correct.                                                        10              MR. BOCHAIN:    Your Honor, objection.   The

11     Q.    There are laws -- to your knowledge, are                        11   document speaks for itself.

12   there laws in Connecticut that prohibit out-of-season                   12              MR. ATKINSON:    I'll move on, Your Honor.

13   hunting in Connecticut state parks and forests?                         13   BY MR. ATKINSON:

14     A.    Yes.                                                            14     Q.       Colonel, is it your understanding that

15     Q.    As you sit here today, do you know how many                     15   Connecticut permits hunting year-round for coyote?

16   state parks and forests Connecticut permits hunting                     16     A.       Generally speaking, yes.

17   in?                                                                     17     Q.       Is it also your understanding that hunters

18     A.    No.                                                             18   can use firearms to hunt for coyote year-round?

19           MR. ATKINSON:     Your Honor, if I may show                     19     A.       Yes.

20   Colonel Lewis what has been marked as Plaintiff's                       20     Q.       Going back to your affidavit, another reason

21   Exhibit 17 which I believe's a full exhibit to which                    21   that you give for the firearms prohibition is it

22   no objection was made.                                                  22   helps DEEP to maintain parks and forests as places of

23           THE COURT:     You may.                                         23   peace, relaxation and quiet enjoyment, correct?

24   BY MR. ATKINSON:                                                        24     A.       Correct.

25     Q.    Colonel, have you had a chance to review                        25     Q.       Would those objectives be substantially




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 1   affected by someone carrying a concealed firearm?                        1     Q.       Colonel Lewis, have you had experience with

 2     A.    If it's concealed and not noticed, no.                           2   the confusion that could arise when someone notices

 3     Q.    Going back to hunting for a minute, is it                        3   another person carrying a firearm in state parks and

 4   your understanding that -- let me ask it this way --                     4   forests?

 5   withdrawn.                                                               5     A.       Do I have personal experience, you're asking?

 6           DEEP currently permits hunters to use                            6     Q.       Yes.

 7   22-caliber rimfire handguns in some state parks and                      7     A.       No, I do not.

 8   forests to hunt certain types of game, correct?                          8     Q.       By virtue of your position in -- as director

 9     A.    For small game hunting where authorized, yes.                    9   of the EnCon Police, do you have professional

10     Q.    Would a 22 -- withdrawn.                                        10   experience in the confusion that could result from

11           Would a 22-caliber handgun cause the same                       11   someone noticing someone carrying a firearm in state

12   risk of confusion as someone carrying -- withdrawn.                     12   parks and forests?

13           Would a 22-caliber handgun carried by a                         13     A.       Yes.

14   hunter for purposes of hunting cause the same risk of                   14     Q.       Does your professional experience in that

15   confusion as someone carrying a concealed handgun in                    15   regard extend to the confusion over someone carrying

16   a state park or forest?                                                 16   a handgun in state parks and forests?

17           MR. BOCHAIN:     Objection, Your Honor.                         17     A.       Can you repeat the question.

18   Speculation.                                                            18     Q.       Sure.   Does your professional experience with

19           THE COURT:     I'm going to ask you to revise                   19   the confusion that could result from someone noticing

20   your question to --                                                     20   someone carrying a firearm in state parks and

21           MR. ATKINSON:     Okay, Your Honor.                             21   forests, does that professional experience also

22           THE COURT:     -- his knowledge and/or                          22   include experience with the confusion that could

23   experience.                                                             23   arise from someone carrying a 22-caliber handgun --

24           MR. ATKINSON:     I will, Your Honor.                           24   withdrawn -- someone carrying a handgun in state

25   BY MR. ATKINSON:                                                        25   parks and forests?




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 1     A.       Yes.                                                            1             THE COURT:     All right.

 2     Q.       Okay.   How would you describe the confusion                    2             THE WITNESS:     Okay.

 3   that you have encountered in your professional                             3   BY MR. ATKINSON:

 4   experience over someone carrying a handgun in state                        4     Q.      Colonel, do you recognize that exhibit?

 5   parks and forests?                                                         5     A.      It appears to be a blurry copy of a NIBRS

 6     A.       It's not been allowed, to my knowledge, since                   6   report for past couple of years from our agency.

 7   state parks have been in existence and it's not                            7     Q.      I apologize for the blurriness.      So if we

 8   expected, so we receive calls to our dispatch center                       8   need to slow down at any point, just let me know and

 9   for -- requesting calls for service because someone                        9   we'll take our time with that.        All right?

10   has a firearm or someone hears shooting in a state                        10     A.      Yes.

11   park or forest.                                                           11     Q.      What does the term "NIBRS" stand for?

12     Q.       Colonel, a person can become the victim of a                   12     A.      To the best of my knowledge, National

13   crime almost anywhere, correct?                                           13   Incident Based Reporting System.

14     A.       Correct.                                                       14     Q.      What do you understand this exhibit to

15     Q.       And that includes becoming the victim of a                     15   depict?

16   violent crime, correct?                                                   16     A.      This is what we report to FBI Department of

17     A.       Correct.                                                       17   Justice for our annual crime statistics for

18     Q.       And that would include that someone could                      18   misdemeanor felony arrests from our division.

19   become a victim of a crime in a Connecticut state                         19     Q.      So just to be clear, the data that is shown

20   park or forest, correct?                                                  20   in this exhibit is only -- only applies to matters

21     A.       Correct.                                                       21   handled by the EnCon Police Department?

22              MR. ATKINSON:   Your Honor, if I may approach                  22     A.      Yes.    If I can clarify, I said, "arrested."

23   Colonel Lewis to show him what's been marked as                           23   I mean crimes reported to us that we investigated,

24   Plaintiff's Exhibit 10 to which I believe we agreed                       24   but they don't all necessarily end in an arrest.

25   to admit this as a full exhibit.                                          25     Q.      Thank you.




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 1     A.       But yes, our division only.                                     1   means that it's not under -- the case is closed,

 2     Q.       If I may direct your attention, and we can                      2   we're not currently investigating it.

 3   stick to the first page of this, to the right side                         3     Q.      So just so we're clear, none of the crimes

 4   where there's the column that says, "reported,"                            4   that are reported on this list were handled by the

 5   underneath "offenses," do you see that?                                    5   state police?

 6     A.       Yes.                                                            6     A.      I can't say that 100 percent.

 7     Q.       What does the term "reported" mean in this                      7     Q.      Let's go to the page that depicts the 2019

 8   context?                                                                   8   printout.

 9     A.       So that would be in our case management                         9     A.      Okay.

10   system, that means one of these categories of crimes                      10     Q.      Do you see any crimes on there that in your

11   was reported either officer initiated or received a                       11   professional experience you believe a person might

12   report from another agency or the public, got                             12   have benefitted from having a handgun to protect him

13   referred to us somehow, so we -- an officer is                            13   or herself with?

14   assigned a case that contained one of these elements.                     14             MR. BOCHAIN:     Objection, Your Honor.

15     Q.       Do you see a column next to that with the                      15   Speculation.

16   label "cleared"?                                                          16             THE COURT:     I don't understand that question.

17     A.       Yes.                                                           17             MR. ATKINSON:     So, Your Honor, I'm basically

18     Q.       What does the term "cleared" stand for in                      18   asking him if --

19   this context?                                                             19             THE COURT:     You want him to look at these

20     A.       So in our system, that means -- so it's the                    20   numbers and opine whether having a handgun would have

21   case is either open under investigation or it's                           21   prevented these crimes.

22   cleared.    So "cleared" can mean by -- it can be                         22             MR. ATKINSON:     So I have asked him generally.

23   cleared by arrest, it can be cleared by warrant, it                       23   I can get more specific.      I didn't ask him whether it

24   can be cleared by other means.     So it can be cleared                   24   would have prevented the crime.        I asked him whether

25   by no criminal action or no criminal aspect.     It just                  25   a person might have benefitted.        I have not asked




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 1   him --                                                                      1   her.

 2              THE COURT:   I think that's speculative.                         2   BY MR. ATKINSON:

 3   You're going to have to find another way to ask that                        3     Q.      Colonel Lewis, have you had a chance to

 4   that will relate to these statistics and what is                            4   review the content of that stipulation?

 5   known about the circumstances.                                              5     A.      Yes.

 6              MR. ATKINSON:   Understood, Your Honor.     I                    6     Q.      What is your understanding of a firearms

 7   will move on.                                                               7   hunting license?

 8   BY MR. ATKINSON:                                                            8     A.      It's a hunting license that allows people to

 9     Q.       Colonel, were you in the courtroom earlier                       9   hunt with a firearm.      It's the base license and

10   when my colleagues and I stipulated to certain facts                       10   there's other permits that people can purchase for

11   being accurate?                                                            11   additional privileges.

12     A.       Yes.                                                            12     Q.      Does a firearm -- withdrawn.

13              MR. ATKINSON:   I believe we marked that as                     13             A firearms hunting license, to your

14   Joint Exhibit A, Your Honor.     I would like to place                     14   understanding, does that constitute permission to

15   that in front of Colonel Lewis at this time.                               15   carry a firearm into a state park or forest?

16   BY MR. ATKINSON:                                                           16             MR. BOCHAIN:     Objection, Your Honor.

17     Q.       Can I have Exhibit 17 back?                                     17   Relevance.

18     A.       Seventeen is here and 10 is right there.                        18             THE COURT:     Overruled.

19              MR. ATKINSON:   Your Honor, if the record                       19             THE WITNESS:     Repeat the question, please.

20   could just reflect, I did take Exhibits 10 and 17                          20   BY MR. ATKINSON:

21   back from Colonel Lewis.                                                   21     Q.      Yes.    To your understanding, does a firearm

22              THE COURT:   Eventually counsel will have to                    22   hunting license constitute permission by DEEP to

23   put all the exhibits that were used or admitted in                         23   carry a firearm into a state park or forest?

24   the hands of Ms. Barry.                                                    24     A.      Only under certain conditions in an area, so

25              MR. ATKINSON:   I will coordinate that with                     25   generally, no.




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 1     Q.       What conditions would be placed on that in an                    1     A.      So shotgun deer season, public land, a

 2   area?    Can you give us an example?                                        2   firearms hunting license by itself is not enough.

 3     A.       The area would have to be listed as                              3     Q.      What else does a person need to have in

 4   designated acreage open to -- as a public hunting                           4   shotgun hunting season for deer to carry a firearm

 5   area and designated for a species that would infer --                       5   onto -- into that area?

 6   for a firearm hunting season species, like small                            6     A.      They would need the public land shotgun no

 7   game, shotgun deer; in spring, firearms turkey, you                         7   lottery permit license.

 8   know, those seasons species.     So when we designate                       8     Q.      Would the combination of the firearms hunting

 9   our seasons in public lands, we get very -- very in                         9   license and the shotgun no lottery deer hunting

10   the minutia in Connecticut.                                                10   license together give a person permission to carry a

11              So one parcel of public hand could only be                      11   firearm into that specific area during that specific

12   open to archery hunting.     Another parcel of land can                    12   season?

13   be open to small game with firearms, shotgun deer,                         13     A.      So then you have to go under the hunting

14   archery deer, spring turkey, fall turkey.     It depends                   14   regulations, what is the allowable firearms and

15   on the individual, individual property.                                    15   ammunition.      So that's restricted to ten-gauge or

16     Q.       Okay.   Let's talk about a -- so withdrawn.                     16   smaller, no basically slugs, no buckshot allowed.

17              There are state parks and forests that permit                   17     Q.      So --

18   hunting deer with firearms, correct?                                       18     A.      And no rifles, sorry.

19     A.       Yes.                                                            19     Q.      The combination of the deer hunting license

20     Q.       And they permit that within certain seasons,                    20   that you described, the firearms hunting license,

21   correct?                                                                   21   give a person permission to carry a shotgun that's

22     A.       For the state land shotgun season, yes.                         22   compliant with the regulations onto a state park land

23     Q.       A firearms hunting license gives a person                       23   within a specific season for hunting deer, correct?

24   permission to carry a firearm into those state parks                       24     A.      Yes.

25   during hunting season, correct?                                            25     Q.      Colonel, do you also see on the stipulation




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 1   the portion where we referred to -- paragraph 2 is                           1   it's at, state land, public land, method of take, if

 2   what I'm referring to.       Have you had a chance to                        2   it's deer, the section of the deer, and there's a

 3   review that?                                                                 3   couple other questions that filter off of the deer,

 4     A.       Our harvest report?                                               4   sex of the deer.

 5     Q.       Yes.                                                              5     Q.       When you reference "method of take," can you

 6     A.       Yes.                                                              6   explain to us what you mean by "method of take"?

 7     Q.       What is your understanding of the DEEP's                          7     A.       Firearms, archery, muzzleloader.

 8   harvest tagging system?                                                      8     Q.       Does that require a hunter to list the

 9     A.       It's a self-reporting system.      So hunters                     9   specific firearm that they used?

10   while they're deer hunting, they're required to have                        10     A.       Not to my knowledge.

11   a harvest record on their person.        They harvest the                   11     Q.       Would the same reporting requirements apply

12   deer, they immediately fill out that harvest                                12   for a hunter harvesting turkey?

13   information, and then they have to call and report it                       13     A.       Yes.   Very similar for turkey.

14   to DEEP within 24 or 72, I can't remember the exact                         14     Q.       To harvest a deer, a hunter would have to

15   hours, but there's a short deadline they have to                            15   kill it, correct?

16   actually report it to DEEP.       That can be through the                   16     A.       Yes.

17   website or telephone-based system where then we enter                       17     Q.       And if a hunter was using a firearm, he'd

18   that data into pour departmental harvest report data                        18   have to discharge that firearm at a deer to kill it,

19   system.                                                                     19   correct?

20     Q.       As you sit here today, do you know what                          20     A.       Correct.

21   information needs to be reported on, I believe you                          21     Q.       And the same thing would apply for a turkey

22   said, that harvest record?                                                  22   hunter?

23     A.       So your harvest record, to the best of my                        23     A.       Yes.

24   knowledge, it's the conservation ID number that                             24              MR. ATKINSON:     May I have a moment to confer

25   belongs to the person, it's the town location where                         25   with Mr. Nastri, Your Honor?




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 1              No further questions for Colonel Lewis, Your                      1   is as soon as we're done with examination, just maybe

 2   Honor.                                                                       2   a brief recess so we could confer with one another.

 3              THE COURT:     Thank you.   Cross-examination.                    3              THE COURT:     Sure.    That's fine.     Let's be

 4              MR. BOCHAIN:     Your Honor, while Attorney                       4   back at one.

 5   Atkinson is just organizing his things, I see it's                           5              (Recess taken.)

 6   about 12:15.      I'll ask what Your Honor's preference                      6              (Call to Order, 1:06 p.m.)

 7   is if we want to take an early lunch.                                        7              THE COURT:     Please be seated.       And Colonel

 8              THE COURT:     I'll turn it around and ask was                    8   Lewis, you remain under oath.

 9   your preference is.                                                          9              THE WITNESS:     Yes.

10              MR. BOCHAIN:     I can always eat and I'm a                      10              THE COURT:     All right.     Examination of

11   little hungry.                                                              11   Colonel Lewis.

12              THE COURT:     Why don't we take a lunch until                   12              MR. BOCHAIN:     All right.     And, Your Honor,

13   one.     And is Colonel Lewis our last witness?                             13   before I begin, I would just ask the Court's

14              MR. ATKINSON:     From the plaintiff's                           14   permission, he is one of our witnesses.            So I would

15   perspective, yes.                                                           15   ask permission to just go a little bit beyond the

16              THE COURT:     From the defendants?                              16   scope of examination.

17              MR. BOCHAIN:     I believe that will be the                      17              THE COURT:     We like to have witnesses called

18   case, Your Honor.       I'm going to confer with my                         18   only once and so -- so the answer to your question is

19   colleagues, but I believe that's going to be the                            19   yes.   I don't know whether you can divide that up,

20   case.                                                                       20   but as if he were being presented by you versus

21              THE COURT:     And then when he is finished,                     21   cross-examination, but we would like to hear

22   will we be moving into argument?                                            22   everything from Colonel Lewis.

23              MR. ATKINSON:     That would be our preference,                  23              MR. ATKINSON:     Your Honor, perhaps to make it

24   Your Honor.                                                                 24   a little bit easier, I recognize that he is also the

25              MR. BOCHAIN:     The only thing I would request                  25   state's witness but this is cross.          I will not raise




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 1   leading question objections, so if that makes it                          1   just want to take it one step back, if I could, just

 2   easier for Attorney Bochain.                                              2   to give some better context.

 3             THE COURT:     He doesn't get to lead no matter                 3              Can you tell us where you're from originally?

 4   what.                                                                     4     A.       Born in Columbus, Ohio, moved around there a

 5             MR. BOCHAIN:     Without objection, Your Honor.                 5   little bit, went to Tennessee, graduated high school

 6   I appreciate that, Attorney Atkinson.                                     6   in Tennessee, and then college, went to Auburn.

 7   BY MR. BOCHAIN:                                                           7     Q.       Auburn and where is that?

 8     Q.      Colonel, if I could just ask you what                           8     A.       University in Alabama.

 9   documents do you have in front of you currently?                          9     Q.       And when did you graduate?

10             MR. BOCHAIN:     May I approach the witness,                   10     A.       Graduated there in '97.

11   Your Honor?                                                              11     Q.       And did you have a particular major?

12             THE COURT:     Yes.                                            12     A.       Wildlife science.

13             THE WITNESS:     That's the hunting license                    13     Q.       Okay.     And you graduated, you said, in '98 or

14   report.                                                                  14   '97?

15             MR. BOCHAIN:     So I'm just going to return the               15     A.       '97, yes.

16   part -- it's the stipulation, Your Honor, I'm just                       16     Q.       All right.     And then after that, is that when

17   going to return that back to Attorney Atkinson.                          17   you started working in Alabama as a conservation

18           CROSS-EXAMINATION OF CHRISTOPHER LEWIS                           18   officer?

19   BY MR. BOCHAIN:                                                          19     A.       Shortly thereafter, I started in Alabama in

20     Q.      Good afternoon, Colonel.                                       20   January of 1998.

21     A.      Good afternoon.                                                21     Q.       Okay.     And that's where you stayed for, it

22     Q.      How are you?                                                   22   seemed like, 15, 20 years or so?

23     A.      Good.                                                          23     A.       About 22 years.

24     Q.      So I believe Attorney Atkinson asked you some                  24     Q.       Twenty-two years.     And then after that, you

25   questions about your professional experience, but I                      25   assumed the role that you're currently in?




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 1     A.      Correct.                                                        1   officers?

 2     Q.      And that was in November 2019?                                  2     A.       Yes.

 3     A.      2019, yes.                                                      3     Q.       And are they all in the same location?

 4     Q.      And can you just describe your role -- what                     4     A.       No.     We're -- we divide up our state by

 5   is your current role again?                                               5   district.    So each geographical region of the state

 6     A.      So I'm the division director for                                6   is a separate district and we have a headquarters

 7   environmental conservation police division.                               7   sector.

 8     Q.      Is that within a particular department?                         8     Q.       How many districts is that?

 9     A.      It is within the Department of Energy and                       9     A.       We divide up the state ourselves in three

10   Environmental Protection.                                                10   districts.

11     Q.      Can you just describe your role for the Court                  11     Q.       All right.     And where are those districts?

12   a little bit?                                                            12     A.       Marine district which is every town along the

13     A.      Overseeing the environmental conservation                      13   coast of Long Island Sound, and then we have a

14   police division, responsible for enforcement,                            14   western district which is, generally speaking, those

15   regulating hunting, fishing, boating, ATV use, state                     15   towns above the marine district west of the

16   lands and state park forest patrols and enforcement.                     16   Connecticut River, and eastern district is the towns

17     Q.      And I think on examination you had mentioned                   17   east of the Connecticut River above the marine zone

18   -- how many staff do you oversee?                                        18   district.

19     A.      There's -- I oversee 51 officers and                           19     Q.       All right.     And are there a certain number of

20   approximately 10 civilian non-sworn staff.                               20   officers in each district?

21     Q.      And those non-civilian sworn staff, what are                   21     A.       Yes.

22   their roles?                                                             22     Q.       All right.     How many are in the west

23     A.      Eight are dispatchers, two are administrative                  23   district?

24   assistants.                                                              24     A.       The west district is 17 officers currently.

25     Q.      Okay.   So the 51 officers, are those EnCon                    25     Q.       All right.     How about the marine district?




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 1     A.      Marine district will be 16 officers right                        1     Q.       Now, I'd like you to turn, if you could,

 2   now.                                                                       2   there's an exhibit binder in front of you, to

 3     Q.      All right.    And how about the east district?                   3   Defendant's 136 which is in evidence.       I would just

 4     A.      Fifteen officers.                                                4   ask you to turn to that if you could.

 5     Q.      All right.    And so if my math is correct, and                  5     A.       Okay.

 6   I know my math yesterday wasn't really correct, but                        6     Q.       You have that in front of you?

 7   if my math is correct, that adds up to 48.      Does that                  7     A.       Yes.

 8   sound about right?                                                         8     Q.       I'd ask you to turn to page 4, the

 9     A.      Yes.                                                             9   paragraph 12.

10     Q.      So is there -- it sounds like there's 33                        10     A.       Okay.

11   others.     Where are they located?                                       11     Q.       All right.     And so I'm going to direct your

12     A.      Our headquarters in Hartford.                                   12   attention to three lines from the bottom to the

13     Q.      Okay.    And do those individuals in Hartford                   13   sentence beginning with, "In February 2023."          Do you

14   serve in a particular capacity?                                           14   see that there?

15     A.      One is an assistant director which is a rank                    15     A.       Yes.

16   of major, and then I have a training sergeant, a                          16     Q.       All right.     And so it says, "In

17   sergeant that's responsible for our training, and                         17   February 2023," which is few months ago, you received

18   then I have an administrative sergeant that handles                       18   approximately 1400 -- EnCon received approximately

19   various administrative duties, purchasing equipment,                      19   1,400 calls.       Can you just explain what you mean by

20   that type of stuff.                                                       20   "calls" there?

21     Q.      And you are in that office as well?                             21     A.       Calls for service or individual -- in our

22     A.      Yes.    And myself in the office.                               22   records management system, we -- CSF numbers are

23     Q.      All right.    So the four of you serve in an                    23   calls for service.       So that can be a call we received

24   administrative capacity?                                                  24   from the public through our dispatch line, a call

25     A.      Yes.    Administrative capacity.                                25   that's transferred from a 9-1-1 answering service, or




                                                               297                                                                               298


 1   it could be an officer-initiated call.                                     1   sentences, "In busier summer months, EnCon may

 2     Q.      All right.    So those calls get routed through                  2   receive approximately 2,000 calls per month."          And

 3   dispatch?                                                                  3   then it continues, for instance, "In June 2022, EnCon

 4     A.      Yes.    Even the officer initiated calls get                     4   received approximately 1,900 calls."       Do you see

 5   reported to dispatch.                                                      5   that?

 6     Q.      So once a call comes in, what's EnCon's                          6     A.       Yes.

 7   response to that?                                                          7     Q.       And again, if my math is correct, that's

 8     A.      So the dispatcher determines what the nature                     8   about 475 calls per week?

 9   of the call is, complaint, what service it needs, and                      9     A.       It sounds about right.

10   if it requires an officer response, then dispatch                         10     Q.       Can things get rather busy for EnCon?

11   will dispatch it to the closest available officer.                        11     A.       Yes.

12     Q.      All right.    And then are those calls, would                   12     Q.       Is there a particular month -- a particular

13   they come from across the state?                                          13   season that gets really busy for you?

14     A.      Yes.                                                            14     A.       It would be our summer season.

15     Q.      All right.    And going -- again, if my math is                 15     Q.       Why is that?

16   correct, so we had 1,400 calls for February 2023, if                      16     A.       Calls for service increase, we have more

17   my math is correct, that's about 350 calls per week.                      17   visitors to the outdoors during the summer months.

18   Does that sound about right?                                              18   It's more activity.       We're juggling our tasks between

19     A.      It sounds about right.                                          19   state parks, state forests, boat, fishing.       In

20     Q.      And again, you have 48 officers in the field,                   20   Connecticut, the summers are nice, people are

21   so to speak, for EnCon?                                                   21   outside.

22     A.      Yes.                                                            22     Q.       And can you maybe explain, give some context

23     Q.      Now, if you look a little bit further, again,                   23   to the Court as to maybe the day-to-day operations

24   on page 4 of the document in front of you, the                            24   for, let's just start with the east district.

25   sentence that says, "In busier" -- it's two                               25     A.       Okay.    Depending on what time of year it is,




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 1   it can vary greatly.     So our focus in the spring will                    1     Q.       So I had asked questions about day-to-day

 2   be completely different in the summer.       Springtime,                    2   operations for the east district.       Would that be the

 3   we're working on spring fishing season.       Fishing                       3   same for the western district?

 4   typically opens February, March.       We're focusing on                    4     A.       Yes.

 5   that, fishing enforcement.     Transition to turkey                         5     Q.       All right.     And is there any difference in

 6   hunting season in the spring.       Then we roll into the                   6   terms of day-to-day operations for the marine

 7   summer months which is what we call our recreation                          7   district?

 8   season.     Our campgrounds open.    Visitors come into                     8     A.       No.     But the marine district has additional

 9   our swimming areas, our beaches, our parks.       That                      9   responsibilities for federal fisheries enforcement on

10   rolls through nowadays past Labor Day.                                     10   Long Island Sound.       So that requires additional work

11             And then once we get to end of September, the                    11   for those officers to complete those tasks as well.

12   beginning of fall, we transition to our fall hunting                       12   So that's a year-round commercial fisheries, they

13   season which is focused on, you know, we start out                         13   work on.

14   with like, our pheasant hunting, archery hunting,                          14     Q.       So that's a year-round focus?

15   rolling into November or December where we get into                        15     A.       Yeah.

16   our bulk of our deer hunting season.       And then we go                  16     Q.       All right.     And just so I'm clear, though,

17   into the winter which is a little bit slower, but we                       17   the focus -- the EnCon focuses on certain things in

18   have ice fishing, then some snowmobile depending on                        18   certain seasons?

19   the year, and then we also continue, the archery                           19     A.       Yes.

20   season rolls through January.                                              20     Q.       Now, I can't recall if you had mentioned this

21     Q.      All right.   So a couple of times you                            21   on direct from Attorney Atkinson's questions, but are

22   mentioned "focus."     And so is it fair to say that the                   22   EnCon officers trained police officers?

23   focus of EnCon ebbs and flows with the particular                          23     A.       Yes.

24   season?                                                                    24     Q.       All right.     Does EnCon conduct itself as a

25     A.      Yes.                                                             25   traditional police force?




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 1     A.      No.                                                               1   question, two questions about the education.       Can you

 2     Q.      Can you please explain that?                                      2   just unpack that a little bit?       What do you mean by

 3     A.      So traditionally, conservation officers,                          3   "education"?

 4   really around the country, really historically, like,                       4     A.       So education can be as simple as speaking to

 5   the oldest state law enforcement agency, pretty much                        5   a sporting group, you know, go to a sporting group

 6   every agency, because you had hunting and fishing                           6   club, they want to hear about a concern or something

 7   before you had cars and driving.       So conservation                      7   that's interesting, like currently black bears are

 8   enforcement has been around for, you know, hundreds                         8   very -- a popular topic in Connecticut.       So we might

 9   of years.     Within that, so it started out and it's                       9   get requests to speak on black bears or how do we

10   still that way.     It's one officer in a community or                     10   live with black bears.

11   several communities that's responsible for                                 11              Other education can be just as we contact

12   interacting with the community, being the ambassador                       12   people individually, it can be as simple as, say,

13   to the outdoors, working with the sportsmen, the                           13   someone is fishing, we can offer them advice, we can

14   sporting club, the landowners, to kind of achieve a                        14   advise the creel limits.       Some bodies of water have

15   common mission which kind of the North American                            15   certain gear restrictions.       So we can provide that

16   wildlife model where the user pays, the user supports                      16   education at that point.       That's on a one-on-one

17   the overall conservation of the species.                                   17   basis.

18             So the goal is to conserve and protect our                       18     Q.       How would you describe the approach that

19   natural resources.     So just by enforcement only                         19   EnCon officers take in interacting with people

20   doesn't get that done.     We're far more effective                        20   within -- let me back up.       Withdrawn.

21   through education and outreach.       So that's kind of                    21              Does EnCon have jurisdiction over state parks

22   the goal of our officers is serve as ambassadors to                        22   and forests?

23   the outdoors, educate people, do outreach, make those                      23     A.       Yes.

24   contacts with the public.                                                  24     Q.       How would you describe the approach that

25     Q.      All right.   So let me ask a follow-up                           25   EnCon takes when interacting with members of the




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 1   public in a state park and forest?                                          1   better, more customer service-type interaction versus

 2     A.       Within a state park, forests, so we kind of                      2   traditional officer dispatched to a call for service.

 3   take on the traditional park ranger model, the park                         3   If someone's in trouble, someone's in crisis, someone

 4   police model of, like, a customer service, you know,                        4   needs arrested, that's a completely different

 5   guide to the outdoors-type interaction, you know,                           5   approach.

 6   contacting someone, ensuring their enjoying their                           6     Q.       So in carrying out that approach, does EnCon

 7   time in the outdoors and that they're comfortable and                       7   actively take steps to portray a certain image to

 8   do they need any assistance to take advantage of the                        8   members of the public?

 9   resources we have.                                                          9     A.       Yes, we do.

10     Q.       Since you've been in charge, since 2019 when                    10     Q.       Can you describe that?

11   you've been in charge, has that been the approach                          11     A.       We try to take a non-confrontational

12   that EnCon has taken?                                                      12   approach.     We try to take a conversational approach

13     A.       Yes.    With the exception of the 2020 COVID.                   13   to engage people in conversation, less command

14     Q.       Okay.    Let's put 2020 COVID aside.   So to                    14   presence, if you will, more try to get the image of,

15   your knowledge, has EnCon always taken that approach                       15   you know, I'm your neighbor, I'm your friend, I'm in

16   to its functions?                                                          16   the community, we know each other, how you doing type

17     A.       Yes.                                                            17   of stuff.

18     Q.       All right.    How would you describe -- is that                 18     Q.       So an informal approach?

19   different in any way from a traditional police                             19     A.       Yes.   Very informal.

20   officer?                                                                   20     Q.       To your knowledge, has EnCon always taken

21     A.       In my opinion yes.    So we're contacting                       21   that approach?

22   people not looking -- not actually responding to a                         22     A.       Yes, to my knowledge.

23   crime in progress, not responding to a call for                            23     Q.       Let me rephrase that.    Has EnCon always

24   service.    We initiate contacts to assist people to                       24   sought to portray that image to members of the

25   try to see if there's something we can do to make it                       25   public?




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 1     A.       Yes.                                                             1   would not normally act.      So oftentimes firearms

 2     Q.       Now, Attorney Atkinson had asked you some                        2   involved where a normal, you know, average person,

 3   questions about your knowledge pertaining to                                3   even though they did have a firearm, would not pull

 4   Section 23-4-1c of the Connecticut State Regulations.                       4   the firearm or handle the firearm, sometimes alcohol

 5   Do you recall that?                                                         5   is involved, people will want to handle a firearm and

 6     A.       Yes.                                                             6   they can act irresponsibly because they're under the

 7     Q.       All right.    I'm going to ask you to turn --                    7   influence.

 8   take, again, a look at page -- Defendant's 136 which                        8     Q.       And when you say, "act irresponsibly," does

 9   is in front of you and turn to page 6, paragraph 16,                        9   that mean escalate the situation?

10   subparagraph A.      Let me know when you get there.                       10     A.       Escalate situations, you know, act in a

11     A.       I'm here.                                                       11   reckless manner, you know, shooting in the air,

12     Q.       All right.    So I believe Attorney Atkinson                    12   shooting just to be shooting, where, you know, in my

13   had asked you some questions about certain statements                      13   experience, that can be attributed to being under the

14   here.   I'm not going to go through every single one                       14   influence of alcohol.

15   but I was hoping we could get some clarity on a few                        15     Q.       All right.    Could the risk of confusion and

16   of them.                                                                   16   alarm still exist just by the mere presence of a gun

17              So I believe he asked you some questions                        17   putting aside alcohol?      Could the presence of a

18   about in your experience as an officer, why the                            18   firearm lead to those things that you just mentioned?

19   presence of alcohol and firearms could lead to                             19     A.       Confusion and alarm, yes, someone sees a gun.

20   confusion and alarm.      Do you recall that?                              20   In our parks, we don't allow people to have guns,

21     A.       Yes.                                                            21   generally speaking, in parks.       So that causes alarm

22     Q.       Can you just unpack that a little bit more?                     22   and generates calls to our dispatch and 9-1-1.

23   Why you have come to that conclusion?                                      23     Q.       And I believe Attorney Atkinson asked you

24     A.       Definitely when alcohol is involved, it                         24   some questions about where you might expect to see a

25   impairs people's judgment, people will act as they                         25   firearm.     Do you recall that?




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 1     A.    Yes.                                                              1     A.     Yes.

 2     Q.    All right.     And one of the questions he asked                  2     Q.     And what would that response look like?

 3   was whether you would expect to a see a firearm on a                      3     A.     We would try to send a minimum of two

 4   public street.   Do you recall that?                                      4   officers or more if there's more officers available.

 5     A.    Yes.                                                              5     Q.     You said a minimum of two officers?

 6     Q.    Can you just explain why you wouldn't expect                      6     A.     Yes.

 7   to see that on a public street, say in Connecticut?                       7     Q.     All right.    And you said if more were

 8     A.    Yeah.    So I wouldn't expect to see one                          8   available, you would send more?

 9   because there's not a purpose to have one.     I would                    9     A.     Yes.    Until we knew what the situation was.

10   not expect to see someone target shooting or hunting                     10     Q.     Okay.    So there's a possibility that you

11   on a public street.                                                      11   could send more -- when you say -- how many could you

12     Q.    And as an average citizen, would you expect                      12   send?

13   to see a firearm in a Connecticut state park, let's                      13     A.     So on -- say, one sector has four officers

14   say with a handgun or a pistol?                                          14   working at that time and they're all available, we

15     A.    No.                                                              15   would send all four.

16     Q.    And why is that?                                                 16     Q.     You would send all four?

17     A.    Because it hasn't been, it's not allowed                         17     A.     Yes.

18   currently, and it's a state park.                                        18     Q.     When you say, "sector," what do you mean by

19     Q.    I think I just want to make sure I heard your                    19   "sector"?

20   testimony correctly.    So since you've taken -- you                     20     A.     Each district is divided into two sectors.

21   were in charge of EnCon in 2019.     Has EnCon ever                      21   So we have -- like, for the east, we have a north

22   received calls about the presence of a firearm in a                      22   sector and the south sector, kind of a quarter of the

23   state park or forest?                                                    23   state.

24     A.    Yes, we have.                                                    24     Q.     Okay.    And so presently if EnCon received a

25     Q.    Has EnCon responded to those calls?                              25   call about the presence of a firearm, there's a




                                                              309                                                                           310


 1   possibility you could send all four officers in one                       1   other call.

 2   sector to respond to that call?                                           2     Q.     All right.    So let's talk about the summer

 3     A.    Yes.                                                              3   for a moment.    And remind me again what the focus for

 4     Q.    Now, in your declaration, I'm going to have                       4   -- let's stick with the marine division for a minute.

 5   you take a look again, it's page 6 again,                                 5   What's the focus of the marine division or marine

 6   paragraph 16, subparagraph A, the portion -- it's the                     6   sector in the summer?

 7   second sentence dealing with the risk of conflict                         7     A.     So marine sector, it's the parks, park

 8   that could be increased.    Do you see that?   It's the                   8   enforcement, park patrol, boating patrol, and then

 9   second sentence in subparagraph A.                                        9   fisheries enforcement.

10     A.    Yes.                                                             10     Q.     And so that's what they're focused on

11     Q.    All right.     And are there any safety concerns                 11   currently in, like, in the summer, right?

12   that go along with the risk of conflict?                                 12     A.     Yes.

13     A.    Well, the risk of a firearm being present                        13     Q.     All right.    And so if a call came in about

14   during a conflict increases the chance that that                         14   the presence of a gun in the summer, am I hearing you

15   firearm may be used.                                                     15   correctly that that could pull perhaps four officers

16     Q.    And let's just assume for a second that                          16   or more from their focus to respond to that one call?

17   someone -- you know, someone sees a gun, they make a                     17     A.     Yes.

18   call to EnCon, how would that -- unpack it a little                      18     Q.     Now, I believe Attorney Atkinson also asked

19   bit more.   How would that impact EnCon's focus in a                     19   you some questions about concerns that you might have

20   particular season?                                                       20   about proper storage of a firearm.    Do you recall

21     A.    So depending what the officers are focusing                      21   that?

22   on, they're going to be -- even if they're on a call,                    22     A.     Yes.

23   if it's not a public safety emergency call, like a                       23     Q.     All right.    And I think he asked you a

24   gun, like a person with a gun, unknown situation,                        24   question about Hammonasset Beach State Park not

25   then they'll be pulled from that call and sent to the                    25   having facilities for proper storage, correct?




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 1     A.     Yes.                                                             1   Court a little bit more as to how this particular

 2     Q.     All right.    To your knowledge, does any                        2   regulation furthers EnCon's conservation goals?

 3   facility across the state park and forest system have                     3     A.      This is our main regulation that says you

 4   what you would consider to be adequate facilities for                     4   don't hunt in state parks.         So, you know, the actual

 5   properly storing a firearm?                                               5   regulation starts hunting or carrying a firearm in

 6     A.     No.                                                              6   the state parks are prohibited except, and then we

 7     Q.     And can you just explain a little bit more                       7   carve out certain areas where we can allow hunting

 8   the risks that you see in your current -- based on                        8   within, you know, limited areas, limited different

 9   your experience about the unattended firearm?     Like,                   9   means.

10   what are those risks that you see?                                       10     Q.      All right.     So I'm going to ask you some more

11     A.     It could be stolen.    It could be picked up by                 11   questions about hunting in a moment, but when you

12   a child, so there's a risk there.     It can be picked                   12   said this particular regulation is the primary

13   up by a good Samaritan who is not familiar with                          13   regulation that you use to enforce those conservation

14   firearms and could have a negligent discharge.                           14   goals, so when you -- why is that?         Why is this the

15     Q.     I'm sorry.    What was the last thing you said?                 15   primary one?

16     A.     Could be picked up by a good Samaritan and if                   16     A.      So we have seasons for hunting, and so, like,

17   they're not familiar with firearms, they could                           17   if it's private property, it's easier to enforce

18   accidentally discharge it.                                               18   private property because you have to have permission

19     Q.     Now, Attorney Atkinson also asked you some                      19   from the landowner.      So state parks are public

20   questions about the conservation and environmental                       20   property, anybody can be there, and so because of the

21   goals that are furthered by this particular                              21   use of the land, it doesn't -- most parks don't

22   regulation that we're talking about.     Do you recall                   22   support hunting, so we don't allow hunting there.            So

23   that?                                                                    23   even though there's a season within that area

24     A.     Yes.                                                            24   elsewhere within -- as the property owner, the state

25     Q.     All right.    Can you just help explain to the                  25   owns the property, manages the wildlife, does not




                                                              313                                                                               314


 1   close the seasons and does not allow hunting on that                      1   presence of firearms, the general presence of

 2   property, even though if the season is in, it could                       2   allowing someone to have a handgun or a pistol in a

 3   be hunted outside of the property.                                        3   state park or forest might make it more difficult for

 4            And then furthermore, just for officers                          4   EnCon to advance its environmental or conservation

 5   enforcing the hunting or what we would call poaching,                     5   goals?

 6   hunting illegally, it's easier to stop poaching                           6     A.      Because where we have areas we don't allow

 7   activity, like, in a state park if there's no                             7   hunting, it's easier to enforce the antihunting when

 8   firearms allowed.     If it's treated as a wildlife                       8   we can also start out from the get-go saying there's

 9   sanctuary, no weapons capable of taking game animals                      9   no weapons allowed in that area.         So that's an easier

10   are allowed or supposed to be present, that's easy to                    10   metric to enforce.     We don't have to wait for someone

11   enforce because if someone is hiking and they see a                      11   to take the action of taking an animal to enforce

12   poacher/hunter with a firearm in that area, they're                      12   that.    We can stop that action before an animal is

13   going to report that because they know that's not                        13   taken.

14   something they're expecting to see.     So that kind of                  14     Q.      Now, I want to switch gears slightly and

15   furthers our conservation mission.                                       15   follow up on some of the questions that Attorney

16     Q.     And can you just explain a little bit more as                   16   Atkinson had asked you about several statutes.

17   to how the presence, the general right to have                           17             And do you recall some questions about

18   firearms, a handgun or a pistol, in a state park or                      18   General Statute 53-206d?

19   forest might impact EnCon's ability to enforce or                        19     A.      Yes.

20   carry out its conservation and environmental goals?                      20     Q.      All right.     And if I can show you what has

21     A.     So can you rephrase the question or try that                    21   been marked as -- it's Plaintiff's -- I think it's 7.

22   again?   I didn't quite get all that.                                    22             MR. BOCHAIN:     May I approach the witness,

23     Q.     Sure.   And I stumbled a little bit there and                   23   Your Honor?

24   that's my mistake.                                                       24             THE COURT:     You may.

25            So can you just explain to the Court how the                    25             THE WITNESS:     Okay.




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 1   BY MR. BOCHAIN:                                                                 1   attention to themselves in some way to be contacted

 2     Q.       Is that the -- I've showed you, it's General                         2   to figure out, A, they're intoxicated, and B, they

 3   Statute 53-206d?                                                                3   have a firearm.    So some action has already occurred

 4     A.       Yes.                                                                 4   for typically this going.

 5     Q.       Now, are there reasons why that particular                           5             The common thing in -- you see this in is if

 6   statute might not sufficiently address your concerns                            6   someone's driving under the influence and they have a

 7   that you identified in your declaration?                                        7   weapon on them, then that's usually an additional

 8     A.       Because as an enforcement officer, we would                          8   charge because, A, they're not supposed to be driving

 9   use this statute in addition to other charges.           This                   9   under the influence, and then B, they're not supposed

10   means someone has already been injured, there's                                10   to have a firearm while they're intoxicated.      We --

11   already been a negligent discharge, there's already                            11   EnCon uses this particular statute, there's

12   been a domestic animal, you know, shot negligently.                            12   additional penalty for hunting under the influence,

13   So the damage is already done at this point.                                   13   so if we contact somebody for hunting, they are

14     Q.       And -- well, let me ask you this:        So this                    14   involved in a hunting accident, they negligently shot

15   statute is carrying under the influence?                                       15   someone while hunting, and then in the course of that

16     A.       Yes.                                                                16   investigation, we determine they're under the

17     Q.       And so --                                                           17   influence, this would be an additional charge that we

18     A.       Oh, I'm sorry.        Yes.                                          18   would use.

19     Q.       Yeah.    So maybe you can explain why this                          19     Q.      Okay.   So it's an after the fact?

20   particular statute wouldn't necessarily address the                            20     A.      Yes.

21   concerns that you had identified.                                              21     Q.      Okay.   Now, I'd like to ask you some

22     A.       So yeah.     So it's kind of the same answer.                       22   questions based on your experience as a trained law

23   So this is something -- the carry under the influence                          23   enforcement officer and particularly I want to ask

24   is something we typically use like it's an additional                          24   you some questions about the statute's applicability.

25   charge.    So they drew attention -- someone drew                              25             And so would this particular statute in your




                                                                    317                                                                            318


 1   experience apply to a situation where an unarmed                                1   confusion, alarm, that kind of thing?

 2   drunk person starts screaming and pushing another                               2     A.      Yes.

 3   person who is sober but that sober person has a gun                             3     Q.      Now, I'm going to ask you to turn to, I

 4   on them?    Would this statute apply to the conduct of                          4   believe it's Plaintiff's 6 which is General Statute

 5   the drunk person who starts pushing and shoving a                               5   53-203.   Do you see that?

 6   person to their particular conduct?                                             6     A.      Yes.

 7     A.       No.                                                                  7     Q.      All right.   And I think this was what you

 8     Q.       Why is that?                                                         8   were getting at before.      So can you just explain

 9     A.       Intoxication and carrying a pistol or                                9   again the reasons why this particular statute

10   revolver, so I would have to -- the drunk person has                           10   wouldn't sufficiently address the concerns you

11   to have the weapon.                                                            11   identified in your declaration?

12     Q.       Right.     So okay.     So how about let's take a                   12     A.      Yeah.   It's an add-on charge.   The -- there's

13   sober individual who's walking on the beach and                                13   already been an action taken.      There could have

14   they're open carrying.       Okay.      Would this particular                  14   already been a violation.      This could be the only

15   statute apply to that conduct?                                                 15   violation, but there's already been an action taken,

16     A.       No.                                                                 16   the firearm has been discharged.      In my professional

17     Q.       Why is that?                                                        17   experience, we do this at EnCon, we have hunters

18     A.       You don't have the element of intoxication or                       18   shoot domestic animals inadvertently or on purpose

19   under the influence.                                                           19   and that's a charge that we use.      So we will also

20     Q.       All right.     So based on your experience, if                      20   typically dive into that, we'll have other

21   you had a sober person who is walking on the beach                             21   hunting-related charges in addition to this charge.

22   open carrying, would that result, in your opinion, in                          22     Q.      All right.   And again, this is an after the

23   a phone call to EnCon?                                                         23   fact?

24     A.       Yes.                                                                24     A.      Yes.

25     Q.       And is that because there's a -- it's                               25     Q.      Okay.   And I'm going to give you the same




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 1   example that I kind of gave you a minute ago which is                         1   of a child, sale of children.     So it's a large --

 2   would a person who is open carrying a firearm on a                            2   covers a large area, but none of those would apply.

 3   beach be in violation of this statute?                                        3     Q.     Now, I believe you testified that there are

 4     A.       No.                                                                4   risks associated with an unattended firearm?

 5     Q.       Would a person who is open carrying in any                         5     A.     Yes.

 6   state park or forest be in violation of that statute?                         6     Q.     All right.    Are those just limited to

 7     A.       No.                                                                7   children?

 8     Q.       And in those circumstances, could that again                       8     A.     No.    They're to anybody.

 9   result in confusion, alarm in your experience?                                9     Q.     So anybody could have -- there could be a

10     A.       Yes.                                                              10   risk for anyone who is in the presence of an

11     Q.       Now, I'm going to ask you to turn to -- I                         11   unattended firearm?

12   think it's Plaintiff's Exhibit 5, which is General                           12     A.     Yes.

13   Statute 53-21, the risk of injury statute.          Let me                   13     Q.     All right.    Now, I believe Attorney Atkinson

14   know when you get there.                                                     14   had asked you some questions about concealed carried

15     A.       I got it.                                                         15   and its impact.     Do you recall that?

16     Q.       Okay.    Now, are the reasons why that                            16     A.     Yes.

17   particular statute would not sufficiently address the                        17     Q.     Can you just explain just for the record what

18   concerns you identified in your declaration?                                 18   open carry means?

19     A.       Yes.                                                              19     A.     Open carry means carrying a handgun on one's

20     Q.       And what are those reasons?                                       20   person visible, usually outside the clothing, a

21     A.       Well, this is a larger statute, first of all,                     21   holster or physically carrying it in their hand.

22   it covers several items, but the primary issue is,                           22     Q.     And can you explain just for the record what

23   you know, did you place a minor at risk of a                                 23   concealed carry means?

24   situation where life or limb of a child is in danger.                        24     A.     Concealed carry is where the handgun is

25   The statute also further goes on to impair the morals                        25   concealed under clothing, under a jacket, in, like, a




                                                                  321                                                                         322


 1   fanny pack or a purse.                                                        1     A.     Inadvertently, even though it's concealed

 2     Q.       To your knowledge, does Connecticut draw a                         2   carry, people move a certain way, clothing shifts and

 3   distinction between open carrying and concealed                               3   the presence of the firearm is revealed to bystanders

 4   carrying?                                                                     4   or others.

 5     A.       No.                                                                5     Q.     In your professional experience, have you

 6     Q.       And so does that mean that a person -- let's                       6   seen that sort of inadvertent display before?

 7   say somebody has a concealed pistol permit or a                               7     A.     Yes.

 8   pistol permit in Connecticut, does that particular                            8     Q.     Approximately how many times?

 9   person have the ability to open carry in Connecticut?                         9     A.     While working, probably less than six.

10     A.       Yes.    With the pistol, Connecticut Pistol                       10     Q.     How about in your, personal life, because you

11   Permit.                                                                      11   said, "while working"?     Have you seen it in your

12     Q.       And so does that mean they have the choice to                     12   personal life?

13   then conceal carry in Connecticut?                                           13     A.     Yes.    While off duty, I have.

14     A.       Yes.                                                              14     Q.     All right.    How many times have you seen

15     Q.       So they can do -- they can do either/or?                          15   that?

16     A.       Correct.                                                          16     A.     Around five, five or six.

17     Q.       Now, I believe Attorney Atkinson had asked                        17     Q.     All right.    So combined, maybe 10 or 11

18   you some questions about how concealed carrying might                        18   times?

19   reduce some of the risks that you had identified in                          19     A.     Possibly, yeah, around there.

20   your declaration.      Do you recall that?                                   20     Q.     When's the most -- the last time you saw that

21     A.       Yes.                                                              21   sort of thing happen?

22     Q.       Are there still -- is concealed carry always                      22     A.     Last month during my school -- my child's

23   perfect?                                                                     23   school spring break traveling back from a trip.

24     A.       No.                                                               24     Q.     Can you just explain a little bit more?

25     Q.       And can you just explain why it's not?                            25   Where was that?




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 1     A.       It was in Virginia.    We were traveling back                    1   trying to conceal it?

 2   from Tennessee to Connecticut.                                              2     A.    Yes.

 3     Q.       Can you just explain the circumstances a                         3     Q.    And so again, you've seen that sort of thing

 4   little bit more, how you saw that inadvertently?                            4   happen 10 to 11 times in your career?

 5     A.       Sure.    Stopped at -- me and my son were                        5     A.    Yes.

 6   driving back.       We stopped at a convenience store to                    6     Q.    Professional life and personal life?

 7   get gas, drinks, snacks.       While entering the store, a                  7     A.    Uh-huh.

 8   gentleman, a nice gentleman, got out of the car in                          8     Q.    And I think you had testified during Attorney

 9   front of me, got out, and held the door open for us                         9   Atkinson's questioning that people can be shocked by

10   so we could go in.       When he did that, by moving his                   10   seeing a firearm.     Can you just explain a little bit

11   thing, his shirt lifted a little bit and you could                         11   more about that?

12   see he had a pistol that he had kind of in the inside                      12     A.    So when they're not expecting to see a gun,

13   waistband of his pants.                                                    13   it interrupts their process, you know.      People's

14     Q.       When you said move the thing, is that the                       14   brains think differently.     Their -- their brain is

15   door?                                                                      15   programmed to expect something.      I'm in a courtroom;

16     A.       Yeah.    He was holding the door open for us.                   16   I'm expecting to see a courtroom.      I'm not expecting

17     Q.       He was holding the door open and he was                         17   to see, like, a pink gorilla march across the room,

18   holding the door open and it showed --                                     18   but research has shown you can have a pink gorilla

19     A.       Yeah.    He had a T-shirt on and -- kind of a                   19   march across the room and nobody will pay attention

20   short T-shirt and it kind of raised up and you could                       20   to it because they're focused on that, but oftentimes

21   see the belt and his pistol inside his waistband.                          21   people do -- if you do see that pink gorilla and

22     Q.       Okay.    So before he moved his arm in that                     22   you're not expecting that situation, it triggers

23   certain way, you hadn't seen the firearm?                                  23   alarm bells in people's brains.

24     A.       No.                                                             24     Q.    Okay.     And in this circumstance, the alarm

25     Q.       Is that the reason why you thought he was                       25   bells in that they wouldn't expect to see the




                                                                325                                                                          326


 1   firearm?                                                                    1     Q.    Okay.     But some of them do?

 2     A.       Yes.                                                             2     A.    Yes.

 3     Q.       Now, I want to go back to, if I can, a little                    3     Q.    All right.     If a 9-1-1 call came in at a

 4   bit about -- talk a little bit more about EnCon                             4   state park or forest, who would respond first?

 5   patrols.    I think Attorney Atkinson had asked you                         5     A.    It depends on the nature of the call.      If

 6   some questions about that.       Do you recall that?                        6   it's a serious public safety call, the closest

 7     A.       Yes.                                                             7   available officer will respond.

 8     Q.       So are EnCon officers, do they patrol certain                    8     Q.    And by "closest available officer," what do

 9   areas?                                                                      9   you mean by that?

10     A.       So I think I mentioned they're assigned to                      10     A.    I mean any officer that hears the dispatch,

11   sectors which are half a district, and within those                        11   so if the 9-1-1 call, that 9-1-1 dispatch center will

12   sectors, they have a set of towns that -- that                             12   notify us, but they will also send it out to their

13   they're responsible for patrolling.       So they are the                  13   agencies they're dispatching for.

14   primary officer for those sets of towns.                                   14           MR. BOCHAIN:     If I can just have one moment,

15     Q.       And by "towns," do you mean state parks and                     15   Your Honor.

16   forests in those towns?                                                    16   BY MR. BOCHAIN:

17     A.       I mean towns in Connecticut.    So an officer                   17     Q.    I want to follow up on some questions about

18   might have five towns, he's the primary responsible                        18   just hunting briefly.     There was some questions about

19   for those towns.       He's the officer for those towns.                   19   coyote hunting.     Do you recall?

20   Other officers will work those towns, but those are                        20     A.    Yes.

21   his or her town.                                                           21     Q.    Is coyote hunting common?

22     Q.       I see.    Does local law enforcement ever                       22     A.    No.

23   patrol state parks and forests?                                            23     Q.    What are the most common animals that people

24     A.       To my knowledge, just occasionally.    I would                  24   hunt?

25   say rarely.                                                                25     A.    Pheasant is very popular, then deer, turkey.




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 1     Q.      And are they for particular seasons?                                1     A.    Yes.

 2     A.      Are they what?                                                      2     Q.    All right.     If I can turn just a little bit

 3     Q.      Do those animals -- are they hunted in                              3   more about how the presence of firearms would impact

 4   certain seasons?                                                              4   EnCon operations.     So can you just explain if

 5     A.      Yeah.     Each has a set season.                                    5   individuals were allowed to carry handguns or pistols

 6     Q.      Is hunting allowed in all locations across                          6   in state parks or forests, how that would impact

 7   the state park and forest system?                                             7   EnCon's operations?

 8     A.      No.                                                                 8     A.    It would -- we would have to take a more

 9     Q.      And I think there was some questions about                          9   proactive approach and presence in our state parks

10   the ability to hunt small game with 22 rimfire                               10   than we currently do.

11   weapon.   Do you recall that?                                                11     Q.    Can you just explain?     When you said,

12     A.      Yes.                                                               12   "proactive approach," what do you mean?

13     Q.      Is that the only instance when a 22 can be                         13     A.    We would increase our officers' presence in

14   used?                                                                        14   our state parks.    So by if we're being somewhere

15     A.      On state parks or forests?                                         15   here, if we're staying in the state parks, then that

16     Q.      Correct, yeah.                                                     16   means we're less available for boating patrols, we're

17     A.      Yes.                                                               17   less available to do fishing enforcement, less

18     Q.      And so is there a particular small game                            18   available for patrolling private property for hunting

19   season?                                                                      19   enforcement.

20     A.      Yes.                                                               20     Q.    Anything else?

21     Q.      Is that all year-round?                                            21     A.    I'm sure there's stuff but I can't think of

22     A.      No.     It depends on the species.    So it goes                   22   it right now.

23   back to what is the animal being hunted.                                     23     Q.    Let me ask this question:     Would EnCon

24     Q.      Okay.     So but the animal that's being hunted                    24   consider implementing any responsive measures to this

25   has a particular season?                                                     25   new change?




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 1     A.      We would do in-house training.       So we would                    1   -- a little bit more traditional role, it pushes more

 2   have to educate officers on the change that, you                              2   towards a response to we're going to respond to calls

 3   know, people can carry in state parks.         Then as a                      3   for service, we're going to wait until we get a

 4   department, there would be discussions on what type                           4   complaint of a conflict before we respond.

 5   of outreach and education we need to do to our                                5           It's going to limit our voluntary, cordial

 6   visitors to inform people of this change.                                     6   interactions with our visitors, like, hey, how are

 7     Q.      How long would that kind of -- how long might                       7   you doing today type of stuff.     It will push us more

 8   that kind of thing take to roll out?                                          8   towards the security side of the business, which we

 9     A.      It's hard to say.     I can speak to my                             9   do, but we try to tamper that with more -- currently

10   division, in-house training could take, you know, two                        10   with more outreach.

11   weeks to four weeks depending on scheduling.                                 11     Q.    All right.     How might that shift impact how

12     Q.      Let's talk about the approach that EnCon                           12   people look at parks?

13   takes to -- when an EnCon officer interacts with an                          13     A.    So conservation officers, we try really hard

14   average member of the public.      Would the presence of                     14   to put forth the approachable image.     We don't want

15   firearms in state parks or forests impact how EnCon                          15   to be a standoffish person with the badge and a gun

16   has always approached members of the public?                                 16   where we're just a police officer.     We want to be,

17     A.      I believe it would, yes.                                           17   hey, this is, you know -- this is the game warden,

18     Q.      Can you explain?                                                   18   this is Officer Smith, he's my game warden or he's my

19     A.      In those situations, I think we're almost                          19   officer in my area, but that's done over time with

20   pushing ourselves into more of the traditional police                        20   constant interaction, engaging the community, talking

21   officer role where we -- there's a chance people are                         21   to visitors, talking to people using the outdoors.

22   going to be armed, and so even though that chance is                         22           They see the same person again and again and

23   always out there, we would expect it to be more                              23   they get to know that person versus if we shift more

24   prevalent, and then it changes our communication with                        24   towards traditional policing where, you know, it's --

25   our visitors.      It's -- you know, in that traditional                     25   we have a different role as conservation officers, so




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 1   we're trying to protect our natural resource and                           1           MR. BOCHAIN:     Your Honor, I have no further

 2   support that, and within that mission, we ensure                           2   questions at this time.

 3   public safety on our state parks, but focusing more                        3           THE COURT:     All right.    Is there redirect?

 4   public safety state parks with the firearms, which                         4           MR. ATKINSON:     Yes, Your Honor.

 5   this change would dictate, puts us more in a                               5           REDIRECT EXAMINATION OF CHRISTOPHER LEWIS

 6   traditional police officer mindset where we're solely                      6   BY MR. ATKINSON:

 7   focused on public safety and less on the community                         7     Q.    Good afternoon, Colonel Lewis.

 8   engagement.                                                                8     A.    Good afternoon.

 9             MR. BOCHAIN:     Can I just have one moment,                     9     Q.    Attorney Bochain just asked you whether crime

10   Your Honor?                                                               10   was lower in -- less common in state parks and

11             THE COURT:     Yes.                                             11   forests than it is in other places, correct?

12   BY MR. BOCHAIN:                                                           12     A.    Correct.

13     Q.      Attorney Atkinson had asked you some                            13     Q.    How would you know that?

14   questions about the NIBRS data.      Do you recall that?                  14     A.    Just professional experience and personal

15     A.      Yes.                                                            15   experience.    So our reportable misdemeanors and

16     Q.      I think he had asked the question about                         16   felonies are rare.     My officers might do one domestic

17   whether crime happens in state parks or forests.         Do               17   violence call a year, where a municipal officer might

18   you remember that?                                                        18   do one a week or multiple, you know, one or two a

19     A.      Yes.                                                            19   day.

20     Q.      Crime happens everywhere, right?                                20     Q.    When you gave your answer to Attorney Bochain

21     A.      Correct.                                                        21   to that question and he asked you in public, can you

22     Q.      Would you say that crime in state parks and                     22   tell us what your understanding of the term in public

23   forests is less common than just in the general                           23   or other places meant as you answered that question?

24   community?                                                                24     A.    For crime report --

25     A.      Yes.                                                            25     Q.    So when you were answering Attorney Bochain's




                                                               333                                                                            334


 1   question and he said -- he asked you more crime                            1   property and anyone can be there, correct?

 2   occurred -- withdrawn.                                                     2     A.    Yeah.    Within -- yeah.     We have hours of

 3             When you were answering Attorney Bochain's                       3   operations, but yes, they're open to the public.

 4   question and he asked you is crime less common in                          4     Q.    What's the typical hours of operation for a

 5   state parks and forests as opposed to other places,                        5   state park or forest?

 6   what I'm asking you to explain to us is when he said                       6     A.    Daylight hours, morning to sunset.

 7   other places, what was your understanding of what he                       7     Q.    And just to give us a rough approximation of

 8   was referring to by other places?                                          8   when that would be, that could ebb and flow with the

 9     A.      Other jurisdictions and other areas in the                       9   season, correct?

10   state.                                                                    10     A.    Correct.

11     Q.      So that would include a house, for instance,                    11     Q.    So it would -- just so the record's clear,

12   a private house?                                                          12   that could be longer in the summer and shorter in the

13     A.      Yeah.   If it was outside the state parks,                      13   fall and the spring?

14   yes.                                                                      14     A.    Yes.

15     Q.      Okay.   When he discussed the NIBRS data                        15     Q.    During the time that state parks are open to

16   prior, you testified that it was only for the                             16   the public, is there anyone guarding the entrance to

17   incidents that EnCon dealt with, correct?                                 17   the state parks who decides who gets in and who is

18     A.      Yes.                                                            18   not let in?

19     Q.      Apart from that data, do you have any other                     19           MR. BOCHAIN:     Objection, Your Honor.

20   data -- do you have access to any other data                              20   Relevance.

21   regarding crimes that occur in state parks and                            21           THE COURT:     Your claim?

22   forests that are handled by another law enforcement                       22           MR. ATKINSON:     My claim, Your Honor, is he

23   agency?                                                                   23   testified that anyone can get in.      What I'm

24     A.      Not that I can think of.                                        24   attempting to establish is there's little or no

25     Q.      You testified earlier state parks are public                    25   control over who walks in and who doesn't.




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 1             THE COURT:   And what relevance does that                      1     Q.     So there is a parking restriction?

 2   have?                                                                    2     A.     For some parks, yes.

 3             MR. ATKINSON:   It goes to the sensitive                       3     Q.     If I chose to park on the street outside a

 4   places doctrine, Your Honor.                                             4   state park and then walk in, would I be able to get

 5             THE COURT:   In what way?                                      5   in one of those areas?

 6             MR. ATKINSON:   We're standing in a courthouse                 6     A.     Yes.

 7   right now.    I have to go through the metal detector                    7     Q.     Apart from the parking enforcement, are there

 8   out front.    It's a characteristic of a sensitive                       8   any other criteria that some -- a DEEP employee

 9   place that they're --                                                    9   guarding a park would use to either tell someone they

10             THE COURT:   Are you saying if it doesn't have                10   can't come in or that they can come in?

11   some kind of guarding, it's not a sensitive place?                      11     A.     By foot?

12             MR. ATKINSON:   I'll leave that for legal                     12     Q.     Yes.

13   argument, Your Honor, but as to the relevance of the                    13     A.     No.     If it's within hours, no.

14   question I'm asking, I'm getting --                                     14     Q.     Is there anyone at the entrance to a state

15             THE COURT:   Go ahead.                                        15   park or forest who inspects what a person might bring

16   BY MR. ATKINSON:                                                        16   into a state park or forest?

17     Q.      So Colonel Lewis, I'll ask the question                       17     A.     In certain areas in certain times, yes.

18   again.    Is there anyone who stands guard outside the                  18     Q.     Okay.     According to your understanding of

19   entrance to a state park or forest who decides who                      19   that, what would such an inspection look like?

20   gets in and who doesn't?                                                20     A.     We do -- in some areas, our officers or

21     A.      So we have -- some parks have gatehouses with                 21   seasonal rangers do inspections of coolers and gear

22   attendants, but I guess who gets in and who doesn't                     22   bags.

23   get in, if you -- for those that need to pay to park,                   23     Q.     Why do you do inspections of coolers and gear

24   they get in; if they don't choose to pay to park,                       24   bags?

25   they don't get in.                                                      25     A.     To -- primary alcohol enforcement.     We have




                                                             337                                                                            338


 1   prohibited areas where alcohol possession is                             1   park?

 2   prohibited, so we try to stop that at the gate.                          2     A.     No.

 3     Q.      How common are those areas where alcohol is                    3     Q.     So it would be more so when they're leaving a

 4   prohibited?                                                              4   park?

 5     A.      Out of 139 state parks and forests, it's a                     5     A.     With the caveat if we had suspicion that they

 6   small handful of them.                                                   6   were fishing or transporting fish or game.

 7     Q.      Barring -- putting the places where alcohol                    7     Q.     So just to make sure I'm understanding you

 8   is prohibited out of the question, in those areas,                       8   correctly, it's not like we're lining up to a ticket

 9   putting those out of this question, are there any                        9   booth and give me your ticket, I'm going to inspect

10   other areas in which -- withdrawn.                                      10   it, you have to have a suspicion in order to go ahead

11             Putting the alcohol out of the equation,                      11   and search those?

12   those areas out of the equation, what other reasons                     12     A.     Yes.

13   would an EnCon officer inspect somebody's gear or                       13     Q.     I was a bit confused by some of your

14   cooler?                                                                 14   testimony earlier relating to the dispatch system.

15     A.      The only reason we would inspect someone's                    15   If someone -- so withdrawn.

16   gear or cooler would be if it was involved in hunting                   16            If I want to report -- or withdrawn.

17   or fishing enforcement.                                                 17            Do you have any knowledge as to how a report

18     Q.      And why would you do that?                                    18   from a state park or forest gets to your dispatchers?

19     A.      Just if we had just suspicion that someone                    19     A.     Yes.

20   was hunting or fishing or transporting game or fish,                    20     Q.     All right.     What would that process typically

21   then that would be part of our compliance check                         21   look like?

22   because there's creel limits, size limits that we                       22     A.     Typically it takes one of three different

23   regulate when someone fishes.      So that's why we would               23   paths.   The first path would be a call to 9-1-1 which

24   check those areas.                                                      24   goes to a public safety answering point within that

25     Q.      Would you do that when somebody's entering a                  25   region geographically, you know, their cell phone




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 1   transmission goes to the closest one.      The second                     1   calls of reports?

 2   path would be they call our dispatch directly.      We do                 2     A.       Yes.

 3   post our dispatch numbers around.     Still some people                   3     Q.       And can you define the term "triage" for us?

 4   have that direct number.     And then third would be                      4     A.       They rank them in order of importance or

 5   employee notification like another -- like another                        5   urgency.    So less important stuff gets put on hold to

 6   officer or a park employee or any of our DEEP                             6   deal with the more urgent calls.

 7   employees.                                                                7     Q.       Would they triage certain -- would they

 8     Q.     If a report came into your dispatch center                       8   triage reports of a firearm?

 9   saying there's somebody out in the middle of a state                      9     A.       They would -- as far as triage, they would

10   park carrying a firearm, do you have any knowledge of                    10   elevate that.      If it's a public safety call, that

11   how a dispatcher would react to that report?                             11   goes to the top of our list.

12            MR. BOCHAIN:     Objection, Your Honor.                         12     Q.       Okay.   You've testified a lot today about the

13   Speculation.                                                             13   storage of firearms and the adequacy of storage

14            THE COURT:     This is his job.   This is his                   14   facilities at DEEP state parks and forests.      In your

15   work.   Go ahead.                                                        15   professional experience, do you believe that storing

16   BY MR. ATKINSON:                                                         16   a firearm in a motor vehicle constitutes adequate

17     Q.     Colonel, do you need that read back?                            17   storage?

18     A.     No.     So how dispatchers would react, they                    18     A.       Within the parameter of the law, so locked

19   would categorize that as a public safety call,                           19   safe or unloaded outside the passenger compartment.

20   unknown person with a weapon, and they would start                       20     Q.       Do you recall Attorney Bochain asking you

21   dispatching officers to it.                                              21   about your usage or application, I should say, of

22     Q.     Would a dispatcher attempt to gather as much                    22   Connecticut General Statute 206d.

23   information as possible from the reporting caller?                       23     A.       Yes.

24     A.     Yes.     But they would do that with every call.                24     Q.       Do you have discretion to enforce that law,

25     Q.     Okay.     Are dispatchers trained to triage                     25   Colonel?




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 1     A.     Yes.                                                             1              THE COURT:   That's fine.

 2     Q.     Let's talk about the man you testified to                        2   BY MR. ATKINSON:

 3   that you saw have -- having a firearm in Virginia.                        3     Q.       Colonel, have you had a chance to look at

 4   Did you expect to see him holding a firearm in the                        4   that again?

 5   place you encountered him?                                                5     A.       Yes.

 6     A.     No.                                                              6     Q.       Okay.   There's a section on the right side of

 7     Q.     Did his carrying of a firearm in that place                      7   that entitled "White-Tailed Deer."      Do you see that?

 8   make you uncomfortable?                                                   8     A.       Yes.

 9     A.     It did not make me uncomfortable.                                9     Q.       And I believe it's in the second column, the

10     Q.     You -- I didn't quite get everything you said                   10   second box down, the second row, there's a section

11   when you testified about this during Attorney                            11   entitled, "Deer Shotgun State Controlled Areas."        Do

12   Bochain's examination of you, but can you please                         12   you see that?

13   repeat for me what you consider to be the most -- the                    13     A.       Yes.

14   most animals folks hunt in state parks and forests?                      14     Q.       And there's a sub row under that that says,

15     A.     In state parks and forests?                                     15   "No Lottery Season."      Do you see that?

16     Q.     Yes.                                                            16     A.       Yes.

17     A.     Probably the most common in state parks and                     17     Q.       What is the no lottery deer season?

18   forests, probably going to be, to the best of my                         18     A.       So those are areas you don't have to apply

19   knowledge, I'm going to say deer, turkey and water                       19   for the lottery for the permit for the -- versus our

20   fowl within state parks and forests.                                     20   lottery season has limited tags or permits for those

21     Q.     May I approach, Colonel Lewis?      I'm going to                21   lands and you have to enter a lottery to be selected

22   show you what's been marked as Plaintiff's Exhibit                       22   for one of those tags.

23   Number 9.                                                                23     Q.       What are the dates listed for the hunting

24            MR. ATKINSON:     Your Honor, I'm going to take                 24   season for deer shotgun in state-controlled areas?

25   the other exhibits.                                                      25     A.       On this, it's November 16th through




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 1   December 8th -- my eyes fail me -- or 6th.                                      1     Q.      What's the season for spring turkey?

 2     Q.       It's close enough.        The document will speak                    2     A.      This was April 27th through May 28th.

 3   for itself.                                                                     3     Q.      Do you know if hunting for spring turkey

 4              I want you to go to the last row in that                             4   during spring turkey season permits individuals to

 5   section.    Do you see where it says, "Deer Muzzle                              5   hunt turkeys with firearms?

 6   Loader"?                                                                        6     A.      With shotguns, with -- number ten --

 7     A.       Yes.                                                                 7   ten-gauge or smaller and then there's some more

 8     Q.       And then there's a sub row that says, "State                         8   ammunition restrictions, basically size, that's a

 9   Land," correct?                                                                 9   number two to number six, something like that, off

10     A.       Yes.                                                                10   the top of my head.

11     Q.       What's the sub row for state land say?                              11     Q.      Moving down to the last row in that section,

12     A.       State land December 7th through the 20th of                         12   do you see the row that's entitled, "Fall Turkey

13   December.                                                                      13   Firearms"?

14     Q.       I am now going to direct your attention up to                       14     A.      Yes.

15   April -- withdrawn.                                                            15     Q.      And the subrow that says, "State and Private

16              I'm going to direct your attention to the top                       16   Lands"?

17   of that same right hand of the page under the section                          17     A.      Yes.

18   that says, "Wild Turkeys."       Do you see that?                              18     Q.      What's the season there?

19     A.       Yes.                                                                19     A.      It's October 1st through October 31st.

20     Q.       Do you see a row there, the first row that                          20     Q.      What is your understanding of what the

21   says, "Spring Turkey"?                                                         21   seasons are for water fowl?

22     A.       Yes.    "Spring Turkey."                                            22     A.      Water fowl will start -- depending on the

23     Q.       And a subrow under that that says, "State and                       23   season, it's kind of all over the map.        They are set

24   Private Lands," correct?                                                       24   by the federal government.        So we don't publish those

25     A.       Yes.                                                                25   the same time we publish these, but you could have an




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 1   earlier goose season in September, but generally                                1   forests, right?

 2   speaking, duck hunting is December and going right up                           2     A.      Correct.

 3   to January.       So it's just primarily in the winter.                         3             MR. BOCHAIN:     No further question, Your

 4              MR. ATKINSON:     Okay.     May I have a moment to                   4   Honor.

 5   confer with Mr. Nastri, Your Honor?                                             5             THE COURT:     So this is perhaps a rather naive

 6              THE COURT:     Yes.                                                  6   question, but you've been describing with respect to

 7              MR. ATKINSON:     No further questions at this                       7   the hunting season, for instance the spring turkey,

 8   time, Your Honor, or no further questions period.                               8   where people are authorized to use ten-gauge

 9              MR. BOCHAIN:     Can I just have one brief                           9   shotguns, and my question is:        Are handguns

10   moment, Your Honor?                                                            10   authorized for use for hunting in Connecticut parks

11              THE COURT:     Yes.                                                 11   and forests?

12              MR. BOCHAIN:     Just very briefly, Your Honor.                     12             THE WITNESS:     Handgun hunting is only

13          RECROSS-EXAMINATION OF CHRISTOPHER LEWIS                                13   authorized on private land.        Let me correct myself.

14   BY MR. BOCHAIN:                                                                14   For small game yes, but for anything else, it's only

15     Q.       With respect to hunting, Colonel Lewis, so                          15   private lands and it's an additional permit.

16   when is the busiest time again for EnCon?                                      16             THE COURT:     So when you say handgun hunting

17     A.       Summer recreation season.                                           17   is authorized for small game --

18     Q.       And does the hunting season sort of                                 18             THE WITNESS:     Yes.   Small game only.

19   correspond with the busiest time of year?          In other                    19             THE COURT:     Small game consists of what?

20   words, hunting doesn't occur during the busiest time                           20             THE WITNESS:     Squirrel, fox, so coyote,

21   of year?                                                                       21   rabbit.    And then -- sorry.      Raccoon and possum also.

22     A.       Correct, yes.                                                       22   Sorry.    I forgot those two.

23     Q.       And hunting is very regulated, right?                               23             THE COURT:     So for instance, what kind of

24     A.       Yes.                                                                24   hunting would a Glock 42 be authorized for?

25     Q.       And it's not across all state parks and                             25             THE WITNESS:     I don't know what caliber that




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 1   Glock 42 is, but for handgun hunting, it has to be a                            1   firearm of some type or does it include other

 2   357, larger for deer on private land.                                           2   weapons?

 3            THE COURT:     Three feet what?                                        3              THE WITNESS:     It can include other dangerous

 4            THE WITNESS:     So if it's for deer hunting, a                        4   weapons.     So certain knives, gravity knives,

 5   revolver has -- a pistol revolver deer permit                                   5   switchblades knives, brass knuckles, those could be

 6   regulation for hunting in Connecticut is private land                           6   included in weapon laws.

 7   only and it has to be a 357 or larger caliber.                                  7              THE COURT:     So you had some testimony that

 8            THE COURT:     And do you have in front of you                         8   I'm a little unclear about.       When you get calls

 9   that list by year, it's Exhibit 10, and it's the                                9   regarding firearms, do you or do you not enforce the

10   NIBRS Agency Crime Overview?     Would you put that in                         10   regulations prohibiting firearms in the parks and

11   front of him?                                                                  11   forests or do you only give warnings?

12            THE WITNESS:     Thank you.                                           12              THE WITNESS:     If we find someone carrying a

13            THE COURT:     Second from the bottom of each of                      13   weapon in the state park, we typically charge

14   the pages is something called "weapon law                                      14   them with -- if there's no other extenuating

15   violations."     Do you know what's included in that?                          15   circumstances, it's the 23-4-1c charge of possession

16            THE WITNESS:     So those are other -- so those                       16   with a weapon in a state park.         If there's other

17   are other offenses against society.        So that's a                         17   issues going on, we may have other charges.

18   stolen handgun, an altered handgun, possession                                 18              THE COURT:     Thank you.   Any questions on my

19   without a permit, those will be -- it's not a crime                            19   questions?

20   against a person.     It's not a crime against property.                       20              MR. ATKINSON:     I have a few, Your Honor.

21   So it would be one of those other.     So possessing a                         21    FURTHER DIRECT EXAMINATION OF CHRISTOPHER LEWIS

22   pistol without a permit would be an other weapons law                          22   BY MR. ATKINSON:

23   violation or a felon in possession of a handgun or a                           23     Q.       Colonel Lewis, on state land in -- on state

24   firearm would be another one.                                                  24   land, state forests and parks, a person can use a

25            THE COURT:     And would it always involve a                          25   22-caliber rimfire handgun to hunt coyote?




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 1     A.     Yes.                                                                   1   species, right?

 2            MR. ATKINSON:     No further questions, Your                           2     A.       Yes, correct.

 3   Honor.                                                                          3     Q.       And those are less common in terms of what

 4            MR. BOCHAIN:     Just very briefly, Your Honor.                        4   people would hunt than the other things that we've

 5                   FURTHER CROSS-EXAMINATION                                       5   discussed, correct?

 6   BY MR. BOCHAIN:                                                                 6     A.       Correct.

 7     Q.     Can you just explain what rimfire means?                               7     Q.       And so from where people can hunt, that's

 8     A.     Rimfire is a type of ammunition where center                           8   only for certain locations within the state parks and

 9   fire, which the primer is in the center of the case.                            9   forests, right?

10   And then rimfire, the primer is on the rim or outside                          10     A.       Yes.

11   of the case and the powder is there in a -- it's a                             11     Q.       So it's not the whole state park or forest,

12   smaller, traditionally lower power projectile.           You                   12   right?

13   don't see them much bigger than 22.                                            13     A.       No.    It will be spelled out and then our

14     Q.     So for the small game hunting that we've been                         14   website has like a GIS map that actually delineates,

15   discussing, the only thing that's authorized would be                          15   you know, the zones that hunting is allowed.

16   22-caliber rimfire hunting, right?                                             16     Q.       So it's discrete locations?

17     A.     For small game?                                                       17     A.       Yes.

18     Q.     For small game which we have been referring                           18              MR. BOCHAIN:     Nothing further, Your Honor.

19   to.                                                                            19              THE COURT:     So when you say that handguns may

20     A.     Certain shot sizes and shotguns would be                              20   be used for hunting only if authorized on private

21   permissible, like a seven or eight shot.                                       21   land and you went on to describe the small game, I'm

22     Q.     But in terms of handguns?                                             22   a little confused on what DEEP's jurisdiction is over

23     A.     Handguns would just be the 22-caliber or                              23   private land.

24   smaller then a 22-caliber.                                                     24              THE WITNESS:     So for hunting, hunting and

25     Q.     And again, that's only for certain animal                             25   fishing, so anywhere the wildlife goes, we have




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 1   jurisdiction to manage the populations.                                         1   animals?

 2             THE COURT:     You follow the fish.                                   2              THE WITNESS:     We report deer and turkey and

 3             THE WITNESS:     Yeah.    Or the deer or the                          3   then we have a fur bearers report.        So fur bearers

 4   turkey, yes.                                                                    4   would be our fur-bearing species, so skunk, raccoon,

 5             THE COURT:     In the list that we have in the                        5   coyote, mink, anything that's a fur bearer that can

 6   stipulation of the number of firearm hunting licenses                           6   be hunted or trapped, we also track those numbers as

 7   issued, what kind of animals require a firearm                                  7   well.

 8   hunting license?                                                                8              THE COURT:     And is that also a self-reporting

 9             THE WITNESS:     So generally, every game                             9   system?

10   species if one chooses to use a shotgun or a rifle to                          10              THE WITNESS:     Yes.   And then we also have a

11   hunt those would need the firearms license.        So                          11   requirement where our DEEP employees will physically

12   that's the basic license to use a firearm to hunt.                             12   tag some of those animals with CITES tags.

13   There's also archery licenses and we have additional                           13   Threatened or endangered species animals, if they

14   species specific licenses/permits.                                             14   look like a certain animal that might be threatened

15             THE COURT:     So if you're going to use a rifle                     15   or endangered, we have to tag them to verify that

16   or a shotgun to hunt anything, you have to have a                              16   it's not that species, it came from Connecticut

17   firearms hunting license?                                                      17   legally.     So we would tag those.

18             THE WITNESS:     Yes.    With the asterisk if                        18              THE COURT:     How would you get them to tag

19   you're a landowner, you can get a free one, landowner                          19   them?

20   permit.                                                                        20              THE WITNESS:     They'll come to our offices, or

21             THE COURT:     And then you have a harvest                           21   if it's a trapper that has several, they'll make an

22   tagging system?                                                                22   appointment with a biologist or an officer and

23             THE WITNESS:     Yes.                                                23   they'll actually go to their location and tag them.

24             THE COURT:     That documents turkeys.     Do you                    24              THE COURT:     All right.   Anything further?

25   document harvesting hunting of -- killing any other                            25              MR. ATKINSON:     Nothing from me, Your Honor.




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 1             THE COURT:     All right then.    We will excuse                      1   before I begin, I'd certainly like to express my

 2   you, Colonel Lewis.      Thank you very much.    You may                        2   appreciation to the Court staff for their courtesy

 3   step down.                                                                      3   and graciousness over the past two days as well as to

 4             All right.     We are in great shape time-wise.                       4   Your Honor.

 5   How much time would you like to collect your thoughts                           5              With respect to the defendant's motion to

 6   for your final argument and presentation?                                       6   dismiss, my reading of the briefs, Your Honor, seem

 7             MR. ATKINSON:     I would suggest 15 minutes,                         7   to be teeing -- this issue seems to be teed up for a

 8   Your Honor, primarily because, as you can see, I have                           8   battle between the Lujan case and Steffel v.

 9   a lot.                                                                          9   Thompson, 415 U.S. 4452.       We understand the

10             THE COURT:     You can have more than 15 minutes                     10   defendant's claim to be that Mr. Nastri's future

11   to get organized.      How about a half an hour?                               11   visits to Connecticut state parks are not adequately

12             MR. ATKINSON:     I would greatly, greatly                           12   pled, they're not adequately expressed, particularly

13   appreciate that.                                                               13   on the point of his intention to both visit state

14             THE COURT:     Will that be enough?                                  14   parks and to carry a handgun into state parks

15             MR. ATKINSON:     Yes, Your Honor.                                   15   without -- in violation of the regulation at issue

16             THE COURT:     Is that enough?                                       16   here.

17             MR. BOCHAIN:     Yes, Your Honor.                                    17              We believe Steffel is most accurate and most

18             THE COURT:     Then we'll be back at three.                          18   applicable to this case based on the testimony that's

19   Thank you.                                                                     19   been educed before Your Honor today and the

20             (Recess taken.)                                                      20   pleadings.     Just to set the context of Steffel, in

21             (Call to Order, 3:03 p.m.)                                           21   Steffel, the Supreme Court held that a plaintiff had

22             THE COURT:     Please be seated, counsel.       I'll                 22   sufficient standing to bring a pre-enforcement

23   hear you then on standing and I will invite                                    23   challenge when he was protesting and police

24   Mr. Atkinson to begin.                                                         24   threatened him with arrest and he seized protesting

25             MR. ATKINSON:     Thank you, Your Honor.       And                   25   and he waked away because he didn't want to be




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 1   arrested.     And our understanding of the Steffel                        1   law exists, he has no intention of violating it.            But

 2   holding was that a cessation or a ceasing of desired                      2   he also testified today that this is his continued

 3   conduct based on a threat of prosecution was                              3   desire to do that, that is his intention to do that

 4   sufficient.                                                               4   provided he can do that legally and without the

 5              We recognize that nobody -- there's no                         5   consequences to his career as a financial adviser

 6   testimony to the effect that Mr. Nastri was                               6   without the consequences of having this regulation

 7   approached by a police officer or an EnCon officer                        7   enforced against him.

 8   saying if you carry a handgun in state parks, we're                       8             THE COURT:     How does this differentiate him

 9   going to prosecute you, but the statute itself, the                       9   from anyone with a generalized grievance against a

10   accompanying counts of the regulation itself, the                        10   law or a regulation who say I would act differently

11   accompanying consequences of that regulation are                         11   if the law were different?

12   sufficient notice to Mr. Nastri that he does face a                      12             MR. ATKINSON:     That's why we believe Steffel

13   threat of prosecution if he carries his handgun into                     13   is analogous here, Your Honor.       Like Steffel, we're

14   a state park or forest in violation of that                              14   dealing with a situation where prior to becoming

15   regulation.                                                              15   aware of that regulation, Mr. Nastri was engaged in

16              THE COURT:   So if that's the regulation that                 16   the very conduct that it prohibits and that he could

17   he's challenging, are you saying that he doesn't                         17   be punished for.       He testified that he had carried

18   actually need to state that he intends to violate the                    18   his handgun into Sleeping Giant State Park, onto the

19   regulation in order to show an intent to engage in                       19   Farmington River Canal trail.       He was engaged in the

20   proscribed conduct under the Susan B. Anthony List?                      20   conduct that -- the prohibited conduct right up until

21              MR. ATKINSON:   I think he does not need to be                21   the moment he learned that there was a credible

22   held to saying the exact words I intend to violate                       22   threat of prosecution.

23   it.     My understanding of Susan B. Anthony is a                        23             We believe that under Steffel, that

24   continued desire to engage in that conduct even                          24   engagement in a conduct and then ceasing of that

25   though he testified truthfully today that while the                      25   conduct as soon as one learns of a threat of




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 1   prosecution, a threat of enforcement, is sufficient                       1   access it virtually at will.       He testifies to a

 2   to confer standing.                                                       2   regular habit of accessing that park, whereas Lujan,

 3              In terms of his intent, Your Honor, I think                    3   we had two residents of the United States talking

 4   Mr. Nastri in one of the interesting components of                        4   about safaris in Sri Lanka and Egypt and safaris

 5   the standing doctrine is he finds himself in a tough                      5   naturally require sufficient planning, require

 6   position today between conflicting and imperatives.                       6   preparation to travel overseas.         They're not

 7   Under one imperative, he's compelled to testify                           7   something that you can wake up and say, yeah, this

 8   truthfully which basically amounts to as long as I                        8   morning I want do that.       There's stuff that you have

 9   don't want to be prosecuted, I don't intend to carry                      9   to plan out.     They require money.      They require

10   a handgun into a state park while this regulation is                     10   expenses, et cetera.

11   at issue, and on the other hand, there are the --                        11             None of that is present here.        Mr. Nastri

12   there is -- there are cases like Susan B. Anthony                        12   just has to get up as he's been doing for the last

13   List that seem to imply that he has a duty to say I                      13   number of years and go for a run or go for a walk and

14   intend to violate the law.                                               14   we believe that his pattern and practice of doing

15              We believe that a reading like that would put                 15   that is sufficiently concrete to confer him standing.

16   plaintiffs in an untenable position between                              16             So on those bases, we would ask Your Honor to

17   committing perjury and having standing to bring a                        17   deny the motion to dismiss.       Thank you.

18   case.     We don't think the Supreme Court intended do                   18             MR. SULLIVAN:     Your Honor, if it's all right,

19   that.     We think Steffel itself describes                              19   I'll take this from the podium so my notes are a

20   circumstances under which plaintiffs like Mr. Nastri                     20   little closer.

21   can bring claims like this and have standing.                            21             THE COURT:     That's fine.    You may proceed.

22              With respect to Lujan, Your Honor, this is                    22             MR. SULLIVAN:     Thank you.    And good

23   not an obstruction like Lujan.     Mr. Nastri testified                  23   afternoon, Your Honor.       To begin, there's not a

24   that he lives in incredible close proximity to parks,                    24   disagreement between Lujan and Steffel in this

25   one, in fact, down the street from him.       He can                     25   matter.   Lujan is the standard that applies




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 1   particularly with respect to a preliminary injunction                      1   a concrete and particularized injury sufficient to

 2   where the plaintiff bears the burden of establishing                       2   grant him standing under the Second Amendment to

 3   standing in all instances of his complaint and in                          3   challenge the statute because he has been, again,

 4   this instance is obligated to show some basis or some                      4   abundantly clear that he will not carry his pistol or

 5   level of evidence sufficient to grant him the relief                       5   revolver in Connecticut state parks while

 6   that he's seeking here.                                                    6   Section 23-4-1c is in effect.

 7           He can't simply rely on these generalized                          7             He said it at least five times and that's

 8   allegations of an intent or a desire to carry which                        8   consistent with his testimony, frankly, with every

 9   ultimately is what he's advocating here for by merely                      9   other location where he understands that a law is --

10   pointing to his allegations in the complaint.      That                   10   prohibits the carry of firearm on that location.      It

11   would be more towards, I think, the Warth v. Seldin                       11   is his practice as a law-abiding citizen not to carry

12   case which was cited in plaintiff's opposition brief                      12   that and that, frankly, is admirable, the fact that

13   to the motion to dismiss which is again irrelevant in                     13   he intends to follow those laws and comports himself

14   the preliminary injunction contention.                                    14   in the way he does so, and it's what's expected of

15           The plaintiff -- despite the fact that the                        15   what, I would say, all citizens.    And for that

16   plaintiff may disagree with Connecticut Agency                            16   reason, it doesn't get past the generalized grievance

17   Regulation Section 24 -- 23-4-1c, he still observes                       17   that he is now claiming on behalf of the public at

18   it, and for that reason, and I think it's been                            18   large who may have some interest in carrying when

19   demonstrated at great length, and frankly, initially                      19   they go to a Connecticut state park or forest despite

20   from plaintiff's verified complaint, from his                             20   the fact they intend to obey the laws at all times.

21   deposition testimony that was attached to the                             21             Furthermore, because, frankly, plaintiff has

22   defendant's reply brief on the motion to dismiss, and                     22   not alleged any intent or demonstrated any evidence

23   now for two days as he's been testifying to his                           23   of an actual intent to engage in the conduct, which,

24   conduct and the way he actually uses Connecticut                          24   again, is not just visiting state parks but actually

25   state parks, it is very clear that is has not alleged                     25   carrying a pistol in those state parks, there's




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 1   really no reason to even get to the second prong of                        1   citizen, that was not enough to establish the injury

 2   what he's required to demonstrate for standing which                       2   that was necessary for standing to bring a Second

 3   would been an actual or imminent, not a conjectural                        3   Amendment challenge under Bruen.

 4   or hypothetical injury leading to a threat of                              4             That stands, I would say, in kind of good

 5   prosecution.                                                               5   comparison with what that Court in that later

 6           THE COURT:   Before you get to threat of                           6   decision in Antonyuk II found was necessary where a

 7   prosecution, I want to understand how you are                              7   group of plaintiffs, again, essentially tried to

 8   regarding the Second Circuit's knife rights when the                       8   bring those same claims as to a number of places that

 9   plaintiffs there had done something in the past,                           9   were subject to the New York state statute and that

10   carried a knife, wished to carry again, why isn't                         10   prohibited the carrying of arms in those places and

11   this like Mr. Nastri who has carried in the past in                       11   the Court in that decision walked through each

12   the parks and wishes to do it again?     Why is that not                  12   plaintiff as their stated interests applied to each

13   enough to show he has an intent to engage in what                         13   place and found that for the majority of them, the

14   would currently be prohibited conduct?                                    14   mere intent to carry in those places or the wish or

15           MR. SULLIVAN:     Well, Your Honor, this                          15   desire to carry in those places absent some

16   question, at least in terms of Second Circuit                             16   demonstrable specific and concrete intent to do so

17   precedent, had been addressed in two other district                       17   was not enough to establish standing.

18   court decisions in New York -- at least two other                         18             THE COURT:   That's my question.   Why hasn't

19   district court decisions in New York, Antonyuk v.                         19   the plaintiff demonstrated from his past carrying in

20   Bruen, which is Antonyuk I, and Antonyuk v. Hochul,                       20   the parks and forests sufficiently alleged that

21   which is Antonyuk II, where the Court, particularly                       21   intent?   I wonder if you could help me understand

22   in the first Antonyuk case, was branded with the very                     22   where Holder v. Humanitarian Project fits into this.

23   question of an individual who wished or desired to                        23             MR. SULLIVAN:   With apologies, I'm not sure I

24   engage in this conduct but wouldn't do so because he                      24   could specifically address Holder on this point,

25   similarly wished to remain himself a law-abiding                          25   which, again, I mean, this is why I tend to be




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 1   looking to the more recent decisions in the Antonyuk                   1   a remote possibility, I would say more than remote

 2   cases.   And the way -- in the Antonyuk II case where                  2   possibility, that he could ever actually be concerned

 3   the Court did find that certain defendants -- or                       3   about a threat of prosecution here particularly

 4   certain plaintiffs, rather, had sufficiently alleged                   4   where, as was demonstrated in today's testimony that

 5   intent, it was based on the fact that they -- there                    5   the -- EnCon's ability to police and enforce the

 6   was a likelihood that they would actually carry their                  6   regulations is limited by circumstance in large part

 7   pistols in those parks and particularly in Catskills                   7   and they don't have a constant presence in these

 8   -- I think in Catskills State Park in New York there                   8   places and can only respond to calls as they come in.

 9   where a volunteer firefighter had credibly stated                      9             So I think it becomes very attenuated and

10   that he would be carrying his pistol in that park                     10   speculative to say that the mere carry in a park

11   despite the law was in effect and he understood that                  11   particularly if it were concealed is likely to invite

12   conduct to be illegal, and also for an outdoorsman                    12   any sort -- any credible threat of prosecution under

13   who had concrete plans to visit a park within the                     13   this particular regulation.

14   next several months of his declaration where he would                 14             THE COURT:    So why should it be insufficient

15   be carrying his pistol while he did so.                               15   if it's an open carry in the park, another citizen in

16            The other plaintiffs who did not have such                   16   the park sees it, calls it in, isn't it -- wasn't it

17   concrete plans or anything more than a generalized                    17   DEEP's testimony that they would send out one of

18   interest were not found to have sufficiently alleged                  18   their enforcement officers?

19   that intent under -- at least according to                            19             MR. SULLIVAN:    Yes.   That was their

20   Antonyuk II.                                                          20   testimony, Your Honor, but I think it's still in

21            So in this sense, the plaintiff is like                      21   terms -- and I would -- I won't push back too hard on

22   Mr. Antonyuk in Antonyuk I and simply hasn't even                     22   it, but I think ultimately it's still speculative as

23   reached the point where we can make any assessment of                 23   to whether the interaction is going to lead to

24   what was credible threat of prosecution would be.     If              24   arrest.   I suppose it assumes that the report leads

25   he's not engaging in the conduct, it is by definition                 25   to an actual interaction with the person who's being




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 1   reported and there's not clear evidence that that's                    1   several other jurisdictions that chilling is really a

 2   likely to happen here.                                                 2   First Amendment doctrine and is not generally applied

 3            Your Honor, I'd also briefly like to address,                 3   outside that and I would argue that it should not be

 4   I think what plaintiff the was getting at in                           4   here particularly where -- it's very clear where the

 5   referencing what apparently is a First Amendment case                  5   government regulation applies and what conduct the

 6   and perhaps the exercise of the chilling doctrine as                   6   government regulation is intended to prevent or

 7   grounds for claiming standing to bring a Second                        7   enforce against and that is simply carrying within

 8   Amendment challenge.     There's no Court that's applied               8   the lines of Connecticut state parks and forests.        So

 9   the chilling doctrine to a Second Amendment case and                   9   there are none of the vagueness or overbreadth

10   that was again -- the notion that that would be                       10   concerns that may -- would normally be attendant in a

11   enough here, I think, runs again counter to frankly                   11   classic First Amendment scenario.

12   the actual regulation which gives very clear notice                   12             I would just add that the plaintiff's

13   of where it is in effect which is the boundary lines                  13   argument, again, that -- I think it's been clear that

14   surrounding Connecticut state parks and forests.                      14   the Supreme Court in Carney v. Adams recognizes that

15            Additionally, it's -- in light of -- I think                 15   disagreeing with a statute, even one he believes to

16   there's no record here that would support, I think,                   16   be unconstitutional, is not enough to challenge that

17   the expansion of the chilling doctrine into the                       17   statute in court.      The plaintiff testified that he

18   Second Amendment in the way that the plaintiff                        18   believes that as an officer of the court, he has some

19   apparently is advocating for and certainly not in a                   19   constitutional obligation to see that the laws, I

20   way that should lead this Court to disregard the                      20   suppose, are interpreted in accordance with his --

21   existing standing doctrine with respect to Lujan.     I               21   what I take to be his understanding of what the

22   would note there are existing district court                          22   Constitution says.

23   decisions particularly in Oliver v. University of                     23             Again, that would -- if followed, that would

24   Connecticut out of the District of Connecticut where                  24   run strongly against the directives that the Supreme

25   that Court noted and cited to circuit courts from                     25   Court has given and limits that the Supreme Court has




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 1   set on the Court's jurisdiction, you know, where it's                      1   New York in the recent Tavares decision which was

 2   been observed that courts are not roving commissions                       2   cited in our briefs.

 3   assigned to pass judgment on the validity of the                           3              So with that, Your Honor, for those reasons,

 4   nation's laws and that's a concept that was -- has                         4   plaintiff simply has not alleged the intent to engage

 5   been adopted in the '70s that has been continued all                       5   in the conduct sufficient to claim an injury or any

 6   the way on through up to, you know, recent precedent                       6   credible threat of prosecution here and his claim

 7   including, frankly, most recently or somewhat                              7   should be dismissed.

 8   recently in a Justice Thomas concurrence in United                         8              THE COURT:   Mr. Atkinson, do you wish to

 9   States v. Sineneng-Smith where he, again, was also                         9   respond?

10   casting doubt on the application of the First                             10              MR. ATKINSON:   Yes, please, Your Honor.

11   Amendment chilling doctrines in other constitutional                      11              Mr. Nastri would be thrilled if the rule was

12   conducts as an excuse to expand the Court's                               12   carry until you're caught.     I think the testimony

13   jurisdiction and in his opinion, he came down firmly                      13   shows otherwise --

14   against it.                                                               14              THE COURT:   I'm sorry.    Why would he be

15             So I would be skeptical and I would frankly                     15   thrilled by that?

16   reject any claim that Second Amendment doctrine                           16              MR. ATKINSON:   Because it would essentially

17   particularly under Bruen, whatever affect Bruen may                       17   be I can go out and carry and unless somebody bothers

18   have had on constitutional law is -- was one that                         18   me and there's nobody out there to bother me, I can

19   would permit the plaintiff to bring a claim in this                       19   carry it.    That would give him more freedom than he

20   manner.                                                                   20   currently has.

21             And finally, I would just direct the Court                      21              THE COURT:   It assumes the regulation is not

22   and perhaps maybe to the plaintiff's argument, again,                     22   in effect?

23   to his concept that there's a perception of                               23              MR. ATKINSON:   Correct.    But where we stand

24   unconstitutionality is enough to challenge a law.                         24   right now is Colonel Lewis testified, obviously, to

25   That was also addressed in the Southern District of                       25   calls coming in, an increased risk of confusion, and




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 1   those calls stemming from that confusion in coming in                      1   consequence upon him, he's going to go back to doing

 2   because someone saw a firearm in a place they didn't                       2   what he was doing before.     That's more than

 3   expect it and he virtually went down a list of every                       3   sufficient to confer him standing and we would ask

 4   place he wouldn't expect to see a firearm including                        4   you to find that he has standing.

 5   state parks.    And he testified that they send                            5              THE COURT:   With respect to the requirement

 6   officers to respond and he testified they would issue                      6   that he show that there is a risk of enforcement, et

 7   citations and enforce the regulation at issue here.                        7   cetera, he talks about the regulation never having

 8             With respect to Mr. Nastri's actions, he just                    8   been enforced against him, although he has carried

 9   didn't learn of the law and stop.    His complaint                         9   firearms in the parks before, I wasn't quite clear

10   indicates, and that is sworn testimony, again, I                          10   whether his deposition said knowing he was not

11   would bring to Your Honor's attention, he went to                         11   permitted to but saying he is not aware of it ever

12   Defendant Dykes and he asked -- sent her an e-mail                        12   having been enforced against anyone.        So where is the

13   and he said is my understanding of the law right and                      13   credible threat of prosecution or enforcement

14   why did he do that, because he still wanted to keep                       14   required to show standing?

15   engaging in the same conduct that he had been                             15              MR. ATKINSON:   I think we get that from

16   engaging up until -- up to and to that point and the                      16   Colonel Lewis' testimony which I recollect being that

17   response he got back led him to conclude that it was                      17   if he went out and he responded to a report of an

18   no longer permitted.                                                      18   individual carrying similar to Mr. Nastri, that they

19             He may -- he didn't -- he just didn't stop,                     19   would enforce the law on that.        Given the unique

20   Your Honor.    He made efforts to continue what he was                    20   staffing shortages, for a lack of a better term, that

21   doing, to continue to engage in the course of conduct                     21   Colonel Lewis described, the lack of reporting data

22   that he was pursuing.    Again, I will reiterate, he                      22   that he has as to local law enforcement, state

23   has testified that this is his desire to do so.      He                   23   police, et cetera, we simply don't know the universe

24   stated that in his complaint.    He stated that when                      24   of how other law enforcement agencies have enforced

25   the regulation no longer poses the risk of a                              25   this law, but what is clear from Colonel Lewis's




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 1   testimony is that the law will be enforced and we                          1   acting similarly, right?

 2   believe that is sufficient.                                                2             MR. ATKINSON:   Correct.    And we're also

 3              THE COURT:   Why is that different from any                     3   looking at the standing doctrine saying it needs to

 4   other entity or person charged with enforcing the                          4   be a credible threat, not that it has to be enforced

 5   law?     Would you expect any different testimony other                    5   against him.    I think Colonel Lewis' testimony

 6   than we will enforce the law?                                              6   clearly establishes that the threat to Mr. Nastri if

 7              MR. ATKINSON:   I go back to a similar thing                    7   he violated this law, was caught doing it, it's

 8   that I asked Professor Cornell in his testimony about                      8   credible, it's going to happen, and he is going to

 9   not having knowledge of every individual's knowledge                       9   face consequences for it.

10   in the universe, all the facts in the universe, and                       10             THE COURT:   We have no evidence of any call

11   going -- and would respond to Your Honor that I                           11   and we have no evidence of anybody responding to that

12   simply don't know which police officer has enforced                       12   call.    Why is he any different from anybody else who

13   the law at this juncture, but we do know it's been                        13   just is in the park either not carrying or carrying

14   enforced.     From Colonel Lewis' testimony, we do know                   14   but the regulation will be applied to that other

15   that it will be enforced going forward, and that if                       15   person similarly to Mr. Nastri?

16   Mr. Nastri violates the law and he's caught doing so,                     16             MR. ATKINSON:   I think that goes back to what

17   it's going to be enforced against him.                                    17   his track record of prior conduct was, he had been

18              I don't think --                                               18   carrying for the purpose of self-defense in state

19              THE COURT:   But doesn't that risk have to be                  19   parks and his expressed intent desire to do so if he

20   more particularized to Mr. Nastri?                                        20   doesn't face consequences for it, his efforts to find

21              MR. ATKINSON:   I think it's sufficiently                      21   out if he could, bottom line, he was doing this, that

22   particularized right now if he violates the law and                       22   he -- that's such evidence in our view that going

23   he's caught doing so, the law is going to be enforced                     23   forward if he didn't face consequences, he would do

24   against him.                                                              24   it.

25              THE COURT:   As it would be against anyone                     25             This gets back to what I said when I first




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 1   stood up, carry until you're caught.      I don't think                    1   you come in and saying do you have a firearm.       The

 2   the state can tease it' way out of answering a Second                      2   state shouldn't be allowed to slip out of that.        We

 3   Amendment challenge in this context simply because it                      3   don't think current standing doctrine allows them to.

 4   claims it never caught anybody.      The threat is there.                  4             THE COURT:   So you were relying on Steffel

 5   The threat is particularized to Mr. Nastri because of                      5   which was a man who was handbilling with antiwar

 6   his past conduct and --                                                    6   stuff.    Do I have the right case?

 7              THE COURT:   And you say because of his past                    7             MR. ATKINSON:   Yes, Your Honor.

 8   conduct, how do you get to the imminent threat from                        8             THE COURT:   And he had twice been warned not

 9   his past conduct that they -- that DEEP doesn't know                       9   to do that.    Isn't that rather a distinguishing

10   about?                                                                    10   feature than in this case?

11              MR. ATKINSON:   Well, DEEP does know about it                  11             MR. ATKINSON:   We think Mr. Nastri got

12   as of today, but leaving that aside, it's from my                         12   similar warnings, the first being he went and read

13   reading of the case law, he's -- he's shown that a                        13   the statutes which are the -- the regulations which

14   credible threat of that prosecution if he goes into a                     14   in of themselves serve as a warning, don't do that.

15   state park carrying a handgun and somebody spots him                      15   Then he contacted Defendant Dykes and he asked for

16   and an officer responds, he's going to face                               16   clarification, as his testimony indicates, I

17   consequences by Colonel Lewis' testimony.                                 17   wanted -- basically, he said I wanted to go and see

18              Our view is that we have to accept that                        18   if there was another provision of the Connecticut law

19   testimony at face value.      There's nobody out there                    19   that allowed me to do what I want to do and the

20   patrolling consistently and it would frustrate the                        20   answer he got back was essentially confirming the

21   purposes of our judicial system if the state could                        21   warning the law itself gave him.      We think those are

22   simply wiggle out of meeting a Second Amendment                           22   analogous enough to the warnings in Steffel, thou

23   challenge on its face because there's just not enough                     23   shalt not do this, and he complied.

24   officers out there actively patrolling it, there's                        24             THE COURT:   So if you're a taxpayer and you

25   nobody in there checking your ticket on the door as                       25   disagree that a particular provision of the code




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 1   applies to you or should be enforced against you, is                      1   Mr. Nastri's circumstances and that's sufficient to

 2   that enough to show imminent injury through threat of                     2   cover him.

 3   enforcement?                                                              3            THE COURT:   Anything further on standing from

 4              MR. ATKINSON:   Your Honor, I am doing my best                 4   the defendant?

 5   to follow your question here.                                             5            MR. SULLIVAN:    Your Honor, just briefly, and

 6              THE COURT:   That might be difficult.   So I'm                 6   I think that your question touched on it, the fact

 7   really back to this question of how Mr. Nastri is                         7   that there may have been some past conduct that

 8   different from John Q. Public, Jane Q. Public, who                        8   violated the statute does not bear on the question of

 9   wants to carry their handguns in the parks and knows                      9   imminence.   There is no imminence of enforcement if

10   they can't do it, defers doing it because it is                          10   Mr. Nastri is not engaging in the conduct.

11   illegal.     What's different about Mr. Nastri's                         11            I'd add that I think that the

12   situation that would allow him to bring the challenge                    12   characterization that the e-mail is somehow

13   as opposed to anyone who has a desire to carry                           13   sufficient to establish standing here also falls

14   firearms in the park and can't?                                          14   short.   Plaintiff's -- the e-mail that plaintiff

15              MR. ATKINSON:   Well, I think that starts with                15   sent, which I believe is in evidence at 1A, to DEEP

16   past conduct, the efforts he made, again, to continue                    16   is just one more example of a general inquiry

17   that conduct and his testimony that he intends to do                     17   regarding whether a law -- whether a law is enforced

18   so when the law is lifted but doesn't because of the                     18   in a manner that he can't carry his firearm there.

19   consequences.     With respect to John Q. Public, I'm                    19            The inquiry -- his e-mail was not identifying

20   not sure we would have that past conduct.     The other                  20   any particular state park, it was not identifying any

21   issue I think in that instance that may be a -- John                     21   future intent of his to visit any state parks.      It

22   Q. Public may be under an obligation under the                           22   was merely an open question of whether he could carry

23   standing precedence to allege that they intend to                        23   there and whether there was any statute that allowed

24   violate the regulation despite it being there, but I                     24   him to do so, followed up by a request that DEEP

25   think the case law provides for people who are in                        25   amend the regulation to come in line with the




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 1   plaintiff's understanding of what the Constitution                        1   includes an expression of an intent to engage in that

 2   required under Bruen and that is simply not                               2   conduct; is that right?

 3   sufficient to establish any imminence or certainly                        3            MR. SULLIVAN:    Your Honor, if I understand

 4   not to seek the broad relief that plaintiff is                            4   your question --

 5   seeking here in a facia challenge where he is arguing                     5            THE COURT:   I'm trying to understand how far

 6   -- the effect would be striking down this law as to                       6   you are going with what is inferable from Mr.

 7   all parks.                                                                7   Nastri's communications to DEEP about this regulation

 8              THE COURT:   So you don't think inferentially                  8   and its constitutionality.

 9   when he says that he wants to bring Bruen to the                          9            MR. SULLIVAN:    I don't think it can go any

10   commissioner's attention because it demonstrates the                     10   further than the fact that he would like to see the

11   unconstitutionality of this regulation evinces some                      11   law change and that's not the type of conduct that

12   kind of intent on his part?                                              12   would be sufficient to establish standing.

13              MR. SULLIVAN:   I don't see it as different                   13            Your Honor, I'd just add that's especially

14   from requesting legislature for -- that the law ought                    14   true at the preliminary injunction level where we

15   to be changed for a reason that, again, he may                           15   can't simply rely on, I think, the more favorable

16   believe to be the case or not.     It's -- and in any                    16   inferences that one might be entitled to on a

17   case, it's, I think, putting this Court in the                           17   12(b)(1) motion to dismiss when it's just on the

18   position where it would be the ultimate arbiter of                       18   pleadings.

19   whether simply being able to kind of decide a                            19            THE COURT:   All right.   Let's move to the

20   constitutional question as plaintiff seems to have                       20   merits and that implicating the substantial

21   taken it upon himself to do which is simply not                          21   likelihood of success on the merits.     Mr. Atkinson.

22   appropriate in these cases and so there should be no                     22            MR. ATKINSON:    Thank you, Your Honor.

23   standing here.                                                           23            I don't think there's any dispute that we all

24              THE COURT:   You're not claiming that his                     24   understand that the Bruen's history test is where we

25   correspondence with the defendant and her staff is --                    25   need to start here and our view is that test is




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 1   relatively straightforward in this case.     I'd like to               1   inhabited, undeveloped lands at the time referred to

 2   start with what Professor Cornell testified that                       2   as the woods from the Founding Era until our

 3   particularly the efforts to enact broad public carry                   3   calculation being 1924 based on the Entry 68 in the

 4   restrictions that follows the Statute of Northampton                   4   excerpted statutes that the state supplied at ECF

 5   model were made both pre-1791 and post-1791, as I                      5   23-2.

 6   recall his testimony, but that Bruen itself found                      6           We also believe that particularly telling in

 7   those efforts to lack a more well-established                          7   Professor Cornell's testimony was that there were no

 8   historical foundation.                                                 8   modern-style parks in the Founding Era, but what we

 9           And with that context in mind, we believe                      9   derived from his testimony is that there were --

10   that the Connecticut Supreme Court's decision in                      10   there was a tradition at least in the New England

11   State v. Ball, which is 260 Conn 275, it's a 2002                     11   area of reserving common spaces for specific --

12   case, Your Honor, takes on a unique importance in                     12   various specific purposes and that would have

13   this case because that case, the Connecticut Supreme                  13   occurred in the Colonial and Founding Era, and the

14   Court found, and I quote as narrowly as I can from                    14   only law that Professor Cornell, as I recollect,

15   tying in memorial, The State's uninhabited and                        15   could testify to restricting the carry of firearms in

16   undeveloped land traditionally has been used for                      16   those spaces was they -- the law pertaining to

17   hiking, picnicking, camping, hunting, trapping and                    17   bringing a loaded musket to militia muster and I do

18   fishing, end quote, and even though the management of                 18   believe I asked him if he could identify any laws

19   those lands has shifted to the State of Connecticut,                  19   from the Colonial or Founding Era that prohibited the

20   we don't think that changes anything about this                       20   carrying of firearms in those areas and he couldn't

21   equation.                                                             21   and I'm not aware of any such general restrictions in

22           What the historical record we believe is in                   22   the record that's been presented to you.

23   front of you shows that at least in Connecticut under                 23           Our position is that the reservation of those

24   the Connecticut history, there were simply no                         24   public spaces in the Colonial and Founding Era is

25   restrictions on the carrying of firearms on                           25   directly analogous to the public spaces that were




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 1   reserved today particularly in light of the Ball                       1   Second Amendment right being exercised in a park

 2   decision that we've already referenced.     And we would               2   that's been used for that purpose?   How should the

 3   submit that the absence of such regulations for those                  3   Court be looking at that, resolving that conflict?

 4   spaces in the Founding and the Colonial Eras is                        4           MR. ATKINSON:   The conflict between

 5   dispositive of this case under Bruen primarily                         5   somebody's Second Amendment right and their First

 6   because of Bruen's treatment of history, the rules of                  6   Amendment right?

 7   weight as Professor Cornell described them.     I                      7           THE COURT:   That someone seeking to exercise

 8   recollect a passage from Bruen saying the further                      8   his or her Second Amendment right in a place which

 9   away we get from the time of the adoption of the                       9   has been long recognized as a place where other

10   Second Amendment and the less weight needs -- can be                  10   constitutional rights are exercised by people.

11   given to history, it's like a decreasing sliding                      11           MR. ATKINSON:   If I understand your question

12   scale and one of the things that strikes me from the                  12   properly, Your Honor, I think the Bruen analysis

13   Bruen decision is it's looking for an enduring and                    13   looks -- doesn't factor that into play as much.     I

14   representative tradition.                                             14   think what it's doing is it's kind of streamlining

15           THE COURT:   But doesn't that purpose have                    15   the analysis into is there an enduring tradition of

16   difficulty of application where the item to be                        16   prohibitions on firearms in these places and then the

17   regulated doesn't exist at that time?     I mean, that's              17   key thing that we believe Bruen focuses on is where

18   what I thought Professor Cornell was talking about,                   18   is the starting point for that, where does the

19   that ever since Connecticut had state parks, that the                 19   starting point have to be for that in order for it to

20   modern park movement which started in 1850, that                      20   be relevant, and we think that's particularly

21   there has been regulation or that the parks have been                 21   appropriate from Bruen in light of the Supreme

22   used as forums to -- for the exercise of other kinds                  22   Court's lack -- for lack of a better way of putting

23   of constitutional rights, assembly, free speech,                      23   it, how slow they were as to the incorporation

24   exercise of religion, et cetera.                                      24   doctrine with the Second Amendment not being

25           So is there a conflict between someone's                      25   incorporated until 2010, in my understanding.




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 1             So we believe the starting point is relevant.                      1   stretches back to the Founding Era, et cetera, there

 2   If something started in the early 1900s, there's no                          2   simply is none.     And so we believe in all relevant

 3   Second Amendment scrutiny.     There's no tradition of                       3   characteristics that town commons, town greens are

 4   it stretching back to the Founding and the Colonial                          4   relevantly similar to modern-style state parks in

 5   Era.    We believe that's a situation where Bruen's                          5   that regard.

 6   instruction is to look to analogs, and so that is                            6            THE COURT:    So I have a further question, if

 7   what I mean by analogizing to spaces reserved like                           7   you don't mind.

 8   the town greens that Professor Cornell described.                            8            MR. ATKINSON:    Sure.

 9   The town commons that Professor Cornell described.                           9            THE COURT:    I take it you have not a made

10             These were spaces set apart for some of the                       10   challenge to the state's ability to prohibit firearms

11   things that Your Honor mentioned in your question of                        11   in their attorney general's office.       It was the

12   right to assembly, right to free speech, et cetera.                         12   testimony that he didn't bring it there because he

13   These were all places where it was encompassed and                          13   knew it was prohibited.

14   there were -- in the historical record before you at                        14            MR. ATKINSON:    We do not have a challenge to

15   the time of the Founding, in most of the antebellum                         15   that, Your Honor.     We view that as a sensitive place.

16   period, neither Professor Cornell nor the record                            16   It's a government --

17   that's in front of you supplies any examples of a ban                       17            THE COURT:    All right.    So then you have

18   on -- a wholesale ban on thou shalt not carry a                             18   Bruen recognizing that there may not be a tradition

19   firearm in these spaces.     The one example -- the one                     19   of a particular type of regulation since the Founding

20   restriction on firearms carrying that I believe was                         20   since it's a response to a more modern problem.

21   supplied to you again was bringing a musket loaded to                       21   Aren't public parks a response to urbanization,

22   militia practice.                                                           22   modern congestion, all the things that Professor

23             So in terms of drawing that analog with that                      23   Cornell was talking about?

24   starting point and Bruen's rules of construction and                        24            MR. ATKINSON:    Well, we read that passage of

25   looking for an enduring constitutional tradition that                       25   Bruen slightly differently, Your Honor.       When we




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 1   understand what Bruen was referring to as a response                         1   after the Civil War but they were still popping up in

 2   to a modern problem to be a regulation that restricts                        2   isolated instances.

 3   the Second Amendment right that's in response to                             3            So for purposes of Bruen, we would not agree

 4   something that popped up in the Modern Era.     We do                        4   that they have established an enduring tradition from

 5   not believe that passage of Bruen encompasses we're                          5   the start.     These were experiments at the time.      We

 6   going to address some other social problem and that                          6   view they should be treated as experiments.        And they

 7   means a new set of rules et, cetera.     We believe                          7   were municipal experiments.       They were not state

 8   particularly in this context that there has to be an                         8   experiments.     These were isolated experiments on a

 9   analog to something that was in place and well                               9   small scale.     They did not reach the level of

10   established and representative back and was an                              10   being -- of covering an entire state.       They weren't

11   enduring tradition from the Founding Era.     That's                        11   necessarily widespread at the time.       And then going

12   what we believe from Bruen, if that answers your                            12   back to my argument as to Bruen requiring them to be

13   question.                                                                   13   well established, by my count there were only seven

14             THE COURT:   So we have a long history of what                    14   municipal parks by the year 1878 that had the

15   the open space that has become the parks is used for.                       15   prohibition.

16   We then have what -- I'm sorry.     This is just getting                    16            We think the fact that they were municipal,

17   funky here.                                                                 17   they were small scale experiments doesn't meet the

18             I take it you don't disagree that defendant                       18   definition of representative and well established by

19   has shown there's a tradition of prohibiting firearms                       19   Bruen.   I take your point, though, that it has been

20   in parks since the modern parks movement began.        Is                   20   going on for a long time.     We just don't think that

21   that a fair statement?                                                      21   at the time the history was most relevant to

22             MR. ATKINSON:   I'd qualify that, Your Honor,                     22   understanding the meaning of the Second Amendment

23   in the sense of I believe Professor Cornell said that                       23   that it was well established enough for anyone to

24   the parks movement started with the first park in                           24   conclude that they established what Bruen is

25   1858.    Then there were parks that were developed                          25   referring to is that well-established and




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 1   representative historical analog or tradition.                          1              MR. ATKINSON:   So we did contemplate this,

 2           THE COURT:   How can you establish an enduring                  2   Your Honor.     I believe the examples that Bruen set

 3   tradition of regulating modern parks if they only                       3   out were schools, voting places, government buildings

 4   just are recent and popped up?                                          4   and courthouses.

 5           MR. ATKINSON:    I think Bruen instructs us to                  5              THE COURT:   Legislative assemblies, yes?

 6   go to analogs which is why I opened my argument with                    6              MR. ATKINSON:   Correct.   And I apologize for

 7   the analog to the reserved spaces, such as the Boston                   7   missing that one, but we see a common theme running

 8   Common that Professor Cornell testified about, the                      8   in all of these.     These are places where core

 9   town greens that Professor Cornell testified about,                     9   government functions are performed, and I know I have

10   and our position is the absence of regulation there                    10   a little bit of explaining to do as to the schools,

11   shows that there is no such well-established                           11   but understanding the history of schools in America

12   historical analog.                                                     12   and that being a community responsibility as far as

13           And then circling back to my point about                       13   back as the ye Old Deluder Satan law in

14   incorporation and Professor Cornell's testimony that                   14   Massachusetts, we believe that fits immediately in

15   he was not aware of any state constitutional                           15   there.     So the definition we're proposing for

16   challenges to these laws in any courts and personally                  16   sensitive places is where a core functions of

17   as an officer of the court representing that I've                      17   government take place and that includes

18   been unable the find any as well, we think the                         18   self-government which would cover voting places.

19   historical records bare of any scrutiny under a                        19              With respect to -- one of the examples that I

20   state's arms bearing provision or a state -- or the                    20   thought about in order to expecting this hypothetical

21   Second Amendment and that would be probative that                      21   is the post office and we understand that there's the

22   this is not a well-established tradition.                              22   authority to establish a postal system in Article I

23           THE COURT:   So can you have a sensitive place                 23   of the United States Constitution.      We believe that

24   that's broader than what are the examples that Bruen                   24   the placement of a responsibility in the United

25   or Heller set out?                                                     25   States Constitution is sufficient enough to say




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 1   that's a core government function.                                      1   the wild.     Stuff happens in the wild.

 2           So we don't see any inconsistency with                          2              THE COURT:   But they're not the wild once

 3   Supreme Court precedent or the nature of the                            3   they have been recognized and used as parks and

 4   sensitive places doctrine if the Court chooses to                       4   places where people are going to be tranquil and in

 5   adopt the core government functions test for the                        5   harmony with nature, et cetera, or to publicly

 6   sensitive places and we would urge the Court to adopt                   6   assemble for the purpose of exchanging of political

 7   that.                                                                   7   views or the other purposes.     So that's what I'm

 8           Under that test, I go specifically to Colonel                   8   having a hard time understanding is why the

 9   Lewis' testimony today where he testified largely                       9   historical analog of the wild, it seems that you are

10   that the same concerns about firearms that would be                    10   using it as a regulatory straightjacket.

11   present in the state park are virtually present                        11              MR. ATKINSON:   We wouldn't just limit

12   everywhere.   He also testified that there are laws in                 12   ourselves to the historical analog of the wild and

13   place, and we walked through some of them, that                        13   the woods as they were referred to back then.       We

14   protect the state's interest without barring them                      14   would also make the comparison to -- back again to

15   from carrying firearms completely.   And I would also                  15   the sensitive places we've already discussed that are

16   note his testimony that there's no gateway, there's                    16   well established and we would also compare state

17   nothing to monitor somebody of are you carrying a                      17   parks and forests to the rest of the world,

18   firearm there, et cetera.   We've had argument today                   18   restaurants where people go to eat, to be

19   about the actual extent to which DEEP goes to enforce                  19   entertained, movie theaters.

20   these laws.   He's testified about the -- the limited                  20              THE COURT:   But doesn't that just blur the

21   resources that he has, et cetera.                                      21   whole concept of sensitive spaces, sensitive places,

22           We believe that state parks and forests do                     22   if you're going to say, oh, it's like a restaurant or

23   not meet the definition of sensitive places and we go                  23   it's like a movie house or something like that?

24   back to our argument about State v. Ball, that these                   24   Don't we have to look at how -- what it is being used

25   are undeveloped lands.   These are the woods.    This is               25   for?     I mean, even State V. Ball talked about state




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 1   parks and forests being used for Native American                          1   There are quintessential public forums.       There are

 2   celebrations, for historical reenactments, and some                       2   limited purpose public forums which is forums that

 3   other things, not just that the purpose of the parks                      3   would otherwise be private but are opened up to

 4   was to be wild.                                                           4   specific kinds of speech.     We don't -- we think that

 5           MR. ATKINSON:     Well, Your Honor, I would -- I                  5   state parks are closer to -- this is a public forum

 6   don't think it blurs the distinctions.     I think what                   6   because there's an absence of restrictions or very

 7   it shows is there is no distinction even though the                       7   few restrictions on what you can do there.       It's open

 8   purposes are different.     People are gathering there;                   8   for business.

 9   they're using them for purposes of recreation whether                     9              And we would point to purpose-driven

10   that's getting out in nature or not.     I think Colonel                 10   discrimination on the carrying of firearms is much

11   Lewis' testimony clearly demonstrates that while the                     11   like a content regulation on speech.     It gets

12   parks are open for business, there's no restriction                      12   exacting scrutiny under the First Amendment, it's

13   on who can come in there.                                                13   presumptively unconstitutional, and the record that

14           You just walk in and there's a few checks                        14   we have here is that the state permits quite a

15   here and there as to alcohol, et cetera.     There's a                   15   substantial number of people, according to the

16   check as to fishing gear when you're leaving, et                         16   stipulation that we have, gives them permission to

17   cetera, game limits, et cetera.     But there is really                  17   carry firearms by way of firearms hunting licenses,

18   no restrictions on come in and use.     That's like                      18   we have Colonel Lewis' testimony that you can use

19   walking down the street, for lack of a better way of                     19   22-caliber handguns to hunt coyotes and his further

20   putting it, and then that also -- the purpose                            20   testimony that you can use them year-round in certain

21   question leads me to a brief detour, Your Honor, as                      21   state parks and forests.

22   to what I believe the state advance is a state                           22              Handguns, the most popular self-defense

23   property theory.                                                         23   weapon in America according to Heller, are already in

24           As Your Honor is familiar with in First                          24   state parks and forests, and in some of them, they're

25   Amendment case law, there's a doctrine of forums.                        25   permitted to be there year-round.     Just because




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 1   Mr. Nastri wants to carry in a firearm for purposes                       1              MR. ATKINSON:   Yes, Your Honor.   I believe I

 2   of self-defense as opposed to hunting, that's what we                     2   spoke about the Old Deluder Satan law in

 3   would characterize as purpose-driven discrimination.                      3   Massachusetts.     I do know in our briefs we reference

 4   It's not appropriate especially when you have the                         4   the constitutionalization of education here in

 5   allowance of firearms in state parks and forests                          5   Connecticut as a core government function, et cetera.

 6   already which circling back to the sensitive places                       6   Again, schools fit well within the confines of what

 7   laws, the public is typically not allowed into                            7   we've understood sensitive places to be in our

 8   sensitive places with firearms.     That's been the                       8   nation's history.     We believe with respect to

 9   tradition at polling places, schools, et cetera, and                      9   education, that's on a firm footing in sensitive

10   it's been the tradition for quite a substantial                          10   places doctrine.     We just don't think there are any

11   amount of time.                                                          11   relevant analogs there to modern state parks and

12           So we think the very presence of firearms for                    12   forests.

13   any purpose defeats a conclusion that it is -- that                      13              And if I may address the affidavits of the

14   it is a sensitive place.                                                 14   two school principals who want -- who were speaking

15           THE COURT:    Isn't that a little bit circular?                  15   as to the effect on field trips in state parks and

16           MR. ATKINSON:     I think in terms of making                     16   forests, et cetera, first of all, we believe that the

17   analogs, we're certainly looking for relevant                            17   interjection of that into this case would -- in a

18   considerations.    We don't -- I don't necessarily view                  18   broader context would be impermissible interest

19   that as circular, Your Honor.     I think we have                        19   balancing that's prohibited by Bruen.

20   relevant characteristics of well-established and                         20              Second, with respect to that, we see nothing

21   recognized sensitive places that modern-style parks                      21   by law, logic or reason or common sense that the

22   simply don't have in this case.     They're permitting                   22   state can simply coordinate with the schools if

23   firearms in for hunting.                                                 23   you're coming in to do some education with students,

24           THE COURT:    You said you would touch on                        24   let's help -- we understand you're bringing the

25   education.                                                               25   classroom out into the woods, let's secure that as a




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 1   sensitive place for a day.     Colonel Lewis already --                     1   law-abiding citizen.       He served his community and his

 2   either Colonel Lewis or Mr. Nastri already testified                        2   country for a long, long time.         He has an ample --

 3   as to Civil War reenactments being done.     We would                       3   what I would characterize as an ample nature of

 4   point the state to that process as to that concern.                         4   common sense.     Nothing in his testimony today or the

 5           If I may move on, Your Honor, and I'm                               5   record shows that he would pose a risk of harm to

 6   reaching -- and I'm reaching the end here.       Another                    6   anyone by carrying a firearm.

 7   thing that I would like to point out to Your Honor is                       7              All he simply wants in this case is to

 8   in Mr. Nastri's verified amended complaint at                               8   peacefully carry a handgun for purposes of

 9   paragraphs 41 through 47, there's sworn testimony or                        9   self-defense.     If he has to conceal it, that's where

10   allegations there that have not been contradicted in                       10   he will.     As he grows over -- older, his physical

11   these proceedings at all that law enforcement would                        11   strength, his physical abilities are going to

12   face a significant response time to respond to                             12   decrease and he's going to become more vulnerable.            I

13   someone who's being made the victim of a crime out in                      13   think Mr. Nastri's going the way of every person in

14   a state park or forest and our view is that those                          14   life and we'd submit the right to self-defense is

15   response -- and couple that with Colonel Lewis'                            15   older than America.       Heller recognizes that handguns

16   testimony that the EnCon officer may be coming from a                      16   are the most popular tool to engage in self-defense.

17   different location to render assistance there, our                         17              The regulation at issue here denies

18   view is that those circumstances defeat the                                18   Mr. Nastri the tools to defend himself in state

19   characterization of those places as sensitive places                       19   parks.     We'd ask that you issue a preliminary

20   because there's simply very little regulation or                           20   injunction enjoining its enforcement and restore to

21   enforced regulation out there and it creates a                             21   Mr. Nastri the means to avoid becoming a victim of a

22   situation where you're a victim before law                                 22   crime in a place where law enforcement can't prevent

23   enforcement ever gets there.                                               23   it.    Thank you, Your Honor.

24           With respect to closing, Your Honor, I'd like                      24              THE COURT:     Thank you.

25   to discuss Mr. Nastri for a second.     He's a                             25              MR. HOLZMAN:     Good afternoon, Your Honor.




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 1   Unless the Court has a preference, I was planning on                        1              Colonel Lewis has testified today as well as

 2   just starting at the top if that's okay.                                    2   in his declaration about certain affirmative actions

 3           THE COURT:     That's fine.                                         3   that would likely be taken, as has Tom Tyler as well.

 4           MR. HOLZMAN:     So, Your Honor, we're asking                       4   So but in any event, Your Honor, it would be subject

 5   the Court deny plaintiff's motion for a preliminary                         5   to the higher standard for the independent reason

 6   injunction and preserve the status quo in this case.                        6   that it seeks to enjoin government action and that's

 7   We have worked pretty hard to give the Court a full                         7   this Court's -- Your Honor's decision in Lawrence &

 8   historical and factual record that it needs to decide                       8   Memorial Hospital which is 986 F. Supp 2d 124 at page

 9   these issues.     This firearm restriction is more than                     9   131.

10   a century old and it's part of the essential                               10              And the other preliminary point, Your Honor,

11   character of our parks and forests.                                        11   is that this claim is a facia challenge.         That's how

12           The plaintiff hasn't shown any of the                              12   he's framed it in his complaint, in his motion, in

13   requirements necessary to get a preliminary                                13   his reply brief.     He acknowledges that he's seeking

14   injunction.     He hasn't shown that he has a right to                     14   to enjoin this regulation as to all state parks and

15   carry in these locations.     The restriction is well                      15   forests, and moreover, this is a pre-enforcement

16   supported by the history and tradition of firearm                          16   claim which means that it has to be a facia claim and

17   regulation in this country and he hasn't come                              17   the Eleventh Circuit addressed that in the

18   anywhere close to meeting his burden of showing the                        18   GeorgiaCarry I decision which we cite which is 687

19   equities weigh in his favor.                                               19   F.3d 1244 at 1260.      So in other words, he bears the

20           If I can address a couple preliminary issues,                      20   extraordinary burden of showing that in all of its

21   Your Honor.     The burden that the plaintiff has to                       21   applications, this regulation is unconstitutional and

22   carry on the likelihood of success prong, it is the                        22   he hasn't met that burden.

23   higher burden because this is something that would                         23              Turning to prong one of Bruen, Your Honor,

24   upset rather than preserve the status quo.       So it is                  24   first of all, plaintiff acknowledges on page 3 of his

25   a mandatory injunction.                                                    25   reply brief that it his burden of showing that the




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 1   Second Amendment covers the proposed course of                              1   Court is very different.         The question here is

 2   conduct, but he doesn't really do anything at all to                        2   whether it covers the specific act of bringing guns

 3   meet that burden.       He basically just says that he                      3   into these locations, namely state parks and forests,

 4   wants to carry in public for self-defense which Bruen                       4   and that raises a number of different considerations

 5   concludes is covered conduct.       That's completely                       5   that Bruen had no occasion to address in that case,

 6   insufficient to meet his burden, Your Honor, because,                       6   namely the distinction between when the government is

 7   first of all, it misstates what the conduct at issue                        7   acting as a proprietor rather than as a regulator and

 8   even is.    The conduct isn't carrying in public for                        8   also sensitive places.      And I don't -- we set out

 9   self-defense because you can do that in Connecticut.                        9   these points in our brief, Your Honor.

10   General Statute 29-28b permits you to engage in that                       10             THE COURT:     So are you arguing that the state

11   conduct.                                                                   11   can ban firearms, carrying of firearms on any

12              This regulation, all it applies to is a                         12   property it owns or manages?

13   specific discrete locations that plaintiff himself                         13             MR. HOLZMAN:     No.    We're not arguing that it

14   has testified that he goes only for recreational                           14   can ban firearms on any property.         I wouldn't be

15   purposes.    And I would point the Court to what Judge                     15   making this argument in the context of a state-owned

16   Posner wrote in Moore v. Madigan which is that when a                      16   road, for example, because that would be a

17   state bans guns merely in particular places, a person                      17   thoroughfare that would probably implicate Bruen's

18   can preserve an undiminished right of self-defense by                      18   conclusion that you have a right to carry in public

19   not entering those places.                                                 19   generally because if you can't carry on the road, you

20              So in Bruen, it was a completely different                      20   wouldn't be able to bring it out of the house.

21   case because that case involved a jurisdiction-wide                        21             THE COURT:     So what's your limiting principle

22   ban and so the issue in front of the Supreme Court                         22   on what kind of government property the state could

23   was whether the Second Amendment covered a general                         23   ban firearms on?

24   right to carry in public.                                                  24             MR. HOLZMAN:     So the limiting principle is

25              Here, the Court -- the question before this                     25   when there's a historical tradition of a public use




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 1   that this type of land has been dedicated for that is                       1   from sensitive places.      So those are two different

 2   inconsistent with the carrying of firearms, and so                          2   reasons why the conduct would not be protected.           But

 3   that principle has been applied in a number of                              3   the reason that parks are sensitive places, Your

 4   contexts, in particular the First Amendment context                         4   Honor, is -- so what the courts have recognized after

 5   where the Supreme Court has said that in that limited                       5   Heller identified sensitive places as a place where

 6   type of circumstance, the state has the same property                       6   firearms could be prohibited was that it essentially

 7   rights as private owners do to regulate the conduct                         7   depends on, to use the words of United States v.

 8   on their property which -- even if the conduct might                        8   Class, which is a D.C. Circuit decision that we cite

 9   otherwise be constitutionally protected, and that's                         9   in our brief, places are sensitive because of the

10   Greer v. Spock as well where the Court upheld a ban                        10   people found there or the activities that take place

11   on distributing political leaflets of public property                      11   there.

12   because it was owned by the United States Army and                         12             And we've found a number of cases, Your

13   traditionally it hadn't been dedicated for that type                       13   Honor, that have held that public parks that serve

14   of public use.                                                             14   similar functions are sensitive places.         If you look

15              THE COURT:     So if legislative assemblies and                 15   at Nordyke I, which is a Ninth Circuit decision, 563

16   courthouses and polling places and so forth which                          16   F.3d at 460, it upheld a prohibition county-owned

17   serve very specific functions are permitted without                        17   parks and recreation areas and said that they were

18   challenge here to prohibit firearms, what is your                          18   sensitive places because they were gathering places

19   argument that parks that can be used for all sorts of                      19   where high numbers of people might congregate, they

20   things from quiet hikes to political rallies?          How do              20   host high numbers of events, and they, therefore,

21   you -- what's the issue that defines a park as a                           21   quote, Fit comfortably in the definition of sensitive

22   category of sensitive place given this variety of                          22   places.

23   things that happen in a park?                                              23             THE COURT:     But aren't those cases largely

24              MR. HOLZMAN:     So just to be clear, the                       24   pre-Bruen?

25   proprietary argument, Your Honor, that's different                         25             MR. HOLZMAN:     So those sensitive places cases




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 1   are pre-Bruen, but Bruen doesn't do anything to limit                        1   concluded in Class.

 2   or abrogate the sensitive places analysis.        If                         2            But -- so we can talk about prong two, Your

 3   anything, Bruen expands it because was it does is,                           3   Honor.   So the Statute of Northampton in 1328, so it

 4   first of all, it adds those two additional examples                          4   generally prohibits -- and I'm paraphrasing here, but

 5   of sensitive places.     I think it adds polling places                      5   it prohibits people from going armed and it uses

 6   and legislative offices.        But then it has the                          6   fairs and markets.     So the Supreme Court didn't find

 7   explicit language where it encourages quotes -- to                           7   it persuasive in Bruen because the law at issue in

 8   identify, quote, New and analogous sensitive places,                         8   Bruen was completely different.     The law at issue in

 9   and that's at page 2133 in Bruen.                                            9   Bruen was a general jurisdiction-wide prohibition on

10            THE COURT:     So that leaves us out of Bruen,                     10   carrying in public absent a showing of an

11   right?                                                                      11   individualized need.

12            MR. HOLZMAN:     No.    I don't think so.     I think              12            So when you engage in the historical analysis

13   it's perfectly acceptable for the Court to rely on                          13   that Bruen requires which is the -- it requires you

14   the pre-Bruen cases that analyze sensitive places and                       14   to look at how the regular -- how burdensome the

15   those cases have concluded that these types of parks                        15   regulation was, and number two, what was the

16   are sensitive places because of the events held                             16   justification for it when you're looking at whether

17   there, the children that go there, schools, high                            17   it's similar.   Given how different the law at issue

18   gatherings, crowds of people.                                               18   in Bruen is, how Bruen treated the historical

19            THE COURT:     What do you do about the Statute                    19   evidence in that case really doesn't have any bearing

20   of Northampton that you rely on that Bruen did not?                         20   at all in this case because of how different the law

21            MR. HOLZMAN:     That's prong two, Your Honor.                     21   is in this case, and so the quote, unquote, how and

22   So sensitive places is -- just to be clear, Bruen                           22   why analysis under Bruen is going to come out

23   wasn't clear about whether sensitive places are prong                       23   completely different.

24   one or prong two.     We think it's more properly                           24            And so that's exactly why the D.C. -- the

25   recognized as a prong one issue as the D.C. Circuit                         25   district court in Frey v. Nigrelli when -- similar to




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 1   this case -- it did have restrictions that were                              1   of the state regulating firearms in discrete

 2   cabined to specific locations, that it was on public                         2   locations where large people gather for education and

 3   transportation, it was in Times Square and parks as                          3   social and cultural purposes.

 4   well, but they stayed that part of the analysis                              4            And that's shown also if you go -- and I want

 5   because of the pending Antonyuk decision.        But that                    5   to get to the park stuff in a second, Your Honor, but

 6   Court relied on the Statute of Northampton as well as                        6   if you look beyond those Founding Era North Carolina,

 7   the Virginia and North Carolina laws from 1786 and                           7   Virginia laws and you start going into antebellum

 8   1792, the ones that basically adopt the Statute of                           8   which at this point we have the urbanization that

 9   Northampton and kind of codify it into their law.                            9   starts taking place, more and more people start

10            The Court said about those laws in that                            10   flocking to cities, Professor Young and Professor

11   context that it shows a historical tradition of                             11   Glazer testified about that dynamic in their

12   banning firearms in locations where large groups of                         12   affidavits in this case, you get more and more states

13   people are congregated for commercial, social and                           13   banning firearms in all kinds of locations that are

14   cultural activities, and that's page 149 of the Frey                        14   similar to that.

15   decision.                                                                   15            So you've got Louisiana and ballrooms.

16            And so that shows that when you're looking at                      16   You've got 1869 Tennessee and fairs, race courses,

17   a historical comparison involving very different                            17   other public assemblies; 1870 Texas, places where any

18   laws, one of which is cabined to a specific location,                       18   public gathering -- has this very broad language of

19   how significant the historical evidence is, it's                            19   any public gathering.     And then you keep going on --

20   completely different.     And Professor Cornell                             20   and these are all in evidence, Your Honor.     These are

21   testified in person just yesterday about the Statute                        21   Exhibits 82 through 88.

22   of Northampton and those two statutes and conclude                          22            And so if you just go based on that tradition

23   that they provided strong evidence that these park                          23   alone, that in and of itself would arguably justify

24   regulations, even though they were very, very                               24   DEEP's park firearm restriction in this case because

25   different, that it's part of this overarching history                       25   similar to those, they are used for social and




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 1   education purpose.      I mean, we have in Mr. Tyler's                      1   allows you to determine whether it's sufficiently

 2   declaration, he talks about the large crowds, 17                            2   similar to be considered a sensitive place and that's

 3   million people visited in 2022, and it's only going                         3   how those cases very frequently had done it, Your

 4   up.   You have a substantial portion are children and                       4   Honor, and there's nothing in Bruen that calls that

 5   families at paragraph 57 of his declaration.       Schools                  5   analysis into question.

 6   use them all the time as places to go on field trips                        6            And there's good reason for that also, Your

 7   and for educational purposes, he talks about that at                        7   Honor, because if it was based entirely on a

 8   length at paragraph 58 where he lays out all the                            8   historical analysis, the sensitive places and the

 9   bussing permits that had been granted last year, the                        9   historical analog under prong two, they would

10   hundreds of them, and the different kinds of programs                      10   basically merge and be indistinguishable, but Bruen

11   that are specifically tailored towards children and                        11   recognizes them as distinct concepts and so that's

12   families.                                                                  12   how they should be treated.

13             THE COURT:     The cases that you were talking                   13            All right.    So I talked about some of the

14   about before, the pre-Bruen cases, aren't those cases                      14   older Statute of Northampton and the public gathering

15   focused on the function of those places as opposed to                      15   laws going all the way up through the Reconstruction

16   any historical analog for permitting that kind of                          16   Era.   So with respect to parks, Your Honor, so they

17   regulation?                                                                17   emerge kind of right in the middle of that for the

18             MR. HOLZMAN:     The sensitive places cases,                     18   first time in around 1858 and the record in this case

19   Your Honor?     Yes, that's correct, but I think that's                    19   establishes that they were completely new and

20   how that analysis should go under Bruen.      I think all                  20   different.    That's what the record shows.   It was --

21   that Bruen did was determine that there is a                               21   to use Professor Young's words in paragraph 10 of his

22   historical tradition of regulating firearms in                             22   declaration, "The American park movement launched in

23   sensitive places.      The only question is it a                           23   the 1850s."

24   sensitive places.      And so you look at the facts and                    24            I mean, these were places, they were

25   characteristics about those locations and that's what                      25   basically viewed as kind of these sanctuary-type




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 1   places.     They were supposed to be serene where people                    1   Cornell testified to clearly in his declaration and

 2   could go for peace and quiet enjoyment and escape                           2   in his testimony yesterday and we've submitted more

 3   from city life.     There had been no places in                             3   than 60 of them, Your Honor.     They're Exhibits 1

 4   existence prior to that.                                                    4   through 69.     There's a few additional ones in there

 5             They -- so this is exactly the kind of                            5   from cities at various points.

 6   unprecedented societal concern that Bruen is talking                        6            So between 1858 and 1886, you have 11 cities

 7   and that requires a more nuanced approach from this                         7   that had banned guns in their parks, some of the most

 8   Court when conducting prong two and what that means                         8   populous cities in the country, and Professor Cornell

 9   is that when you have a context for prohibiting                             9   lays that out in his declaration.     By 1900, we've got

10   firearms that didn't exist at the founding, the Court                      10   regulations that cover -- as parks were expanding and

11   can substantially broaden the types of historical                          11   popping up in more and more places, we have

12   evidence that it will consider sufficient.                                 12   regulations in more than 60 cities across almost two

13             And so I already talked about the Statute of                     13   dozen states.

14   Northampton and the old Texas statutes and how they                        14            As I mentioned, these were primarily local

15   would encompass this situation, but this Court can                         15   issues, but, Your Honor, but I want to point out that

16   view them even more broadly, so even more compelling                       16   in 1868 which is the year the Fourteenth Amendment

17   examples of historical analogs.      And so after Olmsted                  17   was adopted, and this is Exhibit 3, the Pennsylvania

18   opened New York Central Park in 1858 which is ten                          18   state legislature passed a statute that prohibited

19   years before the Fourteenth Amendment, you have these                      19   the firearms in Fairmount Park.     So there you have a

20   low -- they were local issues, and so local                                20   situation where the restriction wasn't local; it was

21   governments, for the most part, had control over them                      21   state imposed.     You had elected representatives from

22   and they were -- and so they were predominantly the                        22   the entire state that had all agreed that there

23   ones that imposed these firearm restrictions, but as                       23   shouldn't be any firearms in those parks.

24   we've shown, as these parks emerged, the firearms                          24            And I want to talk about the local -- I think

25   restrictions followed and that's what Professor                            25   counsel made an argument that they should basically




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 1   be disregarded because they were imposed by local                        1   widespread enough where states actually start getting

 2   government bodies rather than states.    I just                          2   involved.   So there we see Minnesota banning guns in

 3   mentioned there was one state right at the time the                      3   all of its parks in 1905, Wisconsin in 1917, and

 4   Fourteenth Amendment was adopted, but there's nothing                    4   these are all in our exhibits, Your Honor.

 5   wrong at all with considering local restrictions, and                    5   Connecticut did it in 1918; North Carolina 1921.

 6   again, Frey v. Negrelli, it upheld a restriction                         6           So national parks, same trend, Your Honor.

 7   based entirely on local restrictions and it's                            7   1897, they were banned in Yellowstone.    A bunch of

 8   important to keep in mind when looking in this                           8   other individual parks followed and eventually they

 9   particular case in this park movement that these                         9   were banned -- as soon as they had a national body to

10   local state actors were operating in full view of                       10   impose a nationwide regulatory scheme, they were

11   their legislatures.                                                     11   banned nationally in 1936.

12            So often you had these local commissions that                  12           And the last point I want to say on that,

13   were established with legislative approval, so                          13   Your Honor, is that nobody challenged these.      Nobody

14   they're acting pursuant to legislative authority.                       14   disputed the constitutional authority of the state to

15   That was the case in New York and that was the case                     15   impose these restrictions.    We have more than

16   in Connecticut as well.   And these parks were -- I                     16   150 years that passed since Olmstead opened -- or

17   mean, they were incredibly well-known and                               17   designed and New York City opened Central Park and

18   influential.   I mean, it was -- as Professor Young                     18   there were no challenges.    The federal nationwide ban

19   testified, it was a movement and it was expensive.                      19   was in place for 70 years from 1936 to 2010, and

20   They had to find the money for it.    So the state                      20   what's interesting about that actually, Your Honor,

21   governments, everybody knew what was going on.       They               21   is that in 2008 when Congress went to repeal that ban

22   were all well aware of it and they all acquiesced and                   22   to allow the individual states to determine whether

23   agreed with those restrictions.                                         23   you can carry firearms in their respective national

24            And then in early 1900s, as Young testifies                    24   parks, that repeal was challenged in court and far

25   in his declaration, paragraph 38, it starts to get                      25   from suggesting that the repeal was constitutionally




                                                             413                                                                         414


 1   required, the Court actually enjoined it and                             1   submitted laws from five states from 1721

 2   prohibited them from repealing the nationwide firearm                    2   through 1869 and those hunting laws, I think, provide

 3   ban and that's the Brady v. Salizar ban and we cite                      3   a completely independent basis for affirming this

 4   that in footnote four of our brief.                                      4   regulation under prong two of Bruen because a number

 5            So taking it back to Bruen, Your Honor, that                    5   of those restrictions, they basically prohibit

 6   is very, very strong evidence because if you look at                     6   carrying on lands that are not your own and in woods

 7   Bruen, and I'm talking about page 2133, it's talking                     7   or other enclosed lands without the land owner's

 8   about sensitive places and historical analysis and it                    8   permission and that would certainly encompass -- even

 9   says that it acknowledges that there was relatively                      9   though the state owned kind of lands at that time,

10   few records from the 18th and 19th century about                        10   that would encompass them if they had.    I mean, it's

11   sensitive places, but then stated that since we are                     11   lands not their own and they prohibited carrying in

12   aware of no disputes regarding the lawfulness of such                   12   the case of the New Jersey and Louisiana laws.

13   prohibitions, we therefore can assume it settled, end                   13           And so that's comparable to this case because

14   quote, that such prohibitions are valid.    So the                      14   one of the original justifications of Connecticut's

15   absence of a dispute can be strong evidence that                        15   ban of firearms in state parks and forests is that it

16   everybody knew and believed and nobody questioned the                   16   assists in the conservation goals and regulating

17   constitutionality of that kind of regulation and so                     17   poaching and the proper hunting, and Professor Glazer

18   that exact same logic applies in this case.                             18   testified about that in paragraph 15 of her

19            Sorry.   I'm jumping around a little bit, Your                 19   declaration.    And Tom Tyler and Colonel Lewis also

20   Honor.   I think we're getting a little short of time.                  20   testify about how that restriction that remains in

21   So the other thing I just wanted to emphasize with                      21   place continues to serve that purpose and that's

22   some -- I wanted to emphasize here is the                               22   Mr. Tyler's declaration at paragraph 89 and Lewis at

23   restrictions on hunting that we submitted, Your                         23   paragraph 18.

24   Honor, those restrictions go all the way back from                      24           So the last thing I wanted to just mention

25   the Founding Era through reconstruction and we                          25   about that -- about prong two of Bruen, Your Honor,




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 1   before I move on is just that -- and the Court                            1           As Judge Posner said, when locational

 2   mentioned this earlier -- Bruen made very clear that                      2   restrictions are cabined to schools, for example, it

 3   the standard that it was announcing wasn't intended                       3   doesn't impede on the right of self-defense because

 4   to be a regulatory straightjacket and it leaves room                      4   you can simply avoid it easily and fully exercise

 5   for numerous kinds of firearm restrictions, Your                          5   your right of self-defense simply by not going there.

 6   Honor, and I do not see -- based on the record that                       6   And so that's relevant to that and that's -- and

 7   we've presented, I don't see how this Court could                         7   Judge Posner made that observation with respect to

 8   enjoin this century-old law in this preliminary                           8   schools which are more, I guess you would say,

 9   posture without saying that Bruen essentially imposes                     9   essential to everyday life, whereas here, this is

10   a regulatory straightjacket.                                             10   purely a recreational location.

11           That's not what Bruen is and it stills leaves                    11           So at the very least what we have, Your

12   room for regulation that is supported by history and                     12   Honor, is that even if the plaintiff were to prevail

13   tradition and we're asking the Court to recognize                        13   at a full trial, the most harm that would befall him

14   that in this case.                                                       14   is that he'd be temporarily unable to carry arms in

15           So with respect to balance of the equities,                      15   these parks when he goes hiking or whatever, engages

16   Your Honor, I don't have a ton to say beyond what's                      16   in whatever recreational activity he's engaging in,

17   in our brief, but I did just want to highlight a                         17   but that harm pales in comparison to the harm the

18   couple of things.     So on the one hand, Your Honor, if                 18   state would sustain if this Court were to enjoin this

19   you're looking at the harm that the plaintiff would                      19   century=old regulation on this preliminary basis.

20   sustain in this case if the injunction were denied                       20           First of all, Your Honor, I mean, it's just

21   and the case were allowed to proceed to trial , the                      21   true as a matter of law that when the state is

22   harm would not be substantial because these are not                      22   enjoined from enforcing its laws, that's considered

23   restrictions that impose upon his general right to                       23   irreparable harm and that is especially true where it

24   carry in public.     These are places that he goes                       24   implicates the state's public safety interests which

25   voluntarily.                                                             25   certainly this law does here.       And what has to be




                                                              417                                                                           418


 1   noted is that we are in May now, Your Honor.     We have                  1   other safety restrictions that would have to

 2   summertime approaching when a lot of these locations                      2   accompany a general right to carry in these 142 state

 3   and parks reach their peak capacity, you have people                      3   parks and forests.   And so --

 4   flocking to the beaches and to Sleeping Giant and                         4           THE COURT:     I think in the time remaining, we

 5   hiking trails, and enjoining this at this stage, it                       5   should give Mr. Atkinson a chance to respond to all

 6   would be a big problem and it wouldn't leave DEEP or                      6   of your arguments.   Is there anything that you feel

 7   EnCon with sufficient time to plan for it to make the                     7   compelled to bring up that's new?

 8   necessary changes they would need to make to                              8           MR. HOLZMAN:     You're asking me, Your Honor?

 9   accommodate a right to carry.                                             9           THE COURT:     I am.

10           And so I guess the point that I want to                          10           MR. HOLZMAN:     No, Your Honor.    I'll just end

11   emphasize, Your Honor, is that this isn't a new                          11   by saying that we'd ask that the plaintiff's motion

12   restriction.   This has been in place for 100 years.                     12   be denied.   He'll have an opportunity to prove his

13   And when that happens, you have all these other                          13   case at trial, but he's not entitled to the

14   things that develop around it in reliance on that                        14   preliminary relief that he's seeking.       Thank you.

15   restriction being in place.     And so when you simply                   15           THE COURT:     Thank you.

16   remove it and join it on a preliminary basis, it's                       16           All right.     Mr. Atkinson.

17   going to cause all kinds of collateral damage to                         17           MR. ATKINSON:     Thank you, Your Honor.    I only

18   other people and other areas of law.                                     18   have a few points in rebuttal.

19           So for example, Mr. Tyler testified about                        19           First, Bruen specifically rejected the highly

20   that it was likely that if there was a right to                          20   populated area rational as a basis for justifying a

21   carry, DEEP would have to make changes to other                          21   restriction on carry.    With respect to the textual

22   aspects of law including the regulation that                             22   right established by the combination of Bruen,

23   prohibits alcohol or that -- sorry, that permits                         23   McDonald and Heller, our understanding is it didn't

24   alcohol in most locations.     There may have to be some                 24   cabin us to forcing plaintiffs like Mr. Nastri to

25   new regulation about safe storage or any enumerable                      25   find a textual right to carry just in state parks or




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 1   something of that or specific places.       The Second                      1              And I believe that's all I have, Your Honor.

 2   Amendment's plain text as recognized by Heller and                          2   Thank you.

 3   Bruen and McDonald is a general right to carry in                           3              THE COURT:    All right.   I want to thank

 4   public.    We have testimony from Colonel Lewis that                        4   counsel for your tour de force in taking -- in

 5   the parks are generally open to the public within                           5   developing a record in the area of the sensitive

 6   their normal business hours.    They are a public                           6   places in part but all the other arguments that

 7   place.    It is the definition of public.                                   7   you've made that means that the hard work that you've

 8             With respect to pre-Bruen cases, we would                         8   done is over for the time being; it's now mine.         All

 9   sound a cautionary trumpet or a tuba if necessary.                          9   right.     I thank you very much and we will stand in

10   All of those cases were typically interest-balancing                       10   recess.

11   cases either down a strict scrutiny line or an                             11              (Proceedings adjourned, 4:52 p.m.)

12   intermediate scrutiny line.    Bruen forbids the                           12

13   interest balancing.    As I said earlier, this is a                        13                       C E R T I F I C A T E

14   case that demands an independent historical analysis                       14

15   under Bruen.                                                               15             RE:     DAVID J. NASTRI v. KATIE DYKES
                                                                                                         No. 3:23-cv-00056-JBA
16             With respect to English history and the                          16

17   Statute of Northampton in particular, Bruen rejected                       17                   I hereby certify that the within and

18   the -- or cautioned courts against the use of English                      18   foregoing is a true and accurate transcript taken in

19   history that wasn't adopted in the colonies in the                         19   the aforementioned matter to the best of my skill and

20   Founding Era.    My understanding of the record before                     20   ability.

21   the Court is we only have two states or two colonies                       21

22   that adopted some version of the Statute of                                22                       /s/ Corinne T. Thomas

23   Northampton in some fashion or another.       Two simply                   23                       CORINNE T. THOMAS, RPR
                                                                                                         Official Court Reporter
24   isn't enough to establish the well-established and                         24                    United States District Court
                                                                                                            141 Church Street
25   representative historical analog required by Bruen.                        25                   New Haven, Connecticut 06510
                                                                                                              (203) 809-0848




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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

  DAVID NASTRI,

          Plaintiff,                                      Civil No. 3:23-cv-0056 (JBA)

          v.
                                                          July 12, 2023
  KATIE DYKES, Commissioner for the Department
  of Energy and Environmental Preservation,

          Defendant.


   RULING ON DEFENDANT’S MOTION TO DISMISS AND PLAINTIFF’S PRELIMINARY

                                            INJUNCTION

        Plaintiff David Nastri filed an amended complaint on January 28, 2023, alleging

pursuant to 42 U.S.C. § 1983 that Conn. Agencies Reg. § 23-4-1(c) violates his Second

Amendment rights because it prevents him from carrying a pistol or revolver for the purpose

of self-defense in case of confrontation in Connecticut state parks and forests, and because

the regulation has no “historical analogue” that would justify it under the Supreme Court’s

decisions in District of Columbia v. Heller, 554 U.S. 570 (2008) and New York State Rifle &

Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111 (Jun. 23, 2022). (Am. Compl. [Doc. # 13]

¶¶ 50-64.) Plaintiff seeks a permanent injunction barring Defendant Katie Dykes,

Commissioner of the Connecticut Department of Energy and Environmental Protection

(“DEEP”) from enforcing the regulation, as well as costs and attorneys’ fees. However,

Plaintiff has also filed a preliminary injunction motion seeking to bar Defendant from

enforcing the regulations “until such time as the Court makes a final determination on the

merits in this matter” or in the alternative, for the Court to “consolidate the preliminary

injunction hearing with the trial on the merits in this matter pursuant to Fed. R. Civ. P. 65.”

(Pl.’s Prelim. Inj. Mot. (“Pl.’s PI”) [Doc. # 14].)
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       Defendant’s opposition argues among other things that Plaintiff cannot show a

likelihood of succeeding on the merits because (1) he brings a facial rather than as-applied

challenge, and cannot show that the regulation is invalid in all its applications; (2) he has not

shown that the plain text of the Second Amendment covers his proposed course of conduct;

(3) the regulation is consistent with historical traditions of firearm regulation and has

historical analogues. (Def.’s Opp’n to Pl.’s PI [Doc. # 23].) Additionally, Defendant has moved

to dismiss the Amended Complaint for lack of standing, arguing that Plaintiff lacks a

sufficiently concrete intent to engage in proscribed conduct and fails to show any imminent

and credible threat of prosecution (Def.’s Mot. to Dismiss (“Def.’s MTD”) [Doc. # 20]); Plaintiff

maintains that he plausibly alleges that he has and will continue to visit Connecticut state

parks and forests, and that he “seeks” to do so while carrying a firearm, which is sufficient to

confer standing. (Pl.’s Opp’n to MTD [Doc. # 27].)

I.     Background

       A.     Conn. Agencies Regs. § 23-4-1(c)

       DEEP was established by Conn. Gen. Stat. § 22a-2d, which defines its goals as “(A)

Conserving, improving and protecting the natural resources and environment of the state,

and (B) preserving the natural environment while fostering sustainable development.” Conn.

Gen. Stat. § 22a-5(3) specifically requires the Commissioner to “provide for the protection,

enhancement and management of the public forests, parks, open spaces and natural area

preserves.” Conn. Agencies Regs. § 23-4-1(c), issued pursuant to DEEP’s regulatory authority

under Conn. Gen. Stat. § 23-4 regulating “hunting/weapons”, states that “[h]unting or

carrying of firearms, archery equipment or other weapons, including but not limited to air

rifles and slingshots, is not permitted in any state park or forest except as authorized by the

Department of Energy and Environmental Protection. All carrying or use of weapons is

subject to applicable provisions of the Connecticut General Statutes and regulations adopted

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thereunder.” Penalties for violating the provision include a fine of thirty-five dollars, eviction

for a period of twenty-four hours or, if convicted of a violation under the provisions of Conn.

Gen. Stat. § 51-164n, a violator may be prohibited from entering any state park by the

Commissioner for up to a year. Conn. Agencies Regs. § 23-4-5; Conn. Gen. Stat. § 23-4.

       B.      Plaintiff David Nastri

       Plaintiff is a Connecticut Army National Guard veteran who received “comprehensive

training” on the safe and effective use of firearms. (Am. Compl. ¶¶ 25, 28.) He has passed

“rigorous background checks” in order to obtain his FINRA licenses as a financial advisor,

holds a clean disciplinary record as a financial advisor, and has no record of disciplinary

history since being licensed to practice law in Connecticut in November 2018. (Id. ¶ 29-30.)

Plaintiff has a pistol permit that he estimates was issued 30 years ago (his current permit

does not reflect its initial issue date), completed the associated safety training and has “held

it in good standing since receiving it.” (Id. ¶ 32.)

       Plaintiff’s complaint alleges that he “intends to and will continue to make use of

Connecticut state parks and forests in the immediate and foreseeable future for the purpose

of recreation such as hiking,” and that his prospective use of Connecticut state parks and

forests is “not speculative” because he has gone to Sleeping Giant State Park for a hike twice

since the filing of the original complaint in January 2023; once by himself, and once with his

girlfriend. (Id. ¶ 34-35.) At the preliminary injunction hearing, Plaintiff testified that he uses

Sleeping Giant State Park once a month during the year to hike, Naugatuck State Forest once

or twice a year to hike, and Farmington River Canal Trail to walk or run four or five times a

week. (Prelim. Inj. Hrg. Day 1 Tr., May 9, 2023 [Doc. # 37] at 148-149.) He has been using

Sleeping Giant State Park since he was 15 years old, Naugatuck State Forest for 40 years, and

Farmington River Canal Trail for 10 years. (Id. at 149.) He does not have specific plans to

visit Naugatuck State Forest or Sleeping Giant State Park in the future, but he does not

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typically put a date in his calendar when he is planning to go to a state park or forest because

his visits are “impromptu” and the state parks he typically visits are close to his home. (Id. at

203, 172-174.)

       Plaintiff “actively carries his handgun almost every time he leaves his home and

almost every place that he goes, but he abides by the laws and rules that govern where he

may carry it,” and so “[w]hen he must go to a place where the law does not permit him to

carry a firearm,” Plaintiff “secures his firearm in a locked safe that he has bolted to the floor

of his motor vehicle.” (Am. Compl. ¶¶ 34-36.) Prior to learning of the regulation, Plaintiff

carried his handgun into Sleeping Giant State Park and Naugatuck State Forest “[e]very time

[he] went there,” and had been carrying his handgun on the Farmington River Canal Trail

about three times a week, all for the purpose of self-defense. (Prelim. Inj. Hrg. Day 1 Tr. at

150-151.) Plaintiff became aware of the challenged regulation in the summer of 2022 when

he got his hunting license and read through the DEEP regulations related to firearms in state

parks, including the prohibition on carrying firearms in state parks and forests for purposes

other than hunting in designated areas. (Id. at 145, 147.)

       Plaintiff is “aware” of a procedure to “request permission to carry firearms into a state

park or forest,” but believes that the context is “normally not self-defense,” and the only

instance he was aware of where an exception was made was for a Civil War reenactment. (Id.

at 171.) He has seen the form that DEEP provides for individuals to request permission to

bring a firearm into the park but does not know where he could find one for the purposes of

submitting it and has never submitted the form himself. (Id. at 171-172.) In November of

2022, Plaintiff stopped carrying his firearm in state parks and forests. (Pl.’s Dep. Tr. [Doc. #

33-1], Exh. A, to Def.’s MTD Reply, at 202:5-10.) Because under Conn. Agencies Regs. § 23-4-

1(c), storing his handgun in a locked container in his motor vehicle at a state park or forest

parking lot would still be “within the confines of a Connecticut state park or forest and would

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be in violation of the law,” he also leaves his handgun at home “every time” that he “intends

to visit a state park or forest.” (Am. Compl. ¶¶ 36, 38.) Plaintiff testified that he was aware

the violation could result in a $35 fine or being banned from state parks and forests for

between 24 hours to a year. (Prelim. Inj. Hrg. Day 1 Tr. at 163-64.) Plaintiff also testified that

it was his understanding that violating the regulation might jeopardize his pistol permit, and

that he would have to report the penalties to FINRA as a licensed financial advisor, which in

turn would result in the violations being notated on his U4 (permanent record as a financial

advisor), and possibly his discharge from his job. (Id. at 164-165, 168.)

       Plaintiff testified that he has never encountered an Environmental Conservation

Police Division (“EnCon”) police officer while visiting a state park, and that he not aware of

anyone else who has had the regulation enforced against them. Plaintiff also confirmed that

the regulation has never been enforced against him, nor has any EnCon officer or other police

officer threatened him with enforcement of that regulation. (Prelim. Inj. Hrg. Day 1 Tr. at

200-201.) Plaintiff stated that “until such time that this regulation is overturned,” he “will

not carry a firearm in a state park or forest” because as a licensed attorney, he “will not

willfully disobey a law[.]” (Id. at 169.) Although he currently abides by Conn. Agencies Regs.

§ 23-4-1(c) and states no intention to discontinue doing so, Plaintiff alleges that he “seeks to

carry a handgun for the purpose of self-defense” while “making such regular use of

Connecticut state parks and forests.” (Am. Compl. ¶ 38.)

II.    Procedural History

       Plaintiff filed an emergency motion for preliminary injunction and temporary

restraining order on January 17, 2023; the Court denied the TRO at the telephonic status

conference held on January 27, 2023 and directed the Plaintiff to file an amended complaint

responsive to Defendant’s forthcoming motion to dismiss, as well as to file an amended

motion for preliminary injunction incorporating any relevant information new to the

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amended complaint. (See Doc. # 12.) An amended motion for preliminary injunction was

filed on January 28, 2023, and Defendant filed her motion to dismiss on March 30, 2023. The

Court held an evidentiary hearing and oral argument on May 9, 2023, and May 10, 2023,

providing both sides the opportunity to submit evidence relevant to both standing and the

substantive issues raised by the motion for preliminary injunction. The parties were granted

permission to submit supplemental briefing on May 31, 2023, and briefing concluded on June

14, 2023.

III.   Legal Standard

       Rule 12(b)(1) motions to dismiss for lack of subject matter jurisdiction will be

granted “when the court lacks the statutory or constitutional power to adjudicate the case.”

Soundkeeper, Inc. v. A & B Auto Salvage, Inc., 19 F. Supp. 3d 426, 428 (D. Conn. 2014). 1 “A

plaintiff asserting subject matter jurisdiction has the burden of proving by a preponderance

of the evidence that it exists,” which includes the burden to prove his own standing. Morrison

v. Nat'l Austl. Bank Ltd., 547 F.3d 167, 170 (2d Cir. 2008) (quoting Makarova v. United States,

201 F.3d 110, 113 (2d Cir. 2000)). “A Rule 12(b)(1) motion challenging subject matter

jurisdiction may be either facial or fact-based.” Carter v. HealthPort Techs., LLC, 822 F.3d 47,

56 (2d Cir. 2016). When “the Rule 12(b)(1) motion is facial, i.e., based solely on the

allegations of the complaint or the complaint and exhibits attached to it (collectively the

“Pleading”), the plaintiff has no evidentiary burden,” id., but the complaint must “allege facts

that affirmatively and plausibly suggest that [the plaintiff] has standing to sue” and courts

“need not credit a complaint's conclusory statements without reference to its factual

context.” Amidax Trading Grp. v. S.W.I.F.T. SCRL, 671 F.3d 140, 145-46 (2d Cir. 2011).

However, “a defendant is permitted to make a fact-based Rule 12(b)(1) motion, proffering



1 Unless otherwise indicated, this opinion omits internal quotation marks, alterations,
citations, and footnotes in text quoted from court decisions.
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evidence beyond the Pleading,” at which time a plaintiff is required to “come forward with

evidence of [his] own to controvert that presented by the defendant” if defendant’s evidence

reveals factual disputes. Carter, 822 F.3d at 57. “If the extrinsic evidence presented by the

defendant is material and controverted, the district court will need to make findings of fact

in aid of its decision as to standing.” Id.

       Because Defendant submitted Plaintiff’s deposition transcript in her reply to

Plaintiff’s opposition to the motion to dismiss, the Court will evaluate the motion to dismiss

under 12(b)(1) as a fact-based motion and consider all evidence relevant to standing that

was submitted as part of the preliminary injunction proceeding in resolving factual

questions and determining whether Plaintiff has established his standing.

IV.    Discussion

       “The law of Article III standing, which is built on separation-of-powers principles,

serves to prevent the judicial process from being used to usurp the powers of the political

branches.” Clapper v. Amnesty Int'l USA, 568 U.S. 398, 408 (2013). “To establish Article III

standing, a plaintiff must show (1) an ‘injury in fact,’ (2) a sufficient ‘causal connection

between the injury and the conduct complained of,’ and (3) a ‘likelihood’ that the injury ‘will

be redressed by a favorable decision.’” Picard v. Magliano, 42 F.4th 89, 97 (2d Cir. 2022)

(quoting Susan B. Anthony List v. Driehaus, 573 U.S. 149, 157–58 (2014)). An “injury in fact”

must be “concrete, particularized, and actual or imminent,” Cayuga Nation v. Tanner, 824

F.3d 321, 331 (2d Cir. 2016), rather than “conjectural” or “hypothetical.” Lujan v. Defs. Of

Wildlife, 504 U.S. 555, 560 (1992).

       Although Conn. Agencies Reg. § 23-4-1(c) has not been enforced against Plaintiff, he

may establish that an injury in fact is “imminent” such that he has standing to bring a “pre-

enforcement” challenge to the Challenged Regulation “if the threatened injury is certainly

impending, or there is a substantial risk that the harm will occur.” Driehaus, 573 U.S. at 159.

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“Courts apply a three-prong test to assess the existence of a cognizable injury in fact in the

context of pre-enforcement challenges,” requiring a plaintiff to show “(1) ‘an intention to

engage in a course of conduct arguably affected with a constitutional interest’; (2) that the

intended conduct is ‘proscribed by’ the challenged law; and (3) that ‘there exists a credible

threat of prosecution thereunder.’” Vitagliano v. Cnty. of Westchester, No. 23-30, 2023 WL

4095164, at *5 (2d Cir. June 21, 2023) (quoting Driehaus, 573 U.S. at 159.) Plaintiff “need not

first expose himself to liability before bringing suit to challenge . . . the constitutionality of a

law threatened to be enforced,” Picard, 42 F.4th at 97, but he must show an “actual and well-

founded fear that the law will be enforced against [him].” Vermont Right to Life Committee,

Inc. v. Sorrell, 221 F.3d 376, 382 (2d Cir. 2000).

       Because neither side disputes that Plaintiff’s conduct is proscribed by the Challenged

Regulations, the only issues in dispute are whether Plaintiff demonstrates an intent to

engage in the proscribed conduct and whether there is a credible threat of prosecution under

the challenged law.

       A.      Intention to Engage in Proscribed Conduct

       Plaintiff’s counsel argues that because Plaintiff has a prior history of engaging in the

proscribed conduct, ceased that conduct based on a fear of prosecution or legal

consequences, and actively maintains a desire to re-engage in that conduct once it becomes

legal, he has demonstrated an intent to engage in conduct proscribed by the statute.

Defendant argues that Plaintiff must intend to “engage in the prohibited conduct” by bringing

his firearm to the park with him despite the regulation prohibiting it—in other words, by

actually violating the law—and that based on Plaintiff’s representations at his April 27, 2023

deposition stressing that “his practice is not to carry a firearm in state parks and forests” and

that he intends to continue this practice “while § 23-4-1(c) remains in place,” he cannot make

that showing. (Def.’s MTD Reply at 4.)

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       Defendant’s position is contrary to both Supreme Court and Second Circuit precedent.

In Steffel v. Thompson, 415 U.S. 452, 460 (1974), a plaintiff sought to distribute handbills

against the war in Vietnam after having been twice warned to stop doing so by the police;

although he did not name a date and time certain that he intended to distribute handbills

again, the Supreme Court found that he had standing to challenge the law prohibiting him

from doing so. More recently, the Supreme Court held in Holder v. Humanitarian L. Project,

561 U.S. 1, 15–16 (2010), that plaintiffs had standing when they claimed they “provided

support to the [allegedly foreign terrorist groups] before the enactment of § 2339B and that

they would provide similar support again if the statute's allegedly unconstitutional bar were

lifted” but had not been yet threatened with enforcement against them. Second Circuit cases

applying Driehaus have resulted in similar outcomes. See Knife Rights v. Vance, 802 F.3d 377,

386 (2d Cir. 2015) (finding that the plaintiffs demonstrated an intent to engage in proscribed

conduct by asserting that they had “in the past carried, and wish again to carry, common

folding knives, but do not do so because they cannot confidently determine which such

knives . . . [are] prohibited . . . and they do not wish to risk prosecution” after already being

prosecuted once for the same conduct); Silva v. Farrish, 47 F.4th 78, 87 (2d Cir. 2022) (finding

that plaintiffs had standing even without outlining their plans to engage in proscribed

conduct “with specificity” because they had previously fished in a particular area in violation

of state fishing regulations, had “already been subjected to enforcement actions” for the

conduct, and alleged that they were “deterred and chilled” from doing so again because they

feared prosecution).

       Most recently, the Second Circuit held in Vitagliano, 2023 WL 4095164, at *4, that a

plaintiff who had a “desire to engage in sidewalk counseling” outside abortion clinics had

standing even though she “had not engaged in sidewalk counseling prior to the Act’s passage”

or “alleged concrete plans to do so at any point in the future.” Id. at *5. The Second Circuit

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explained that “a plaintiff asserting a pre-enforcement challenge need only allege ‘an

intention to engage in a course of conduct,’ which does not necessarily require specification

of the date and time she plans to do something of constitutional significance.” Id. (citing

Picard, 42 F.4th at 97). Describing “the origin of her desire to become a sidewalk counselor,

the steps she took to train and prepare to serve as a sidewalk counselor, the abortion clinic

outside which she intends to provide sidewalk counseling, and the approach she plans to

take when having sidewalk-counseling conversations,” the Second Circuit held, “more than

suffice[d]” to demonstrate her intent. Id. at *6. 2

       Under this standard, Plaintiff has satisfied the requirement of pleading that he would

intend to “engage in a course of conduct arguably affected with a constitutional interest, but

proscribed by a statute” if not for the challenged regulation. In his deposition, Plaintiff

testified that at one point, it was his practice to carry his firearm in state parks in forests until

he became aware that the regulation prohibited his conduct, (Pl.’s Dep. Tr. at 202), and that

it would be his practice not to carry his firearm in a state park or forest only “until the end of

this case” when he presumes the regulation will be enjoined. (Id.) Plaintiff also reached out



2 The Court is aware that some other district courts in this circuit have relied on Driehaus, in

which the plaintiffs pled with specificity the statements they intended to make in future
election cycles that would violate the law, 573 U.S. at 149, to find that a plaintiff must plead
exactly how and when he or she intends to engage in proscribed conduct. See Antonyuk v.
Bruen, No. 1:22-CV-0734 (GTS/CFH), 2022 WL 3999791 at *17 (N.D.N.Y. Aug. 31, 2022)
(Antonyuk I) (holding that a plaintiff alleging that he “desires,” “wants,” “wishes” or “would
like” to continue to carry a concealed handgun is not enough if he does not indicate an
“intent” to do so in violation of the statute), and Frey v. Bruen, No. 21 CV 05334, 2022 WL
522478 at *5 (S.D.N.Y Feb. 22, 2022) (holding that a signed, sworn declaration that the
plaintiffs “intend” to carry their handguns for all lawful purposes was insufficient to show
standing when it did not allege “concrete plans to violate the New York Penal laws.”).
However, Vitagliano clarifies that neither prior engagement in the conduct nor enforcement
of the statute is required so long as plaintiffs plead with an adequate level of detail their
“earnest desire” and the steps they had taken to engage in the proscribed conduct “but-for”
the statute, 2023 WL 4095164 at *6. In this Court’s view, Vitagliano forecloses the
interpretation of Driehaus advanced in cases like Antonyuk and Frey.
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to an agent of Defendant to inquire whether the challenged regulation prohibited members

of the public from carrying licensed pistols or revolvers into state parks, which further

suggests that he is actively seeking ways in which to lawfully bring his firearm to currently

proscribed locations. (See Am. Compl. Exh. M). 3 Under Vitagliano and Knife Rights, his

pleadings and testimony are sufficiently detailed to satisfy this part of the test. See also

Angelo v. D.C., No. CV 22-1878 (RDM), 2022 WL 17974434, at *6 (D.D.C. Dec. 28, 2022)

(finding that the plaintiffs alleged an intent to engage in proscribed conduct when they

alleged that “[b]ut for D.C. law, [they] would carry [their] concealed handgun[s] on Metro

trains and buses for self-defense” and that they “do not do so now because [they] fear arrest

and prosecution,” although ultimately dismissing for a lack of standing based on the absence

of a credible threat of prosecution.) 4




3 Defendant cites in support to Lujan, 504 U.S. at 560, in which the Supreme Court held that

the plaintiff’s visitation to the areas in which endangered animals could be observed in the
past and professed intent to return to those places in the future was “simply not enough”
because “’some day’ intentions—without any description of concrete plans, or indeed even
any specification of when the some day will be—do not support a finding of the ‘actual or
imminent’ injury that our cases require.” Id. at 564 (emphasis in original). Based on Lujan,
Defendant contends that the fact Plaintiff “had visited” state parks and forests in the past
“proves nothing,” because “[p]ast exposure to illegal conduct does not in itself show a
present case or controversy regarding injunctive relief . . . if unaccompanied by any
continuing, present adverse effects,” (Def.’s MTD at 7-8) (quoting Am. Compl. ¶¶ 34-38 and
Lujan, 504 U.S. at 564.) However, Plaintiff persuasively distinguishes the present case from
Lujan by pointing out that taking a trip to embark on a safari in Sri Lanka and Egpyt requires
a level of planning that made it unlikely any trips were imminent without evidence of definite
steps to visit, unlike Plaintiff’s ability to visit a state park or forest by walking a few minutes
from his house without the need for buying tickets or arranging transportation.

4 To the extent Defendant is concerned that nothing distinguishes Plaintiff from the average

citizen with a “generalized grievance common to any other member of the public who may
disagree with the rule but follows it anyway,” (Def.’s MTD Reply at 7), the second prong of
the Driehaus test alleviates these concerns by requiring a showing of the imminent nature of
future injury particularized to Plaintiff’s circumstances. See infra at 16-17.
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       The Court also rejects the notion “that Plaintiff[] must allege the precise date and time

on which [he] intend[s] to next visit” a place in which firearms are prohibited if they were

“visited as part of their ordinary, daily routines” because “people's lives do not necessarily

lay out into a scheduling book that run[s] six months or a year . . . into the future.” Koons v.

Platkin, No. CV 22-7463 (RMB/AMD), 2023 WL 3478604, at *43 (D.N.J. May 16, 2023); see

also Vitagliano, 2023 WL 4095164 at *5. Plaintiff alleges that he “intends to and will continue

to use” Connecticut state parks and forests “in the immediate and foreseeable future,” (Pl.’s

MTD Opp’n at 9), and made clear in his testimony at the preliminary injunction hearing that

he has regularly visited Sleeping Giant State Park, Naugatuck State Park, and Farmington

Canal Trail for some time now, and that he has no plans to stop even if he does not mark the

specific dates he intends to go on a calendar.

       B.     Credible Threat of Prosecution

       Any specific threats directed at Plaintiff, Cayuga Nation v. Tanner, 824 F.3d 321, 331

(2d Cir. 2016), and “the extent of [] enforcement” of the challenged law, or lack thereof, Adam

v. Barr, 792 F. App'x 20, 23 (2d Cir. 2019), are both relevant in evaluating the credibility of

any threat of enforcement. While Plaintiff is obviously not at current risk of being prosecuted

under the Challenged Regulation because he is not currently violating it, Plaintiff’s counsel

argued that Plaintiff’s email exchange with Deputy DEEP Commissioner Mason Trumble gave

him reason to believe the regulation would be enforced against him if he were to violate it.

Plaintiff wrote to Defendant in November of 2022 to “obtain clarity on DEEP regulations

concerning the carrying/possession of firearms in state parks and forests,” explaining that

his inquiry was related to “possessing a properly licensed pistol or revolver for the purpose

of self-defense in those locations,” and that it was his “expectation” that a rule existed that

“specifies that a person who is licensed to carry pistols or revolvers in the state of

Connecticut is authorized to do so in a state park or forest.” (Am. Compl. Exh. M. [Doc. # 13-

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13] at 3.) Trumble responded by writing “Thanks for reaching out . . . I believe this resource

addresses the questions you posed regarding the regulation,” and attached a hyperlink

directing him to a report by Connecticut Office of Legislative Research’s Chief Attorney Janet

Kaminski Leduc titled “Carrying Handguns in Connecticut State Parks or Forests” (“Leduc

Report”) (Am. Compl. Exh. N [Doc. # 13-14].)

       The Leduc Report states that a person may legally possess a handgun in a state park

or forest “only when carrying the handgun for hunting small game . . . or participating in

other authorized activities, such as at a firearms range or during a hunter education class,”

and only if they have a permit to do so under Conn. Gen. Stat. § 29-28. Id. It also includes

information on the penalties for illegally carrying weapons in violation of the regulations,

DEEP’s authority over parts of the Appalachian Trail, and federal law on the carrying of

handguns on the Appalachian trail. 5 Perhaps Mr. Trumble’s response could have been

construed as a threat if, for example, he had specifically pointed out or excerpted the section

on potential penalties to Plaintiff, or cautioned him against violating the regulation.

However, he did neither; Plaintiff frames his inquiry as a general one, rather than a specific

statement of intent on his part to carry firearms in the park, giving Trumble no reason to

respond with a threat or warning.

       Even absent a particularized threat against Plaintiff, courts are “generally willing to

presume that the government will enforce the law as long as the relevant statute is recent

and not moribund,” Cayuga Nation, 824 F.3d at 331, especially if the government entity in

question “decline[s] to represent that [government] officials would not enforce the law.”




5 In response to this email, Plaintiff asked Mr. Trumble to convey his request to Defendant

Dykes to “take immediate steps” to amend the regulation to bring state law into compliance
with the Supreme Court’s decision in Bruen; neither Defendant nor Mr. Trumble responded
or took action on his request. (Am. Compl. ¶ 23-24.)
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Vitagliano, 2023 WL 4095164, at *6. Colonel Lewis, the division director for the

Environmental Conservation Police Division, testified on the second day of the preliminary

injunction hearing that if EnCon found someone carrying a weapon in the state park, absent

extenuating circumstances, they would issue a charge of possession of weapon in a state park

under the challenged regulation. However, in Vitagliano, it was significant that the plaintiff

was seeking to enjoin “a newly enacted law aimed specifically at Westchester County

reproductive health care facilities and designed to curb the very conduct in which she

intends to engage outside such facilities.” 2023 WL 4095164 at *7. In cases where the statute

or regulation has not been recently passed, the presumption the government will enforce its

own laws “in and of itself, is not sufficient to confer standing, as courts also consider the

extent of that enforcement in determining whether a credible threat of prosecution exists.”

Adam v. Barr, 792 F. App'x 20 (2d. Cir. 2019). In Adam, because the plaintiff “was unable to

marshal examples of enforcement actions that involved” the proscribed conduct, Vitagliano

at *7, the Second Circuit found that there was no “particularize[d]” threat of enforcement.

Adam, 792 F. App'x at 23. To the contrary, plaintiff was “simply. . . at risk just like any other

person in the country who might violate the [the statute],” and so “the threat of enforcement

against him [was] insufficiently imminent to confer Article III standing.” Id.

       The case at hand is more like Adam than Cayuga Nation and Vitagliano. The

Challenged Regulation is not “recent”—it has been in place since 1918, and there is no

evidence in the record of any instance in which the law has ever been enforced. EnCon’s

Agency Crime Review statistics (Pl.’s Exh. 10), list only 4 “Weapon Law Violations” for 2019;

Colonel Lewis explained at the hearing that those violations might encompass improper

possession of a firearm, but could also encompass possession without a permit, or being a

felon in possession of handguns, as well as offenses involving other dangerous weapons such

as gravity knives or brass knuckles. Neither party’s witnesses have personal knowledge of

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the Challenged Regulation being enforced; Plaintiff admitted that he has never heard of this

regulation being enforced against anyone, and Colonel Lewis testified that he could not recall

a single circumstance in which an EnCon ranger or officer had been required to enforce the

regulation during his time working with EnCon. As a practical matter, one of the factors

affecting the likelihood of enforcement is EnCon’s staffing levels. Colonel Lewis testified that

EnCon regularly experiences staffing challenges, and that EnCon does not have the capacity

to station an officer at every one of Connecticut’s state parks and forests at the same time,

and Plaintiff testified during his preliminary injunction testimony that he has never

encountered an EnCon officer in state parks or forests.

       Finally, the case at hand is easily distinguishable from one in which the threat of

enforcement is imminent based on the actions and public statements of the government

agency charged with enforcing the rule. Cf. Christian v. Nigrelli, No. 22-CV-695 (JLS), 2022

WL 17100631, at *4 (W.D.N.Y. Nov. 22, 2022) (currently on appeal) (finding that public

statements from the New York City governor and police department suggesting a “zero

tolerance” policy, when considered in conjunction with the recency of the law, showed that

plaintiff faced “sufficiently imminent” enforcement). 6 Colonel Lewis testified that EnCon

officers go out of their way to take a non-confrontational approach with members of the

public whenever possible; officers do not regularly search patrons upon entry for firearms,

and unless an EnCon officer has a suspicion that someone was transporting illegal game or

fish, or carrying a cooler containing alcohol in an area where alcohol was prohibited, officers

do not search patrons upon entry to a park. Plaintiff himself argues that DEEP “does nothing



6 Plaintiff also adds in a footnote that he could be charged with criminal trespass for bringing

a firearm to a state park or forest, but once again, the complaint reflects neither a specific
threat of enforcement nor even a general policy of the state of Connecticut from which the
Court can determine that there is an “imminent” threat these statutes will be enforced
against Plaintiff in that particular manner. (Pl.’s Opp’n at 7.)
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to ensure that the public complies with the prohibition on firearms possession prior to

entering state parks and forests.” (Pl.’s PI Mot. at 35.) By his own account, the lack of

inspection mechanism undermines the idea that any kind of enforcement might be

“sufficiently imminent” against Plaintiff or someone like him who carries a concealed firearm

in state parks or forests.

       The evidence in the record shows that (1) Plaintiff has never encountered an EnCon

officer while in a state park or forest; (2) the chances of encountering an EnCon officer are

rare due to staffing challenges; (3) EnCon officers do not randomly search park patrons for

firearms; (4) Plaintiff testified no one has noticed him carrying a concealed firearm in the

last year, (Pl.’s Dep. Tr. at 142-43); and (5) Plaintiff was never stopped and ticketed during

the period he was unknowingly carrying his firearm in state parks and forests in violation of

the regulation. On these facts, it becomes clear that Plaintiff’s theory of standing is nothing

more than the sort of “highly attenuated chain of possibilities” that the Supreme Court has

found “does not satisfy the requirement that threatened injury must be certainly impending.”

Clapper, 568 U.S. at 410. While “‘[t]he identification of a credible threat sufficient to satisfy

the imminence requirement . . . necessarily depends on the particular circumstances at

issue,” it “will not be found where plaintiffs do not claim that they have ever been threatened

with prosecution, that prosecution is likely, or even that a prosecution is remotely

possible.’” Picard, 42 F.4th at 98 (2d Cir. 2022); see Angelo, 2022 WL 17974434, at *6 (finding

that the threat of enforcement was “speculative” and thus insufficient to confer standing

when plaintiffs did not allege prior threats of enforcement against them, and they could not

“identify a single person” who had ever been arrested under the challenged law “while not

engaged in another crime.”) Plaintiff’s “imaginary” and “speculative” conjecture is

insufficient to show an actual “impending” and “credible” threat of prosecution, and so he

lacks standing. Knife Rights, Inc., 802 F.3d at 384.

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       “If a plaintiff fails to establish standing, the court ‘need not address the factors to be

considered in deciding whether to award a preliminary injunction’ and should instead deny

the motion and dismiss the case for lack of subject matter jurisdiction.” Do No Harm v. Pfizer

Inc., No. 1:22-CV-07908 (JLR), 2022 WL 17740157, at *6 (S.D.N.Y. Dec. 16, 2022)

(quoting Rojas v. Cigna Health & Life Ins. Co., 793 F.3d 253, 259 (2d Cir. 2015)). When a

complaint is “dismissed for lack of Article III standing, the dismissal must be without

prejudice.” Holve v. McCormick & Co., Inc., 334 F. Supp. 3d 535, 545 (W.D.N.Y. 2018). 7

V.     Conclusion

       The motion to dismiss is GRANTED, and the case is dismissed without prejudice;

because the Plaintiff lacks standing, the motion for preliminary injunction is DENIED for lack

of subject matter jurisdiction.

                                                                              IT IS SO ORDERED.



                                                     _____________/s/_______________________________

                                                                    Janet Bond Arterton, U.S.D.J.

                                  Dated at New Haven, Connecticut this 12th day of July, 2023




7 In Antonyuk I, the district court chose to address in “judicial dictum” the merits of the

preliminary injunction motion “out of an abundance of caution, because at least a
conceivable chance exists that Plaintiffs may take an immediate appeal of this Decision and
Order to the Second Circuit and be found to, in fact, possess standing, in which case what
follows would constitute the Court's holding.” Antonyuk I at *25. However, because “[b]oth
the Supreme Court and Second Circuit have held that a lack of standing deprives the Court of
subject-matter jurisdiction,” Antonyuk I at *23, the Court’s view is that it is required to
dismiss this case rather than preemptively address the merits.
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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

DAVID J. NASTRI, ESQ.,                    :
                                          :                DKT No.: 3:23-cv-00056-JBA
       Plaintiff,                         :
                                          :
v.                                        :
                                          :
KATIE DYKES, in her official capacity     :
only,                                     :
                                          :
       Defendant.                         :                July 12, 2023

                                  NOTICE OF APPEAL

       The Plaintiff, David J. Nastri, hereby gives notice of his appeal of the Court’s July

12, 2023 order (Dkt. 46) granting the Defendant’s motion to dismiss his amended

complaint (Dkt. 22) and his motion for a preliminary injunction (Dkt. 14).

                                          The Plaintiff,

                                          By: /s/ Cameron L. Atkinson /s/
                                          Cameron L. Atkinson, Esq.
                                          (ct31219)
                                          ATKINSON LAW, LLC
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                               CERTIFICATION OF SERVICE

       The undersigned hereby certifies that, on the foregoing date, a copy of the

foregoing was filed electronically and served by mail on anyone unable to accept

electronic filing. Notice of this filing will be sent by email to all parties and counsel of record

who have appeared by operation of the Court’s electronic filing system or by mail to

anyone unable to accept electronic filing. Parties may access this filing through the

Court’s system.

                                  /s/ Cameron L. Atkinson /s/




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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

DAVID J. NASTRI, ESQ.,                   :
                                         :                DKT No.: 3:23-cv-00056-JBA
      Plaintiff,                         :
                                         :
v.                                       :
                                         :
KATIE DYKES, in her official capacity    :
only,                                    :
                                         :
      Defendant.                         :                July 17, 2023

                   PLAINTIFF’S MOTION FOR RECONSIDERATION

      Pursuant to Fed. R. Civ. P. 52 and 59(e) and D. Conn. Local Rule 7(c), the Plaintiff,

David J. Nastri, Esq., hereby moves the Court to reconsider its order granting the

Defendant’s motion to dismiss for lack of standing and denying his motion for a

preliminary injunction on the same grounds. Dkt. 46.

                                         The Plaintiff,

                                         By: /s/ Cameron L. Atkinson /s/
                                         Cameron L. Atkinson, Esq.
                                         (ct31219)
                                         ATKINSON LAW, LLC
                                         122 Litchfield Rd., Ste. 2
                                         P.O. Box 340
                                         Harwinton, CT 06791
                                         Telephone: 203.677.0782
                                         Email: catkinson@atkinsonlawfirm.com




ORAL ARGUMENT NOT REQUESTED.




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                               CERTIFICATION OF SERVICE

       The undersigned hereby certifies that, on the foregoing date, a copy of the

foregoing was filed electronically and served by mail on anyone unable to accept

electronic filing. Notice of this filing will be sent by email to all parties and counsel of record

who have appeared by operation of the Court’s electronic filing system or by mail to

anyone unable to accept electronic filing. Parties may access this filing through the

Court’s system.

                                  /s/ Cameron L. Atkinson /s/




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                        Exhibit A




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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

DAVID J. NASTRI, ESQ.,                       :
                                             :              DKT No.: 3:23-cv-00056-JBA
       Plaintiff,                            :
                                             :
v.                                           :
                                             :
KATIE DYKES, in her official capacity        :
only,                                        :
                                             :
       Defendant.                            :              MARCH 20, 2023

 DEFENDANT’S RESPONSES TO PLAINTIFF’s INITIAL INTERROGATORIES AND
                   REQUESTS FOR PRODUCTION

       Pursuant to Fed. R. Civ. P. 33 and 34, the Defendant, Katie Dykes, in her official capacity,

responds to Plaintiff’s interrogatories and requests for production dated February 16, 2023, as

follows:

                                      GENERAL OBJECTIONS

       1. Defendant objects to each instruction, definition, document request, and interrogatory to

the extent that it purports to impose any requirement or discovery obligation greater than or

different from those under the Federal Rules of Civil Procedure and the applicable Rules and

Orders of the Court.

       2. Defendant objects to each document request and interrogatory that is overly broad,

unduly burdensome, or not reasonably calculated to lead to the discovery of admissible evidence.

       3. Defendant objects to each document request to the extent that it calls for production of

a privilege log for internal documents of Defendant. A request for such a log is unreasonable and

unduly burdensome in light of the work product doctrine, governmental deliberative process

privilege, attorney-client privilege, and other privileges protecting such internal documents from

discovery.

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       4. Defendant objects to each instruction, definition, document request, and interrogatory to

the extent that it seeks documents protected from disclosure by the attorney-client privilege,

deliberative process privilege, work product doctrine, or any other applicable privilege. Should

any such disclosure by Defendant occur, it is inadvertent and shall not constitute a waiver of any

privilege.

       5. Defendant objects to each instruction, definition, document request, and interrogatory as

overly broad and unduly burdensome to the extent it seeks documents or information that are

readily or more accessible to Plaintiff than to Defendant, are readily or more accessible to Plaintiff

from Plaintiff’s own files, from documents or information in Plaintiff’s possession, or from

documents or information that Defendant previously produced to Plaintiff. Responding to such

requests and interrogatory would be oppressive, unduly burdensome, and unnecessarily expensive,

and the burden of responding to such requests and interrogatory is substantially the same or less

for Plaintiff as for Defendant.

       6. Plaintiff’s document requests and interrogatory call for the production of documents and

information that were produced to the Defendant by other entities and that may contain

confidential, proprietary, or trade secret information.

       7. To the extent any of Plaintiff’s document requests or its interrogatory seek documents

or answers that include expert material, including but not limited to survey materials, Defendant

objects to any such requests and interrogatory as premature and expressly reserves the right to

supplement, clarify, revise, or correct any or all responses to such requests, and to assert additional

objections or privileges, in one or more subsequent supplemental response(s) in accordance with

the time period for exchanging expert reports set by the Court.




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          8. Defendant incorporates by reference every general objection set forth above into each

specific response set forth below. A specific response may repeat a general objection for emphasis

or some other reason. The failure to include any general objection in any specific response does

not waive any general objection to that request. Moreover, Defendant does not waive its right to

amend its responses.



                                      INTERROGATORIES

          1.     Identify the person(s) answering these interrogatories. Include their full name and

work address.

ANSWER:          Alison Rau; 79 Elm Street, Hartford, CT 06106.

          2.     State Mason Trumble’s official job title at the DEEP and his work address, and

briefly describe his responsibilities and authority.

ANSWER: Deputy Commissioner of Environmental Conservation; 79 Elm Street, Hartford,
CT 06106. Deputy Commissioner Trumble oversees the Bureau of Natural Resources, which
is charged with managing the state’s natural resources (particularly fish, wildlife, and
forests) through a program of regulation, management, research, and public education. He
also oversees the Bureau of Outdoor Recreation, which is charged with the conservation and
management of statewide recreation lands and resources through the acquisition of open
space and the management of resources, including state parks, to meet the outdoor
recreation needs of the public.


          3.     State the name, the work address, and the telephone number of the uniformed

official/officer/DEEP employee who commands the Connecticut Environmental Conservation

Police.

ANSWER: Colonel Christopher Lewis; 79 Elm Street, Hartford, CT 06106; 860-424-3012.

          4.     State whether the DEEP has a process by which a member of the public who holds

a valid Connecticut pistol permit may apply for permission to carry a pistol or revolver for a non-



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hunting purpose in Connecticut state parks and forests. If such a process exists, describe where

and how a member of the public may locate information regarding the process and what steps they

must take to apply for such permission.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c). There is no allegation in Plaintiff’s Amended Complaint
that he sought or applied for permission to carry a pistol or revolver for a non-hunting
purpose in the Connecticut State Parks and Forests System.

ANSWER: Subject to and without waiving objection, pursuant to Conn. Gen. Stat. § 23-11,
the Commissioner of Energy and Environmental Protection may grant revocable licenses for
public purposes to any person for the use of any portion of any state forest or state park if
said commissioner finds that such purposes are not in conflict with park or forest purposes.
An overview of this process is available online at the following website:

https://portal.ct.gov/DEEP/State-Parks/Special-Use-License


       5.     State how many times the DEEP has given permission to a member of the public to

carry a pistol or revolver for a non-hunting purpose in Connecticut state parks and forests since

January 1, 2017. Please provide the information in annual format: e.g., 2015 – 100 times; 2016 –

200 times.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c). There is no allegation in Plaintiff’s Amended Complaint
that he sought or applied for permission to carry a pistol or revolver for a non-hunting
purpose in the Connecticut State Parks and Forests System. Defendant further objects to
this interrogatory on the grounds that it is vague, ambiguous, overly broad, and unduly
burdensome. As Plaintiff notes in his Amended Complaint, certain locations within
Connecticut’s State Parks and Forest System have designated target shooting ranges. It is
unclear whether this interrogatory seeks information pertaining to designated target
shooting ranges. Additionally, the interrogatory’s timeframe and lack of specificity make it
overly broad and impose an undue burden on DEEP’s staff.

ANSWER: Subject to and without waiving objection, DEEP issued a special use license for
a civil war reenactment in 2022, which included participants carrying unloaded Civil War-
era firearms for use as part of the reenactment, subject to numerous other conditions. DEEP
is not aware of any other such permissions since January 1, 2017. Defendant reserves the



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right to amend or supplement this response at a later date, following completion of discovery
or receipt of additional information.


       6.      State how many times the DEEP has denied permission to a member of the public

to carry a pistol or revolver for a non-hunting purpose in Connecticut state parks and forests since

January 1, 2017. Please provide the information in annual format: e.g., 2015 – 100 times; 2016 –

200 times.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c). There is no allegation in Plaintiff’s Amended Complaint
that he sought or applied for permission to carry a pistol or revolver for a non-hunting
purpose in the Connecticut State Parks and Forests System. Defendant further objects to
this interrogatory on the grounds that it is vague, ambiguous, overly broad, and unduly
burdensome for the same reasons described in Defendant’s Objection to Interrogatory No.
5.

ANSWER: Subject to and without waiving objection, DEEP has informed individuals of the
regulatory prohibition against pistols or revolvers in State Parks and Forests but has no
record of denying requests for permission to carry a pistol or revolver for a non-hunting
purpose since January 1, 2017. DEEP is only aware of one such request, as described in
response to Interrogatory No. 5. Defendant reserves the right to amend or supplement this
response at a later date, following completion of discovery or receipt of additional
information.


       7.      State how many times the DEEP has given permission to a member of the public to

carry a pistol or revolver for self-defense in Connecticut state parks and forests since January 1,

2017. Please provide the information in annual format: e.g., 2015 – 100 times; 2016 – 200 times.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c). There is no allegation in Plaintiff’s Amended Complaint
that he sought or applied for permission to carry a pistol or revolver for purposes of self-
defense in the Connecticut State Parks and Forests System. Defendant further objects that
the interrogatory is overly broad and unduly burdensome upon DEEP’s staff, and vague as
to the meaning of “permission”.

ANSWER: Subject to and without waiving objection, Defendant has no record of DEEP
giving permission to a member of the public to carry a pistol or revolver for self-defense in

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any State park or forest for the period of January 1, 2017-present and is not aware of any
such requests for that timeframe. Defendant reserves the right to amend or supplement this
response at a later date, following completion of discovery or receipt of additional
information.


       8.      State how many times the DEEP has denied permission to a member of the public

to carry a pistol or revolver for self-defense in Connecticut state parks and forests since January 1,

2017. Please provide the information in annual format: e.g., 2015 – 100 times; 2016 – 200 times.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings facial
challenges to Conn. Reg. § 23-4-1(c). There is no allegation in Plaintiff’s Amended
Complaint that he sought or applied for permission to carry a pistol or revolver for purposes
of self-defense in the Connecticut State Parks and Forests System. Defendant further objects
that the interrogatory is overly broad and unduly burdensome on DEEP’s staff, and vague
as to the meaning of “permission”.

ANSWER: Subject to and without waiving objection, Defendant has no record of DEEP
denying permission to a member of the public to carry a pistol or revolver for self-defense in
any State park or forest for the period of January 1, 2017-present and is not aware of any
such requests for that timeframe. Defendant reserves the right to amend or supplement this
response at a later date, following completion of discovery or receipt of additional
information.


       9.      State whether DEEP permits off-duty law enforcement officers to carry pistols or

revolvers in Connecticut state parks and forests.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c). There is no allegation in Plaintiff’s Amended Complaint
regarding the conduct of off-duty law enforcement officers. Defendant further objects on the
grounds that the interrogatory is vague, ambiguous, overly broad, and unduly burdensome.
The interrogatory is unclear in that it does not define “law enforcement officers.” Nor does
the interrogatory distinguish between specified target shooting ranges in certain State parks
and forests and State parks and forests more generally. Moreover, this interrogatory is
vague because “permits” is susceptible to many different meaning. Finally, it calls for
speculation regarding the application of the Connecticut General Statutes and regulations
adopted thereunder to unclear circumstances.

ANSWER: Subject to and without waiving objection, all carrying or use of pistols or
revolvers is subject to applicable provisions of the Connecticut General Statutes and

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regulations adopted thereunder. DEEP does not allow off-duty government employees
appointed to enforce criminal laws to carry pistols or revolvers in State parks and forests
unless otherwise authorized in accordance with applicable law.


       10.    State how many felony crimes, excluding violations of Connecticut’s conservation

laws, have been committed in Connecticut state parks and forests since January 1, 2013. Please

provide the information in annual format: e.g., 2015 – 100 times; 2016 – 200 times.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c). Moreover, the interrogatory calls for speculation
because DEEP and its law enforcement unit—the Environmental Conservation Police
(“EnCon”)—are only aware of “arrests” or “reported” offenses, not every time a felony is
“committed.” Defendant further objects on the grounds that the interrogatory is vague,
ambiguous, overly broad, and unduly burdensome. It is unclear what Plaintiff means by
“conservation laws.” Additionally, EnCon’s felony and misdemeanor crime database is
principally categorized by arrests made by an EnCon police officer, and each arrest could be
based on an individual committing multiple offenses, including one or more felony offenses,
one or more arrestable misdemeanor offenses, and/or one or more infractions, or any
combination thereof. It is unduly burdensome on EnCon to provide a complete breakdown
of non-conservation law felony crimes for January 1, 2013-present in the format requested
by this interrogatory, particularly when such a breakdown does not already exist. Defendant
further objects to this interrogatory insofar as it requests information protected by the work-
product and/or attorney-client privileges.

ANSWER: Subject to and without waiving objection, the table below lists the sum total of
arrests known to EnCon for offenses (felonies, misdemeanors, and other criminal offenses)
between 2016-present.

                     Year                                           Number
                     2016                                              51
                     2017                                              67
                     2018                                              66
                     2019                                             121
                     2020                                              67
                     2021                                              71
                     2022                                              95

Similarly subject to and without waiving objection, the below table indicates the year and
number of additional crimes that were reported to have allegedly been committed in
Connecticut’s state parks and forests between 2019 and 2022 that did not result in an arrest.



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 Year                                            Number
 2019                                            44
 2020                                            54
 2021                                            49
 2022                                            110

Furthermore, a breakdown of offense by statute and regulation is attached as a separate
spreadsheet.

Defendant reserves the right to amend or supplement this response at a later date, following
completion of discovery or receipt of additional information. Notwithstanding the foregoing
answer to this interrogatory and Defendant’s reservation, counsel for Plaintiff has agreed
that, at this juncture, he only requests information responsive to this interrogatory from
2019-present.

        11.   State how many misdemeanor crimes, excluding violations of Connecticut’s

conservation laws, have been committed in Connecticut state parks and forests since January 1,

2013. Please provide the information in annual format: e.g., 2015 – 100 times; 2016 – 200 times.

OBJECTION: See Objection to Interrogatory No. 10.

ANSWER: Subject to and without waiving objection, Defendant incorporates by reference
its Answer to Interrogatory No. 10 in response to this interrogatory. Similar to Interrogatory
No. 10, counsel for Plaintiff has agreed that, at this juncture, he only requests information
responsive to this interrogatory from 2019-present.


        12.   State how many arrests that the Connecticut Environmental Conservation Police

have made since January 1, 2013. Please provide the information in annual format: e.g., 2015 –

100 times; 2016 – 200 times.

OBJECTION: See Objection to Interrogatory No. 10.

ANSWER: Subject to and without waiving objection, Defendant incorporates by reference
its Answer to Interrogatory No. 10 in response to this interrogatory. Similar to Interrogatory
No. 10, counsel for Plaintiff has agreed that, at this juncture, he only requests information
responsive to this interrogatory from 2019-present.


        13.   State how many citations that the Connecticut Environmental Conservation Police

have issued since January 1, 2013 for violations of Connecticut state park and forest laws and

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regulations. Please provide the information in annual format: e.g., 2015 – 100 times; 2016 – 200

times.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c). Defendant further objects to the interrogatory on the
grounds that it is overly broad, unduly burdensome, and requests information prepared by
DEEP and EnCon that is protected by the work-product and/or attorney-client privileges.
See Defendant’s Objections to Interrogatories Nos. 10-12.

ANSWER: Subject to and without waiving objection, with respect to the years 2016 through
2022, Defendant answers as follows:

               Year                       Title 23 Citations
               2016                              2779
               2017                              2720
               2018                              2834
               2019                              2499
               2020                              2868
               2021                              2088
               2022                              2098


Defendant reserves the right to amend or supplement this response at a later date, following
completion of discovery or receipt of additional information.

         14.   Identify the standard weapons that Connecticut Environmental Conservation police

officers carry while performing their duties in Connecticut state parks and forests. For each firearm

that these officers carry, please list the make and model, the caliber of the firearm, and the number

of rounds/bullets that the officers typically carry in the firearm.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c) and does not relate to the conduct or arming of on-duty
EnCon Police Officers. Defendant further objects that the interrogatory is overly broad and
unduly burdensome.

ANSWER: Subject to and without waiving objection, EnCon Police’s current issue handgun
is a Glock 22, .40 caliber, with 15 round magazines (2 spare and 1 in the handgun). In
addition, EnCon Police officers use a Colt LE6920 M4 (long gun), .223 caliber, 30 round
magazine x2 and 1-20 round magazine. Also in use is the Mossberg 590A1 Shotgun, 12 gauge.
Eight shotshells are in the magazine tube, and 6 carried in a side saddle.

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       15.     State how many times that Connecticut Environmental Conservation police officers

have discharged their firearms in the line of duty in Connecticut state parks and forests since

January 1, 2013, excluding discharges made in the course of training or practice at a shooting range

located within Connecticut state parks and forests. Please provide the information in annual

format: e.g., 2015 – 100 times; 2016 – 200 times.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c) and does not relate to the conduct or arming of on-duty
EnCon Police Officers. Defendant further objects that the interrogatory is vague, overly
broad, and unduly burdensome. For example, the interrogatory does not define “in the line
of duty” and does not distinguish between the discharge of a firearm upon another person,
upon wildlife, or otherwise while “in the line of duty.”

ANSWER: Subject to and without waiving objection, as the need arises, EnCon Police
Officers are often required to discharge their firearms in order to dispatch wildlife in the
State Parks and Forest System following, for example, a motor vehicle accident involving an
animal. EnCon Police does not maintain records regarding such use of firearms but
estimates that there are numerous instances of such discharge, annually. Apart from
discharges made to dispatch an animal or in the course of training or practice, Defendant
knows of no EnCon Police Officer discharging their weapon “in the line of duty” in any
Connecticut state park or forest since January 1, 2013. Defendant reserves the right to
amend or supplement this response at a later date, following completion of discovery or
receipt of additional information.


       16.     State when Conn. Agencies Regs. § 23-4-1(c) was promulgated and identify the

publication that it was promulgated in. Please include the exact date of promulgation and the

volume and issue of the publication that it was promulgated in.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c) and does not challenge the rulemaking authority of the
Commissioner of DEEP or the rulemaking process that led to the promulgation of § 23-4-
1(c). Defendant further objects that the interrogatory is overly broad, unduly burdensome,
and seeks publicly available information that can be acquired by Plaintiff as easily as it can
be acquired by Defendant.



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ANSWER: Subject to and without waiving objection, the present version of Conn. Agencies
Reg. § 23-4-1(c) has been in effect since June 7, 2017. A copy is available in the Connecticut
eRegulations System, accessible via search at https://eregulations.ct.gov/eRegsPortal/.
Additionally, to the best of her knowledge, Defendant believes that the prohibitions set forth
in the present version of § 23-4-1(c) were first established in 1924 through the Guide to
Connecticut State Parks and Forests, published by the State Park and Forest Commission,
the precursor entity to DEEP. Defendant reserves the right to amend or supplement this
response at a later date, following completion of discovery or receipt of additional
information.


       17.     Identify any precursor rules or regulations for Conn. Agencies Regs. § 23-4-1(c),

and state the date that they established, the government agency or body that established them, their

full legal citation, and where they may be located.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c) and does not challenge the rulemaking authority of the
Commissioner of DEEP or the rulemaking process that led to the promulgation of § 23-4-
1(c). Defendant further objects that the interrogatory is overly broad, unduly burdensome,
and seeks publicly available information that can be acquired by Plaintiff as easily as it can
be acquired by Defendant.

ANSWER: Subject to and without waiving objection, Defendant incorporates by reference
her Answer to Interrogatory No. 16. Additionally, to the best of her knowledge, precursor
rules or regulations to § 23-4-1(c) include the following: § 15-2-3 of the Regulations of
Connecticut State Agencies (State Park and Forest Commission; 1949); § 23-4-1 of the
Regulations of Connecticut State Agencies (DEEP; 2007); and § 23-4-1 of the Regulations of
Connecticut State Agencies (DEEP; 2017). As noted on the Connecticut State Library’s
website     (https://ctstatelibrary.org/regulations-of-connecticut-state-agencies/), “[p]rior
versions of regulations as printed in the Connecticut Law Journal are available for use at the
Connecticut State Library.” Research into the history of firearms prohibitions in
Connecticut’s state parks and forests is ongoing, and Defendant reserves the right to amend
or supplement this response at a later date, following completion of discovery or receipt of
additional information.


       18.     State how many times the DEEP has arrested or cited someone for a violation of

Conn. Agencies Regs. 23-4-1(c) since January 1, 2013. Please provide the information in annual

format: e.g., 2015 – 100 times; 2016 – 200 times.




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OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c). Defendant further objects to the interrogatory on the
grounds that it is overly broad, unduly burdensome, and requests information prepared by
DEEP and EnCon that is protected by the work-product and/or attorney-client privileges.
See Defendant’s Objections to Interrogatories Nos. 10-12.

ANSWER: Subject to and without waiving objection, with respect to the years 2016 through
2022, Defendant answers as follows:


              Year                     Conn. Reg. 23-4-1(c)
                                           Citations
              2016                              6
              2017                             10
              2018                              5
              2019                              1
              2020                             10
              2021                              7
              2022                              6


Defendant reserves the right to amend or supplement this response at a later date, following
completion of discovery or receipt of additional information.

       19.     State how many firearms hunting licenses that the DEEP has issued since January

1, 2017. Please provide the information in annual format: e.g., 2015 – 100 times; 2016 – 200 times.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c). Defendant further objects that the interrogatory is
overly broad and unduly burdensome on DEEP’s staff.

ANSWER: Subject to and without waiving objection, Defendant provides the following
information relating to the number of firearms hunting licenses the DEEP has issued since
January 1, 2017:

   •   2017 – 46,336
   •   2018 – 44,294
   •   2019 – 42,356
   •   2020 – 42,438
   •   2021 – 40,298
   •   2022 – 39,126



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Defendant reserves the right to amend or supplement this response at a later date, following
completion of discovery or receipt of additional information.

       20.     State all of the time periods/hunting seasons that the DEEP will permit hunting by

firearms in the state of Connecticut for the calendar year 2023.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c). Defendant further objects that the interrogatory seeks
publicly available information that can be acquired by Plaintiff as easily as it can be acquired
by Defendant.

ANSWER: Subject to and without waiving objection, this information is publicly available
in the 2023 Connecticut Hunting and Trapping Guide, PDF copies of which can be found
online at:

https://portal.ct.gov/-/media/DEEP/hunting_trapping/pdf_files/2023-CT-Hunting-
Guide.pdf


       21.     State all of the time periods/hunting seasons that the DEEP permitted hunting in

the state of Connecticut for the calendar year 2022.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c). Defendant further objects that the interrogatory seeks
publicly available information that can be acquired by Plaintiff as easily as it can be acquired
by Defendant.

ANSWER: Subject to and without waiving objection, please find attached the relevant pages
from the 2022 Hunting and Trapping Guide, which state the time periods/hunting seasons
that DEEP permitted in the State for 2022.


       22.     State the total number of deer reported harvested on state land by hunters using

firearms via the DEEP’s Harvest Tagging system for the calendar year 2022.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c). Defendant further objects that the interrogatory seeks
publicly available information that can be acquired by Plaintiff as easily as it can be acquired
by Defendant.



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ANSWER: Subject to and without waiving objection, a total of 611 deer were reported
harvested on state land by hunters during the 2022 firearms season.


         23.   State the total number of turkeys reported harvested on state land by hunters using

firearms via the DEEP’s Harvest Tagging system for the calendar year 2022.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c). Defendant further objects that the interrogatory seeks
publicly available information that can be acquired by Plaintiff as easily as it can be acquired
by Defendant.

ANSWER: Subject to and without waiving objection, a total of 257 turkeys were reported
harvested on state land by hunters during the 2022 spring and fall firearms seasons.


         24.   State whether the prohibition against carrying handguns in state parks or forests as

set forth in Conn. Agencies Regs. 23-4-1(c) is posted at all public access points to all state parks

and forests.

OBJECTION: Defendant objects to this interrogatory on the ground that the information
sought is not relevant to the issues in this case, as the Amended Complaint brings a facial
challenge to Conn. Reg. § 23-4-1(c) and does not allege that Plaintiff lacked notice of the
challenged regulation. Defendant further objects that the term “public access points” is
undefined, vague, and susceptible to many meanings.

ANSWER: Subject to and without waiving objection, Conn. Reg. § 23-4-1(c) is not posted at
all public access points to all state parks and forests but DEEP’s regulations are generally
available          on         the         Secretary         of        State’s         website
(https://eregulations.ct.gov/eRegsPortal/Browse/RCSA/Title_23/), and DEEP’s website
(https://portal.ct.gov/DEEP/Laws/DEEP-Regulations-Sorted-By-Subject).           Additionally,
copies of DEEP’s regulations are generally posted at a publicly viewable location within State
parks and forests.


         25.   Identify all witnesses, including expert witnesses, documents, and exhibits that you

intend to offer into evidence at the hearing on the Plaintiff’s motion for a preliminary injunction

or at trial.




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OBJECTION: Defendant objects that the interrogatory is premature and impermissibly
seeks information that, at this juncture, is protected by the work product and attorney client
privileges while the trial and preliminary injunction strategy is developed.

ANSWER: Defendant is in the process of preparing a brief in opposition to Plaintiff’s motion
for a preliminary injunction and has not finalized what witnesses, documents, and/or
exhibits, if any, she intends to offer at a preliminary injunction hearing or trial at this time.
Therefore, Defendant reserves the right to amend or supplement this response at a later date
closer to any scheduled evidentiary hearing, in a timely manner consistent with Defendant’s
obligations at discovery. However, Defendant notes that, in support of her opposition to
Plaintiff’s motion for a preliminary injunction, Defendant will likely rely on the following:

    •   Numerous historical analogues to § 23-4-1(c), which Plaintiff will receive copies of
        with Defendant’s opposition to Plaintiff’s motion for a preliminary injunction.
    •   Numerous other exhibits including, but not limited to, photographs of State parks
        and forests and a Centennial report prepared by DEEP describing the history of
        Connecticut’s State parks and forests.
    •   Declarations from experts, the specifics of which are yet to be finalized and will be
        supplemented.
    •   Declarations from fact witnesses from DEEP including, but not limited to, Thomas
        Tyler.
    •   Declarations from other fact witnesses including, but not limited to, Mark Benigni.




                              REQUESTS FOR PRODUCTION

        1.     All documents identified in answering or used or relied upon by you or any other

person in preparing answers to any of the above Interrogatories.

OBJECTION: Defendant objects to this request on the ground that the information sought
is not relevant to the issues in this case, as the Amended Complaint brings a facial challenge
to Conn. Reg. § 23-4-1(c). Defendant further objects that the request is overly broad, vague,
unduly burdensome, in that it requests all documents “used or relied upon by you or any
person in preparing answers to any of the above Interrogatories.” Defendant further objects
that the request covers documents that would be protected by the attorney-client, work
product, and/or deliberative process privileges, including correspondence between DEEP
employees and counsel for Defendant

ANSWER: Subject to and without waiving objection, see attached.

        2.     Copies of any and all regulatory history for Conn. Agencies Regs. § 23-4-1(c).



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OBJECTION: Defendant objects to this request on the ground that the information sought
is not relevant to the issues in this case, as the Amended Complaint brings a facial challenge
to Conn. Reg. § 23-4-1(c) and does not challenge the rulemaking authority of the
Commissioner of DEEP or the rulemaking process that led to the promulgation of § 23-4-
1(c). Defendant further objects that the request for “any and all regulatory history” is vague,
overly broad, unduly burdensome, and seeks publicly available information that can be
acquired by Plaintiff as easily as it can be acquired by Defendant.

ANSWER: Subject to and without waiving objection, see attached. Defendant reserves the
right to amend or supplement this response at a later date.


       3.      Copies of any and all precursor statutes, regulations, rules or any other form of

binding law to Conn. Agencies Regs. § 23-4-1(c) that establish the same prohibition against

carrying firearms in Connecticut state parks and forests.

OBJECTION: Defendant objects to this request on the ground that the information sought
is not relevant to the issues in this case, as the Amended Complaint brings a facial challenge
to Conn. Reg. § 23-4-1(c) and does not challenge the rulemaking authority of the
Commissioner of DEEP or the rulemaking process that led to the promulgation of § 23-4-
1(c). Defendant further objects that the request is overly broad, unduly burdensome, and
seeks publicly available information that can be acquired by Plaintiff as easily as it can be
acquired by Defendant.

ANSWER: Subject to and without waiving objection, see attached. Defendant reserves the
right to amend or supplement this response at a later date.

       4.      Copies of any documents and forms that the DEEP uses to process requests for

permission to carry firearms in Connecticut state parks and forests.

OBJECTION: Defendant objects to this request on the ground that the information sought
is not relevant to the issues in this case, as the Amended Complaint brings a facial challenge
to Conn. Reg. § 23-4-1(c). Defendant further objects that the request is overly broad, vague,
unduly burdensome, and seeks materials privileged by the attorney-client, work product, or
deliberative process privilege.

ANSWER: Subject to and without waiving objection, see attached example of a Special
Use License from 2022. Defendant reserves the right to amend or supplement this response
at a later date.




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       5.      Copies of any documents, videos, or any other form of material that DEEP uses to

train its employees and officials on whether to grant or deny permission to carry firearms in

Connecticut state parks and forests.

OBJECTION: Defendant objects to this request on the ground that the information sought
is not relevant to the issues in this case, as the Amended Complaint brings a facial challenge
to Conn. Reg. § 23-4-1(c). Defendant further objects that the request is overly broad, vague,
unduly burdensome, and seeks materials privileged by the attorney-client, work product, or
deliberative process privilege.

ANSWER:        Subject to and without waiving objection, no such materials exist.

       6.      Copies of any documents or communications establishing DEEP policy on whether

to grant or deny permission to carry firearms in Connecticut state parks and forests.

OBJECTION: Defendant objects to this request on the ground that the information sought
is not relevant to the issues in this case, as the Amended Complaint brings a facial challenge
to Conn. Reg. § 23-4-1(c). Defendant further objects that the request is overly broad, vague,
unduly burdensome, and seeks materials privileged by the attorney-client, work product, or
deliberative process privilege.

ANSWER: Subject to and without waiving objection, see the 2023 Hunting and Trapping
Guide, as well as the Special Use License from 2022. Defendant reserves the right to amend
or supplement this response at a later date.

       7.      Copies of any non-privileged communications and documents within DEEP’, its

employees’, or your possession regarding the constitutionality and lawfulness of Conn. Agencies

Regs. § 23-4-1(c).

OBJECTION: Defendant objects to this request on the ground that the information sought
is not relevant to the issues in this case, as the Amended Complaint brings a facial challenge
to Conn. Reg. § 23-4-1(c). Defendant further objects that the request is overly broad, vague,
unduly burdensome, and seeks privileged materials, as conversations regarding the
“constitutionality and lawfulness” are paradigmatic examples of subjects likely to be
discussed with an attorney that would be protected from disclosure under the attorney-client,
work product, or deliberative process privilege. Moreover, this request improperly calls for
a legal conclusion and seeks publicly available information that can be acquired by Plaintiff
as easily as it can be acquired by Defendant.

ANSWER: Subject to and without waiving objection, DEEP’s testimony from 2018 and
2023 opposing legislative proposals to allow carrying of firearms in state parks and forests


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is attached. Defendant reserves the right to amend or supplement this response at a later
date.

           8.    Copies of any documents, communications, and regulatory history regarding the

decisions to establish and maintain four public shooting ranges in Connecticut state parks and

forests.

OBJECTION: Defendant objects to this request on the ground that the information sought
is not relevant to the issues in this case, as the Amended Complaint brings a facial challenge
to Conn. Reg. § 23-4-1(c). Defendant further objects that the request is overly broad, vague,
unduly burdensome, in that it requests “any” documents that concern a highly regulated
recreational activity, itself subject to extensive contracting or leasing requirements, none of
which is relevant to the instant action or likely to lead to probative information. Voluminous
paper records exist that cannot be converted to PDF or electronic files without considerable
expense and effort by a staff whose resources are limited. Defendant further objects that the
request covers documents that would be protected by the attorney-client, work product,
and/or deliberative process privileges, including correspondence between DEEP employees
and counsel for Defendant.

ANSWER: Subject to and without waiving objection, certain materials pertinent to a
shooting range in a State forest are attached.

           9.    Copies of any documents, communications, studies, or reports regarding the impact

that the carrying of firearms would have in Connecticut state parks and forests.

OBJECTION: Defendant objects to this request on the ground that the information sought
is not relevant to the issues in this case, as the Amended Complaint brings a facial challenge
to Conn. Reg. § 23-4-1(c). Defendant further objects that the request is overly broad, vague,
unduly burdensome, and seeks materials privileged by the attorney-client, work product, or
deliberative process privilege. The term “impact” is unclear and susceptible to different
meanings, particularly in light of the diverse public interests and uses that DEEP considers
in its management of state parks and forests.

ANSWER: Subject to and without waiving objection, DEEP testimony from 2018 and
2023 opposing legislative proposals to allow carrying of firearms in state parks and forests
is attached. Defendant reserves the right to amend or supplement this response at a later
date.

           10.   Copies of any documents, communications, studies, or reports regarding the impact

that hunting with firearms would have on Connecticut state parks and forests.

OBJECTION: Defendant objects to this request on the ground that the information sought
is not relevant to the issues in this case, as the Amended Complaint brings a facial challenge

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to Conn. Reg. § 23-4-1(c). Defendant further objects that the request is overly broad, vague,
unduly burdensome, and seeks materials privileged by the attorney-client, work product, or
deliberative process privilege. The term “impact” is unclear and susceptible to different
meanings, particularly in light of the diverse public interests and uses that DEEP considers
in its management of state parks and forests.

ANSWER: Subject to and without waiving objection, see 2023 Hunting Guide
information, available at: https://portal.ct.gov/DEEP/Hunting/2023-Connecticut-Hunting-
and-Trapping-Guide. Defendant reserves the right to amend or supplement this response at
a later date.

       11.     Copies of any documents, videos, and any other form of communication pertaining

to the training that the Connecticut Environmental Conservation Police receive on the use of

firearms.

OBJECTION: Defendant objects to this request on the ground that the information sought
is not relevant to the issues in this case, as the Amended Complaint brings a facial challenge
to Conn. Reg. § 23-4-1(c) and does not relate to the conduct or arming of on-duty EnCon
Police Officers. Defendant further objects that the request is overly broad, vague, unduly
burdensome, and seeks materials privileged by the attorney-client, work product, or
deliberative process privilege. The term “pertaining to” is unclear and susceptible to
different meanings, particularly in light of the diverse public interests and uses that DEEP
considers in its management of state parks and forests.

ANSWER: Subject to and without waiving objection, see attached DEEP February 2023
Use of Force Policy.

       12.     Copies of any documents setting forth the DEEP’s policy on when the Connecticut

Environmental Conservation Police may use firearms in the line of duty, its policy on the use of

force, and its policy on the use of deadly force.

OBJECTION: Defendant objects to this request on the ground that the information sought
is not relevant to the issues in this case, as the Amended Complaint brings a facial challenge
to Conn. Reg. § 23-4-1(c) and does not relate to the conduct or arming of on-duty EnCon
Police Officers.

ANSWER: Subject to and without waiving objection, see attached DEEP February 2023
Use of Force Policy.

       13.     Copies of any Connecticut statute, regulation, rule, or other form of binding law

that regulates the storage of unattended firearms in Connecticut state parks and forests.

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OBJECTION: Defendant objects to this request on the ground that the information sought
is not relevant to the issues in this case, as the Amended Complaint brings a facial challenge
to DEEP’s enforcement of Conn. Reg. § 23-4-1(c). Defendant further objects to this request
on the grounds that it improperly calls for a legal conclusion and is impermissibly vague in
its use of the word “storage.” Moreover, Defendant objects to this request as overly broad
and unduly burdensome to the extent it seeks documents or information that are readily or
more accessible to Plaintiff than to Defendant, are readily or more accessible to Plaintiff
from Plaintiff’s own files, or from documents or information in Plaintiff’s possession.
Responding to such requests and interrogatory would be oppressive, unduly burdensome,
and unnecessarily expensive, and the burden of responding to such requests and
interrogatory is substantially the same or less for Plaintiff as for Defendant.

ANSWER: Subject to and without waiving objection, see Conn. Regs. § 23-4-1(c),
Connecticut Public Act 19-7, and the 2023 Connecticut Hunting and Trapping Guide, copies
of which are available online.

       14.     Copies of any non-privileged document or communication pertaining to the

potential amendment or recission of Conn. Agencies Regs. § 23-4-1(c) since January 1, 2017.

OBJECTION: Defendant objects to this request on the ground that the information sought
is not relevant to the issues in this case, as the Amended Complaint brings a facial challenge
to Conn. Reg. § 23-4-1(c), which is presently in effect. Defendant further objects that the
request is speculative, overly broad, vague, unduly burdensome, and seeks privileged
materials, as conversations regarding the “potential amendment or recission” on a
regulation currently in effect, are paradigmatic examples of subjects likely to be discussed
with an attorney that would be protected from disclosure under the attorney-client, work
product, or deliberative process privileges.

ANSWER: Subject to and without waiving objection, DEEP testimony from 2018 and
2023 opposing legislative proposals to allow carrying of firearms in state parks and forests
is attached. Defendant reserves the right to amend or supplement this response at a later
date.

       15.     Copies of any non-privileged document, communication, or social media posting

that you have made supporting the regulation of the carrying of firearms in public since January

1, 2013.

ANSWER: DEEP testimony from 2018 and 2023 opposing legislative proposals to allow
carrying of firearms in state parks and forests is attached. Defendant reserves the right to
amend or supplement this response at a later date.

       16.     Copies of any exhibits and/or reports, including any reports prepared by any expert,

that you intend to offer into evidence in this case.
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OBJECTION: Defendant objects that the request is premature and impermissibly seeks
information that, at this juncture, is protected by the work product and attorney-client
privileges while the trial and preliminary injunction strategy is developed.

ANSWER: Defendant is in the process of preparing a brief in opposition to Plaintiff’s motion
for a preliminary injunction and has not finalized what witnesses, documents, and/or
exhibits, if any, she intends to offer at a preliminary injunction hearing or trial at this time.
Therefore, Defendant reserves the right to amend or supplement this response at a later date
closer to any scheduled evidentiary hearing, in a timely manner consistent with Defendant’s
obligations at discovery. However, Defendant notes that, in support of her opposition to
Plaintiff’s motion for a preliminary injunction, Defendant will likely rely on the following:

    •   Numerous historical analogues to § 23-4-1(c), which Plaintiff will receive copies of
        with Defendant’s opposition to Plaintiff’s motion for a preliminary injunction.
    •   Numerous other exhibits including, but not limited to, photographs of State parks
        and forests and a Centennial report prepared by DEEP describing the history of
        Connecticut’s State parks and forests.
    •   Declarations from experts, the specifics of which are yet to be finalized and will be
        supplemented.
    •   Declarations from fact witnesses from DEEP including, but not limited to, Thomas
        Tyler.
    •   Declarations from other fact witnesses including, but not limited to, Mark Benigni.


                                                    Respectfully submitted,

                                                    DEFENDANT-COMMISSIONER
                                                    KATIE DYKES

                                                    WILLIAM TONG
                                                    ATTORNEY GENERAL

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on March 20, 2023 a copy of the foregoing was served by e-mail to all

parties.


                                                        /s/ Blake T. Sullivan
                                                        Assistant Attorney General




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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

  DAVID NASTRI,

         Plaintiff,                                      Civil No. 3:23-cv-0056 (JBA)

         v.
                                                         August 16, 2023
  KATIE DYKES, Commissioner for the Department
  of Energy and Environmental Preservation,

         Defendant.



              RULING ON PLAINTIFF’S MOTIONS FOR RECONSIDERATION

       Plaintiff moves for reconsideration [Doc. # 49] of this Court’s order dismissing the

case for lack of standing, arguing that the Defendant and the Court did not make clear that

the issue of whether there was a credible threat of prosecution was at issue, and as a result,

he failed to submit evidence he now asks the Court to consider. (See Pl.’s Mem. in Support of

Mot. to Recon. [Doc. # 50].) Plaintiff’s proposed evidence is Defendant’s response to his

interrogatories regarding DEEP’s recorded enforcement of the Challenged Regulation. 1

Defendant opposes, arguing that the Court lacks jurisdiction to consider the motion, that the

evidence is not appropriate for consideration because Defendant did not have the

opportunity to address it at the evidentiary hearing, and that it would not have changed the

outcome of the motion. (Def.’s Object. to Pl.’s Mot. to Recon [Doc. # 54].)


1 Specifically, the evidence responds to Interrogatory # 18, which sought the number of times

“DEEP has arrested or cited someone for a violation” of the Challenged Regulation “since
January 1, 2013” (Pl.’s Mot. to Recon., Exhibit A, Def.’s Answers to Pl.’s Interrogatories [Doc.
# 50-1] at 11.) Defendant objected to the interrogatory on multiple grounds, but provided
the information “[s]ubject to and without waiving objection.” Id. at 12. The format of the data
was a two-column chart showing the year and the number of times that the Challenged
Regulation was enforced, and provided no further information on its source.




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       For the reasons set forth below, Plaintiff’s motion is DENIED.

       Background

       The Court assumes familiarity with the facts and procedural background of this case.

Relevant to this motion, Defendant filed a motion to dismiss [Doc. # 20] on March 30, 2023

based solely on the grounds that Plaintiff did not plausibly allege the various requirements

necessary to establish pre-enforcement standing under Susan B. Anthony List v. Driehaus, 573

U.S. 149 (2014). In her motion to dismiss, Defendant noted that “Plaintiff does not allege that

he has ever been arrested, fined, evicted, or subject to any other adverse action for carrying

handgun in a state park or forest, or that the State has threatened to take any such action

against him.” (Def.’s Mot. to Dismiss at 2.) Defendant acknowledged that “[w]hen an

individual is subject to such a threat [of enforcement], an actual arrest, prosecution, or other

enforcement action is not a prerequisite to challenging the law,” Driehaus, 574 U.S. at 158-

159, so long as the plaintiff has “an intention to engage in a course of conduct arguably

affected with a constitutional interest, but proscribed by a statute, and there exists a credible

threat of prosecution thereunder[.]” Id. at 159. Defendant further noted that the “threat of

future enforcement must also be ‘sufficiently imminent.’” (Def.’s Mot. to Dismiss at 4)

(quoting Driehaus, 574 U.S. at 59).

       In his opposition, Plaintiff argued that “[i]f he violates the law, he will face

punishment. Thus, the Court should find that he has plausibly alleged a particularized

injury,” and supported that argument with examples of the penalties and consequences he

could face for violating the Challenged Regulation. (Pl.’s Opp’n to Mot. to Dismiss [Doc. # 27]

at 7.) In her reply, Defendant reemphasized the need for Plaintiff to demonstrate a credible

threat of enforcement for violating the Challenged Regulation, asserting that “Plaintiff cannot

establish concrete intent or a credible threat of prosecution” (Def.’s MTD Reply [Doc. # 33] at

6) (emphasis added), discussing several supporting cases. (See id. at 6-7.) The Court



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                                            App.255
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informed the parties in advance via email that it would be hearing argument on the issue of

standing at the scheduled preliminary injunction hearing; both parties, as well as the Court,

asked questions of the witnesses regarding whether and how often the Challenged

Regulation was enforced.

       The Court issued its ruling dismissing the case for lack of standing on July 12, 2023

[Doc. # 46]. Plaintiff filed a notice of appeal with the Second Circuit on July 12, 2023 and filed

a motion to reconsider the order of dismissal on July 17, 2023; the Second Circuit issued an

order holding the appeal in abeyance until the resolution of this motion.

       Legal Standard

        “The major grounds justifying reconsideration” under both Second Circuit precedent

and D. Conn. Loc. R. 7(c) “are ‘an intervening change of controlling law, the availability of

new evidence, or the need to correct a clear error or prevent manifest injustice.’” Virgin Atl.

Airways, Ltd. v. Nat'l Mediation Bd., 956 F.2d 1245, 1255 (2d Cir. 1992) (quoting 18 C. Wright,

A. Miller & E. Cooper, Federal Practice & Procedure § 4478 at 790.) “A motion for

reconsideration may not be used to plug gaps in an original argument or to argue in the

alternative once a decision has been made,” Caires v. Adams, No. 3:17-CV-1993(AWT), 2019

WL 8807865, at *1 (D. Conn. Apr. 23, 2019), 2 nor to “advance new facts, issues or arguments

not previously presented before the [c]ourt.” Davidson v. Scully, 172 F. Supp. 2d 458, 461

(S.D.N.Y. 2001). The standard for granting a motion for reconsideration is “strict,” Shrader v.

CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995), and a motion for reconsideration is not “a

vehicle for relitigating old issues,” Analytical Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36,

52 (2d Cir. 2012), as amended (July 13, 2012).




2 Unless otherwise indicated, internal citations, quotation marks, and other alterations are

omitted throughout in text quoted from court decisions.


                                                 3

                                             App.256
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       Discussion

       A.       Jurisdiction

       “A federal district court and a federal court of appeals should not assert jurisdiction

over a case simultaneously.” Rich v. Associated Brands, Inc., No. 08-CV-666S, 2009 WL

236055, at *1 (W.D.N.Y. Jan. 30, 2009). A timely motion for reconsideration “renders an

otherwise final decision of a district court not final for purposes of appeal.” Nutraceutical

Corp. v. Lambert, 139 S. Ct. 710, 717 (2019). “The filing of a notice of appeal is an event of

jurisdictional significance—it confers jurisdiction on the court of appeals and divests the

district court of its control over those aspects of the case involved in the appeal.” Griggs v.

Provident Consumer Discount Co., 459 U.S. 56, 58 (1982).

       Defendant asserts that this Court lacks jurisdiction to consider the motion to

reconsider because Plaintiff has already filed a notice of appeal. (Def.’s Object. at 2.) In Miller

v. Superintendent of the Shawangunk Corr. Facility, No. 18-CV-1762 (RA), 2020 U.S. Dist.

LEXIS 198711, at *2 (S.D.N.Y. Oct. 26, 2020), the district court dismissed a motion for

reconsideration for lack of jurisdiction because “[a]lthough a district court may retain

jurisdiction over a motion for reconsideration that is filed before a notice of appeal, here,

where the motion for reconsideration was filed four days after the notice of appeal, that rule

does not apply,” based on the general rule that a “federal district court and a federal appellate

court may not maintain simultaneous jurisdiction over a case.” Id.

       However, because the Second Circuit is holding the appeal in abeyance pending this

ruling, there is no simultaneous assertion of jurisdiction; the Second Circuit will not rule on

the judgment until it is final following the Court’s ruling on this motion. Further, the Second

Circuit has recognized that “[t]he divestiture of jurisdiction rule is . . . not a per se rule. . . its

application is guided by concerns of efficiency and is not automatic.” United States v. Rodgers,

101 F.3d 247, 251 (2d Cir.1996). Following Rodger’s guidance, one district court has



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                                              App.257
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determined that it was appropriate to issue “clarification to aid the appeal process and to

serve the interests of judicial economy” even when motion for clarification of the judgment

in the case was filed after the notice of appeal had already been filed. In re M/V DG HARMONY,

No. 98 CIV. 8394 (DC), 2007 WL 895251, at *2 (S.D.N.Y. Mar. 16, 2007).

       Because the Second Circuit has held the appeal in abeyance pending resolution of this

motion rather than asserting exclusive jurisdiction over Plaintiff’s appeal, the Court

concludes that as in In re M/V DG HARMONY, it is appropriate to consider the merits of

Plaintiff’s motion for reconsideration and that it retains the jurisdiction to do so.

       B.       Merits

       Plaintiff seeks reconsideration on the basis that “the Defendant never raised a claim

that it did not enforce the law or that Nastri had not alleged a credible threat of prosecution,”

and that he “fairly relied on the parties’ framing”, which “led him to reasonably believe that

the issue of whether he faced a credible threat of prosecution based on the Defendant’s

record of enforcing the law was not in dispute.” (Pl.’s Mem. at 2-3.) Plaintiff acknowledges

that the Court may take up the issue of standing sua sponte, but he submits that if he had

known the credible threat of prosecution was disputed, he would have introduced

interrogatory responses from Defendant showing that “the number of times that [DEEP]

enforced” the Challenged Regulation was between 1 and 10 per year between 2016 and

2022. (Id. at 2, 5.) In Plaintiff’s view, these statistics “weigh in favor of the Court revisiting its

finding” that there was no credible threat of prosecution, and failure to consider this

evidence would be a “manifest” injustice. (Id. at 2, 4.) Defendant maintains that the Court

should decline to consider the evidence because it was available at the time the substantive

motion was decided, and because it was not offered, Defendant was given no opportunity to

challenge its admissibility or offer arguments as to its weight; even if considered, however,

Defendant argues that the evidence is consistent with testimony that the regulation was only



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rarely enforced, and does not rise to the level of establishing a credible threat of prosecution

sufficient to demonstrate standing. (Def.’s Opp’n at 1.)

       Plaintiff’s position that the lack of a credible threat of prosecution was not raised by

Defendant, and that the Court’s ruling was a manifest injustice because it dismissed the case

sua sponte based without giving Plaintiff a chance to be fully heard on that issue, is without

merit. “Plaintiffs bear the burden of alleging facts that demonstrate standing,” Ellington

Credit Fund, Ltd. v. Select Portfolio Servs., Inc., No. 08 CIV. 2437 (RJS), 2012 WL 13065889, at

*2 (S.D.N.Y. Feb. 3, 2012), and Defendant’s motion to dismiss put Plaintiff on notice that she

was challenging the complaint’s sufficiency as to his pre-enforcement standing claim. The

Court recognizes that Defendant’s motion to dismiss focused more attention on whether

Plaintiff’s intention to engage in the proscribed conduct was sufficiently concrete, and

whether he planned to visit state parks and forests in the immediate future, than on the issue

of credible threat of prosecution. However, both of those questions are inherently tied to the

question of whether a credible and imminent threat of enforcement existed under the

Driehaus test. The core premise of pre-enforcement challenges, which are exceptions to the

general rule that a plaintiff must already have suffered an injury to have standing, is that a

plaintiff need not actually commit an illegal act and wait until what he believes is an unlawful

regulation or statute is enforced against him to challenge it if—and only if—he would be in

real danger of having the law enforced against him were he to engage in that conduct. See

Driehaus, 573 U.S. at 159 (“[W]e have permitted pre-enforcement review under

circumstances that render the threatened enforcement sufficiently imminent”).

       The record demonstrates that Plaintiff recognized the need to show a credible threat

of enforcement. His briefing acknowledges that the need to show that a threatened injury is

“certainly impending” under Clapper v. Amnesty Intern. USA, 568 U.S. 398, 409 (2013),

“largely aligns” with the “concreteness requirement of a ‘credible threat of prosecution’”



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(Pl.’s MTD Opp’n at 5) (quoting Driehaus, 573 U.S. at 159). The Court opened the hearing by

reminding counsel that “standing is jurisdictional and therefore required to be established.”

(Prelim. Inj. Day 1 Hrg. Tr. [Doc. # 37] at 10.) In addition to numerous questions about the

potential threat of enforcement from Defendant’s counsel, the Court also questioned Plaintiff

on whether he was aware of anyone who had had the regulation enforced against him, to

which he replied he was not. (Prelim. Inj. Day 2 Hrg. Tr. [Doc. # 44] at 238.) In closing

statements, Plaintiff’s counsel analogized his case to Steffel v. Thompson, arguing that in both

cases, “a cessation or ceasing of desired conduct based on a threat of prosecution” should be

sufficient to confer standing. (Id. at 355) (emphasis added). Counsel directly acknowledged

the question as to whether there was a credible threat of prosecution:

       We recognize that nobody -- there's no testimony to the effect that Mr. Nastri
       was approached by a police officer or an EnCon officer saying if you carry a
       handgun in state parks, we're going to prosecute you, but the statute itself, the
       accompanying counts of the regulation itself, the accompanying consequences
       of that regulation are sufficient notice to Mr. Nastri that he does face a threat
       of prosecution if he carries his handgun into a state park or forest in violation
       of that regulation.

(Id. at 355.)

       In sum, Plaintiff’s argument that he was taken aback by the inclusion of the issue of

enforcement of the Challenged Regulation is not a reasonable one, nor is it “manifest

injustice” to reject it. Evidence that “was known and available” to Plaintiff when the

opposition was filed “cannot be the basis for a successful motion for reconsideration,” nor is

it evidence of manifest injustice—instead, it demonstrates only that Plaintiff had evidence

that he may have strategically determined was not necessary, and that he now regrets his

choice. 3 Gladstein v. Goldfield, No. 3:18-CV-0926 (VAB), 2021 WL 1049898, at *5 (D. Conn.


3 The Court also notes that the complaint was dismissed without prejudice, as required for a

dismissal for lack of standing, leaving Plaintiff with the option of seeking to file an amended
complaint incorporating the additional facts he now marshals.


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Mar. 19, 2021). A chance to relitigate an issue under a different strategy or with different

evidence is instead exactly the sort of “second bite at the apple” that makes reconsideration

inappropriate. Analytical Survs., Inc., 684 F.3d at 52. Motions for reconsideration “are not to

be used as a means to reargue matters already disposed of by prior rulings or to put forward

additional arguments that could have been raised prior to the decision,” Rich, 2009 WL

236055, at *1, and “shall be granted only if the court has overlooked controlling decisions or

factual matters that were put before it on the underlying motion and which, had they been

considered, might have reasonably altered the result before the court,” Mikol v. Barnhart,

554 F. Supp. 2d 498, 500 (S.D.N.Y. 2008) (emphasis added). 4

       Conclusion

       Plaintiffs’ motion for reconsideration is DENIED. The Clerk is directed to notify the

Second Circuit that a decision has been issued on the motion and to close this case.




4 Plaintiff cites no cases in which the court granted a motion to reconsider premised on

evidence available at the time the substantive motion was decided. The Court located one
case in which a district court considered evidence newly brought to its attention despite
there being “no legitimate reason” why it was not cited to or proffered during the substantive
briefing on the issue, but only because it was “unambiguous” and definitively settled the legal
question, leading the court to reconsider and dismiss the claims in question “for the sake of
judicial efficiency.” Fund Liquidation Holdings LLC v. UBS AG, No. 15 CIV. 5844 (GBD), 2022
WL 3904556, at *4 (S.D.N.Y. Aug. 30, 2022). Here, the evidence does not unambiguously
decide the question of standing but would instead require the Court to resolve the objection
to the admissibility of the produced information, reopen the hearing, and conduct further
legal analysis on whether the evidence is sufficient to confer standing; Fund Liquidation
Holdings LLC is thus distinguishable.


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                                                                IT IS SO ORDERED.


                                       _______________/s/_____________________________

                                                      Janet Bond Arterton, U.S.D.J.

                 Dated at New Haven, Connecticut this 16th day of August, 2023




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                             App.262
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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


DAVID J. NASTRI,
Plaintiff,                                                 Civil No. 3:23-cv-00056 (JBA)

v.

KATIE DYKES
Defendant.                                                 August 22, 2018

                                         JUDGMENT

       This matter came on for consideration on the Defendant’s Motion to Dismiss (Doc.

#22) before the Honorable Janet Bond Arterton, United States District Judge. On July 12,

2023, the Court entered an Order (Doc. #46) granting that motion and dismissing the case

without prejudice. The Order also denied the Motion for Preliminary Injunction (Doc. #14)

for lack of subject matter jurisdiction because the Plaintiff lacks standing.

       It is therefore ORDERED, ADJUDGED, and DECREED that judgment is entered for the

Defendant and the case is closed.

       Dated at New Haven, Connecticut, this 22nd day of August 2023.



                                                   Dinah Milton Kinney, Clerk


                                               By: ________/s/___________________
                                                  Liana Barry, Deputy Clerk
EOD: _August 22, 2023__




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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

DAVID J. NASTRI, ESQ.,                    :
                                          :                DKT No.: 3:23-cv-00056-JBA
       Plaintiff,                         :
                                          :
v.                                        :
                                          :
KATIE DYKES, in her official capacity     :
only,                                     :
                                          :
       Defendant.                         :                August 28, 2023

                              AMENDED NOTICE OF APPEAL

       Pursuant to Fed. R. App. P. 3 and 4, the Plaintiff, David J. Nastri, hereby amends

his notice of his appeal. Dkt. 47.

       The Plaintiff, David J. Nastri, hereby gives notice of his appeal to the United States

Court of Appeals for the Second Circuit of the Court’s July 12, 2023 order (Dkt. 46)

granting the Defendant’s motion to dismiss his amended complaint (Dkt. 22) and his

motion for a preliminary injunction (Dkt. 14) as well as its order denying his motion for

reconsideration (Dkt. 56).

                                          The Plaintiff,

                                          By: /s/ Cameron L. Atkinson /s/
                                          Cameron L. Atkinson, Esq.
                                          (ct31219)
                                          ATKINSON LAW, LLC
                                          122 Litchfield Rd., Ste. 2
                                          P.O. Box 340
                                          Harwinton, CT 06791
                                          Telephone: 203.677.0782
                                          Email: catkinson@atkinsonlawfirm.com




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                               CERTIFICATION OF SERVICE

       The undersigned hereby certifies that, on the foregoing date, a copy of the

foregoing was filed electronically and served by mail on anyone unable to accept

electronic filing. Notice of this filing will be sent by email to all parties and counsel of record

who have appeared by operation of the Court’s electronic filing system or by mail to

anyone unable to accept electronic filing. Parties may access this filing through the

Court’s system.

                                  /s/ Cameron L. Atkinson /s/




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                                                                                                                APPEAL,CLOSED,EFILE,RMS

                                                         U.S. District Court
                                               District of Connecticut (New Haven)
                                         CIVIL DOCKET FOR CASE #: 3:23-cv-00056-JBA


 Nastri v. Dykes                                                                         Date Filed: 01/14/2023
 Assigned to: Judge Janet Bond Arterton                                                  Date Terminated: 08/22/2023
 Referred to: Judge Robert M. Spector                                                    Jury Demand: None
 Cause: 42:1983 Civil Rights Act                                                         Nature of Suit: 440 Civil Rights: Other
                                                                                         Jurisdiction: Federal Question
 Plaintiff
 David J. Nastri                                                           represented by Cameron Lee Atkinson
                                                                                          Atkinson Law, LLC
                                                                                          122 Litchfield Road
                                                                                          P.O. Box 340
                                                                                          Ste. 2
                                                                                          Harwinton, CT 06791
                                                                                          203-677-0782
                                                                                          Email: catkinson@atkinsonlawfirm.com
                                                                                          LEAD ATTORNEY
                                                                                          ATTORNEY TO BE NOTICED


 V.
 Defendant
 Katie Dykes                                                               represented by Blake Thomas Sullivan
 in her official capacity only                                                            Office of the Attorney General
                                                                                          165 Capitol Ave
                                                                                          Ste 5th Fl
                                                                                          Hartford, CT 06106
                                                                                          860-808-5296
                                                                                          Fax: 860-808-5347
                                                                                          Email: blake.sullivan@ct.gov
                                                                                          LEAD ATTORNEY
                                                                                          ATTORNEY TO BE NOTICED

                                                                                          Thadius Latimer Bochain
                                                                                          Office of the Attorney General
                                                                                          165 Capitol Ave.
                                                                                          Hartford, CT 06106
                                                                                          860-808-5020
                                                                                          Fax: 860-808-5347
                                                                                          Email: thadius.bochain@ct.gov
                                                                                          LEAD ATTORNEY
                                                                                          ATTORNEY TO BE NOTICED

                                                                                          Timothy J. Holzman
                                                                                          State of CT, Office of the Attorney General
                                                                                          165 Capitol Avenue
                                                                                          Hartford, CT 06106
                                                                                          860-808-5210
                                                                                          Email: timothy.holzman@ct.gov
                                                                                          LEAD ATTORNEY
                                                                                          ATTORNEY TO BE NOTICED


  Date Filed        #    Docket Text
  01/14/2023         1 COMPLAINT (Verified) against Katie Scharf Dykes ( Filing fee $402 receipt number ACTDC-7200066.), filed by
                       David J. Nastri. (Attachments: # 1 Exhibit A - List of Connecticut State Parks, # 2 Exhibit B - Conn. Agencies Reg.
                       23-4-1, # 3 Exhibit C - Conn. Agencies Reg. 23-4-5, # 4 Exhibit D - DEEP FAQ About Hunting, # 5 Exhibit E -
                                                                         App.266
https://ecf.ctd.uscourts.gov/cgi-bin/DktRpt.pl?884530897031742-L_1_0-1                                                                       1/6
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                         DEEP Sleeping Giant State Park Overview, # 6 Exhibit F - Sleeping Giant Park Association Overview, # 7 Exhibit
                         G - DEEP Resources Web Page For Sleeping Giant State Park, # 8 Exhibit H - Sleeping Giant Park Association
                         Recreational Activities, # 9 Exhibit I - DEEP Official Map of Sleeping Giant State Park, # 10 Exhibit J - DEEP List
                         of State Parks & Forests With Recreational Activities, # 11 Exhibit K - DEEP Official Map of Naugatuck State
                         Forest, # 12 Exhibit L - DEEP List of State Shooting Ranges, # 13 Exhibit M - Correspondence Between Nastri &
                         DEEP, # 14 Exhibit N - Oct. 29, 2020 Legislative Research Report Adopted By DEEP)(Atkinson, Cameron)
                         (Entered: 01/14/2023)
  01/14/2023             Request for Clerk to issue summons as to Katie Scharf Dykes. (Atkinson, Cameron) (Entered: 01/14/2023)
  01/14/2023         2 Notice: Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 7.1, any nongovernmental corporate party
                       must electronically file a disclosure statement that identifies any parent corporation and any publicly held
                       corporation owning 10% or more of its stock or states that there is no such corporation. Such disclosure statement
                       must be filed with a party's first appearance, pleading, petition, motion, response, or other request addressed to the
                       Court and must be supplemented if any required information changes during the case.
                       Signed by Clerk on 1/14/23.(Hushin, Z.) (Entered: 01/17/2023)
  01/14/2023             Judge Janet Bond Arterton and Judge Robert M. Spector added. (Oliver, T.) (Entered: 01/17/2023)
  01/14/2023         3 Order on Pretrial Deadlines: Amended Pleadings due by 3/15/2023 Discovery due by 7/16/2023 Dispositive
                       Motions due by 8/20/2023
                       Signed by Clerk on 1/14/2023.(Sichanh, Christina) (Entered: 01/17/2023)
  01/14/2023         4 ELECTRONIC FILING ORDER FOR COUNSEL - PLEASE ENSURE COMPLIANCE WITH COURTESY
                       COPY REQUIREMENTS IN THIS ORDER
                       Signed by Judge Janet Bond Arterton on 1/14/2023.(Sichanh, Christina) (Entered: 01/17/2023)
  01/14/2023         5 STANDING PROTECTIVE ORDER
                       Signed by Judge Janet Bond Arterton on 1/14/2023.(Sichanh, Christina) (Entered: 01/17/2023)
  01/17/2023         6 NOTICE TO COUNSEL/SELF-REPRESENTED PARTIES : Counsel or self-represented parties initiating or
                       removing this action are responsible for serving all parties with attached documents and copies of 4 Electronic
                       Filing Order, 3 Order on Pretrial Deadlines, 2 Notice re: Disclosure Statement,, 5 Protective Order, 1 Complaint,
                       filed by David J. Nastri.
                       Signed by Clerk on 1/17/2023.(Sichanh, Christina) (Entered: 01/17/2023)
  01/17/2023         7 ELECTRONIC SUMMONS ISSUED in accordance with Fed. R. Civ. P. 4 and LR 4 as to *Katie Dykes* with
                       answer to complaint due within *21* days. Attorney *Cameron Lee Atkinson-Atkinson Law, LLC* *122 Litchfield
                       Road* *P.O. Box 340 Ste. 2* *Harwinton, CT 06791*. (Sichanh, Christina) (Entered: 01/17/2023)
  01/17/2023         8 Emergency MOTION for Preliminary Injunction (Ex Parte Relief Not Sought) (Responses due by 2/7/2023, ),
                       Emergency MOTION for Temporary Restraining Order (Ex Parte Relief Not Sought) by David J. Nastri.
                       (Attachments: # 1 Memorandum in Support, # 2 Supplement FRCP 65 Certification of Counsel)(Atkinson,
                       Cameron) (Entered: 01/17/2023)
  01/18/2023             A telephonic scheduling conference will be held 1/27/23 at 3:00 p.m. as follows: 1-877-402-9753; access code
                         3535720. (Tooker, Aimee) (Entered: 01/18/2023)
  01/26/2023         9 NOTICE of Appearance by Blake Thomas Sullivan on behalf of Katie Dykes (Sullivan, Blake) (Entered:
                       01/26/2023)
  01/26/2023        10 NOTICE of Appearance by Timothy J. Holzman on behalf of Katie Dykes (Holzman, Timothy) (Entered:
                       01/26/2023)
  01/26/2023        11 NOTICE of Appearance by Thadius Latimer Bochain on behalf of Katie Dykes (Bochain, Thadius) (Entered:
                       01/26/2023)
  01/27/2023        12 Minute Entry for proceedings held before Judge Janet Bond Arterton: Telephonic Scheduling Conference held on
                       1/27/2023. TOTAL TIME: 52 minutes(Court Reporter Corrine Thomas.) (Sichanh, Christina) (Entered: 01/27/2023)
  01/28/2023        13 AMENDED COMPLAINT (Verified) against Katie Dykes, filed by David J. Nastri. (Attachments: # 1 Exhibit A -
                       List of Connecticut State Parks, # 2 Exhibit B - Conn. Agencies Reg. 23-4-1, # 3 Exhibit C - Conn. Agencies Reg.
                       23-4-5, # 4 Exhibit D - DEEP FAQ About Hunting, # 5 Exhibit E - DEEP Sleeping Giant State Park Overview, # 6
                       Exhibit F - Sleeping Giant Park Association Overview, # 7 Exhibit G - DEEP Resources Web Page For Sleeping
                       Giant State Park, # 8 Exhibit H - Sleeping Giant Park Association Recreational Activities, # 9 Exhibit I - DEEP
                       Official Map of Sleeping Giant State Park, # 10 Exhibit J - DEEP List of State Parks & Forests With Recreational
                       Activities, # 11 Exhibit K - DEEP Official Map of Naugatuck State Forest, # 12 Exhibit L - DEEP List of State
                       Shooting Ranges, # 13 Exhibit M - Correspondence Between Nastri & DEEP, # 14 Exhibit N - Oct. 29, 2020
                       Legislative Research Report Adopted By DEEP)(Atkinson, Cameron) (Entered: 01/28/2023)
  01/28/2023        14 Emergency MOTION for Preliminary Injunction (Amended Per 1/27/23 Colloquy With Court & Defendant) by
                       David J. Nastri.Responses due by 2/18/2023 (Attachments: # 1 Memorandum in Support, # 2 Supplement FRCP 65
                                                                         App.267
https://ecf.ctd.uscourts.gov/cgi-bin/DktRpt.pl?884530897031742-L_1_0-1                                                                          2/6
10/26/23, 2:12 PM         Case 23-1023, Document 42, 11/22/2023,  3592752,
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                         Certification of Counsel)(Atkinson, Cameron) (Entered: 01/28/2023)
  01/30/2023        15 SCHEDULING ORDER: Pursuant to the colloquy with counsel on the record 1/27/23, the following is ordered:
                       1.Plaintiff's Emergency Motion for a Temporary Restraining Order 8 is denied without prejudice in light of
                       expedited preliminary injunction schedule; the preliminary injunction is under advisement under the schedule set
                       forth below. 2.Plaintiff's Amended Complaint and revised Supporting Memoranda was served on 1/29/23;
                       Defendant's opposition to the preliminary injunction is due 3/30/23 by 5:00 pm; Plaintiff's reply is due 4/14/23 by
                       5:00 pm. Defendant's opposition brief is not to exceed 40 pages, and the Plaintiff's response is not to exceed 14
                       pages. 3.The parties are directed to file a status report by 4/4/23. 4.A preliminary injunction hearing will be held
                       from 5/1/23 to 5/4/23 from 10:00 a.m. to 3:00 p.m. daily. Signed by Judge Janet Bond Arterton on 1/27/23.(Tooker,
                       Aimee) (Entered: 01/30/2023)
  01/30/2023        16 Preliminary Injunction Hearing set for 5/1/2023 to 5/4/2023 10:00 AM to 3:00 PM in Courtroom Two, 141 Church
                       St., New Haven, CT. (Tooker, Aimee) (Entered: 01/30/2023)
  02/11/2023        17 SUMMONS Returned Executed by David J. Nastri. Katie Dykes served on 1/31/2023, answer due 2/21/2023.
                       (Atkinson, Cameron) (Entered: 02/11/2023)
  02/15/2023        18 Consent MOTION for Extension of Time until March 30, 2023 to respond to Plaintiff's Amended Complaint by
                       Katie Dykes. (Holzman, Timothy) (Entered: 02/15/2023)
  02/22/2023        19 ORDER granting Consent MOTION for Extension of Time until March 30, 2023 to respond to Plaintiff's Amended
                       Complaint. Signed by Judge Janet Bond Arterton on 2/22/23. (Tooker, Aimee) (Entered: 02/22/2023)
  02/22/2023             Answer deadline updated for All Defendants. (Tooker, Aimee) (Entered: 02/22/2023)
  03/09/2023        20 First MOTION for Leave to File Excess Pages by Katie Dykes. (Sullivan, Blake) (Entered: 03/09/2023)
  03/14/2023        21 ORDER granting 20 Motion for Leave to File Excess Pages, without objection, not to exceed 55 pages. Signed by
                       Judge Janet Bond Arterton on 3/14/23. (Tooker, Aimee) (Entered: 03/14/2023)
  03/30/2023        22 MOTION to Dismiss for Lack of Jurisdiction Amended Complaint 13 by Katie Dykes.Responses due by 4/20/2023
                       (Attachments: # 1 Memorandum in Support)(Holzman, Timothy) (Entered: 03/30/2023)
  03/30/2023        23 Memorandum in Opposition re 14 Emergency MOTION for Preliminary Injunction (Amended Per 1/27/23
                       Colloquy With Court & Defendant) filed by Katie Dykes. (Attachments: # 1 Exhibit List, # 2 Exhibit Excerpt List, #
                       3 Affidavit Declaration of AAG Timothy Holzman, # 4 Exhibit 1-49 (Ordinances and Laws About Parks), # 5
                       Exhibit 50-70 (Ordinances and Laws About Parks), # 6 Exhibit 71-76 (Laws Addressing Hunting), # 7 Exhibit 77-
                       103 (Laws Addressing Sensitive Places), # 8 Exhibit 104-117 (D.E.E.P.), # 9 Exhibit 118-124 (University
                       Regulations), # 10 Exhibit 125-129 (Militias and Parades), # 11 Exhibit 130-132 (Additional), # 12 Affidavit Expert
                       Prof. Leah Glaser, # 13 Affidavit Expert Prof. Terence Young, # 14 Affidavit Expert Prof. Saul Cornell, # 15
                       Affidavit DEEP Col. Lewis, # 16 Affidavit DEEP Thomas Tyler, # 17 Affidavit DECD CMO Anthony Anthony, #
                       18 Affidavit Superintendent Gary Highsmith_Hamden, # 19 Affidavit Superintendent Mark Benigni_Meriden, # 20
                       Supplement Secondary Sources, # 21 Supplement Unreported Decisions)(Bochain, Thadius) (Entered: 03/30/2023)
  04/03/2023        24 EXHIBIT CORRECTED 23-4: Exhibit 1-49 (Ordinances and Laws About Parks) by Katie Dykes re 23
                       Memorandum in Opposition to Motion,,,,. (Attachments: # 1 Exhibit CORRECTED 23-6: Exhibit 71-76 (Laws
                       Addressing Hunting), # 2 Exhibit CORRECTED 23-7: Exhibit 77-103 (Laws Addressing Sensitive Places), # 3
                       Exhibit CORRECTED 23-8: Exhibit 104-117 (D.E.E.P.))(Bochain, Thadius) (Entered: 04/03/2023)
  04/04/2023        25 Joint STATUS REPORT by David J. Nastri. (Atkinson, Cameron) (Entered: 04/04/2023)
  04/10/2023             A telephonic status conference will be held 4/26/23 at 4:00 p.m. as follows: 1-877-402-9753; access code 3535720.
                         (Tooker, Aimee) (Entered: 04/10/2023)
  04/14/2023        26 NOTICE OF E-FILED CALENDAR: Preliminary Injunction Hearing is rescheduled to begin May 8, 2023 10:00
                       a.m., Courtroom Two, 141 Church Street, New Haven, CT. The parties are directed to confer and establish the
                       availability of live witnesses, anticipated testimony length and other issues relevant to the efficient presentation of
                       live testimony prior to the April 26, 2023 telephonic status conference. (Tooker, Aimee) (Entered: 04/14/2023)
  04/14/2023        27 Memorandum in Opposition (Oral Argument Not Requested) re 22 MOTION to Dismiss for Lack of Jurisdiction
                       Amended Complaint 13 filed by David J. Nastri. (Atkinson, Cameron) (Entered: 04/14/2023)
  04/14/2023        28 REPLY to Response to 14 Emergency MOTION for Preliminary Injunction (Amended Per 1/27/23 Colloquy With
                       Court & Defendant) filed by David J. Nastri. (Atkinson, Cameron) (Entered: 04/14/2023)
  04/26/2023        29 Minute Entry for proceedings held before Judge Janet Bond Arterton: Telephonic Status Conference held on
                       4/26/2023. TOTAL TIME: 19 minutes(Court Reporter Corrine Thomas.) (Sichanh, Christina) (Entered: 04/26/2023)
  04/28/2023        30 MOTION for Extension of Time until May 3, 2023 for Defendant to Reply to Plaintiff's 27 Memorandum in
                       Opposition to Motion by Katie Dykes. (Sullivan, Blake) (Entered: 04/28/2023)


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https://ecf.ctd.uscourts.gov/cgi-bin/DktRpt.pl?884530897031742-L_1_0-1                                                                           3/6
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  04/28/2023        31 ORDER granting on consent 30 Motion for Extension of Time until May 3, 2023 for Defendant to Reply to
                       Plaintiff's 27 Memorandum in Opposition to Motion to Defendant's Motion to Dismiss. Defendant's Reply shall be
                       filed by 5pm on May 3, 2023. Signed by Judge Janet Bond Arterton on 4/28/2023. (Anderson, Colleen) (Entered:
                       04/28/2023)
  04/28/2023        32 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                       Preliminary injunction hearing will be held 5/9/23 and 5/10/23; 10:00 a.m. - 3:00 p.m. in Courtroom Two, 141
                       Church Street, New Haven, CT. (Tooker, Aimee) (Entered: 04/28/2023)
  05/03/2023        33 RESPONSE re 27 Memorandum in Opposition to Motion to Dismiss filed by Katie Dykes. (Attachments: # 1
                       Exhibit A - Deposition of David J. Nastri Transcript, # 2 Exhibit B - Unreported Cases)(Sullivan, Blake) (Entered:
                       05/03/2023)
  05/08/2023        34 Proposed Exhibit List by Katie Dykes. (Sullivan, Blake) (Entered: 05/08/2023)
  05/08/2023        35 Joint STIPULATION Of Facts For Purposes Of Preliminary Injunction Hearing Only by David J. Nastri.
                       (Atkinson, Cameron) (Entered: 05/08/2023)
  05/09/2023        36 EXHIBIT Defendant's Ex. 144 - Transcription of Ex. 143 taken from digital archive by Katie Dykes. (Sullivan,
                       Blake) (Entered: 05/09/2023)
  05/09/2023        38 Minute Entry. Proceedings held before Judge Janet Bond Arterton: Preliminary Injunction Hearing held on 5/9/2023
                       re 8 Emergency MOTION for Preliminary Injunction (Ex Parte Relief Not Sought)Emergency MOTION for
                       Temporary Restraining Order (Ex Parte Relief Not Sought) filed by David J. Nastri. Total Time: 4 hours and 56
                       minutes(Court Reporter Corinne Thomas) (Barry, L) (Entered: 05/22/2023)
  05/10/2023        39 Minute Entry. Proceedings held before Judge Janet Bond Arterton: Preliminary Injunction Hearing held on
                       5/10/2023 re 8 Emergency MOTION for Preliminary Injunction (Ex Parte Relief Not Sought)Emergency MOTION
                       for Temporary Restraining Order (Ex Parte Relief Not Sought) filed by David J. Nastri. Total Time: 5 hours and 19
                       minutes(Court Reporter Corinne Thomas) (Barry, L) (Entered: 05/22/2023)
  05/11/2023        37 TRANSCRIPT of Proceedings: Type of Hearing: Preliminary Injunction Hearing. Held on 5/9/2023 before Judge
                       Janet Bond Arterton. Court Reporter: Corinne Thomas. IMPORTANT NOTICE - REDACTION OF
                       TRANSCRIPTS: To remove personal identifier information from the transcript, a party must electronically file a
                       Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of this date. If no such
                       Notice is filed, the court will assume redaction of personal identifiers is not necessary and the transcript will be
                       made available through PACER without redaction 90 days from today's date. The transcript may be viewed at the
                       court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of
                       Transcript Restriction. After that date it may be obtained through PACER. The policy governing the redaction of
                       personal information is located on the court website at www.ctd.uscourts.gov. Redaction Request due 6/1/2023.
                       Redacted Transcript Deadline set for 6/11/2023. Release of Transcript Restriction set for 8/9/2023. (Thomas,
                       Corinne) (Entered: 05/11/2023)
  05/30/2023        40 MOTION for Leave to File Supplemental Brief by Katie Dykes. (Attachments: # 1 Koons v. Platkin)(Holzman,
                       Timothy) (Entered: 05/30/2023)
  05/31/2023        41 ORDER granting 40 Defendant's Motion for Leave to File a Supplemental Brief, not to exceed 5 pages, addressing
                       the recently issued decision Koons v. Platkin, No. 22-7464 (RMB/AMD), 2023 WL 3478604 (D.N.J. May 16,
                       2023). Defendant's brief shall be filed by June 7, 2023; Plaintiff's response brief, also not to exceed 5 pages, shall be
                       filed by June 14, 2023. Signed by Judge Janet Bond Arterton on 5/31/2023. (Anderson, Colleen) (Entered:
                       05/31/2023)
  06/07/2023        42 RESPONSE re 41 Order on Motion for Leave to File, Defendant's Supplemental Brief filed by Katie Dykes.
                       (Sullivan, Blake) (Entered: 06/07/2023)
  06/14/2023        43 RESPONSE re 41 Order on Motion for Leave to File, 42 Response filed by David J. Nastri. (Attachments: # 1
                       Exhibit A - Excerpted Testimony of Professor Saul Cornell)(Atkinson, Cameron) (Entered: 06/14/2023)
  07/04/2023        44 TRANSCRIPT of Proceedings: Type of Hearing: Preliminary Injunction Hearing. Held on 5/10/2023 before Judge
                       Janet Bond Arterton. Court Reporter: Corinne Thomas. IMPORTANT NOTICE - REDACTION OF
                       TRANSCRIPTS: To remove personal identifier information from the transcript, a party must electronically file a
                       Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of this date. If no such
                       Notice is filed, the court will assume redaction of personal identifiers is not necessary and the transcript will be
                       made available through PACER without redaction 90 days from today's date. The transcript may be viewed at the
                       court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of
                       Transcript Restriction. After that date it may be obtained through PACER. The policy governing the redaction of
                       personal information is located on the court website at www.ctd.uscourts.gov. Redaction Request due 7/25/2023.
                       Redacted Transcript Deadline set for 8/4/2023. Release of Transcript Restriction set for 10/2/2023. (Thomas,
                       Corinne) (Entered: 07/04/2023)

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  07/07/2023        45 NOTICE by Katie Dykes of Supplemental Authority (Attachments: # 1 MD USDC Decision)(Holzman, Timothy)
                       (Entered: 07/07/2023)
  07/12/2023        46 ORDER denying 8 Motion for Preliminary Injunction and 8 Motion for TRO as moot in light of the amended
                       preliminary injunction 14 ; granting 22 Motion to Dismiss for Lack of Jurisdiction; and denying 14 Motion for
                       Preliminary Injunction for lack of subject matter jurisdiction. Signed by Judge Janet Bond Arterton on 7/12/2023.
                       (Anderson, Colleen) (Entered: 07/12/2023)
  07/12/2023        47 NOTICE OF APPEAL as to 46 Order on Motion for Preliminary Injunction,, Order on Motion for TRO,,,, Order on
                       Motion to Dismiss/Lack of Jurisdiction, by David J. Nastri. Filing fee $ 505, receipt number ACTDC-7412024.
                       (Atkinson, Cameron) (Entered: 07/12/2023)
  07/14/2023        48 CLERK'S CERTIFICATE RE: INDEX AND RECORD ON APPEAL re: 47 Notice of Appeal. The attached docket
                       sheet is hereby certified as the entire Index/Record on Appeal in this matter and electronically sent to the Court of
                       Appeals, with the exception of any manually filed documents as noted below. Dinah Milton Kinney, Clerk.
                       Documents manually filed not included in this transmission: none (Sichanh, Christina) (Entered: 07/14/2023)
  07/17/2023        49 MOTION for Reconsideration re 46 Order on Motion for Preliminary Injunction,, Order on Motion for TRO,,,,
                       Order on Motion to Dismiss/Lack of Jurisdiction, by David J. Nastri. (Attachments: # 1 Exhibit A - Defendant's
                       Response To Plaintiff's Interrogatories (March 20, 2023), # 2 Exhibit B - Excerpted Preliminary Injunction
                       Testimony of Col. Chris Lewis)(Atkinson, Cameron) (Entered: 07/17/2023)
  07/17/2023        50 Memorandum in Support re 49 MOTION for Reconsideration re 46 Order on Motion for Preliminary Injunction,,
                       Order on Motion for TRO,,,, Order on Motion to Dismiss/Lack of Jurisdiction, filed by David J. Nastri.
                       (Attachments: # 1 Exhibit A - Defendant's Response To Plaintiff's Interrogatories (March 20, 2023), # 2 Exhibit B -
                       Excerpted Preliminary Injunction Testimony of Col. Chris Lewis)(Atkinson, Cameron) (Entered: 07/17/2023)
  07/19/2023        51 ORDER: Defendant is requested to respond to Plaintiff's Motion for Reconsideration 49 , including whether the
                       evidence submitted by Plaintiff purporting to show instances of enforcement of the Challenged Regulation between
                       2016 and 2022 would be sufficient to establish standing, by July 31, 2023, not to exceed 15 pages. Any reply by
                       Plaintiff shall be filed by August 7, 2023.
                       Signed by Judge Janet Bond Arterton on 7/19/2023. (Anderson, Colleen) (Entered: 07/19/2023)
  07/26/2023        52 Marked Exhibit List for the dates of 5/9/2023 and 5/10/2023. (Barry, L) (Entered: 07/26/2023)
  07/26/2023        53 Supplemental Marked Exhibit List for the dates of 5/9/2023 and 5/10/2023. (Barry, L) (Entered: 07/31/2023)
  07/31/2023        54 OBJECTION re 49 MOTION for Reconsideration re 46 Order on Motion for Preliminary Injunction,, Order on
                       Motion for TRO,,,, Order on Motion to Dismiss/Lack of Jurisdiction, filed by Katie Dykes. (Attachments: # 1
                       Exhibit A - PI Hearing Transcripts Excerpts)(Sullivan, Blake) (Entered: 07/31/2023)
  08/07/2023        55 REPLY to Response to 49 MOTION for Reconsideration re 46 Order on Motion for Preliminary Injunction,, Order
                       on Motion for TRO,,,, Order on Motion to Dismiss/Lack of Jurisdiction, filed by David J. Nastri. (Attachments: # 1
                       Exhibit A - [Unreported Case] Miller v. Superintendent of the Shawangunk Correctional Facility, No. 1:18-cv-
                       01762 (S.D.N.Y. Oct. 26, 2020), # 2 Exhibit B - Plaintiff's Motion To Hold Appeal In Abeyance (2nd Cir.), # 3
                       Exhibit C - 2nd Circuit Order Holding Plaintiff's Appeal In Abeyance, # 4 Exhibit D - Excerpted Preliminary
                       Injunction Hearing Testimony of Colonel Christopher Lewis)(Atkinson, Cameron) (Entered: 08/07/2023)
  08/16/2023        56 ORDER denying 49 Motion for Reconsideration re 46 Order on Motion for Preliminary Injunction, Order on
                       Motion for TRO, Order on Motion to Dismiss/Lack of Jurisdiction. The Clerk is directed to notify the Second
                       Circuit that a decision has been issued on the motion and to close this case. Signed by Judge Janet Bond Arterton on
                       8/16/2023. (Anderson, Colleen) (Entered: 08/16/2023)
  08/22/2023        57 JUDGMENT entered in favor of Katie Dykes against David J. Nastri.

                         For Appeal Forms please go to the following website: http://www.ctd.uscourts.gov/forms/all-forms/appeals_forms
                         Signed by Clerk on 8/22/2023.(Barry, L) (Entered: 08/22/2023)
  08/22/2023             JUDICIAL PROCEEDINGS SURVEY - FOR COUNSEL ONLY: The following link to the confidential survey
                         requires you to log into CM/ECF for SECURITY purposes. Once in CM/ECF you will be prompted for the case
                         number. Although you are receiving this survey through CM/ECF, it is hosted on an independent website called
                         SurveyMonkey. Once in SurveyMonkey, the survey is located in a secure account. The survey is not docketed and it
                         is not sent directly to the judge. To ensure anonymity, completed surveys are held up to 90 days before they are sent
                         to the judge for review. We hope you will take this opportunity to participate, please click on this link:

                         https://ecf.ctd.uscourts.gov/cgi-bin/Dispatch.pl?survey
                         (Barry, L) (Entered: 08/22/2023)
  08/28/2023        58 AMENDED NOTICE OF APPEAL amending 47 Notice of Appeal, 46 Order on Motion for Preliminary
                       Injunction,, Order on Motion for TRO,,,, Order on Motion to Dismiss/Lack of Jurisdiction, 57 Judgment, 56 Order

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                         on Motion for Reconsideration, by David J. Nastri. Filing fee $ 505, receipt number ACTDC-7463539. (Atkinson,
                         Cameron) (Entered: 08/28/2023)
  08/29/2023        59 ORDER of USCA as to 47 Notice of Appeal filed by David J. Nastri. USCA Case Number 23-1023 (Sichanh,
                       Christina) (Entered: 08/29/2023)



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